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                                       UNITED STATES BANKRUPTCY COURT
                                            DISTRICT OF DELAWARE

WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                         Case No. 17-12560 (KJC)
(Jointly Administered)                                                                         Reporting Period: 06/30/2018

The Monthly Operating Report for Woodbridge Group of Companies, LLC includes the following affiliated debtors:*

    #                                  Name of Entity                                    EIN #               Case #
    1    Woodbridge Group of Companies, LLC                                         xx-xxx3603        17-12560 (KJC)
    2    215 North 12th Street, LLC                                                 xx-xxx3105        17-12561 (KJC)
    3    Addison Park Investments, LLC                                              xx-xxx5888        17-12563 (KJC)
    4    Anchorpoint Investments, LLC                                               xx-xxx5530        17-12566 (KJC)
    5    Arborvitae Investments, LLC                                                xx-xxx3426        17-12572 (KJC)
    6    Archivolt Investments, LLC                                                 xx-xxx8542        17-12574 (KJC)
    7    Arlington Ridge Investments, LLC                                           xx-xxx8879        17-12576 (KJC)
    8    Arrowpoint Investments, LLC                                                xx-xxx7069        17-12578 (KJC)
    9    Baleroy Investments, LLC                                                   xx-xxx9851        17-12580 (KJC)
   10    Basswood Holding, LLC                                                      xx-xxx2784        17-12600 (KJC)
   11    Bay Village Investments, LLC                                               xx-xxx3221        17-12604 (KJC)
   12    Bear Brook Investments, LLC                                                xx-xxx3387        17-12610 (KJC)
   13    Beech Creek Investments, LLC                                               xx-xxx0963        17-12616 (KJC)
   14    Bishop White Investments, LLC                                              xx-xxx8784        17-12623 (KJC)
   15    Black Bass Investments, LLC                                                xx-xxx0884        17-12641 (KJC)
   16    Black Locust Investments, LLC                                              xx-xxx3159        17-12648 (KJC)
   17    Bluff Point Investments, LLC                                               xx-xxx6406        17-12722 (KJC)
   18    Bowman Investments, LLC                                                    xx-xxx9670        17-12753 (KJC)
   19    Bramley Investments, LLC                                                   xx-xxx9020        17-12769 (KJC)
   20    Brise Soleil Investments, LLC                                              xx-xxx9998        17-12762 (KJC)
   21    Broadsands Investments, LLC                                                xx-xxx2687        17-12777 (KJC)
   22    Brynderwen Investments, LLC                                                xx-xxx6305        17-12793 (KJC)
   23    Cablestay Investments, LLC                                                 xx-xxx3442        17-12798 (KJC)
   24    Cannington Investments, LLC                                                xx-xxx4303        17-12803 (KJC)
   25    Carbondale Doocy, LLC                                                      xx-xxx3616        17-12805 (KJC)
   26    Carbondale Glen Lot A-5, LLC                                               xx-xxx0728        17-12807 (KJC)
   27    Carbondale Glen Lot D-22, LLC                                              xx-xxx1907        17-12809 (KJC)
   28    Carbondale Glen Lot E-24, LLC                                              xx-xxx4987        17-12811 (KJC)
   29    Carbondale Glen Lot GV-13, LLC                                             xx-xxx6075        17-12813 (KJC)
   30    Carbondale Glen Lot SD-14, LLC                                             xx-xxx5515        17-12817 (KJC)
   31    Carbondale Glen Lot SD-23, LLC                                             xx-xxx4775        17-12815 (KJC)
   32    Carbondale Glen Mesa Lot 19, LLC                                           xx-xxx6376        17-12819 (KJC)
   33    Carbondale Glen River Mesa, LLC                                            xx-xxx6926        17-12820 (KJC)
   34    Carbondale Glen Sundance Ponds, LLC                                        xx-xxx0113        17-12822 (KJC)
   35    Carbondale Glen Sweetgrass Vista, LLC                                      xx-xxx7510        17-12564 (KJC)
   36    Carbondale Spruce 101, LLC                                                 xx-xxx6126        17-12568 (KJC)
   37    Carbondale Sundance Lot 15, LLC                                            xx-xxx1131        17-12569 (KJC)
   38    Carbondale Sundance Lot 16, LLC                                            xx-xxx0786        17-12570 (KJC)
   39    Castle Pines Investments, LLC                                              xx-xxx4123        17-12581 (KJC)
   40    Centershot Investments, LLC                                                xx-xxx9391        17-12586 (KJC)
   41    Chaplin Investments, LLC                                                   xx-xxx3215        17-12592 (KJC)
   42    Chestnut Investments, LLC                                                  xx-xxx9809        17-12603 (KJC)
   43    Chestnut Ridge Investments, LLC                                            xx-xxx3815        17-12614 (KJC)
   44    Clover Basin Investments, LLC                                              xx-xxx8470        17-12621 (KJC)
   45    Coffee Creek Investments, LLC                                              xx-xxx9365        17-12627 (KJC)
   46    Craven Investments, LLC                                                    xx-xxx0994        17-12636 (KJC)
   47    Crossbeam Investments, LLC                                                 xx-xxx2940        17-12650 (KJC)
   48    Crowfield Investments, LLC                                                 xx-xxx4030        17-12660 (KJC)


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                                       UNITED STATES BANKRUPTCY COURT
                                            DISTRICT OF DELAWARE

WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                         Case No. 17-12560 (KJC)
(Jointly Administered)                                                                         Reporting Period: 06/30/2018

The Monthly Operating Report for Woodbridge Group of Companies, LLC includes the following affiliated debtors:*

    #                                  Name of Entity                                    EIN #               Case #
   49    Crystal Valley Holdings, LLC                                               xx-xxx4942        17-12666 (KJC)
   50    Crystal Woods Investments, LLC                                             xx-xxx2816        17-12676 (KJC)
   51    Cuco Settlement, LLC                                                       xx-xxx1418        17-12679 (KJC)
   52    Daleville Investments, LLC                                                 xx-xxx2915        17-12687 (KJC)
   53    Derbyshire Investments, LLC                                                xx-xxx3735        17-12696 (KJC)
   54    Diamond Cove Investments, LLC                                              xx-xxx9809        17-12705 (KJC)
   55    Dixville Notch Investments, LLC                                            xx-xxx0257        17-12716 (KJC)
   56    Dogwood Valley Investments, LLC                                            xx-xxx5898        17-12727 (KJC)
   57    Dollis Brook Investments, LLC                                              xx-xxx4042        17-12735 (KJC)
   58    Donnington Investments, LLC                                                xx-xxx2744        17-12744 (KJC)
   59    Doubleleaf Investments, LLC                                                xx-xxx7075        17-12755 (KJC)
   60    Drawspan Investments, LLC                                                  xx-xxx5457        17-12767 (KJC)
   61    Eldredge Investments, LLC                                                  xx-xxx1579        17-12775 (KJC)
   62    Elstar Investments, LLC                                                    xx-xxx3731        17-12782 (KJC)
   63    Emerald Lake Investments, LLC                                              xx-xxx2276        17-12788 (KJC)
   64    Fieldpoint Investments, LLC                                                xx-xxx2405        17-12794 (KJC)
   65    Franconia Notch Investments, LLC                                           xx-xxx7325        17-12797 (KJC)
   66    Gateshead Investments, LLC                                                 xx-xxx1537        17-12597 (KJC)
   67    Glenn Rich Investments, LLC                                                xx-xxx7350        17-12602 (KJC)
   68    Goose Rocks Investments, LLC                                               xx-xxx5453        17-12611 (KJC)
   69    Goosebrook Investments, LLC                                                xx-xxx3737        17-12617 (KJC)
   70    Graeme Park Investments, LLC                                               xx-xxx8869        17-12622 (KJC)
   71    Grand Midway Investments, LLC                                              xx-xxx1671        17-12628 (KJC)
   72    Gravenstein Investments, LLC                                               xx-xxx2195        17-12632 (KJC)
   73    Green Gables Investments, LLC                                              xx-xxx1347        17-12637 (KJC)
   74    Grenadier Investments, LLC                                                 xx-xxx1772        17-12643 (KJC)
   75    Grumblethorpe Investments, LLC                                             xx-xxx9318        17-12649 (KJC)
   76    H11 Silk City Holding Company, LLC                                         xx-xxx5002        17-12833 (KJC)
   77    H12 White Birch Holding Company, LLC                                       xx-xxx9593        17-12699 (KJC)
   78    H13 Bay Village Holding Company, LLC                                       xx-xxx8917        17-12591 (KJC)
   79    H14 Dixville Notch Holding Company, LLC                                    xx-xxx5633        17-12712 (KJC)
   80    H15 Bear Brook Holding Company, LLC                                        xx-xxx0030        17-12607 (KJC)
   81    H16 Monadnock Holding Company, LLC                                         xx-xxx3391        17-12678 (KJC)
   82    H17 Pemigewasset Holding Company, LLC                                      xx-xxx9026        17-12799 (KJC)
   83    H19 Emerald Lake Holding Company, LLC                                      xx-xxx1570        17-12785 (KJC)
   84    H2 Arlington Ridge Holding Company, LLC                                    xx-xxx9930        17-12575 (KJC)
   85    H20 Bluff Point Holding Company, LLC                                       xx-xxx7342        17-12715 (KJC)
   86    H21 Summerfree Holding Company, LLC                                        xx-xxx4453        17-12631 (KJC)
   87    H22 Papirovka Holding Company, LLC                                         xx-xxx8821        17-12770 (KJC)
   88    H23 Pinova Holding Company, LLC                                            xx-xxx0307        17-12810 (KJC)
   89    H24 Stayman Holding Company, LLC                                           xx-xxx0527        17-12590 (KJC)
   90    H25 Elstar Holding Company, LLC                                            xx-xxx3243        17-12779 (KJC)
   91    H26 Gravenstein Holding Company, LLC                                       xx-xxx4323        17-12630 (KJC)
   92    H27 Grenadier Holding Company, LLC                                         xx-xxx2590        17-12642 (KJC)
   93    H28 Black Locust Holding Company, LLC                                      xx-xxx6941        17-12647 (KJC)
   94    H29 Zestar Holding Company, LLC                                            xx-xxx4093        17-12789 (KJC)
   95    H30 Silver Maple Holding Company, LLC                                      xx-xxx9953        17-12835 (KJC)
   96    H31 Addison Park Holding Company, LLC                                      xx-xxx0775        17-12562 (KJC)


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                                       UNITED STATES BANKRUPTCY COURT
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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                         Case No. 17-12560 (KJC)
(Jointly Administered)                                                                         Reporting Period: 06/30/2018

The Monthly Operating Report for Woodbridge Group of Companies, LLC includes the following affiliated debtors:*

   #                                  Name of Entity                                     EIN #               Case #
   97    H32 Arborvitae Holding Company, LLC                                        xx-xxx7525        17-12567 (KJC)
   98    H35 Hornbeam Holding Company, LLC                                          xx-xxx5290        17-12691 (KJC)
   99    H36 Sturmer Pippin Holding Company, LLC                                    xx-xxx1256        17-12625 (KJC)
  100    H37 Idared Holding Company, LLC                                            xx-xxx3378        17-12697 (KJC)
  101    H38 Mutsu Holding Company, LLC                                             xx-xxx5889        17-12711 (KJC)
  102    H39 Haralson Holding Company, LLC                                          xx-xxx0886        17-12661 (KJC)
  103    H4 Pawtuckaway Holding Company, LLC                                        xx-xxx9299        17-12778 (KJC)
  104    H40 Bramley Holding Company, LLC                                           xx-xxx7162        17-12766 (KJC)
  105    H41 Grumblethorpe Holding Company, LLC                                     xx-xxx0106        17-12646 (KJC)
  106    H43 Lenni Heights Holding Company, LLC                                     xx-xxx7951        17-12717 (KJC)
  107    H44 Green Gables Holding Company, LLC                                      xx-xxx2248        17-12634 (KJC)
  108    H46 Beech Creek Holding Company, LLC                                       xx-xxx0050        17-12612 (KJC)
  109    H47 Summit Cut Holding Company, LLC                                        xx-xxx6912        17-12638 (KJC)
  110    H49 Bowman Holding Company, LLC                                            xx-xxx1694        17-12725 (KJC)
  111    H5 Chestnut Ridge Holding Company, LLC                                     xx-xxx5244        17-12608 (KJC)
  112    H51 Old Carbon Holding Company, LLC                                        xx-xxx1911        17-12738 (KJC)
  113    H52 Willow Grove Holding Company, LLC                                      xx-xxx2112        17-12729 (KJC)
  114    H53 Black Bass Holding Company, LLC                                        xx-xxx3505        17-12639 (KJC)
  115    H54 Seven Stars Holding Company, LLC                                       xx-xxx8432        17-12831 (KJC)
  116    H55 Old Maitland Holding Company, LLC                                      xx-xxx3887        17-12747 (KJC)
  117    H56 Craven Holding Company, LLC                                            xx-xxx1344        17-12633 (KJC)
  118    H58 Baleroy Holding Company, LLC                                           xx-xxx1881        17-12579 (KJC)
  119    H59 Rising Sun Holding Company, LLC                                        xx-xxx5554        17-12827 (KJC)
  120    H6 Lilac Meadow Holding Company, LLC                                       xx-xxx4921        17-12724 (KJC)
  121    H60 Moravian Holding Company, LLC                                          xx-xxx3179        17-12686 (KJC)
  122    H61 Grand Midway Holding Company, LLC                                      xx-xxx4835        17-12626 (KJC)
  123    H65 Thornbury Farm Holding Company, LLC                                    xx-xxx7454        17-12644 (KJC)
  124    H66 Heilbron Manor Holding Company, LLC                                    xx-xxx7245        17-12677 (KJC)
  125    H68 Graeme Park Holding Company, LLC                                       xx-xxx2736        17-12620 (KJC)
  126    H7 Dogwood Valley Holding Company, LLC                                     xx-xxx7002        17-12721 (KJC)
  127    H70 Bishop White Holding Company, LLC                                      xx-xxx6161        17-12619 (KJC)
  128    H74 Imperial Aly Holding Company, LLC                                      xx-xxx7948        17-12704 (KJC)
  129    H76 Diamond Cove Holding Company, LLC                                      xx-xxx0315        17-12700 (KJC)
  130    H8 Melody Lane Holding Company, LLC                                        xx-xxx4011        17-12756 (KJC)
  131    H9 Strawberry Fields Holding Company, LLC                                  xx-xxx4464        17-12609 (KJC)
  132    Hackmatack Investments, LLC                                                xx-xxx8293        17-12653 (KJC)
  133    Haffenburg Investments, LLC                                                xx-xxx1472        17-12659 (KJC)
  134    Haralson Investments, LLC                                                  xx-xxx8946        17-12663 (KJC)
  135    Harringworth Investments, LLC                                              xx-xxx5770        17-12669 (KJC)
  136    Hazelpoint Investments, LLC                                                xx-xxx3824        17-12674 (KJC)
  137    Heilbron Manor Investments, LLC                                            xx-xxx7818        17-12681 (KJC)
  138    Hollyline Holdings, LLC                                                    xx-xxx4412        17-12684 (KJC)
  139    Hollyline Owners, LLC                                                      xx-xxx2556        17-12688 (KJC)
  140    Hornbeam Investments, LLC                                                  xx-xxx9532        17-12694 (KJC)
  141    Idared Investments, LLC                                                    xx-xxx7643        17-12701 (KJC)
  142    Imperial Aly Investments, LLC                                              xx-xxx7940        17-12708 (KJC)
  143    Ironsides Investments, LLC                                                 xx-xxx2351        17-12714 (KJC)
  144    Lenni Heights Investments, LLC                                             xx-xxx6691        17-12720 (KJC)


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                                       UNITED STATES BANKRUPTCY COURT
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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                         Case No. 17-12560 (KJC)
(Jointly Administered)                                                                         Reporting Period: 06/30/2018

The Monthly Operating Report for Woodbridge Group of Companies, LLC includes the following affiliated debtors:*

   #                                  Name of Entity                                     EIN #               Case #
  145    Lilac Meadow Investments, LLC                                              xx-xxx4000        17-12728 (KJC)
  146    Lincolnshire Investments, LLC                                              xx-xxx0533        17-12733 (KJC)
  147    Lonetree Investments, LLC                                                  xx-xxx5194        17-12740 (KJC)
  148    Longbourn Investments, LLC                                                 xx-xxx2888        17-12746 (KJC)
  149    M10 Gateshead Holding Company, LLC                                         xx-xxx8924        17-12593 (KJC)
  150    M11 Anchorpoint Holding Company, LLC                                       xx-xxx1946        17-12565 (KJC)
  151    M13 Cablestay Holding Company, LLC                                         xx-xxx9809        17-12795 (KJC)
  152    M14 Crossbeam Holding Company, LLC                                         xx-xxx3109        17-12645 (KJC)
  153    M15 Doubleleaf Holding Company, LLC                                        xx-xxx9523        17-12749 (KJC)
  154    M17 Lincolnshire Holding Company, LLC                                      xx-xxx9895        17-12730 (KJC)
  155    M19 Arrowpoint Holding Company, LLC                                        xx-xxx4378        17-12577 (KJC)
  156    M22 Drawspan Holding Company, LLC                                          xx-xxx0325        17-12764 (KJC)
  157    M24 Fieldpoint Holding Company, LLC                                        xx-xxx6210        17-12791 (KJC)
  158    M25 Centershot Holding Company, LLC                                        xx-xxx2128        17-12583 (KJC)
  159    M26 Archivolt Holding Company, LLC                                         xx-xxx6436        17-12573 (KJC)
  160    M27 Brise Soleil Holding Company, LLC                                      xx-xxx2821        17-12760 (KJC)
  161    M28 Broadsands Holding Company, LLC                                        xx-xxx9424        17-12773 (KJC)
  162    M29 Brynderwen Holding Company, LLC                                        xx-xxx0685        17-12781 (KJC)
  163    M31 Cannington Holding Company, LLC                                        xx-xxx0667        17-12801 (KJC)
  164    M32 Dollis Brook Holding Company, LLC                                      xx-xxx2873        17-12731 (KJC)
  165    M33 Harringworth Holding Company, LLC                                      xx-xxx7830        17-12667 (KJC)
  166    M34 Quarterpost Holding Company, LLC                                       xx-xxx2780        17-12814 (KJC)
  167    M36 Springline Holding Company, LLC                                        xx-xxx0908        17-12584 (KJC)
  168    M37 Topchord Holding Company, LLC                                          xx-xxx2131        17-12662 (KJC)
  169    M38 Pemberley Holding Company, LLC                                         xx-xxx1154        17-12787 (KJC)
  170    M39 Derbyshire Holding Company, LLC                                        xx-xxx6509        17-12692 (KJC)
  171    M40 Longbourn Holding Company, LLC                                         xx-xxx3893        17-12742 (KJC)
  172    M41 Silverthorne Holding Company, LLC                                      xx-xxx6930        17-12838 (KJC)
  173    M43 White Dome Holding Company, LLC                                        xx-xxx1327        17-12706 (KJC)
  174    M44 Wildernest Holding Company, LLC                                        xx-xxx7546        17-12718 (KJC)
  175    M45 Clover Basin Holding Company, LLC                                      xx-xxx6677        17-12618 (KJC)
  176    M46 Owl Ridge Holding Company, LLC                                         xx-xxx0546        17-12759 (KJC)
  177    M48 Vallecito Holding Company, LLC                                         xx-xxx0739        17-12670 (KJC)
  178    M49 Squaretop Holding Company, LLC                                         xx-xxx4325        17-12588 (KJC)
  179    M5 Stepstone Holding Company, LLC                                          xx-xxx1473        17-12601 (KJC)
  180    M50 Wetterhorn Holding Company, LLC                                        xx-xxx9936        17-12689 (KJC)
  181    M51 Coffee Creek Holding Company, LLC                                      xx-xxx2745        17-12624 (KJC)
  182    M53 Castle Pines Holding Company, LLC                                      xx-xxx3398        17-12571 (KJC)
  183    M54 Lonetree Holding Company, LLC                                          xx-xxx2356        17-12737 (KJC)
  184    M56 Haffenburg Holding Company, LLC                                        xx-xxx3780        17-12656 (KJC)
  185    M57 Ridgecrest Holding Company, LLC                                        xx-xxx2759        17-12818 (KJC)
  186    M60 Thunder Basin Holding Company, LLC                                     xx-xxx4560        17-12654 (KJC)
  187    M61 Mineola Holding Company, LLC                                           xx-xxx8989        17-12668 (KJC)
  188    M62 Sagebrook Holding Company, LLC                                         xx-xxx5717        17-12829 (KJC)
  189    M63 Crowfield Holding Company, LLC                                         xx-xxx7092        17-12655 (KJC)
  190    M67 Mountain Spring Holding Company, LLC                                   xx-xxx5385        17-12695 (KJC)
  191    M68 Goosebrook Holding Company, LLC                                        xx-xxx9434        17-12615 (KJC)
  192    M70 Pinney Holding Company, LLC                                            xx-xxx1495        17-12806 (KJC)


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                                       UNITED STATES BANKRUPTCY COURT
                                            DISTRICT OF DELAWARE

WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                         Case No. 17-12560 (KJC)
(Jointly Administered)                                                                         Reporting Period: 06/30/2018

The Monthly Operating Report for Woodbridge Group of Companies, LLC includes the following affiliated debtors:*

   #                                  Name of Entity                                     EIN #               Case #
  193    M71 Eldredge Holding Company, LLC                                          xx-xxx6338        17-12771 (KJC)
  194    M72 Daleville Holding Company, LLC                                         xx-xxx8670        17-12683 (KJC)
  195    M73 Mason Run Holding Company, LLC                                         xx-xxx5691        17-12748 (KJC)
  196    M74 Varga Holding Company, LLC                                             xx-xxx2322        17-12680 (KJC)
  197    M75 Riley Creek Holding Company, LLC                                       xx-xxx7226        17-12825 (KJC)
  198    M76 Chaplin Holding Company, LLC                                           xx-xxx9267        17-12587 (KJC)
  199    M79 Chestnut Holding Company, LLC                                          xx-xxx0125        17-12595 (KJC)
  200    M80 Hazelpoint Holding Company, LLC                                        xx-xxx2703        17-12672 (KJC)
  201    M83 Mt. Holly Holding Company, LLC                                         xx-xxx7897        17-12703 (KJC)
  202    M85 Glenn Rich Holding Company, LLC                                        xx-xxx7844        17-12599 (KJC)
  203    M86 Steele Hill Holding Company, LLC                                       xx-xxx8312        17-12596 (KJC)
  204    M87 Hackmatack Hills Holding Company, LLC                                  xx-xxx9583        17-12652 (KJC)
  205    M88 Franconia Notch Holding Company, LLC                                   xx-xxx8184        17-12796 (KJC)
  206    M9 Donnington Holding Company, LLC                                         xx-xxx7114        17-12741 (KJC)
  207    M90 Merrimack Valley Holding Company, LLC                                  xx-xxx0547        17-12658 (KJC)
  208    M91 Newville Holding Company, LLC                                          xx-xxx6748        17-12726 (KJC)
  209    M92 Crystal Woods Holding Company, LLC                                     xx-xxx5806        17-12671 (KJC)
  210    M93 Goose Rocks Holding Company, LLC                                       xx-xxx5189        17-12605 (KJC)
  211    M94 Winding Road Holding Company, LLC                                      xx-xxx8229        17-12736 (KJC)
  212    M95 Pepperwood Holding Company, LLC                                        xx-xxx3660        17-12802 (KJC)
  213    M97 Red Wood Holding Company, LLC                                          xx-xxx2190        17-12823 (KJC)
  214    M99 Ironsides Holding Company, LLC                                         xx-xxx8261        17-12710 (KJC)
  215    Mason Run Investments, LLC                                                 xx-xxx0644        17-12751 (KJC)
  216    Melody Lane Investments, LLC                                               xx-xxx0252        17-12757 (KJC)
  217    Merrimack Valley Investments, LLC                                          xx-xxx7307        17-12665 (KJC)
  218    Mineola Investments, LLC                                                   xx-xxx9029        17-12673 (KJC)
  219    Monadnock Investments, LLC                                                 xx-xxx3513        17-12682 (KJC)
  220    Moravian Investments, LLC                                                  xx-xxx6854        17-12690 (KJC)
  221    Mountain Spring Investments, LLC                                           xx-xxx3294        17-12698 (KJC)
  222    Mt. Holly Investments, LLC                                                 xx-xxx7337        17-12707 (KJC)
  223    Mutsu Investments, LLC                                                     xx-xxx8020        17-12719 (KJC)
  224    Newville Investments, LLC                                                  xx-xxx7973        17-12734 (KJC)
  225    Old Carbon Investments, LLC                                                xx-xxx6858        17-12743 (KJC)
  226    Old Maitland Investments, LLC                                              xx-xxx9114        17-12752 (KJC)
  227    Owl Ridge Investments, LLC                                                 xx-xxx8792        17-12763 (KJC)
  228    Papirovka Investments, LLC                                                 xx-xxx5472        17-12774 (KJC)
  229    Pawtuckaway Investments, LLC                                               xx-xxx3152        17-12783 (KJC)
  230    Pemberley Investments, LLC                                                 xx-xxx9040        17-12790 (KJC)
  231    Pemigewasset Investments, LLC                                              xx-xxx6827        17-12800 (KJC)
  232    Pepperwood Investments, LLC                                                xx-xxx7950        17-12804 (KJC)
  233    Pinney Investments, LLC                                                    xx-xxx0132        17-12808 (KJC)
  234    Pinova Investments, LLC                                                    xx-xxx3468        17-12812 (KJC)
  235    Quarterpost Investments, LLC                                               xx-xxx4802        17-12816 (KJC)
  236    Red Woods Investments, LLC                                                 xx-xxx6065        17-12824 (KJC)
  237    Ridgecrest Investments, LLC                                                xx-xxx9696        17-12821 (KJC)
  238    Riley Creek Investments, LLC                                               xx-xxx0214        17-12826 (KJC)
  239    Rising Sun Investments, LLC                                                xx-xxx6846        17-12828 (KJC)
  240    Sagebrook Investments, LLC                                                 xx-xxx1464        17-12830 (KJC)


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                                       UNITED STATES BANKRUPTCY COURT
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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                         Case No. 17-12560 (KJC)
(Jointly Administered)                                                                         Reporting Period: 06/30/2018

The Monthly Operating Report for Woodbridge Group of Companies, LLC includes the following affiliated debtors:*

   #                                   Name of Entity                                    EIN #               Case #
  241    Seven Stars Investments, LLC                                               xx-xxx6994        17-12832 (KJC)
  242    Silk City Investments, LLC                                                 xx-xxx1465        17-12834 (KJC)
  243    Silver Maple Investments, LLC                                              xx-xxx9699        17-12836 (KJC)
  244    Silverleaf Funding, LLC                                                    xx-xxx9877        17-12837 (KJC)
  245    Silverthorne Investments, LLC                                              xx-xxx8840        17-12582 (KJC)
  246    Springline Investments, LLC                                                xx-xxx7321        17-12585 (KJC)
  247    Squaretop Investments, LLC                                                 xx-xxx4466        17-12589 (KJC)
  248    Stayman Investments, LLC                                                   xx-xxx9090        17-12594 (KJC)
  249    Steele Hill Investments, LLC                                               xx-xxx7340        17-12598 (KJC)
  250    Stepstone Investments, LLC                                                 xx-xxx7231        17-12606 (KJC)
  251    Strawberry Fields Investments, LLC                                         xx-xxx0355        17-12613 (KJC)
  252    Sturmer Pippin Investments, LLC                                            xx-xxx6686        17-12629 (KJC)
  253    Summerfree Investments, LLC                                                xx-xxx1496        17-12635 (KJC)
  254    Summit Cut Investments, LLC                                                xx-xxx0876        17-12640 (KJC)
  255    Thornbury Farm Investments, LLC                                            xx-xxx3083        17-12651 (KJC)
  256    Thunder Basin Investments, LLC                                             xx-xxx7057        17-12657 (KJC)
  257    Topchord Investments, LLC                                                  xx-xxx4007        17-12664 (KJC)
  258    Vallecito Investments, LLC                                                 xx-xxx8552        17-12675 (KJC)
  259    Varga Investments, LLC                                                     xx-xxx7136        17-12685 (KJC)
  260    Wetterhorn Investments, LLC                                                xx-xxx0171        17-12693 (KJC)
  261    White Birch Investments, LLC                                               xx-xxx1555        17-12702 (KJC)
  262    White Dome Investments, LLC                                                xx-xxx2729        17-12709 (KJC)
  263    Whiteacre Funding, LLC                                                     xx-xxx2998        17-12713 (KJC)
  264    Wildernest Investments, LLC                                                xx-xxx1375        17-12723 (KJC)
  265    Willow Grove Investments, LLC                                              xx-xxx6588        17-12732 (KJC)
  266    Winding Road Investments, LLC                                              xx-xxx8169        17-12739 (KJC)
  267    WMF Management, LLC                                                        xx-xxx9238        17-12745 (KJC)
  268    Woodbridge Capital Investments, LLC                                        xx-xxx6081        17-12750 (KJC)
  269    Woodbridge Commercial Bridge Loan Fund 1, LLC                              xx-xxx8318        17-12754 (KJC)
  270    Woodbridge Commercial Bridge Loan Fund 2, LLC                              xx-xxx3649        17-12758 (KJC)
  271    Woodbridge Investments, LLC                                                xx-xxx8557        17-12761 (KJC)
  272    Woodbridge Mezzanine Fund 1, LLC                                           xx-xxx2753        17-12765 (KJC)
  273    Woodbridge Mortgage Investment Fund 1, LLC                                 xx-xxx0172        17-12768 (KJC)
  274    Woodbridge Mortgage Investment Fund 2, LLC                                 xx-xxx7030        17-12772 (KJC)
  275    Woodbridge Mortgage Investment Fund 3, LLC                                 xx-xxx9618        17-12776 (KJC)
  276    Woodbridge Mortgage Investment Fund 3A, LLC                                xx-xxx8525        17-12780 (KJC)
  277    Woodbridge Mortgage Investment Fund 4, LLC                                 xx-xxx1203        17-12784 (KJC)
  278    Woodbridge Structured Funding, LLC                                         xx-xxx3593        17-12786 (KJC)
  279    Zestar Investments, LLC                                                    xx-xxx3233        17-12792 (KJC)
         SECOND ROUND FILERS: FILED 02/09/2018
  280    Carbondale Glen Lot L-2, LLC                                               xx-xxx1369        18-10284 (KJC)
  281    Carbondale Peaks Lot L-1, LLC                                              xx-xxx6563        18-10286 (KJC)
  282    H18 Massabesic Holding Company, LLC                                        xx-xxx0852        18-10287 (KJC)
  283    H33 Hawthorn Holding Company, LLC                                          xx-xxx4765        18-10288 (KJC)
  284    H50 Sachs Bridge Holding Company, LLC                                      xx-xxx3049        18-10289 (KJC)
  285    H64 Pennhurst Holding Company, LLC                                         xx-xxx1251        18-10290 (KJC)
  286    Hawthorn Investments, LLC                                                  xx-xxx3463        18-10291 (KJC)
  287    Lilac Valley Investments, LLC                                              xx-xxx7274        18-10292 (KJC)


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                                        UNITED STATES BANKRUPTCY COURT
                                             DISTRICT OF DELAWARE

WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                           Case No. 17-12560 (KJC)
(Jointly Administered)                                                                           Reporting Period: 06/30/2018

The Monthly Operating Report for Woodbridge Group of Companies, LLC includes the following affiliated debtors:*

   #                                   Name of Entity                                      EIN #               Case #
  288     Massabesic Investments, LLC                                                 xx-xxx6893        18-10293 (KJC)
  289     M58 Springvale Holding Company, LLC                                         xx-xxx6656        18-10294 (KJC)
  290     M96 Lilac Valley Holding Company, LLC                                       xx-xxx0412        18-10295 (KJC)
  291     Pennhurst Investments, LLC                                                  xx-xxx7313        18-10296 (KJC)
  292     Sachs Bridge Investments, LLC                                               xx-xxx8687        18-10297 (KJC)
  293     Springvale Investments, LLC                                                 xx-xxx6181        18-10298 (KJC)
          THIRD ROUND FILERS: FILED 03/09/2018
  294     Bellflower Funding, LLC                                                     xx-xxx0156        18-10507 (KJC)
  295     Wall 123, LLC                                                               xx-xxx2520        18-10508 (KJC)
          FOURTH ROUND FILERS: FILED 03/23/2018
  296     695 Buggy Circle, LLC                                                       xx-xxx4827        18-10670 (KJC)
  297     Buggy Circle Holdings, LLC                                                  xx-xxx0850        18-10672 (KJC)
  298     Deerfield Park Investments, LLC                                             xx-xxx2296        18-10673 (KJC)
  299     Kirkstead Investments, LLC                                                  xx-xxx3696        18-10675 (KJC)
  300     M16 Kirkstead Holding Company, LLC                                          xx-xxx8119        18-10676 (KJC)
  301     H10 Deerfield Park Holding Company, LLC                                     xx-xxx8117        18-10674 (KJC)
  302     Blazingstar Funding, LLC                                                    xx-xxx3953        18-10671 (KJC)
          FIFTH ROUND FILERS: FILED 03/27/2018
  303     Frog Rock Investments, LLC                                                  xx-xxx0623        18-10733 (KJC)
  304     M77 Frog Rock Holding Company, LLC                                          xx-xxx1849        18-10734 (KJC)
  305     Mount Washington Investments, LLC                                           xx-xxx2061        18-10736 (KJC)
  306     M89 Mount Washington Holding Company, LLC                                   xx-xxx8012        18-10735 (KJC)

        * The list shown constitutes all of the entities whose bankruptcy petitions were filed between December 2017 and March
          2018, all of the entities whose bankruptcy cases are administered under the jointly administered group of entities
          reporting under Woodbridge Group of Companies, LLC., case no. 17-12560.




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WOODBRIDGE GROUP OF COMPANIES, LLC et al.
(Jointly Administered)
Cash Receipts and Disbursements*
Reporting Period: June 1-30, 2018
                                                                         Woodbridge Group of                                    Hawthorne
                                                               Debtor: Companies, LLC et al.*   Pennhurst Investments LLC    Investments LLC
                                                              Case No.:      17-12560                   18-10296                18-10291
CASH: BEGINNING OF PERIOD                                               $          32,852,012    $                96,570 $                47,393

RECEIPTS
Sale of assets / Loan Payoff                                                       24,613,312                        -                         -
Rent and Interest Receipts                                                             36,431                    2,300                         -
Other Receipts                                                                         25,383                        -                         -
DIP loan draws                                                                     15,000,000                        -                         -
Property Tax Refund                                                                         -                        -                         -
Utility Refund                                                                            778                        -                         -
Insurance Refund                                                                        6,608                        -                         -
Structured Settlements                                                                      -                        -                         -
TOTAL RECEIPTS                                                                     39,682,512                    2,300                         -

DISBURSEMENTS
COS, Rentals                                                                            2,982                       49                         -
Bank Service Charge                                                                        44                        -                         -
Security Deposit Refunds                                                                    -                        -                         -
Dues and Subscriptions                                                                 16,301                        -                         -
Information Technology                                                                 31,632                        -                         -
Employee Benefits                                                                      14,147                        -                         -
Insurance                                                                               7,910                        -                         -
Equipment Lease                                                                           351                        -                         -
Transfers among affiliate entities                                                          -                        -                         -
License and Filing Fees                                                                20,230                        -                         -
Office Expense                                                                         16,793                        -                         -
Office Supplies                                                                        11,381                        -                         -
Outside Services                                                                       15,309                        -                         -
Moving                                                                                      -                        -                         -
Parking                                                                                     -                        -                         -
Payroll Net Wages                                                                     239,232                        -                         -
Payroll Taxes                                                                          86,069                        -                         -
Payroll Net Wages Mercer Vine                                                               -                        -                         -
Payroll Taxes Mercer Vine                                                                   -                        -                         -
Payroll, Net Wages Colorado Affiliate                                                       -                        -                         -
Payroll Taxes Colorado Affiliate                                                            -                        -                         -
Payroll-Service Fees                                                                      410                        -                         -
Payroll levees paid                                                                       377                        -                         -
Independent Contractors                                                                     -                        -                         -
Postage and Delivery                                                                    3,112                        -                         -
Rent                                                                                        -                        -                         -
Repairs and Maintenance                                                                   865                        -                         -
Security                                                                                1,683                        -                         -
Storage                                                                                     -                        -                         -
Telephone and Internet Expense                                                          3,664                        -                         -
Utilities                                                                               6,273                        -                         -
Deposits / Retainers                                                                        -                        -                         -
Legal - Bankruptcy retained professionals                                           2,358,617                        -                         -
Consulting - Bankruptcy retained professionals                                      1,135,299                        -                         -
Legal Fees - Ordinary Course                                                          359,869                        -                         -
Consulting - Ordinary Course                                                           11,380                        -                         -
U.S. Trustee Fees                                                                           -                        -                         -
Interest, short term notes                                                            442,708                        -                         -
Interest, DIP loan (June interest paid in May)                                              -                        -                         -
Loan Prinicpal Payments                                                            25,101,053                        -                         -
Property Taxes                                                                         36,517                        -                         -
Real Property Purchase                                                                      -                        -                         -
Board Fees                                                                             75,482                        -                         -
Travel, Employee Expenses                                                              16,777                        -                         -
Taxes, other                                                                                -                        -                         -
Structured Settlements                                                                      -                        -                         -
Capitalized Construction Costs                                                      5,001,896                        -                         -
TOTAL DISBURSEMENTS                                                       $        35,018,364   $                   49   $                     -

Net cash flow                                                                       4,664,148                    2,251                         -

CASH: END OF MONTH                                                        $        37,516,159   $               98,821   $               47,393
*Accounts other than Woodbridge DIP accounts are controlled by property
managers for rental properties owned by the Debtor. See detailed
explanation in notes to MOR-1a.




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WOODBRIDGE GROUP OF COMPANIES, LLC et al.
(Jointly Administered)
Cash Receipts and Disbursements*
Reporting Period: June 1-30, 2018
                                                                              All other
                                                               Debtor:        Debtors            Total
                                                              Case No.:
CASH: BEGINNING OF PERIOD                                                 $               -   $ 32,995,975

RECEIPTS
Sale of assets / Loan Payoff                                                              -     24,613,312
Rent and Interest Receipts                                                                -         38,731
Other Receipts                                                                            -         25,383
DIP loan draws                                                                            -     15,000,000
Property Tax Refund                                                                       -              -
Utility Refund                                                                            -            778
Insurance Refund                                                                          -          6,608
Structured Settlements                                                                    -              -
TOTAL RECEIPTS                                                                            -     39,684,812

DISBURSEMENTS
COS, Rentals                                                                              -          3,031
Bank Service Charge                                                                       -             44
Security Deposit Refunds                                                                  -              -
Dues and Subscriptions                                                                    -         16,301
Information Technology                                                                    -         31,632
Employee Benefits                                                                         -         14,147
Insurance                                                                                 -          7,910
Equipment Lease                                                                           -            351
Transfers among affiliate entities                                                        -              -
License and Filing Fees                                                                   -         20,230
Office Expense                                                                            -         16,793
Office Supplies                                                                           -         11,381
Outside Services                                                                          -         15,309
Moving                                                                                    -              -
Parking                                                                                   -              -
Payroll Net Wages                                                                         -        239,232
Payroll Taxes                                                                             -         86,069
Payroll Net Wages Mercer Vine                                                             -              -
Payroll Taxes Mercer Vine                                                                 -              -
Payroll, Net Wages Colorado Affiliate                                                     -              -
Payroll Taxes Colorado Affiliate                                                          -              -
Payroll-Service Fees                                                                      -            410
Payroll levees paid                                                                       -            377
Independent Contractors                                                                   -              -
Postage and Delivery                                                                      -          3,112
Rent                                                                                      -              -
Repairs and Maintenance                                                                   -            865
Security                                                                                  -          1,683
Storage                                                                                   -              -
Telephone and Internet Expense                                                            -          3,664
Utilities                                                                                 -          6,273
Deposits / Retainers                                                                      -              -
Legal - Bankruptcy retained professionals                                                 -      2,358,617
Consulting - Bankruptcy retained professionals                                            -      1,135,299
Legal Fees - Ordinary Course                                                              -        359,869
Consulting - Ordinary Course                                                              -         11,380
U.S. Trustee Fees                                                                         -              -
Interest, short term notes                                                                -        442,708
Interest, DIP loan (June interest paid in May)                                            -              -
Loan Prinicpal Payments                                                                   -     25,101,053
Property Taxes                                                                            -         36,517
Real Property Purchase                                                                    -              -
Board Fees                                                                                -         75,482
Travel, Employee Expenses                                                                 -         16,777
Taxes, other                                                                              -              -
Structured Settlements                                                                    -              -
Capitalized Construction Costs                                                            -      5,001,896
TOTAL DISBURSEMENTS                                                       $               -   $ 35,018,413

Net cash flow                                                                             -      4,666,399

CASH: END OF MONTH                                                        $               -   $ 37,662,374
*Accounts other than Woodbridge DIP accounts are controlled by property
managers for rental properties owned by the Debtor. See detailed
explanation in notes to MOR-1a.




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WOODBRIDGE GROUP OF COMPANIES, LLC et al.
(Jointly Administered)
Cash Receipts and Disbursements*
                                Cumulative: December 4, 2017
                                              - June 30, 2018
                                                                          Woodbridge Group of         Pennhurst         215 North 12th        Anchorpoint           Donnington
                                                               Debtor: Companies, LLC et al.*      Investments LLC       Street, LLC        Investments LLC      Investments LLC
                                                              Case No.:       17-12560                 18-10296           17-12561              17-12566             17-12744
CASH: BEGINNING OF PERIOD                                               $           13,452,999    $          39,248   $           13,850   $           3,915    $          17,710

RECEIPTS
Sale of assets                                                                      96,978,707                   -                    -                   -                    -
Rent and Interest Receipts                                                             619,763             571,852               43,507              48,609               49,919
Other Receipts                                                                         265,104                   -                    1                   0                    1
DIP loan draws                                                                      69,000,000                   -                    -                   -                    -
Property Tax Refund                                                                     75,160                   -                    -                   -                    -
Utility Refund                                                                           6,272                   -                    -                   -                    -
Insurance Refund                                                                       167,944                   -                    -                   -                    -
Structured Settlements                                                                  84,425                   -                    -                   -                    -
TOTAL RECEIPTS                                                                     167,197,375             571,852               43,509              48,609               49,921

DISBURSEMENTS**
COS, Rentals                                                                           159,422             254,092                2,751               3,645                3,732
Bank Service Charge                                                                     19,945               5,118                    -                  38                    -
Security Deposit Refunded                                                                    -                   -                    -                   -                    -
Dues and Subscriptions                                                                  67,303                   -                    -                   -                    -
Information Technology                                                                 286,734                   -                    -                   -                    -
Employee Benefits                                                                      200,094                   -                    -                   -                    -
Insurance                                                                              364,344                   -                    -                   -                    -
Equipment Lease                                                                          1,134                   -                    -                   -                    -
Transfers among affiliate entities                                                    (547,618)            253,069               54,607              48,841               63,899
License and Filing Fees                                                                 46,178                   -                    -                   -                    -
Office Expense                                                                         103,479                   -                    -                   -                    -
Office Supplies                                                                         27,238                   -                    -                   -                    -
Outside Services                                                                       377,387                   -                    -                   -                    -
Moving                                                                                  18,096                   -                    -                   -                    -
Parking                                                                                 39,322                   -                    -                   -                    -
Payroll Net Wages                                                                    3,065,833                   -                    -                   -                    -
Payroll Taxes                                                                        1,357,220                   -                    -                   -                    -
Payroll Net Wages Mercer Vine                                                           60,341                   -                    -                   -                    -
Payroll Taxes Mercer Vine                                                               17,578                   -                    -                   -                    -
Payroll, Net Wages Colorado Affiliate                                                    8,380                   -                    -                   -                    -
Payroll Taxes Colorado Affiliate                                                         4,326                   -                    -                   -                    -
Payroll-Service Fees                                                                     5,120                   -                    -                   -                    -
Payroll levees paid                                                                      4,277                   -                    -                   -                    -
Independent Contractors                                                                  6,000                   -                    -                   -                    -
Postage and Delivery                                                                    36,624                   -                    -                   -                    -
Rent                                                                                   432,889                   -                    -                   -                    -
Repairs and Maintenance                                                                 35,368                   -                    -                   -                    -
Security                                                                                 4,978                   -                    -                   -                    -
Storage                                                                                  8,103                   -                    -                   -                    -
Telephone and Internet Expense                                                          59,557                   -                    -                   -                    -
Utilities                                                                               25,653                   -                    -                   -                    -
Deposits / Retainers                                                                    94,612
Legal - Bankruptcy                                                                  12,053,729                    -                    -                   -                    -
Consulting - Bankruptcy                                                              5,784,963                    -                    -                   -                    -
Legal Fees - Ordinary Course                                                         1,062,961                    -                    -                   -                    -
Consulting - Ordinary Course                                                             9,886
U.S. Trustee Fees                                                                      540,725                    -                    -                   -                    -
Interest, short term notes                                                           2,332,914                    -                    -                   -                    -
Interest, DIP loan                                                                   3,077,042                    -                    -                   -                    -
Loan Prinicpal Payments                                                             55,101,053
Property Taxes                                                                       3,608,063                    -                    -                   -                    -
Real Property Purchase                                                               2,932,208
Board Fees                                                                             511,805                   -                    -                   -                    -
Travel, Employee Expenses                                                               92,563                   -                    -                   -                    -
Taxes, other                                                                           384,720                   -                    -                   -                    -
Structured Settlements                                                                   1,893                   -                    -                   -                    -
Capitalized Construction Costs                                                      49,249,771                   -                    -                   -                    -
TOTAL DISBURSEMENTS**                                                   $          143,134,214    $        512,278    $          57,358    $         52,524     $         67,630

Net cash flow                                                                       24,063,161              59,573              (13,850)              (3,915)            (17,710)

CASH: END OF MONTH                                                      $           37,516,160    $         98,821    $               0    $               -    $              0
*Accounts other than Woodbridge DIP accounts are controlled by
property managers for rental properties owned by the Debtor. See
detailed explanation in notes to MOR-1a.
**Cumulative disbursements were re-allocated to more accurately
show the use of the disbursed funds, in particular, the allocation of
funds disbursed between ordinary course and bankruptcy related
professional fees.



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WOODBRIDGE GROUP OF COMPANIES, LLC et al.
(Jointly Administered)
Cash Receipts and Disbursements*
                                Cumulative: December 4, 2017
                                              - June 30, 2018
                                                                              Fieldpoint            Gateshead        Carbondale Spruce         Topchord           Hawthorne
                                                               Debtor:     Investments LLC       Investments LLC         101 LLC            Investments LLC    Investments LLC
                                                              Case No.:        17-12794              17-12597            17-12568               17-12664
CASH: BEGINNING OF PERIOD                                                 $           4,308    $            17,581   $          13,447    $              571   $             -

RECEIPTS
Sale of assets                                                                           -                      -                    -                    -                  -
Rent and Interest Receipts                                                          33,649                 93,885               18,074                4,125             17,528
Other Receipts                                                                           0                    745                    1                    -                  -
DIP loan draws                                                                           -                      -                    -                    -                  -
Property Tax Refund                                                                      -                      -                    -                    -                  -
Utility Refund                                                                           -                      -                    -                    -                  -
Insurance Refund                                                                         -                      -                    -                    -                  -
Structured Settlements                                                                   -                      -                    -                    -                  -
TOTAL RECEIPTS                                                                      33,649                 94,631               18,075                4,125             17,528

DISBURSEMENTS**
COS, Rentals                                                                         2,833                 13,397                5,733                1,229                  -
Bank Service Charge                                                                      -                      -                   40                    8                  8
Security Deposit Refunded                                                                -                      -                6,071                    -                  -
Dues and Subscriptions                                                                   -                      -                    -                    -                  -
Information Technology                                                                   -                      -                    -                    -                  -
Employee Benefits                                                                        -                      -                    -                    -                  -
Insurance                                                                                -                      -                    -                    -                  -
Equipment Lease                                                                          -                      -                    -                    -                  -
Transfers among affiliate entities                                                  35,124                 98,814               19,679                3,459            (29,873)
License and Filing Fees                                                                  -                      -                    -                    -                  -
Office Expense                                                                           -                      -                    -                    -                  -
Office Supplies                                                                          -                      -                    -                    -                  -
Outside Services                                                                         -                      -                    -                    -                  -
Moving                                                                                   -                      -                    -                    -                  -
Parking                                                                                  -                      -                    -                    -                  -
Payroll Net Wages                                                                        -                      -                    -                    -                  -
Payroll Taxes                                                                            -                      -                    -                    -                  -
Payroll Net Wages Mercer Vine                                                            -                      -                    -                    -                  -
Payroll Taxes Mercer Vine                                                                -                      -                    -                    -                  -
Payroll, Net Wages Colorado Affiliate                                                    -                      -                    -                    -                  -
Payroll Taxes Colorado Affiliate                                                         -                      -                    -                    -                  -
Payroll-Service Fees                                                                     -                      -                    -                    -                  -
Payroll levees paid                                                                      -                      -                    -                    -                  -
Independent Contractors                                                                  -                      -                    -                    -                  -
Postage and Delivery                                                                     -                      -                    -                    -                  -
Rent                                                                                     -                      -                    -                    -                  -
Repairs and Maintenance                                                                  -                      -                    -                    -                  -
Security                                                                                 -                      -                    -                    -                  -
Storage                                                                                  -                      -                    -                    -                  -
Telephone and Internet Expense                                                           -                      -                    -                    -                  -
Utilities                                                                                -                      -                    -                    -                  -
Deposits / Retainers
Legal - Bankruptcy                                                                        -                      -                   -                     -                 -
Consulting - Bankruptcy                                                                   -                      -                   -                     -                 -
Legal Fees - Ordinary Course                                                              -                      -                   -                     -                 -
Consulting - Ordinary Course
U.S. Trustee Fees                                                                         -                      -                   -                     -                 -
Interest, short term notes                                                                -                      -                   -                     -                 -
Interest, DIP loan                                                                        -                      -                   -                     -                 -
Loan Prinicpal Payments
Property Taxes                                                                            -                      -                   -                     -                 -
Real Property Purchase
Board Fees                                                                               -                      -                    -                    -                  -
Travel, Employee Expenses                                                                -                      -                    -                    -                  -
Taxes, other                                                                             -                      -                    -                    -                  -
Structured Settlements                                                                   -                      -                    -                    -                  -
Capitalized Construction Costs                                                           -                      -                    -                    -                  -
TOTAL DISBURSEMENTS**                                                     $         37,957     $          112,211    $          31,523    $           4,696    $       (29,865)

Net cash flow                                                                        (4,308)              (17,581)             (13,448)                (571)            47,393

CASH: END OF MONTH                                                        $              (0) $                  0    $              (0) $                 (0) $         47,393
*Accounts other than Woodbridge DIP accounts are controlled by
property managers for rental properties owned by the Debtor. See
detailed explanation in notes to MOR-1a.
**Cumulative disbursements were re-allocated to more accurately
show the use of the disbursed funds, in particular, the allocation of
funds disbursed between ordinary course and bankruptcy related
professional fees.



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WOODBRIDGE GROUP OF COMPANIES, LLC et al.
(Jointly Administered)
Cash Receipts and Disbursements*
                                Cumulative: December 4, 2017
                                              - June 30, 2018
                                                                              All other
                                                               Debtor:        Debtors             Total
                                                              Case No.:
CASH: BEGINNING OF PERIOD                                                 $               -   $    13,563,629

RECEIPTS
Sale of assets                                                                            -        96,978,707
Rent and Interest Receipts                                                                -         1,500,912
Other Receipts                                                                            -           265,853
DIP loan draws                                                                            -        69,000,000
Property Tax Refund                                                                       -            75,160
Utility Refund                                                                            -             6,272
Insurance Refund                                                                          -           167,944
Structured Settlements                                                                    -            84,425
TOTAL RECEIPTS                                                                            -       168,079,272

DISBURSEMENTS**
COS, Rentals                                                                              -           446,834
Bank Service Charge                                                                       -            25,157
Security Deposit Refunded                                                                 -             6,071
Dues and Subscriptions                                                                    -            67,303
Information Technology                                                                    -           286,734
Employee Benefits                                                                         -           200,094
Insurance                                                                                 -           364,344
Equipment Lease                                                                           -             1,134
Transfers among affiliate entities                                                        -                (0)
License and Filing Fees                                                                   -            46,178
Office Expense                                                                            -           103,479
Office Supplies                                                                           -            27,238
Outside Services                                                                          -           377,387
Moving                                                                                    -            18,096
Parking                                                                                   -            39,322
Payroll Net Wages                                                                         -         3,065,833
Payroll Taxes                                                                             -         1,357,220
Payroll Net Wages Mercer Vine                                                             -            60,341
Payroll Taxes Mercer Vine                                                                 -            17,578
Payroll, Net Wages Colorado Affiliate                                                     -             8,380
Payroll Taxes Colorado Affiliate                                                          -             4,326
Payroll-Service Fees                                                                      -             5,120
Payroll levees paid                                                                       -             4,277
Independent Contractors                                                                   -             6,000
Postage and Delivery                                                                      -            36,624
Rent                                                                                      -           432,889
Repairs and Maintenance                                                                   -            35,368
Security                                                                                  -             4,978
Storage                                                                                   -             8,103
Telephone and Internet Expense                                                            -            59,557
Utilities                                                                                 -            25,653
Deposits / Retainers                                                                                   94,612
Legal - Bankruptcy                                                                        -        12,053,729
Consulting - Bankruptcy                                                                   -         5,784,963
Legal Fees - Ordinary Course                                                              -         1,062,961
Consulting - Ordinary Course                                                                            9,886
U.S. Trustee Fees                                                                         -           540,725
Interest, short term notes                                                                -         2,332,914
Interest, DIP loan                                                                        -         3,077,042
Loan Prinicpal Payments                                                                            55,101,053
Property Taxes                                                                            -         3,608,063
Real Property Purchase                                                                              2,932,208
Board Fees                                                                                -           511,805
Travel, Employee Expenses                                                                 -            92,563
Taxes, other                                                                              -           384,720
Structured Settlements                                                                    -             1,893
Capitalized Construction Costs                                                            -        49,249,771
TOTAL DISBURSEMENTS**                                                     $               -   $   143,980,527

Net cash flow                                                                             -        24,098,745

CASH: END OF MONTH                                                        $               -        37,662,374
*Accounts other than Woodbridge DIP accounts are controlled by
property managers for rental properties owned by the Debtor. See
detailed explanation in notes to MOR-1a.
**Cumulative disbursements were re-allocated to more accurately
show the use of the disbursed funds, in particular, the allocation of
funds disbursed between ordinary course and bankruptcy related
professional fees.



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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                   Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                   Reporting Period: 06/30/2018
Disbursements by and on behalf of Woodbridge Group and affiliated entities*
                                                                           Debtors         From Escrow                Total
 No.                          Debtor Name                Case No.      Disbursements        on Behalf            Disbursements
  1      1.Woodbridge Group of Companies, LLC         17-12560 (KJC)          12,605,605               -                 12,605,605
  2      215 North 12th Street, LLC                   17-12561 (KJC)                   -          75,642                     75,642
  3      Addison Park Investments, LLC                17-12563 (KJC)           1,266,790               -                  1,266,790
  4      Anchorpoint Investments, LLC                 17-12566 (KJC)                   -               -                          -
  5      Arborvitae Investments, LLC                  17-12572 (KJC)                   -               -                          -
  6      Archivolt Investments, LLC                   17-12574 (KJC)                   -               -                          -
  7      Arlington Ridge Investments, LLC             17-12576 (KJC)             360,116               -                    360,116
  8      Arrowpoint Investments, LLC                  17-12578 (KJC)                   -               -                          -
  9      Baleroy Investments, LLC                     17-12580 (KJC)                 816               -                        816
 10      Basswood Holding, LLC                        17-12600 (KJC)                   -               -                          -
 11      Bay Village Investments, LLC                 17-12604 (KJC)              10,388               -                     10,388
 12      Bear Brook Investments, LLC                  17-12610 (KJC)                   -               -                          -
 13      Beech Creek Investments, LLC                 17-12616 (KJC)               8,359               -                      8,359
 14      Bishop White Investments, LLC                17-12623 (KJC)          17,693,408               -                 17,693,408
 15      Black Bass Investments, LLC                  17-12641 (KJC)                   -               -                          -
 16      Black Locust Investments, LLC                17-12648 (KJC)                   -               -                          -
 17      Bluff Point Investments, LLC                 17-12722 (KJC)              10,634               -                     10,634
 18      Bowman Investments, LLC                      17-12753 (KJC)                   -               -                          -
 19      Bramley Investments, LLC                     17-12769 (KJC)               1,385               -                      1,385
 20      Brise Soleil Investments, LLC                17-12762 (KJC)                   -               -                          -
 21      Broadsands Investments, LLC                  17-12777 (KJC)                   -               -                          -
 22      Brynderwen Investments, LLC                  17-12793 (KJC)                   -               -                          -
 23      Cablestay Investments, LLC                   17-12798 (KJC)                   -               -                          -
 24      Cannington Investments, LLC                  17-12803 (KJC)               5,178               -                      5,178
 25      Carbondale Doocy, LLC                        17-12805 (KJC)                   -               -                          -
 26      Carbondale Glen Lot A-5, LLC                 17-12807 (KJC)                   -               -                          -
 27      Carbondale Glen Lot D-22, LLC                17-12809 (KJC)                   -          48,343                     48,343
 28      Carbondale Glen Lot E-24, LLC                17-12811 (KJC)                   -               -                          -
 29      Carbondale Glen Lot GV-13, LLC               17-12813 (KJC)                   -               -                          -
 30      Carbondale Glen Lot SD-14, LLC               17-12817 (KJC)                   -               -                          -
 31      Carbondale Glen Lot SD-23, LLC               17-12815 (KJC)                   -               -                          -
 32      Carbondale Glen Mesa Lot 19, LLC             17-12819 (KJC)                   -               -                          -
 33      Carbondale Glen River Mesa, LLC              17-12820 (KJC)              18,609               -                     18,609
 34      Carbondale Glen Sundance Ponds, LLC          17-12822 (KJC)                   -               -                          -
 35      Carbondale Glen Sweetgrass Vista, LLC        17-12564 (KJC)                   -          51,608                     51,608
 36      Carbondale Spruce 101, LLC                   17-12568 (KJC)               1,400               -                      1,400
 37      Carbondale Sundance Lot 15, LLC              17-12569 (KJC)                   -               -                          -
 38      Carbondale Sundance Lot 16, LLC              17-12570 (KJC)                   -               -                          -
 39      Castle Pines Investments, LLC                17-12581 (KJC)                   -               -                          -
 40      Centershot Investments, LLC                  17-12586 (KJC)                  96               -                         96
 41      Chaplin Investments, LLC                     17-12592 (KJC)                   -               -                          -
 42      Chestnut Investments, LLC                    17-12603 (KJC)              12,663               -                     12,663
 43      Chestnut Ridge Investments, LLC              17-12614 (KJC)              79,564               -                     79,564
 44      Clover Basin Investments, LLC                17-12621 (KJC)                 330               -                        330
 45      Coffee Creek Investments, LLC                17-12627 (KJC)                   -               -                          -
 46      Craven Investments, LLC                      17-12636 (KJC)                   -         390,390                    390,390
 47      Crossbeam Investments, LLC                   17-12650 (KJC)                   -               -                          -
 48      Crowfield Investments, LLC                   17-12660 (KJC)               3,387               -                      3,387
 49      Crystal Valley Holdings, LLC                 17-12666 (KJC)                   -               -                          -
 50      Crystal Woods Investments, LLC               17-12676 (KJC)                   -               -                          -
 51      Cuco Settlement, LLC                         17-12679 (KJC)                   -               -                          -
 52      Daleville Investments, LLC                   17-12687 (KJC)                   -               -                          -
 53      Derbyshire Investments, LLC                  17-12696 (KJC)               2,870               -                      2,870
 54      Diamond Cove Investments, LLC                17-12705 (KJC)               3,837               -                      3,837
 55      Dixville Notch Investments, LLC              17-12716 (KJC)                   -               -                          -
 56      Dogwood Valley Investments, LLC              17-12727 (KJC)                   -               -                          -
 57      Dollis Brook Investments, LLC                17-12735 (KJC)               1,349               -                      1,349
 58      Donnington Investments, LLC                  17-12744 (KJC)                   -          52,755                     52,755
 59      Doubleleaf Investments, LLC                  17-12755 (KJC)                   -               -                          -
 60      Drawspan Investments, LLC                    17-12767 (KJC)                 821               -                        821



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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                 Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                 Reporting Period: 06/30/2018
Disbursements by and on behalf of Woodbridge Group and affiliated entities*
                                                                           Debtors       From Escrow                Total
 No.                       Debtor Name                   Case No.      Disbursements      on Behalf            Disbursements
  61     Eldredge Investments, LLC                    17-12775 (KJC)           118,990               -                     118,990
  62     Elstar Investments, LLC                      17-12782 (KJC)            16,690               -                      16,690
  63     Emerald Lake Investments, LLC                17-12788 (KJC)                 -               -                           -
  64     Fieldpoint Investments, LLC                  17-12794 (KJC)                 -         114,862                     114,862
  65     Franconia Notch Investments, LLC             17-12797 (KJC)                 -               -                           -
  66     Gateshead Investments, LLC                   17-12597 (KJC)                 -         163,640                     163,640
  67     Glenn Rich Investments, LLC                  17-12602 (KJC)               277               -                         277
  68     Goose Rocks Investments, LLC                 17-12611 (KJC)                 -               -                           -
  69     Goosebrook Investments, LLC                  17-12617 (KJC)             8,937               -                       8,937
  70     Graeme Park Investments, LLC                 17-12622 (KJC)            14,197               -                      14,197
  71     Grand Midway Investments, LLC                17-12628 (KJC)            91,983               -                      91,983
  72     Gravenstein Investments, LLC                 17-12632 (KJC)           165,035               -                     165,035
  73     Green Gables Investments, LLC                17-12637 (KJC)           129,334               -                     129,334
  74     Grenadier Investments, LLC                   17-12643 (KJC)                 -               -                           -
 75      Grumblethorpe Investments, LLC               17-12649 (KJC)                 -               -                           -
 76      H11 Silk City Holding Company, LLC           17-12833 (KJC)                 -               -                           -
 77      H12 White Birch Holding Company, LLC         17-12699 (KJC)                 -               -                           -
 78      H13 Bay Village Holding Company, LLC         17-12591 (KJC)                 -               -                           -
  79     H14 Dixville Notch Holding Company, LLC      17-12712 (KJC)                 -               -                           -
  80     H15 Bear Brook Holding Company, LLC          17-12607 (KJC)                 -               -                           -
  81     H16 Monadnock Holding Company, LLC           17-12678 (KJC)                 -               -                           -
  82     H17 Pemigewasset Holding Company, LLC        17-12799 (KJC)                 -               -                           -
  83     H19 Emerald Lake Holding Company, LLC        17-12785 (KJC)                 -               -                           -
  84     H2 Arlington Ridge Holding Company, LLC      17-12575 (KJC)                 -               -                           -
  85     H20 Bluff Point Holding Company, LLC         17-12715 (KJC)                 -               -                           -
  86     H21 Summerfree Holding Company, LLC          17-12631 (KJC)                 -               -                           -
 87      H22 Papirovka Holding Company, LLC           17-12770 (KJC)                 -               -                           -
 88      H23 Pinova Holding Company, LLC              17-12810 (KJC)                 -               -                           -
 89      H24 Stayman Holding Company, LLC             17-12590 (KJC)                 -               -                           -
 90      H25 Elstar Holding Company, LLC              17-12779 (KJC)                 -               -                           -
 91      H26 Gravenstein Holding Company, LLC         17-12630 (KJC)                 -               -                           -
 92      H27 Grenadier Holding Company, LLC           17-12642 (KJC)                 -               -                           -
 93      H28 Black Locust Holding Company, LLC        17-12647 (KJC)                 -               -                           -
 94      H29 Zestar Holding Company, LLC              17-12789 (KJC)                 -               -                           -
 95      H30 Silver Maple Holding Company, LLC        17-12835 (KJC)                 -               -                           -
  96     H31 Addison Park Holding Company, LLC        17-12562 (KJC)                 -               -                           -
  97     H32 Arborvitae Holding Company, LLC          17-12567 (KJC)                 -               -                           -
  98     H35 Hornbeam Holding Company, LLC            17-12691 (KJC)                 -               -                           -
  99     H36 Sturmer Pippin Holding Company, LLC      17-12625 (KJC)                 -               -                           -
 100     H37 Idared Holding Company, LLC              17-12697 (KJC)                 -               -                           -
 101     H38 Mutsu Holding Company, LLC               17-12711 (KJC)                 -               -                           -
 102     H39 Haralson Holding Company, LLC            17-12661 (KJC)                 -               -                           -
 103     H4 Pawtuckaway Holding Company, LLC          17-12778 (KJC)                 -               -                           -
 104     H40 Bramley Holding Company, LLC             17-12766 (KJC)                 -               -                           -
 105     H41 Grumblethorpe Holding Company, LLC       17-12646 (KJC)                 -               -                           -
 106     H43 Lenni Heights Holding Company, LLC       17-12717 (KJC)                 -               -                           -
 107     H44 Green Gables Holding Company, LLC        17-12634 (KJC)                 -               -                           -
 108     H46 Beech Creek Holding Company, LLC         17-12612 (KJC)                 -               -                           -
 109     H47 Summit Cut Holding Company, LLC          17-12638 (KJC)                 -               -                           -
 110     H49 Bowman Holding Company, LLC              17-12725 (KJC)                 -               -                           -
 111     H5 Chestnut Ridge Holding Company, LLC       17-12608 (KJC)                 -               -                           -
 112     H51 Old Carbon Holding Company, LLC          17-12738 (KJC)                 -               -                           -
 113     H52 Willow Grove Holding Company, LLC        17-12729 (KJC)                 -               -                           -
 114     H53 Black Bass Holding Company, LLC          17-12639 (KJC)                 -               -                           -
 115     H54 Seven Stars Holding Company, LLC         17-12831 (KJC)                 -               -                           -
 116     H55 Old Maitland Holding Company, LLC        17-12747 (KJC)                 -               -                           -
 117     H56 Craven Holding Company, LLC              17-12633 (KJC)                 -               -                           -
 118     H58 Baleroy Holding Company, LLC             17-12579 (KJC)                 -               -                           -
 119     H59 Rising Sun Holding Company, LLC          17-12827 (KJC)                 -               -                           -
 120     H6 Lilac Meadow Holding Company, LLC         17-12724 (KJC)                 -               -                           -



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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                 Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                 Reporting Period: 06/30/2018
Disbursements by and on behalf of Woodbridge Group and affiliated entities*
                                                                           Debtors       From Escrow                Total
 No.                       Debtor Name                   Case No.      Disbursements      on Behalf            Disbursements
 121     H60 Moravian Holding Company, LLC            17-12686 (KJC)                 -                -                          -
 122     H61 Grand Midway Holding Company, LLC        17-12626 (KJC)                 -                -                          -
 123     H65 Thornbury Farm Holding Company, LLC      17-12644 (KJC)                 -                -                          -
 124     H66 Heilbron Manor Holding Company, LLC      17-12677 (KJC)                 -                -                          -
 125     H68 Graeme Park Holding Company, LLC         17-12620 (KJC)                 -                -                          -
 126     H7 Dogwood Valley Holding Company, LLC       17-12721 (KJC)                 -                -                          -
 127     H70 Bishop White Holding Company, LLC        17-12619 (KJC)                 -                -                          -
 128     H74 Imperial Aly Holding Company, LLC        17-12704 (KJC)                 -                -                          -
 129     H76 Diamond Cove Holding Company, LLC        17-12700 (KJC)                 -                -                          -
 130     H8 Melody Lane Holding Company, LLC          17-12756 (KJC)                 -                -                          -
 131     H9 Strawberry Fields Holding Company, LLC    17-12609 (KJC)                 -                -                          -
 132     Hackmatack Investments, LLC                  17-12653 (KJC)               453                -                        453
 133     Haffenburg Investments, LLC                  17-12659 (KJC)                 -                -                          -
 134     Haralson Investments, LLC                    17-12663 (KJC)                 -                -                          -
 135     Harringworth Investments, LLC                17-12669 (KJC)                 -                -                          -
 136     Hazelpoint Investments, LLC                  17-12674 (KJC)                 -                -                          -
 137     Heilbron Manor Investments, LLC              17-12681 (KJC)            11,778                -                     11,778
 138     Hollyline Holdings, LLC                      17-12684 (KJC)                 -                -                          -
 139     Hollyline Owners, LLC                        17-12688 (KJC)             5,539                -                      5,539
 140     Hornbeam Investments, LLC                    17-12694 (KJC)            15,608                -                     15,608
 141     Idared Investments, LLC                      17-12701 (KJC)               277                -                        277
 142     Imperial Aly Investments, LLC                17-12708 (KJC)            10,740                -                     10,740
 143     Ironsides Investments, LLC                   17-12714 (KJC)                 -                -                          -
 144     Lenni Heights Investments, LLC               17-12720 (KJC)                 -            7,706                      7,706
 145     Lilac Meadow Investments, LLC                17-12728 (KJC)           180,196                -                    180,196
 146     Lincolnshire Investments, LLC                17-12733 (KJC)               429                -                        429
 147     Lonetree Investments, LLC                    17-12740 (KJC)                 -                -                          -
 148     Longbourn Investments, LLC                   17-12746 (KJC)           217,899                -                    217,899
 149     M10 Gateshead Holding Company, LLC           17-12593 (KJC)                 -                -                          -
 150     M11 Anchorpoint Holding Company, LLC         17-12565 (KJC)                 -                -                          -
 151     M13 Cablestay Holding Company, LLC           17-12795 (KJC)                 -                -                          -
 152     M14 Crossbeam Holding Company, LLC           17-12645 (KJC)                 -                -                          -
 153     M15 Doubleleaf Holding Company, LLC          17-12749 (KJC)                 -                -                          -
 154     M17 Lincolnshire Holding Company, LLC        17-12730 (KJC)                 -                -                          -
 155     M19 Arrowpoint Holding Company, LLC          17-12577 (KJC)                 -                -                          -
 156     M22 Drawspan Holding Company, LLC            17-12764 (KJC)                 -                -                          -
 157     M24 Fieldpoint Holding Company, LLC          17-12791 (KJC)                 -                -                          -
 158     M25 Centershot Holding Company, LLC          17-12583 (KJC)                 -                -                          -
 159     M26 Archivolt Holding Company, LLC           17-12573 (KJC)                 -                -                          -
 160     M27 Brise Soleil Holding Company, LLC        17-12760 (KJC)                 -                -                          -
 161     M28 Broadsands Holding Company, LLC          17-12773 (KJC)                 -                -                          -
 162     M29 Brynderwen Holding Company, LLC          17-12781 (KJC)                 -                -                          -
 163     M31 Cannington Holding Company, LLC          17-12801 (KJC)                 -                -                          -
 164     M32 Dollis Brook Holding Company, LLC        17-12731 (KJC)                 -                -                          -
 165     M33 Harringworth Holding Company, LLC        17-12667 (KJC)                 -                -                          -
 166     M34 Quarterpost Holding Company, LLC         17-12814 (KJC)                 -                -                          -
 167     M36 Springline Holding Company, LLC          17-12584 (KJC)                 -                -                          -
 168     M37 Topchord Holding Company, LLC            17-12662 (KJC)                 -                -                          -
 169     M38 Pemberley Holding Company, LLC           17-12787 (KJC)                 -                -                          -
 170     M39 Derbyshire Holding Company, LLC          17-12692 (KJC)                 -                -                          -
 171     M40 Longbourn Holding Company, LLC           17-12742 (KJC)                 -                -                          -
 172     M41 Silverthorne Holding Company, LLC        17-12838 (KJC)                 -                -                          -
 173     M43 White Dome Holding Company, LLC          17-12706 (KJC)                 -                -                          -
 174     M44 Wildernest Holding Company, LLC          17-12718 (KJC)                 -                -                          -
 175     M45 Clover Basin Holding Company, LLC        17-12618 (KJC)                 -                -                          -
 176     M46 Owl Ridge Holding Company, LLC           17-12759 (KJC)                 -                -                          -
 177     M48 Vallecito Holding Company, LLC           17-12670 (KJC)                 -                -                          -
 178     M49 Squaretop Holding Company, LLC           17-12588 (KJC)                 -                -                          -
 179     M5 Stepstone Holding Company, LLC            17-12601 (KJC)                 -                -                          -
 180     M50 Wetterhorn Holding Company, LLC          17-12689 (KJC)                 -                -                          -



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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                 Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                 Reporting Period: 06/30/2018
Disbursements by and on behalf of Woodbridge Group and affiliated entities*
                                                                           Debtors       From Escrow                Total
 No.                       Debtor Name                   Case No.      Disbursements      on Behalf            Disbursements
 181     M51 Coffee Creek Holding Company, LLC        17-12624 (KJC)                 -                 -                         -
 182     M53 Castle Pines Holding Company, LLC        17-12571 (KJC)                 -                 -                         -
 183     M54 Lonetree Holding Company, LLC            17-12737 (KJC)                 -                 -                         -
 184     M56 Haffenburg Holding Company, LLC          17-12656 (KJC)                 -                 -                         -
 185     M57 Ridgecrest Holding Company, LLC          17-12818 (KJC)                 -                 -                         -
 186     M60 Thunder Basin Holding Company, LLC       17-12654 (KJC)                 -                 -                         -
 187     M61 Mineola Holding Company, LLC             17-12668 (KJC)                 -                 -                         -
 188     M62 Sagebrook Holding Company, LLC           17-12829 (KJC)                 -                 -                         -
 189     M63 Crowfield Holding Company, LLC           17-12655 (KJC)                 -                 -                         -
 190     M67 Mountain Spring Holding Company, LLC     17-12695 (KJC)                 -                 -                         -
 191     M68 Goosebrook Holding Company, LLC          17-12615 (KJC)                 -                 -                         -
 192     M70 Pinney Holding Company, LLC              17-12806 (KJC)                 -                 -                         -
 193     M71 Eldredge Holding Company, LLC            17-12771 (KJC)                 -                 -                         -
 194     M72 Daleville Holding Company, LLC           17-12683 (KJC)                 -                 -                         -
 195     M73 Mason Run Holding Company, LLC           17-12748 (KJC)                 -                 -                         -
 196     M74 Varga Holding Company, LLC               17-12680 (KJC)                 -                 -                         -
 197     M75 Riley Creek Holding Company, LLC         17-12825 (KJC)                 -                 -                         -
 198     M76 Chaplin Holding Company, LLC             17-12587 (KJC)                 -                 -                         -
 199     M79 Chestnut Holding Company, LLC            17-12595 (KJC)                 -                 -                         -
 200     M80 Hazelpoint Holding Company, LLC          17-12672 (KJC)                 -                 -                         -
 201     M83 Mt. Holly Holding Company, LLC           17-12703 (KJC)                 -                 -                         -
 202     M85 Glenn Rich Holding Company, LLC          17-12599 (KJC)                 -                 -                         -
 203     M86 Steele Hill Holding Company, LLC         17-12596 (KJC)                 -                 -                         -
 204     M87 Hackmatack Hills Holding Company, LLC    17-12652 (KJC)                 -                 -                         -
 205     M88 Franconia Notch Holding Company, LLC     17-12796 (KJC)                 -                 -                         -
 206     M9 Donnington Holding Company, LLC           17-12741 (KJC)                 -                 -                         -
 207     M90 Merrimack Valley Holding Company, LLC    17-12658 (KJC)                 -                 -                         -
 208     M91 Newville Holding Company, LLC            17-12726 (KJC)                 -                 -                         -
 209     M92 Crystal Woods Holding Company, LLC       17-12671 (KJC)                 -                 -                         -
 210     M93 Goose Rocks Holding Company, LLC         17-12605 (KJC)                 -                 -                         -
 211     M94 Winding Road Holding Company, LLC        17-12736 (KJC)                 -                 -                         -
 212     M95 Pepperwood Holding Company, LLC          17-12802 (KJC)                 -                 -                         -
 213     M97 Red Wood Holding Company, LLC            17-12823 (KJC)                 -                 -                         -
 214     M99 Ironsides Holding Company, LLC           17-12710 (KJC)                 -                 -                         -
 215     Mason Run Investments, LLC                   17-12751 (KJC)            45,661                 -                    45,661
 216     Melody Lane Investments, LLC                 17-12757 (KJC)                 -                 -                         -
 217     Merrimack Valley Investments, LLC            17-12665 (KJC)               277                 -                       277
 218     Mineola Investments, LLC                     17-12673 (KJC)                 -                 -                         -
 219     Monadnock Investments, LLC                   17-12682 (KJC)                 -                 -                         -
 220     Moravian Investments, LLC                    17-12690 (KJC)                 -                 -                         -
 221     Mountain Spring Investments, LLC             17-12698 (KJC)             1,050                 -                     1,050
 222     Mt. Holly Investments, LLC                   17-12707 (KJC)               158                 -                       158
 223     Mutsu Investments, LLC                       17-12719 (KJC)                 -                 -                         -
 224     Newville Investments, LLC                    17-12734 (KJC)                 -                 -                         -
 225     Old Carbon Investments, LLC                  17-12743 (KJC)                 -                 -                         -
 226     Old Maitland Investments, LLC                17-12752 (KJC)                51                 -                        51
 227     Owl Ridge Investments, LLC                   17-12763 (KJC)                 -                 -                         -
 228     Papirovka Investments, LLC                   17-12774 (KJC)                 -                 -                         -
 229     Pawtuckaway Investments, LLC                 17-12783 (KJC)           224,222                 -                   224,222
 230     Pemberley Investments, LLC                   17-12790 (KJC)               602                 -                       602
 231     Pemigewasset Investments, LLC                17-12800 (KJC)                 -                 -                         -
 232     Pepperwood Investments, LLC                  17-12804 (KJC)                 -                 -                         -
 233     Pinney Investments, LLC                      17-12808 (KJC)               640                 -                       640
 234     Pinova Investments, LLC                      17-12812 (KJC)                 -                 -                         -
 235     Quarterpost Investments, LLC                 17-12816 (KJC)                 -                 -                         -
 236     Red Woods Investments, LLC                   17-12824 (KJC)                 -                 -                         -
 237     Ridgecrest Investments, LLC                  17-12821 (KJC)                 -                 -                         -
 238     Riley Creek Investments, LLC                 17-12826 (KJC)            12,661                 -                    12,661
 239     Rising Sun Investments, LLC                  17-12828 (KJC)            12,730                 -                    12,730
 240     Sagebrook Investments, LLC                   17-12830 (KJC)                 -                 -                         -



       Page 17 of 139                                                                                        MOR-1 affiliate allocations
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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                       Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                       Reporting Period: 06/30/2018
Disbursements by and on behalf of Woodbridge Group and affiliated entities*
                                                                               Debtors         From Escrow                Total
 No.                        Debtor Name                       Case No.     Disbursements        on Behalf            Disbursements
 241      Seven Stars Investments, LLC                    17-12832 (KJC)                 -            11,278                      11,278
 242      Silk City Investments, LLC                      17-12834 (KJC)           383,831                 -                     383,831
 243      Silver Maple Investments, LLC                   17-12836 (KJC)                 -           398,947                     398,947
 244      Silverleaf Funding, LLC                         17-12837 (KJC)               529                 -                         529
 245      Silverthorne Investments, LLC                   17-12582 (KJC)                 -                 -                           -
 246      Springline Investments, LLC                     17-12585 (KJC)                 -                 -                           -
 247      Squaretop Investments, LLC                      17-12589 (KJC)           388,309                 -                     388,309
 248      Stayman Investments, LLC                        17-12594 (KJC)                 -                 -                           -
 249      Steele Hill Investments, LLC                    17-12598 (KJC)               277                 -                         277
 250      Stepstone Investments, LLC                      17-12606 (KJC)                 -                 -                           -
 251      Strawberry Fields Investments, LLC              17-12613 (KJC)                 -                 -                           -
 252      Sturmer Pippin Investments, LLC                 17-12629 (KJC)            15,638                 -                      15,638
 253      Summerfree Investments, LLC                     17-12635 (KJC)             6,966                 -                       6,966
 254      Summit Cut Investments, LLC                     17-12640 (KJC)            43,189                 -                      43,189
 255      Thornbury Farm Investments, LLC                 17-12651 (KJC)                 -                 -                           -
 256      Thunder Basin Investments, LLC                  17-12657 (KJC)                 -                 -                           -
 257      Topchord Investments, LLC                       17-12664 (KJC)                 -                 -                           -
 258      Vallecito Investments, LLC                      17-12675 (KJC)                 -                 -                           -
 259      Varga Investments, LLC                          17-12685 (KJC)           176,549                 -                     176,549
 260      Wetterhorn Investments, LLC                     17-12693 (KJC)                 -                 -                           -
 261      White Birch Investments, LLC                    17-12702 (KJC)           187,426                 -                     187,426
 262      White Dome Investments, LLC                     17-12709 (KJC)                 -                 -                           -
 263      Whiteacre Funding LLC                           17-12713 (KJC)             2,592                 -                       2,592
 264      Wildernest Investments, LLC                     17-12723 (KJC)               585                 -                         585
 265      Willow Grove Investments, LLC                   17-12732 (KJC)               211                 -                         211
 266      Winding Road Investments, LLC                   17-12739 (KJC)           426,631                 -                     426,631
 267      WMF Management, LLC                             17-12745 (KJC)                 -                 -                           -
 268      Woodbridge Capital Investments, LLC             17-12750 (KJC)                 -                 -                           -
 269      Woodbridge Commercial Bridge Loan Fund 1, LLC   17-12754 (KJC)                 -                 -                           -
 270      Woodbridge Commercial Bridge Loan Fund 2, LLC   17-12758 (KJC)                 -                 -                           -
 271      Woodbridge Investments, LLC                     17-12761 (KJC)                 -                 -                           -
 272      Woodbridge Mezzanine Fund 1, LLC                17-12765 (KJC)                 -                 -                           -
 273      Woodbridge Mortgage Investment Fund 1, LLC      17-12768 (KJC)                65                 -                          65
 274      Woodbridge Mortgage Investment Fund 2, LLC      17-12772 (KJC)                 -                 -                           -
 275      Woodbridge Mortgage Investment Fund 3, LLC      17-12776 (KJC)                 -                 -                           -
 276      Woodbridge Mortgage Investment Fund 3A, LLC     17-12780 (KJC)                 -                 -                           -
 277      Woodbridge Mortgage Investment Fund 4, LLC      17-12784 (KJC)                 -                 -                           -
 278      Woodbridge Structured Funding, LLC              17-12786 (KJC)                 -                 -                           -
 279      Zestar Investments, LLC                         17-12792 (KJC)             5,082                 -                       5,082
         SECOND ROUND FILERS: FILED 02/09/2018
 280      Carbondale Glen Lot L-2, LLC                    18-10284 (KJC)               100                  -                        100
 281      Carbondale Peaks Lot L-1, LLC                   18-10286 (KJC)               317                  -                        317
 282      H18 Massabesic Holding Company, LLC             18-10287 (KJC)                 -                  -                          -
 283      H33 Hawthorn Holding Company, LLC               18-10288 (KJC)                 -                  -                          -
 284      H50 Sachs Bridge Holding Company, LLC           18-10289 (KJC)                 -                  -                          -
 285      H64 Pennhurst Holding Company, LLC              18-10290 (KJC)                 -                  -                          -
 286      Hawthorn Investments, LLC                       18-10291 (KJC)                 -                  -                          -
 287      Lilac Valley Investments, LLC                   18-10292 (KJC)                 -             39,724                     39,724
 288      Massabesic Investments, LLC                     18-10293 (KJC)                 -                  -                          -
 289      M58 Springvale Holding Company, LLC             18-10294 (KJC)                 -                  -                          -
 290      M96 Lilac Valley Holding Company, LLC           18-10295 (KJC)                 -                  -                          -
 291      Pennhurst Investments, LLC                      18-10296 (KJC)                 -                  -                          -
 292      Sachs Bridge Investments, LLC                   18-10297 (KJC)                 -              21405                     21,405
 293      Springvale Investments, LLC                     18-10298 (KJC)             6,094                  -                      6,094
         THIRD ROUND FILERS: FILED 03/09/2018
294      Bellflower Funding, LLC                          18-10507(KJC)                    -           40,560                     40,560
295      Wall 123, LLC                                    18-10508(KJC)                    -                -                          -
         FOURTH ROUND FILERS: FILED 03/23/2018
296      695 Buggy Circle, LLC                            18-10670(KJC)                    -                 -                          -
297      Blazingstar Funding, LLC                         18-10671(KJC)                    -                 -                          -



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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                  Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                  Reporting Period: 06/30/2018
Disbursements by and on behalf of Woodbridge Group and affiliated entities*
                                                                                      Debtors             From Escrow                 Total
 No.                        Debtor Name                          Case No.         Disbursements            on Behalf             Disbursements
298      Buggy Circle Holdings, LLC                          18-10672(KJC)                        -                     -                            -
299      Deerfield Park Investments, LLC                     18-10673(KJC)                        -                     -                            -
300      H10 Deerfield Park Holding Company, LLC             18-10674(KJC)                        -                     -                            -
301      Kirkstead Investments, LLC                          18-10675(KJC)                        -                     -                            -
302      M16 Kirkstead Holding Company, LLC                  18-10676(KJC)                        -                     -                            -
         FIFTH ROUND FILERS: FILED 03/27/2018
303      Frog Rock Investments, LLC                          18-10733(KJC)                      -                      -                           -
304      M77 Frog Rock Holding Company, LLC                  18-10734(KJC)                      -                      -                           -
305      M89 Mount Washington Holding Company, LLC           18-10735(KJC)                      -                      -                           -
306      Mount Washington Investments, LLC                   18-10736(KJC)                      -                      -                           -
                                                     TOTAL                    $        35,018,413     $        1,416,859    $             36,435,272

         * Woodbridge Group of Companies, LLC makes all disbursements for or on behalf of all of the consolidated group of Debtor entities out of
         Woodbridge Group, LLC DIP bank accounts, with the exception of amounts paid by 3rd party property managers from accounts under their
         control and amounts paid from Escrow by Title companies engaged to close real property sales.




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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                      Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                                                          Reporting Period: 06/30/2018

                                                  SCHEDULE OF PROFESSIONAL FEES AND EXPENSES PAID
                                           This schedule is to include all retained professional payments from case inception to current month.

                                      Period          Amount                                                 Check                       Amount Paid                  Year-To-Date
              Payee                  Covered         Approved         Payor                            Number      Date                Fees      Expenses           Fees       Expenses
RETAINED PROFESSIONALS - NOT SUBJECT TO INTERIM COMPENSATION ORDER
Sierra Constellation Partners, December 2017 through   744,657.03 Woodbridge Group                       Wire         3/22/2018      711,551.93    33,105.10       711,551.93     33,105.10
LLC                                   February 2018

Development Specialists, Inc.           February 2018       679,727.13       Woodbridge Group            Wire          4/9/2018      673,284.50     6,442.63
Development Specialists, Inc.             March 2018        686,764.12       Woodbridge Group            3118          5/8/2018      669,856.50    16,907.62
Development Specialists, Inc.              April 2018       542,570.68       Woodbridge Group            3826         6/13/2018      529,122.25    13,448.43     1,872,263.25     36,798.68

Garden City Group                            Advance         70,000.00       Woodbridge Group            Wire         12/7/2017       70,000.00
Garden City Group                            Advance         15,500.00       Woodbridge Group            Wire        12/26/2017       15,500.00
Garden City Group                            Advance         21,000.00       Woodbridge Group            Wire         1/12/2018       21,000.00
Garden City Group                      December 2017        143,167.64       Woodbridge Group            1520          3/5/2018     103,379.23     39,788.41
Garden City Group                        January 2018      192,514.88        Woodbridge Group            2056         4/13/2018     160,403.73     32,111.15
Garden City Group                            Advance        23,000.00        Woodbridge Group            2068         4/13/2018      23,000.00
Garden City Group                       February 2018      220,148.13        Woodbridge Group            3120          5/8/2018     194,897.23     25,250.90
Garden City Group                          March 218        252,114.12       Woodbridge Group            3671          6/7/2018     226,361.84     25,752.28       814,542.03    122,902.74

Prosek, LLC                     December 2017 through       303,401.55       Woodbridge Group            1622         3/16/2018      303,401.55
                                         January 2018
Prosek, LLC                            February 2018         18,968.60       Woodbridge Group            3320         5/15/2018       18,968.60
Prosek, LLC                                    Dec-17           800.00       Woodbridge Group            3545         5/23/2018            0.00       800.00       322,370.15        800.00

Navigant                                 January 2108          9,101.00      Woodbridge Group            1530          3/5/2018         7,085.00    2,018.00
Navigant                                February 2018          3,907.50      Woodbridge Group            1964          4/6/2018         3,547.50      360.00        10,632.50      2,378.00

RETAINED PROFESSIONALS SUBJECT TO INTERIM COMPENSATION ORDER
Gibson, Dunn & Crutcher LLP December 2017 1,321,389.12  Woodbridge Group                                 Wire         3/16/2018 1,274,082.60       47,306.52
Gibson, Dunn & Crutcher LLP   January 2018 1,707,063.52 Woodbridge Group                                 Wire         4/12/2018 1,656,735.20       50,328.32
Gibson, Dunn & Crutcher LLP   February 208   670,451.37 Woodbridge Group                                 3319         5/15/2018 653,976.20         16,475.17     3,584,794.00    114,110.01

Klee Tuchin Bogdanoff Stern             February 2018      343,744.87        Woodbridge Group            Wire         3/16/2018     331,402.80     12,342.07
Klee Tuchin Bogdanoff Stern               March 2018       878,193.08        Woodbridge Group            3245          5/9/2018     856,662.00     21,531.08
Klee Tuchin Bogdanoff Stern                April 2018      593,980.40        Woodbridge Group            3794         6/14/2018     582,118.00     11,862.40     1,770,182.80     45,735.55

Young Conaway Stargatt &                 January 2018      553,627.73        Woodbridge Group            Wire         4/12/2018     514,255.60     35,666.19
Taylor
Young Conaway Stargatt &               December 2017         93,744.87       Woodbridge Group            Wire         3/16/2018     331,402.80     16,416.03
Taylor


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                                         SCHEDULE OF PROFESSIONAL FEES AND EXPENSES PAID
                                  This schedule is to include all retained professional payments from case inception to current month.

                               Period             Amount                                            Check                       Amount Paid              Year-To-Date
           Payee              Covered            Approved               Payor                 Number      Date               Fees       Expenses       Fees       Expenses
Young Conaway Stargatt &       February 2018       461,503.92       Woodbridge Group           3119       5/8/2018         440,034.00   21,469.92
Taylor
Young Conaway Stargatt &         March 2018        419,962.14       Woodbridge Group            3670          6/7/2018     375,400.00    44,562.14
Taylor
Young Conaway Stargatt &          April 2018       369,857.24       Woodbridge Group            3882         6/27/2018     332,804.40    37,052.84   1,993,896.80   155,167.12
Taylor

Homer Bonner Jacobs P.A.      December 2017-        40,969.60       Woodbridge Group            2019         4/11/2018      40,969.60          -                          -
                                January 2018
Homer Bonner Jacobs P.A.       February 2018        60,503.64       Woodbridge Group            3054          5/3/2018      46,484.00    14,019.64
Homer Bonner Jacobs P.A.         March 2018         52,098.92       Woodbridge Group            3669          6/7/2018      40,547.60    11,551.32    128,001.20     25,570.96

Garden City Group               January 2018        40,969.00       Woodbridge Group            2019         4/11/2018      40,969.00          -
Garden City Group              February 2018        22,986.00       Woodbridge Group            3542         5/23/2018      22,986.00          -
Garden City Group                March 2018         51,418.80       Woodbridge Group            3748         6/14/2018      51,418.80          -      115,373.80          0.00

Province, Inc.                December 2017        194,617.30       Woodbridge Group            1501          3/2/2018     186,047.50     8,569.80
Province, Inc.                  January 2018       162,437.36       Woodbridge Group            3203        05/08/2018     160,000.00     2,437.36
Province, Inc.                 February 2018       163,412.43       Woodbridge Group            3548        05/23/2018     160,000.00     3,412.43
Province, Inc.                   March 2018        163,852.73       Woodbridge Group            3832        06/21/2018     160,000.00     3,852.73    666,047.50     18,272.32

Pachulski Stang Ziehl et al   December 2017       434,592.21        Woodbridge Group            1795         3/28/2018     422,223.60    12,368.61
Pachulski Stang Ziehl et al     January 2018      839,290.67        Woodbridge Group            3266         5/10/2018     794,139.20    45,151.47
Pachulski Stang Ziehl et al    February 2018      311,430.97        Woodbridge Group            3543         5/23/2018     301,058.80    10,372.17
Pachulski Stang Ziehl et al      March 2018       306,762.62        Woodbridge Group            3904         6/29/2018     299,250.40     7,512.22
Pachulski Stang Ziehl et al       April 2018      438,879.06        Woodbridge Group            3905         6/29/2018     420,392.00    18,478.06   2,237,064.00    93,882.53

FTI Consulting                December 2017       271,989.00        Woodbridge Group            1796         3/28/2018     271,676.00       313.00
FTI Consulting                  January 2018      556,304.48        Woodbridge Group            3264         5/10/2018     548,489.00       785.68
FTI Consulting                 February 2018      362,318.93        Woodbridge Group            3544         5/23/2018     360,721.20     1,597.73
FTI Consulting                   March 2018       296,379.72        Woodbridge Group            3878         6/27/2018     293,110.00     3,269.72   1,473,996.20     5,966.13

Berger Singerman LLP            January 2018       48,711.94        Woodbridge Group            1794         3/28/2018      47,539.60     1,172.34
Berger Singerman LLP           February 2018       29,337.19        Woodbridge Group            3265         5/10/2018      28,973.36       363.83
Berger Singerman LLP             March 2018        13,591.70        Woodbridge Group            3881         6/27/2018      13,876.00        75.70     90,388.96      1,611.87

Venable LLP                    February 2018      613,636.47        Woodbridge Group            2705         4/26/2018     586,502.20    27,134.27
Venable LLP                      March 2018       427,973.90        Woodbridge Group            3540         5/23/2018     410,560.60    17,413.30
Venable LLP                       April 2018      133,657.88        Woodbridge Group            3861         6/29/2018     132,123.20     1,534.34   1,129,186.00    46,081.91




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                                     SCHEDULE OF PROFESSIONAL FEES AND EXPENSES PAID
                              This schedule is to include all retained professional payments from case inception to current month.

                           Period             Amount                                            Check                       Amount Paid               Year-To-Date
           Payee          Covered            Approved               Payor                 Number       Date              Fees       Expenses        Fees       Expenses
Moelis & Company            January 2018      226,467.85        Woodbridge Group           3261       5/10/2018        150,000.00   76,467.85     150,000.00   76,467.85

Elise S. Frejka            February 2018       40,641.88        Woodbridge Group            3649         5/31/2018      40,470.00      171.88      40,470.00       171.88

Berkeley Research Group      March 2018        63,787.20        Woodbridge Group            3736         6/14/2018      63,787.20         -
Berkeley Research Group       April 2018       68,708.40        Woodbridge Group            3737         6/14/2018      68,708.40         -       132,495.60           -

                                                                                                                                                17,243,256.72   779,022.65




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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                               Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                               Reporting Period: 06/30/2018

FINANCIAL STATEMENTS*

DEBTORS AND AFFILIATED ENTITIES WITH FINANCIAL STATEMENTS INCLUDED WITH THIS REPORT ARE INDICATED BELOW**:
                                                                                                                                             Statement
 #                            Entity                ID                             Property Address                              Bal Sheet   Operations
 1      1. Woodbridge Group of Companies, LLC   17-12560                                                                             X            X
 2      215 North 12th Street, LLC              17-12561   215 North 12th Street Carbondale CO      SOLD 06/22/2018                  X            X

 3      Addison Park Investments, LLC           17-12563   642 N. St. Cloud Bel Air 90077 CA                                        X            X
 4      Anchorpoint Investments, LLC            17-12566   201 Main Street, Units 102, 202, 203, 204 and 303 Carbondale, CO         X            X

  5     Arborvitae Investments, LLC             17-12572   43 Indian Paintbrush Aspen Glen Carbondale CO                            X            X
  6     Archivolt Investments, LLC              17-12574   47 Mustang Circle Snowmass Village CO                                    X            X
  7     Arlington Ridge Investments, LLC        17-12576   1357 Laurel Way Beverly Hills 90210 CA                                   X            X
  8     Arrowpoint Investments, LLC             17-12578   125 River Park Aspen Glen Carbondale CO                                  X            X
  9     Baleroy Investments, LLC                17-12580   108 W Diamond A Ranch Rd Aspen Glen Carbondale CO                        X            X
 10     Basswood Holding, LLC                   17-12600   None Known                                                               X            X
 11     Bay Village Investments, LLC            17-12604   1432 Tanager Los Angeles 90069 CA                                        X            X
 12     Bear Brook Investments, LLC             17-12610   TBD Spire Ridge Way - Lot H-10, Aspen Glen Filing No. 6 Aspen Glen       X            X
                                                           Carbondale CO
 13     Beech Creek Investments, LLC            17-12616   59 Rivers Bend Aspen Glen Carbondale CO                                  X            X
 14     Bishop White Investments, LLC           17-12623   805 Nimes Place Bel Air 90077 CA                                         X            X
 15     Black Bass Investments, LLC             17-12641   TBD Sweetgrass - Lot D-20, Aspen Glen Filing No. 1 Aspen Glen            X            X
                                                           Carbondale CO
 16     Black Locust Investments, LLC           17-12648   TBD Brookie, Aspen Glen Carbondale CO                                    X            X
 17     Bluff Point Investments, LLC            17-12722   9212 Nightingale Drive Los Angeles 90069 CA                              X            X
 18     Bowman Investments, LLC                 17-12753   TBD Golden Bear - Lot 15, The Fairways at Aspen Glen Aspen Glen          X            X
                                                           Carbondale CO
 19     Bramley Investments, LLC                17-12769   719-761 Perry Ridge Carbondale CO                                        X            X
 20     Brise Soleil Investments, LLC           17-12762   Various                                                                  X            X
 21     Broadsands Investments, LLC             17-12777   TBD Sundance Trail - Lots SD-7, SD-13 and SD-24, Aspen Glen Filing       X            X
                                                           4 Aspen Glen Carbondale CO
 22     Brynderwen Investments, LLC             17-12793   None owned                                                               X            X
 23     Cablestay Investments, LLC              17-12798   24025 Hidden Ridge Road Hidden Hills 91302 CA SOLD                       X            X
                                                           05/03/2018
 24     Cannington Investments, LLC             17-12803   1118 Tower Road Beverly Hills 90210 CA                                   X            X
 25     Carbondale Doocy, LLC                   17-12805   None Known                                                               X            X
 26     Carbondale Glen Lot A-5, LLC            17-12807   360 Rivers Bend Aspen Glen Carbondale CO                                 X            X
 27     Carbondale Glen Lot D-22, LLC           17-12809   63 Sopris Vista/Sweetgrass OR 63 Sweetgrass Dr Aspen Glen                X            X
                                                           Carbondale CO                     SOLD 06/22/2018
 28     Carbondale Glen Lot E-24, LLC           17-12811   225 Diamond A Ranch Road Aspen Glen Carbondale CO                        X            X
 29     Carbondale Glen Lot GV-13, LLC          17-12813   TBD Mariposa - Lot GV-13, Aspen Glen Filing 2 Aspen Glen                 X            X
                                                           Carbondale CO
 30     Carbondale Glen Lot SD-14, LLC          17-12817   TBD Sundance Trail - Lot SD-14, Aspen Glen Filing 4 Aspen Glen           X            X
                                                           Carbondale CO
 31     Carbondale Glen Lot SD-23, LLC          17-12815   TBD Sundance Trail - Lot SD-23, Aspen Glen Filing 4 Aspen Glen           X            X
                                                           Carbondale CO
 32     Carbondale Glen Mesa Lot 19, LLC        17-12819   TBD Golden Stone Drive Aspen Glen Carbondale CO                          X            X
 33     Carbondale Glen River Mesa, LLC         17-12820   824, 918 Brookie Aspen Glen Carbondale CO                                X            X
 34     Carbondale Glen Sundance Ponds, LLC     17-12822   TBD Bald Eagle Way/Sundance Trial Aspen Glen Carbondale CO               X            X

 35     Carbondale Glen Sweetgrass Vista, LLC   17-12564   Various                                                                  X            X
 36     Carbondale Spruce 101, LLC              17-12568   201 Main Street, Unit 101 Carbondale, CO                                 X            X
 37     Carbondale Sundance Lot 15, LLC         17-12569   TBD Sundance Trail - Lot SD-15, Aspen Glen Filing 4 Aspen Glen           X            X
                                                           Carbondale CO
 38     Carbondale Sundance Lot 16, LLC         17-12570   TBD Sundance Trail - Lot SD-16, Aspen Glen Filing 4 Aspen Glen           X            X
                                                           Carbondale CO
 39     Castle Pines Investments, LLC           17-12581   34 Mariposa Aspen Glen Carbondale CO                                     X            X
 40     Centershot Investments, LLC             17-12586   8692 Franklin Los Angeles 90069 CA                                       X            X
 41     Chaplin Investments, LLC                17-12592   TBD Golden Stone Drive - Lot 13, Roaring Fork Mesa at Aspen Glen         X            X
                                                           Aspen Glen Carbondale CO
 42     Chestnut Investments, LLC               17-12603   10733 Stradella Crt. Beverly Hills 90212 CA                              X            X
 43     Chestnut Ridge Investments, LLC         17-12614   10750 Chalon Road Los Angeles 90210 CA                                   X            X
 44     Clover Basin Investments, LLC           17-12621   TBD Two Creeks Drive OR 1061 Two Creeks Snowmass Village CO              X            X

 45     Coffee Creek Investments, LLC           17-12627   82 Fox Prowl Aspen Glen Carbondale CO                                    X            X
 46     Craven Investments, LLC                 17-12636   25085 Ashley Ridge Road Hidden Hills 91302 CA                            X            X
 47     Crossbeam Investments, LLC              17-12650   purchase pending                                                         X            X
 48     Crowfield Investments, LLC              17-12660   1241 Loma Vista Beverly Hills 90210 CA                                   X            X



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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                             Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                             Reporting Period: 06/30/2018

FINANCIAL STATEMENTS*

DEBTORS AND AFFILIATED ENTITIES WITH FINANCIAL STATEMENTS INCLUDED WITH THIS REPORT ARE INDICATED BELOW**:
                                                                                                                                           Statement
  #                           Entity                 ID                            Property Address                            Bal Sheet   Operations
 49    Crystal Valley Holdings, LLC              17-12666                                                                          X            X
 50    Crystal Woods Investments, LLC            17-12676   16 Puma Aspen Glen Carbondale CO                                       X            X
 51    Cuco Settlement, LLC                      17-12679                                                                          X            X
 52    Daleville Investments, LLC                17-12687   39 Buffalo Lane Aspen Glen Carbondale CO                               X            X
 53    Derbyshire Investments, LLC               17-12696   26 Saddlehorn Ct Aspen Glen Carbondale CO                              X            X
 54    Diamond Cove Investments, LLC             17-12705   1 Electra Court Los Angeles 90046 CA                                   X            X
 55    Dixville Notch Investments, LLC           17-12716   177 W. Diamond A Ranch Road Aspen Glen Carbondale CO                   X            X

 56    Dogwood Valley Investments, LLC           17-12727   Lot WP3, Garfield CO                                                  X            X
 57    Dollis Brook Investments, LLC             17-12735   38 E Diamond A Ranch Rd Carbondale CO                                 X            X
 58    Donnington Investments, LLC               17-12744   Various                                                               X            X
 59    Doubleleaf Investments, LLC               17-12755   4030 Madelia Ave Sherman Oaks 91403 CA                                X            X
 60    Drawspan Investments, LLC                 17-12767   3843 Hayvenhurst Ave Encino 91436 CA                                  X            X
 61    Eldredge Investments, LLC                 17-12775   714 N. Oakhurst Beverly Hills 90210 CA                                X            X
 62    Elstar Investments, LLC                   17-12782   1520 Carla Ridge Beverly Hills 90210 CA                               X            X
 63    Emerald Lake Investments, LLC             17-12788   4030 Longridge Ave Sherman Oaks CA                                    X            X
 64    Fieldpoint Investments, LLC               17-12794   809 Grand Avenue Glenwood Springs CO SOLD 06/22/2018                  X            X
 65    Franconia Notch Investments, LLC          17-12797   TBD Wader Lane, Lot 54, Roaring Fork Mesa Aspen Glen Carbondale       X            X
                                                            CO
 66    Gateshead Investments, LLC                17-12597   981 and 995 Cowen Drive Carbondale CO                                 X            X
 67    Glenn Rich Investments, LLC               17-12602   4123 Crystal Bridge Drive Carbondale CO                               X            X
 68    Goose Rocks Investments, LLC              17-12611   9127 Thrasher Los Angeles 90069 CA                                    X            X
 69    Goosebrook Investments, LLC               17-12617   2600 Hutton Beverly Hills 90210 CA                                    X            X
 70    Graeme Park Investments, LLC              17-12622   1011 N. Hillcrest Road Beverly Hills 90210 CA                         X            X
 71    Grand Midway Investments, LLC             17-12628   800 Stradella Rd Bel Air 90077 CA                                     X            X
 72    Gravenstein Investments, LLC              17-12632   24055 Hidden Ridge Road Hidden Hills 91302 CA                         X            X
 73    Green Gables Investments, LLC             17-12637   41 King Street New York 10014 NY                                      X            X
 74    Grenadier Investments, LLC                17-12643   TBD Sundance Trail, Lot SD-12, Aspen Glen Aspen Glen Carbondale       X            X
                                                            CO
  75   Grumblethorpe Investments, LLC            17-12649   61 Wader Aspen Glen Carbondale CO                                     X            X
  76   H11 Silk City Holding Company, LLC        17-12833                                                                         X            X
  77   H12 White Birch Holding Company, LLC      17-12699                                                                         X            X
  78   H13 Bay Village Holding Company, LLC      17-12591                                                                         X            X
  79   H14 Dixville Notch Holding Company, LLC   17-12712                                                                         X            X
  80   H15 Bear Brook Holding Company, LLC       17-12607                                                                         X            X
  81   H16 Monadnock Holding Company, LLC        17-12678                                                                         X            X
  82   H17 Pemigewasset Holding Company, LLC     17-12799                                                                         X            X
  83   H19 Emerald Lake Holding Company, LLC     17-12785                                                                         X            X
  84   H2 Arlington Ridge Holding Company, LLC   17-12575                                                                         X            X
  85   H20 Bluff Point Holding Company, LLC      17-12715                                                                         X            X
  86   H21 Summerfree Holding Company, LLC       17-12631                                                                         X            X
  87   H22 Papirovka Holding Company, LLC        17-12770                                                                         X            X
  88   H23 Pinova Holding Company, LLC           17-12810                                                                         X            X
  89   H24 Stayman Holding Company, LLC          17-12590                                                                         X            X
  90   H25 Elstar Holding Company, LLC           17-12779                                                                         X            X
  91   H26 Gravenstein Holding Company, LLC      17-12630                                                                         X            X
  92   H27 Grenadier Holding Company, LLC        17-12642                                                                         X            X
  93   H28 Black Locust Holding Company, LLC     17-12647                                                                         X            X
  94   H29 Zestar Holding Company, LLC           17-12789                                                                         X            X
  95   H30 Silver Maple Holding Company, LLC     17-12835                                                                         X            X
  96   H31 Addison Park Holding Company, LLC     17-12562                                                                         X            X
  97   H32 Arborvitae Holding Company, LLC       17-12567                                                                         X            X
  98   H35 Hornbeam Holding Company, LLC         17-12691                                                                         X            X
  99   H36 Sturmer Pippin Holding Company, LLC   17-12625                                                                         X            X
 100   H37 Idared Holding Company, LLC           17-12697                                                                         X            X
 101   H38 Mutsu Holding Company, LLC            17-12711                                                                         X            X
 102   H39 Haralson Holding Company, LLC         17-12661                                                                         X            X
 103   H4 Pawtuckaway Holding Company, LLC       17-12778                                                                         X            X
 104   H40 Bramley Holding Company, LLC          17-12766                                                                         X            X
 105   H41 Grumblethorpe Holding Company, LLC    17-12646                                                                         X            X
 106   H43 Lenni Heights Holding Company, LLC    17-12717                                                                         X            X
 107   H44 Green Gables Holding Company, LLC     17-12634                                                                         X            X



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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                  Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                  Reporting Period: 06/30/2018

FINANCIAL STATEMENTS*

DEBTORS AND AFFILIATED ENTITIES WITH FINANCIAL STATEMENTS INCLUDED WITH THIS REPORT ARE INDICATED BELOW**:
                                                                                                                                            Statement
  #                          Entity                    ID                             Property Address                          Bal Sheet   Operations
 108   H46 Beech Creek Holding Company, LLC        17-12612                                                                         X            X
 109   H47 Summit Cut Holding Company, LLC         17-12638                                                                         X            X
 110   H49 Bowman Holding Company, LLC             17-12725                                                                         X            X
 111   H5 Chestnut Ridge Holding Company, LLC      17-12608                                                                         X            X
 112   H51 Old Carbon Holding Company, LLC         17-12738                                                                         X            X
 113   H52 Willow Grove Holding Company, LLC       17-12729                                                                         X            X
 114   H53 Black Bass Holding Company, LLC         17-12639                                                                         X            X
 115   H54 Seven Stars Holding Company, LLC        17-12831                                                                         X            X
 116   H55 Old Maitland Holding Company, LLC       17-12747                                                                         X            X
 117   H56 Craven Holding Company, LLC             17-12633                                                                         X            X
 118   H58 Baleroy Holding Company, LLC            17-12579                                                                         X            X
 119   H59 Rising Sun Holding Company, LLC         17-12827                                                                         X            X
 120   H6 Lilac Meadow Holding Company, LLC        17-12724                                                                         X            X
 121   H60 Moravian Holding Company, LLC           17-12686                                                                         X            X
 122   H61 Grand Midway Holding Company, LLC       17-12626                                                                         X            X
 123   H65 Thornbury Farm Holding Company, LLC     17-12644                                                                         X            X
 124   H66 Heilbron Manor Holding Company, LLC     17-12677                                                                         X            X
 125   H68 Graeme Park Holding Company, LLC        17-12620                                                                         X            X
 126   H7 Dogwood Valley Holding Company, LLC      17-12721                                                                         X            X
 127   H70 Bishop White Holding Company, LLC       17-12619                                                                         X            X
 128   H74 Imperial Aly Holding Company, LLC       17-12704                                                                         X            X
 129   H76 Diamond Cove Holding Company, LLC       17-12700                                                                         X            X
 130   H8 Melody Lane Holding Company, LLC         17-12756                                                                         X            X
 131   H9 Strawberry Fields Holding Company, LLC   17-12609                                                                         X            X

 132   Hackmatack Investments, LLC                 17-12653   72 Golden Bear Dr Aspen Glen Carbondale CO                           X            X
 133   Haffenburg Investments, LLC                 17-12659   Granito Lot 19, Los Angeles CA                                       X            X
 134   Haralson Investments, LLC                   17-12663   245 Midland Loop - Lot L20, Aspen Glen Filing No. 3 Aspen Glen       X            X
                                                              Carbondale CO
 135   Harringworth Investments, LLC               17-12669   4414 Coronet Dr, Encino, CA 91316                                    X            X
 136   Hazelpoint Investments, LLC                 17-12674   Transferrable Development Rights ("TDR") Aspen/Snowmass              X            X

 137   Heilbron Manor Investments, LLC             17-12681   2492 Mandeville Cyn Brentwood 90049 CA                               X            X
 138   Hollyline Holdings, LLC                     17-12684                                                                        X            X
 139   Hollyline Owners, LLC                       17-12688   3802 Hollyline Ave. Sherman Oaks 91423 CA                            X            X
 140   Hornbeam Investments, LLC                   17-12694   1484 Carla Ridge Beverly Hills 90210 CA                              X            X
 141   Idared Investments, LLC                     17-12701   665 North Bridge Drive Carbondale CO                                 X            X
 142   Imperial Aly Investments, LLC               17-12708   633 N Foothill Rd Beverly Hills 90210 CA                             X            X
 143   Ironsides Investments, LLC                  17-12714   Various                                                              X            X
 144   Lenni Heights Investments, LLC              17-12720   302 Wildflower Aspen Glen Carbondale CO                              X            X
 145   Lilac Meadow Investments, LLC               17-12728   9230 Robin Drive Los Angeles 91423 CA                                X            X
 146   Lincolnshire Investments, LLC               17-12733   1312 Beverly Grove Pl Beverly Hills 90210 CA                         X            X
 147   Lonetree Investments, LLC                   17-12740   TBD Wader, Lot 53, Roaring Fork Mesa Aspen Glen Carbondale CO        X            X

 148   Longbourn Investments, LLC                  17-12746   9040 Alto Cedro Drive Beverly Hills 90210 CA                         X            X
 149   M10 Gateshead Holding Company, LLC          17-12593                                                                        X            X
 150   M11 Anchorpoint Holding Company, LLC        17-12565                                                                        X            X
 151   M13 Cablestay Holding Company, LLC          17-12795                                                                        X            X
 152   M14 Crossbeam Holding Company, LLC          17-12645                                                                        X            X
 153   M15 Doubleleaf Holding Company, LLC         17-12749                                                                        X            X
 154   M17 Lincolnshire Holding Company, LLC       17-12730                                                                        X            X
 155   M19 Arrowpoint Holding Company, LLC         17-12577                                                                        X            X
 156   M22 Drawspan Holding Company, LLC           17-12764                                                                        X            X
 157   M24 Fieldpoint Holding Company, LLC         17-12791                                                                        X            X
 158   M25 Centershot Holding Company, LLC         17-12583                                                                        X            X
 159   M26 Archivolt Holding Company, LLC          17-12573                                                                        X            X
 160   M27 Brise Soleil Holding Company, LLC       17-12760                                                                        X            X
 161   M28 Broadsands Holding Company, LLC         17-12773                                                                        X            X
 162   M29 Brynderwen Holding Company, LLC         17-12781                                                                        X            X
 163   M31 Cannington Holding Company, LLC         17-12801                                                                        X            X
 164   M32 Dollis Brook Holding Company, LLC       17-12731                                                                        X            X
 165   M33 Harringworth Holding Company, LLC       17-12667                                                                        X            X




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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                   Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                   Reporting Period: 06/30/2018

FINANCIAL STATEMENTS*

DEBTORS AND AFFILIATED ENTITIES WITH FINANCIAL STATEMENTS INCLUDED WITH THIS REPORT ARE INDICATED BELOW**:
                                                                                                                                             Statement
  #                          Entity                    ID                             Property Address                           Bal Sheet   Operations
 166   M34 Quarterpost Holding Company, LLC        17-12814                                                                          X            X
 167   M36 Springline Holding Company, LLC         17-12584                                                                          X            X
 168   M37 Topchord Holding Company, LLC           17-12662                                                                          X            X
 169   M38 Pemberley Holding Company, LLC          17-12787                                                                          X            X
 170   M39 Derbyshire Holding Company, LLC         17-12692                                                                          X            X
 171   M40 Longbourn Holding Company, LLC          17-12742                                                                          X            X
 172   M41 Silverthorne Holding Company, LLC       17-12838                                                                          X            X
 173   M43 White Dome Holding Company, LLC         17-12706                                                                          X            X
 174   M44 Wildernest Holding Company, LLC         17-12718                                                                          X            X
 175   M45 Clover Basin Holding Company, LLC       17-12618                                                                          X            X
 176   M46 Owl Ridge Holding Company, LLC          17-12759                                                                          X            X
 177   M48 Vallecito Holding Company, LLC          17-12670                                                                          X            X
 178   M49 Squaretop Holding Company, LLC          17-12588                                                                          X            X
 179   M5 Stepstone Holding Company, LLC           17-12601                                                                          X            X
 180   M50 Wetterhorn Holding Company, LLC         17-12689                                                                          X            X
 181   M51 Coffee Creek Holding Company, LLC       17-12624                                                                          X            X
 182   M53 Castle Pines Holding Company, LLC       17-12571                                                                          X            X
 183   M54 Lonetree Holding Company, LLC           17-12737                                                                          X            X
 184   M56 Haffenburg Holding Company, LLC         17-12656                                                                          X            X
 185   M57 Ridgecrest Holding Company, LLC         17-12818                                                                          X            X
 186   M60 Thunder Basin Holding Company, LLC      17-12654                                                                          X            X
 187   M61 Mineola Holding Company, LLC            17-12668                                                                          X            X
 188   M62 Sagebrook Holding Company, LLC          17-12829                                                                          X            X
 189   M63 Crowfield Holding Company, LLC          17-12655                                                                          X            X
 190   M67 Mountain Spring Holding Company, LLC    17-12695                                                                          X            X

 191   M68 Goosebrook Holding Company, LLC         17-12615                                                                         X            X
 192   M70 Pinney Holding Company, LLC             17-12806                                                                         X            X
 193   M71 Eldredge Holding Company, LLC           17-12771                                                                         X            X
 194   M72 Daleville Holding Company, LLC          17-12683                                                                         X            X
 195   M73 Mason Run Holding Company, LLC          17-12748                                                                         X            X
 196   M74 Varga Holding Company, LLC              17-12680                                                                         X            X
 197   M75 Riley Creek Holding Company, LLC        17-12825                                                                         X            X
 198   M76 Chaplin Holding Company, LLC            17-12587                                                                         X            X
 199   M79 Chestnut Holding Company, LLC           17-12595                                                                         X            X
 200   M80 Hazelpoint Holding Company, LLC         17-12672                                                                         X            X
 201   M83 Mt. Holly Holding Company, LLC          17-12703                                                                         X            X
 202   M85 Glenn Rich Holding Company, LLC         17-12599                                                                         X            X
 203   M86 Steele Hill Holding Company, LLC        17-12596                                                                         X            X
 204   M87 Hackmatack Hills Holding Company, LLC   17-12652                                                                         X            X

 205   M88 Franconia Notch Holding Company, LLC    17-12796                                                                         X            X

 206   M9 Donnington Holding Company, LLC          17-12741                                                                         X            X
 207   M90 Merrimack Valley Holding Company, LLC   17-12658                                                                         X            X

 208   M91 Newville Holding Company, LLC           17-12726                                                                         X            X
 209   M92 Crystal Woods Holding Company, LLC      17-12671                                                                         X            X
 210   M93 Goose Rocks Holding Company, LLC        17-12605                                                                         X            X
 211   M94 Winding Road Holding Company, LLC       17-12736                                                                         X            X
 212   M95 Pepperwood Holding Company, LLC         17-12802                                                                         X            X
 213   M97 Red Wood Holding Company, LLC           17-12823                                                                         X            X
 214   M99 Ironsides Holding Company, LLC          17-12710                                                                         X            X
 215   Mason Run Investments, LLC                  17-12751   1962 Stradella Road Los Angeles 90077 CA                              X            X
 216   Melody Lane Investments, LLC                17-12757   19 Sage Court Aspen Glen Carbondale CO                                X            X
 217   Merrimack Valley Investments, LLC           17-12665   1165 Heritage Drive Carbondale CO                                     X            X
 218   Mineola Investments, LLC                    17-12673   67 Puma Aspen Glen Carbondale CO                                      X            X
 219   Monadnock Investments, LLC                  17-12682   336 Golden Stone Aspen Glen Carbondale CO                             X            X
 220   Moravian Investments, LLC                   17-12690   36 Primrose Aspen Glen Carbondale CO                                  X            X
 221   Mountain Spring Investments, LLC            17-12698   TBD Epply Drive OR Block: 11 Lot: R-79 Epply Dr Aspen CO              X            X

 222   Mt. Holly Investments, LLC                  17-12707   153 Sopris Mesa Drive Carbondale CO                                   X            X




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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                       Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                       Reporting Period: 06/30/2018

FINANCIAL STATEMENTS*

DEBTORS AND AFFILIATED ENTITIES WITH FINANCIAL STATEMENTS INCLUDED WITH THIS REPORT ARE INDICATED BELOW**:
                                                                                                                                                   Statement
  #                         Entity                         ID                              Property Address                            Bal Sheet   Operations
 223   Mutsu Investments, LLC                          17-12719   TBD Golden Bear - Lot 5, The Fairways at Aspen Glen Aspen Glen           X            X
                                                                  Carbondale CO
 224   Newville Investments, LLC                       17-12734   67 Alpen Glo Lane Aspen Glen Carbondale CO                              X            X
 225   Old Carbon Investments, LLC                     17-12743   43 Puma Aspen Glen Carbondale CO                                        X            X
 226   Old Maitland Investments, LLC                   17-12752   150 White Horse Springs Lane Aspen CO                                   X            X
 227   Owl Ridge Investments, LLC                      17-12763   261 Golden Bear Aspen Glen Carbondale CO                                X            X
 228   Papirovka Investments, LLC                      17-12774   478 W. Diamond A Ranch Road Aspen Glen Carbondale CO                    X            X

 229   Pawtuckaway Investments, LLC                    17-12783   1471 Forest Knoll Beverly Hills 90212 CA                                X            X
 230   Pemberley Investments, LLC                      17-12790   2362 Apollo Dr Los Angeles 90046 CA                                     X            X
 231   Pemigewasset Investments, LLC                   17-12800   324 Golden Stone Aspen Glen Carbondale CO                               X            X
 232   Pepperwood Investments, LLC                     17-12804   158 A Seeburg Circle Aspen Glen Carbondale CO                           X            X
 233   Pinney Investments, LLC                         17-12808   15655 Woodvale Drive Encino 91436 CA                                    X            X
 234   Pinova Investments, LLC                         17-12812   0241 Rivers Bend Road Aspen Glen Carbondale CO                          X            X
 235   Quarterpost Investments, LLC                    17-12816   180 Saddleback Lane Snowmass Village CO       SOLD                      X            X
 236   Red Woods Investments, LLC                      17-12824   None/TBD                                                                X            X
 237   Ridgecrest Investments, LLC                     17-12821   0057 W Diamond A Ranch Road Aspen Glen Carbondale CO                    X            X

 238   Riley Creek Investments, LLC                    17-12826   711 Walden Beverly Hills 90210 CA                                       X            X
 239   Rising Sun Investments, LLC                     17-12828   Fountain & Fairfax West Hollywood 90046 CA                              X            X
 240   Sagebrook Investments, LLC                      17-12830   1258 Lago Vista Beverly Hills 90210 CA                                  X            X
 241   Seven Stars Investments, LLC                    17-12832   368/342 River Bend Way, Glenwood Springs Glenwood Springs CO            X            X

 242   Silk City Investments, LLC                      17-12834   25210 Jim Bridger Road Hidden Hills 91302 CA                            X            X
 243   Silver Maple Investments, LLC                   17-12836   810 Sarbonne Bel Air 90077 CA                                           X            X
 244   Silverleaf Funding, LLC                         17-12837   Various                                                                 X            X
 245   Silverthorne Investments, LLC                   17-12582   345 Branding Lane Snowmass Village CO                                   X            X
 246   Springline Investments, LLC                     17-12585   TBD Spur Ridge - Lot 26, Horse Ranch Snowmass Village CO                X            X

 247   Squaretop Investments, LLC                      17-12589   1966 Carla Ridge Beverly Hills 90210 CA                                 X            X
 248   Stayman Investments, LLC                        17-12594   TBD Horseshoe - Lot H14, Aspen Glen Filing No. 7 Aspen Glen             X            X
                                                                  Carbondale CO
 249   Steele Hill Investments, LLC                    17-12598   171 Sopris Mesa Drive Carbondale CO                                     X            X
 250   Stepstone Investments, LLC                      17-12606   505 East Diamond A Ranch Road Aspen Glen Carbondale CO                  X            X

 251   Strawberry Fields Investments, LLC              17-12613   TBD Sundance Trail Aspen Glen Carbondale CO                             X            X
 252   Sturmer Pippin Investments, LLC                 17-12629   Owlwood Estate Bel Air 90077 CA                                         X            X
 253   Summerfree Investments, LLC                     17-12635   270 Spruce Ridge Lane Snowmass Village CO                               X            X
 254   Summit Cut Investments, LLC                     17-12640   375 and 385 Trousdale Place Beverly Hills 90210 CA                      X            X
 255   Thornbury Farm Investments, LLC                 17-12651   7870, 7900 Granito Los Angeles 90046 CA                                 X            X
 256   Thunder Basin Investments, LLC                  17-12657   167 Midland Loop - Lot L-19, Aspen Glen Filing 3 Aspen Glen             X            X
                                                                  Carbondale CO
 257   Topchord Investments, LLC                       17-12664   Various                                                                 X            X
 258   Vallecito Investments, LLC                      17-12675   TBD Golden Stone - Lot 32, Roaring Fork Mesa at Aspen Glen Filing       X            X
                                                                  2 Aspen Glen Carbondale CO
 259   Varga Investments, LLC                          17-12685   638 Siena Way Bel Air 90077 CA                                          X            X
 260   Wetterhorn Investments, LLC                     17-12693   TBD Vacant Land - Lot H-35, Aspen Glen Filing 6 Aspen Glen              X            X
                                                                  Carbondale CO
 261   White Birch Investments, LLC                    17-12702   25211 Jim Bridger Road Hidden Hills 91302 CA                            X            X
 262   White Dome Investments, LLC                     17-12709   0032 Fenwick Court Aspen Glen Carbondale CO                             X            X
 263   Whiteacre Funding LLC                           17-12713   Various                                                                 X            X
 264   Wildernest Investments, LLC                     17-12723   0180 Seeburg Circle Aspen Glen Carbondale CO                            X            X
 265   Willow Grove Investments, LLC                   17-12732   8124 W 3rd Street Los Angeles, CA                                       X            X
 266   Winding Road Investments, LLC                   17-12739   10721 Stradella Crt. Bel Air 90077 CA                                   X            X

 267   WMF Management, LLC                             17-12745   No owned property                                                       X            X
 268   Woodbridge Capital Investments, LLC             17-12750   No owned property                                                       X            X
 269   Woodbridge Commercial Bridge Loan Fund 1, LLC   17-12754   Various                                                                 X            X

 270   Woodbridge Commercial Bridge Loan Fund 2, LLC   17-12758   Various                                                                 X            X

 271   Woodbridge Investments, LLC                     17-12761   No owned property                                                       X            X
 272   Woodbridge Mezzanine Fund 1, LLC                17-12765   No owned property                                                       X            X



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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                          Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                          Reporting Period: 06/30/2018

FINANCIAL STATEMENTS*

DEBTORS AND AFFILIATED ENTITIES WITH FINANCIAL STATEMENTS INCLUDED WITH THIS REPORT ARE INDICATED BELOW**:
                                                                                                                                                        Statement
  #                       Entity                             ID                               Property Address                            Bal Sheet     Operations
 273   Woodbridge Mortgage Investment Fund 1, LLC        17-12768    Various                                                                  X              X
 274   Woodbridge Mortgage Investment Fund 2, LLC        17-12772    Various                                                                  X              X
 275   Woodbridge Mortgage Investment Fund 3, LLC        17-12776    Various                                                                  X              X
 276   Woodbridge Mortgage Investment Fund 3A, LLC       17-12780    Various                                                                  X              X

 277   Woodbridge Mortgage Investment Fund 4, LLC        17-12784    Various                                                                  X              X

 278   Woodbridge Structured Fund, LLC                   17-12786    No owned property                                                        X              X
 279   Zestar Investments, LLC                           17-12792    540 Pine Crest Drive Snowmass Village CO                                 X              X
       SECOND ROUND FILERS: FILED 02/09/2018
 280   Carbondale Glen Lot L-2, LLC                      18-10284    39 Midland Loop Aspen Glen Carbondale, CO                                X              X
 281   Carbondale Peaks Lot L-1, LLC                     18-10286    90 Primrose Rd Aspen Glen Carbondale, CO                                 X              X
 282   H18 Massabesic Holding Company, LLC               18-10287                                                                             X              X
 283   H33 Hawthorn Holding Company, LLC                 18-10288                                                                             X              X
 284   H50 Sachs Bridge Holding Company, LLC             18-10289                                                                             X              X
 285   H64 Pennhurst Holding Company, LLC                18-10290                                                                             X              X
 286   Hawthorn Investments, LLC                         18-10291    14112 Roscoe Blvd. Panorama City, CA                                     X              X
 287   Lilac Valley Investments, LLC                     18-10292    14115 Moorpark #212 Sherman Oaks, CA                                     X              X
 288   Massabesic Investments, LLC                       18-10293    238 Sundance Trail Aspen Glen Carbondale, CO                             X              X
 289   M58 Springvale Holding Company, LLC               18-10294                                                                             X              X
 290   M96 Lilac Valley Holding Company, LLC             18-10295                                                                             X              X
 291   Pennhurst Investments, LLC                        18-10296    11541 Blucher Avenue Granada Hills, CA            SOLD                   X              X
 292   Sachs Bridge Investments, LLC                     18-10297    Multiple lots                                                            X              X
 293   Springvale Investments, LLC                       18-10298    Multiple lots                                                            X              X
       THIRD ROUND FILERS: FILED 03/09/2018
 294   Bellflower Funding, LLC                           18-10507    Various                                                                  X              X
 295   Wall 123, LLC                                     18-10508    Holding Company                                                          X              X
       FOURTH ROUND FILERS: FILED 03/23/2018
 296   695 Buggy Circle, LLC                             18-10670    695 Buggy Circle Dr., Carbondale CO               SOLD                   X              X
 297   Buggy Circle Holdings, LLC                        18-10672                                                                             X              X
 298   Deerfield Park Investments, LLC                   18-10673    1001 Hanover Drive., Los Angeles, CA             SOLD                    X              X
 299   Kirkstead Investments, LLC                        18-10675    53 Huron St., 778 Sarbonne Ave., Los Angeles, CA                         X              X
 300   M16 Kirkstead Holding Company, LLC                18-10676                                                                             X              X
 301   H10 Deerfield Park Holding Company, LLC           18-10674                                                                             X              X
 302   Blazingstar Funding, LLC                          18-10671                                                                             X              X
       FIFTH ROUND FILERS: FILED 03/27/2018
 303   Frog Rock Investments, LLC                        18-10733    4540 Hazeltine Ave., Los Angeles CA      SOLD NOV 2017                   X              X
 304   M77 Frog Rock Holding Company, LLC                18-10734                                                                             X              X
 305   Mount Washington Investments, LLC                 18-10736    218 Midland Avenue, Carbondale CO                                        X              X
 306   M89 Mount Washington Holding Company, LLC         18-10735                                                                             X              X


    * (from report template) The Balance Sheet is to be completed on an accrual basis only. Pre-petition liabilities must be classified separately from post-petition
      obligations. The Statement of Operations is prepared on an accrual basis. The accrual basis of accounting recognizes revenue when it is realized and expenses
      when they are incurred, regardless of when cash is actually received or paid.
      The Cumulative Statement of Operations includes a statement of operations for any property company debtor entity that had income or expenses since the
      inception of the case. The current month Statement of Operations includes only those debtors with income or expenses in June 2018. Any debtor with a
      statement of operations in the cumulative report is indicated above.
   ** Research being performed by the Debtor is ongoing, to identify all real properties and loans owned by or under the control of any of the affiliated Debtor
      entities. However even if there is no identified asset, by June 30, every one of the affiliated debtors has had at least a minimal amount of financial activity
      which resulted in a financial statement for the debtor. This minimal activity would include payment of U.S. Trustee Fees, LLC minimum tax, and fees for
      corporate agent services. To avoid having hundreds of financial statements for entitles representing only a few hundred dollars of financial activity, the
      financial statements for all holding companies are being reported together in a group called "Holding Companies". Some property companies with minimal
      activity are grouped together and reported as "Inactive Property Companies". This report also includes financial statements for approximately 160 Non-Debtor
      LLC's that are under the Debtor's control by ownership or LLC interest. These non-debtor entities are represented in the statement of operations in a group
      called "Non-Debtor Under Debtor Control".




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 Woodbridge Group of Companies, LLC, et al
 (Jointly Administered)
 Statement of Operations
 for the period June 1-30, 2018

                                                            1. Woodbridge        Bellflower Funding      Brise Soleil       Carbondale Glen      Holding
                                                  Debtor:     Group LLC                  LLC          Investments LLC       Sweetgrass LLC      Companies
                                               Case No.:      17-12560               18-10507            17-12762              17-12564          Various
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                  -              575,000                     -            985,000                 -
      40010 · Rent Revenue                                               -                        -                    -                    -               -
      40090 · Other Revenue                                          3,183                        -                    -                    -               -
    Total Income                                                     3,183                 575,000                     -            985,000                 -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                             -                     -                    -                    -               -
        50020 · Cost of Sales Real Property                                 -              509,534                     -           1,362,759                -
        50030 · Closing Costs / Prorations                               -                  40,560                     -             56,723                 -
        50040 · Structured Settlement Costs                          1,232                       -                     -                  -                 -
      Total 50000 · Cost of Goods Sold                               1,232                 550,094                     -           1,419,482                -
    Total COGS                                                       1,232                 550,094                     -           1,419,482                -
   Gross Profit                                                      1,951                  24,906                     -            (434,482)               -
    Expense
      60020 · Media Consulting                                      (65,000)                      -                    -                    -               -
      60400 · Bank Charges                                                44                      -                    -                    -               -
      60600 · Equipment Lease                                            562                      -                    -                    -               -
      61700 · Information Technology
        61701 · IT - Software                                        7,621                        -                    -                    -               -
        61700 · Information Technology - Other                      23,309                        -                    -                    -               -
      Total 61700 · Information Technology                          30,930                        -                    -                    -               -
      61850 · Meals and Entertainment                                    660                      -                    -                    -               -
      62500 · Employee Benefits                                      8,618                        -                    -                    -               -
      63300 · Insurance                                              1,231                        -                    -                    -               -
      63400 · Interest                                                      -                     -                    -                    -               -
      63401 · Int Expense - BK DIP financing                       521,699                        -                    -                    -               -
      64800 · Office Expense                                              (47)                    -                    -                    -               -
      64900 · Office Supplies                                        2,395                        -                    -                    -               -
      65000 · Outside Services                                       5,642                        -                    -                    -               -
      66000 · Payroll-Salaries and Wages                           315,825                        -                    -                    -               -
      66005 · Payroll-Service Fees                                       410                      -                    -                    -               -
      66015 · Payroll-Employer Taxes                                15,278                        -                    -                    -               -
      66030 · Postage and Delivery                                   7,091                        -                    -                    -               -
      66900 · Repairs and Maintenance                               10,335                        -                    -                    -               -
      67100 · Telephone and Internet Expense                         6,313                        -                    -                    -               -
      67110 · Title Searches                                        24,762                        -                    -                    -               -
      67200 · Travel                                                 6,777                        -                    -                    -               -
      67210 · Travel / Relocation allowance                         10,000                        -                    -                    -               -
      67400 · Utilities                                                  212                      -                    -                    -               -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                              1,050                        -                    -                    -               -
        68200 · Legal Fees - Ord Course                            114,259                        -                    -                    -               -
        68300 · Accntng Fees - Ord Course                           15,512                        -                    -                    -               -
      Total 68000 · Professional Fee Ord Course                    130,820                        -                    -                    -               -
      71000 · U.S. Trustee Fees                                    250,000                      650                 325                   650         44,525
      72000 · Prof Fees - Bankruptcy Related
        72010 · Legal - Bankruptcy                                1,908,777                       -                    -                    -               -
        72030 · Consulting - Bankruptcy                           2,077,623                       -                    -                    -               -
      Total 72000 · Prof Fees - Bankruptcy                        3,986,400                       -                    -                    -               -
      81140 · Board Fees                                             75,482                       -                    -                    -               -
    Total Expense                                                 5,346,438                     650                 325                   650         44,525
 Net Ordinary Income                                             (5,344,487)                24,256                  (325)           (435,132)         (44,525)
 Other Income/Expense
   Other Expense
    85001 · Charitable Contribution                                      250                      -                    -                    -               -
   Total Other Expense                                                   250                      -                    -                    -               -
 Net Other Income                                                        (250)                    -                    -                    -               -
Net Income                                                       (5,344,737)                24,256                  (325)           (435,132)         (44,525)




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                                                            Inactive Property        Ironsides         P-001 215 North       P-002 Addison         P-003 Anchorpoint
                                                  Debtor:      Companies         Investments LLC         12th St LLC         Park Invest LLC           Invest LLC
                                               Case No.:        Various             17-12714              17-12561              17-12563               17-12566
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                  -                     -            800,000                         -                     -
      40010 · Rent Revenue                                                  -                     -                      -                     -                     -
      40090 · Other Revenue                                                 -                     -                      -                     -                     -
    Total Income                                                            -                     -            800,000                         -                     -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                             -                     -                      -                     -                     -
        50020 · Cost of Sales Real Property                                 -                     -           1,097,036                        -                     -
        50030 · Closing Costs / Prorations                                  -                     -             75,642                         -                     -
        50040 · Structured Settlement Costs                                 -                     -                  -                         -                     -
      Total 50000 · Cost of Goods Sold                                      -                     -           1,172,678                        -                     -
    Total COGS                                                              -                     -           1,172,678                        -                     -
   Gross Profit                                                             -                     -            (372,678)                       -                     -
    Expense
      60020 · Media Consulting                                              -                     -                      -                     -                     -
      60400 · Bank Charges                                                  -                     -                      -                     -                     -
      60600 · Equipment Lease                                               -                     -                      -                     -                     -
      61700 · Information Technology
        61701 · IT - Software                                               -                     -                      -                     -                     -
        61700 · Information Technology - Other                              -                     -                      -                     -                     -
      Total 61700 · Information Technology                                  -                     -                      -                     -                     -
      61850 · Meals and Entertainment                                       -                     -                      -                     -                     -
      62500 · Employee Benefits                                             -                     -                      -                     -                     -
      63300 · Insurance                                                     -                     -                      -                     -                     -
      63400 · Interest                                                      -                     -                      -                     -                     -
      63401 · Int Expense - BK DIP financing                                -                     -                      -                     -                     -
      64800 · Office Expense                                                -                     -                      -                     -                     -
      64900 · Office Supplies                                               -                     -                      -                     -                     -
      65000 · Outside Services                                              -                     -                      -                     -                     -
      66000 · Payroll-Salaries and Wages                                    -                     -                      -                     -                     -
      66005 · Payroll-Service Fees                                          -                     -                      -                     -                     -
      66015 · Payroll-Employer Taxes                                        -                     -                      -                     -                     -
      66030 · Postage and Delivery                                          -                     -                      -                     -                     -
      66900 · Repairs and Maintenance                                       -                     -                      -                     -                     -
      67100 · Telephone and Internet Expense                                -                     -                      -                     -                     -
      67110 · Title Searches                                                -                     -                      -                     -                     -
      67200 · Travel                                                        -                     -                      -                     -                     -
      67210 · Travel / Relocation allowance                                 -                     -                      -                     -                     -
      67400 · Utilities                                                     -                     -                      -                     -                     -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                     -                     -                      -                     -                     -
        68200 · Legal Fees - Ord Course                                     -                     -                      -                     -                     -
        68300 · Accntng Fees - Ord Course                                   -                     -                      -                     -                     -
      Total 68000 · Professional Fee Ord Course                             -                     -                      -                     -                     -
      71000 · U.S. Trustee Fees                                         2,925                  325                   975              20,752                      650
      72000 · Prof Fees - Bankruptcy Related
        72010 · Legal - Bankruptcy                                          -                     -                      -                     -                     -
        72030 · Consulting - Bankruptcy                                     -                     -                      -                     -                     -
      Total 72000 · Prof Fees - Bankruptcy                                  -                     -                      -                     -                     -
      81140 · Board Fees                                                    -                     -                      -                     -                     -
    Total Expense                                                       2,925                  325                   975              20,752                      650
 Net Ordinary Income                                                   (2,925)                 (325)           (373,653)              (20,752)                    (650)
 Other Income/Expense
   Other Expense
    85001 · Charitable Contribution                                         -                     -                      -                     -                     -
   Total Other Expense                                                      -                     -                      -                     -                     -
 Net Other Income                                                           -                     -                      -                     -                     -
Net Income                                                             (2,925)                 (325)           (373,653)              (20,752)                    (650)




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                                                            P-004 Arborvitae      P-005 Archivolt       P-006 Arlington     P-007 Arrowpoint      P-008 Baleroy
                                                  Debtor:      Invest LLC           Invest LLC          Ridge Inves LLC        Invest LLC          Invest LLC
                                               Case No.:       17-12572              17-12574              17-12576            17-12578             17-12580
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                   -                      -                  -                     -                    -
      40010 · Rent Revenue                                                   -                      -                  -                     -                    -
      40090 · Other Revenue                                                  -                      -                  -                     -                    -
    Total Income                                                             -                      -                  -                     -                    -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                              -                      -                  -                     -                    -
        50020 · Cost of Sales Real Property                                  -                      -                  -                     -                    -
        50030 · Closing Costs / Prorations                                   -                      -                  -                     -                    -
        50040 · Structured Settlement Costs                                  -                      -                  -                     -                    -
      Total 50000 · Cost of Goods Sold                                       -                      -                  -                     -                    -
    Total COGS                                                               -                      -                  -                     -                    -
   Gross Profit                                                              -                      -                  -                     -                    -
    Expense
      60020 · Media Consulting                                               -                      -                  -                     -                    -
      60400 · Bank Charges                                                   -                      -                  -                     -                    -
      60600 · Equipment Lease                                                -                      -                  -                     -                    -
      61700 · Information Technology
        61701 · IT - Software                                                -                      -                  -                     -                    -
        61700 · Information Technology - Other                               -                      -                  -                     -                    -
      Total 61700 · Information Technology                                   -                      -                  -                     -                    -
      61850 · Meals and Entertainment                                        -                      -                  -                     -                    -
      62500 · Employee Benefits                                              -                      -                  -                     -                    -
      63300 · Insurance                                                      -                      -                  -                     -                    -
      63400 · Interest                                                       -                      -                  -                     -                    -
      63401 · Int Expense - BK DIP financing                                 -                      -                  -                     -                    -
      64800 · Office Expense                                                 -                      -                  -                     -                    -
      64900 · Office Supplies                                                -                      -                  -                     -                    -
      65000 · Outside Services                                               -                      -                  -                     -                    -
      66000 · Payroll-Salaries and Wages                                     -                      -                  -                     -                    -
      66005 · Payroll-Service Fees                                           -                      -                  -                     -                    -
      66015 · Payroll-Employer Taxes                                         -                      -                  -                     -                    -
      66030 · Postage and Delivery                                           -                      -                  -                     -                    -
      66900 · Repairs and Maintenance                                        -                      -                  -                     -                    -
      67100 · Telephone and Internet Expense                                 -                      -                  -                     -                    -
      67110 · Title Searches                                                 -                      -                  -                     -                    -
      67200 · Travel                                                         -                      -                  -                     -                    -
      67210 · Travel / Relocation allowance                                  -                      -                  -                     -                    -
      67400 · Utilities                                                      -                      -                  -                     -                    -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                      -                      -                  -                     -                    -
        68200 · Legal Fees - Ord Course                                      -                      -                  -                     -                    -
        68300 · Accntng Fees - Ord Course                                    -                      -                  -                     -                    -
      Total 68000 · Professional Fee Ord Course                              -                      -                  -                     -                    -
      71000 · U.S. Trustee Fees                                           325                   325               4,875                   325                  325
      72000 · Prof Fees - Bankruptcy Related
        72010 · Legal - Bankruptcy                                           -                      -                  -                     -                    -
        72030 · Consulting - Bankruptcy                                      -                      -                  -                     -                    -
      Total 72000 · Prof Fees - Bankruptcy                                   -                      -                  -                     -                    -
      81140 · Board Fees                                                     -                      -                  -                     -                    -
    Total Expense                                                         325                   325               4,875                   325                  325
 Net Ordinary Income                                                      (325)                 (325)             (4,875)                 (325)                (325)
 Other Income/Expense
   Other Expense
    85001 · Charitable Contribution                                          -                      -                  -                     -                    -
   Total Other Expense                                                       -                      -                  -                     -                    -
 Net Other Income                                                            -                      -                  -                     -                    -
Net Income                                                                (325)                 (325)             (4,875)                 (325)                (325)




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                                                            P-009 Bay Village    P-010 Bear Brook P-011 Beech Creek        P-012 Bishop       P-013 Black Bass
                                                  Debtor:      Invest LLC           Invest LLC        Invest LLC          White Invest LLC       Invest LLC
                                               Case No.:        17-12604            17-12610           17-12616              17-12623            17-12641
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                  -                     -                  -                   -                     -
      40010 · Rent Revenue                                                  -                     -                  -                   -                     -
      40090 · Other Revenue                                                 -                     -                  -                   -                     -
    Total Income                                                            -                     -                  -                   -                     -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                             -                     -                  -                   -                     -
        50020 · Cost of Sales Real Property                                 -                     -                  -                   -                     -
        50030 · Closing Costs / Prorations                                  -                     -                  -                   -                     -
        50040 · Structured Settlement Costs                                 -                     -                  -                   -                     -
      Total 50000 · Cost of Goods Sold                                      -                     -                  -                   -                     -
    Total COGS                                                              -                     -                  -                   -                     -
   Gross Profit                                                             -                     -                  -                   -                     -
    Expense
      60020 · Media Consulting                                              -                     -                  -                   -                     -
      60400 · Bank Charges                                                  -                     -                  -                   -                     -
      60600 · Equipment Lease                                               -                     -                  -                   -                     -
      61700 · Information Technology
        61701 · IT - Software                                               -                     -                  -                   -                     -
        61700 · Information Technology - Other                              -                     -                  -                   -                     -
      Total 61700 · Information Technology                                  -                     -                  -                   -                     -
      61850 · Meals and Entertainment                                       -                     -                  -                   -                     -
      62500 · Employee Benefits                                             -                     -                  -                   -                     -
      63300 · Insurance                                                     -                     -                  -                   -                     -
      63400 · Interest                                                      -                     -                  -             442,708                     -
      63401 · Int Expense - BK DIP financing                                -                     -                  -                   -                     -
      64800 · Office Expense                                                -                     -                  -                   -                     -
      64900 · Office Supplies                                               -                     -                  -                   -                     -
      65000 · Outside Services                                              -                     -                  -                   -                     -
      66000 · Payroll-Salaries and Wages                                    -                     -                  -                   -                     -
      66005 · Payroll-Service Fees                                          -                     -                  -                   -                     -
      66015 · Payroll-Employer Taxes                                        -                     -                  -                   -                     -
      66030 · Postage and Delivery                                          -                     -                  -                   -                     -
      66900 · Repairs and Maintenance                                       -                     -                  -                   -                     -
      67100 · Telephone and Internet Expense                                -                     -                  -                   -                     -
      67110 · Title Searches                                                -                     -                  -                   -                     -
      67200 · Travel                                                        -                     -                  -                   -                     -
      67210 · Travel / Relocation allowance                                 -                     -                  -                   -                     -
      67400 · Utilities                                                     -                     -                  -                   -                     -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                     -                     -                  -                   -                     -
        68200 · Legal Fees - Ord Course                                     -                     -                  -             250,000                     -
        68300 · Accntng Fees - Ord Course                                   -                     -                  -                   -                     -
      Total 68000 · Professional Fee Ord Course                             -                     -                  -             250,000                     -
      71000 · U.S. Trustee Fees                                         4,875                  325                650              180,009                  325
      72000 · Prof Fees - Bankruptcy Related
        72010 · Legal - Bankruptcy                                          -                     -                  -                   -                     -
        72030 · Consulting - Bankruptcy                                     -                     -                  -                   -                     -
      Total 72000 · Prof Fees - Bankruptcy                                  -                     -                  -                   -                     -
      81140 · Board Fees                                                    -                     -                  -                   -                     -
    Total Expense                                                       4,875                  325                650              872,717                  325
 Net Ordinary Income                                                   (4,875)                 (325)              (650)           (872,717)                 (325)
 Other Income/Expense
   Other Expense
    85001 · Charitable Contribution                                         -                     -                  -                   -                     -
   Total Other Expense                                                      -                     -                  -                   -                     -
 Net Other Income                                                           -                     -                  -                   -                     -
Net Income                                                             (4,875)                 (325)              (650)           (872,717)                 (325)




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                                                            P-014 Black Locust     P-015 Bluff Point    P-016 Bowman         P-017 Bramley        P-019 Broadsands
                                                  Debtor:       Invest LLC            Invest LLC          Invest LLC           Invest LLC            Invest LLC
                                               Case No.:        17-12648              17-12722            17-12753             17-12769               17-12777
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                    -                    -                    -                    -                      -
      40010 · Rent Revenue                                                    -                    -                    -                    -                      -
      40090 · Other Revenue                                                   -                    -                    -                    -                      -
    Total Income                                                              -                    -                    -                    -                      -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                               -                    -                    -                    -                      -
        50020 · Cost of Sales Real Property                                   -                    -                    -                    -                      -
        50030 · Closing Costs / Prorations                                    -                    -                    -                    -                      -
        50040 · Structured Settlement Costs                                   -                    -                    -                    -                      -
      Total 50000 · Cost of Goods Sold                                        -                    -                    -                    -                      -
    Total COGS                                                                -                    -                    -                    -                      -
   Gross Profit                                                               -                    -                    -                    -                      -
    Expense
      60020 · Media Consulting                                                -                    -                    -                    -                      -
      60400 · Bank Charges                                                    -                    -                    -                    -                      -
      60600 · Equipment Lease                                                 -                    -                    -                    -                      -
      61700 · Information Technology
        61701 · IT - Software                                                 -                    -                    -                    -                      -
        61700 · Information Technology - Other                                -                    -                    -                    -                      -
      Total 61700 · Information Technology                                    -                    -                    -                    -                      -
      61850 · Meals and Entertainment                                         -                    -                    -                    -                      -
      62500 · Employee Benefits                                               -                    -                    -                    -                      -
      63300 · Insurance                                                       -                    -                    -                    -                      -
      63400 · Interest                                                        -                    -                    -                    -                      -
      63401 · Int Expense - BK DIP financing                                  -                    -                    -                    -                      -
      64800 · Office Expense                                                  -                    -                    -                    -                      -
      64900 · Office Supplies                                                 -                    -                    -                    -                      -
      65000 · Outside Services                                                -                    -                    -                    -                      -
      66000 · Payroll-Salaries and Wages                                      -                    -                    -                    -                      -
      66005 · Payroll-Service Fees                                            -                    -                    -                    -                      -
      66015 · Payroll-Employer Taxes                                          -                    -                    -                    -                      -
      66030 · Postage and Delivery                                            -                    -                    -                    -                      -
      66900 · Repairs and Maintenance                                         -                    -                    -                    -                      -
      67100 · Telephone and Internet Expense                                  -                    -                    -                    -                      -
      67110 · Title Searches                                                  -                    -                    -                    -                      -
      67200 · Travel                                                          -                    -                    -                    -                      -
      67210 · Travel / Relocation allowance                                   -                    -                    -                    -                      -
      67400 · Utilities                                                       -                    -                    -                    -                      -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                       -                    -                    -                    -                      -
        68200 · Legal Fees - Ord Course                                       -                    -                    -                    -                      -
        68300 · Accntng Fees - Ord Course                                     -                    -                    -                    -                      -
      Total 68000 · Professional Fee Ord Course                               -                    -                    -                    -                      -
      71000 · U.S. Trustee Fees                                            650                 1,625                 325                  325                    325
      72000 · Prof Fees - Bankruptcy Related
        72010 · Legal - Bankruptcy                                            -                    -                    -                    -                      -
        72030 · Consulting - Bankruptcy                                       -                    -                    -                    -                      -
      Total 72000 · Prof Fees - Bankruptcy                                    -                    -                    -                    -                      -
      81140 · Board Fees                                                      -                    -                    -                    -                      -
    Total Expense                                                          650                 1,625                 325                  325                    325
 Net Ordinary Income                                                       (650)              (1,625)                (325)                (325)                  (325)
 Other Income/Expense
   Other Expense
    85001 · Charitable Contribution                                           -                    -                    -                    -                      -
   Total Other Expense                                                        -                    -                    -                    -                      -
 Net Other Income                                                             -                    -                    -                    -                      -
Net Income                                                                 (650)              (1,625)                (325)                (325)                  (325)




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                                                            P-020 Brynderwen       P-021 Cablestay       P-022 Cannington       P-023 Carbondale       P-024 Carbondale
                                                  Debtor:      Invest LLC             Invest LLC            Invest LLC             Glen Lot A-5          Glen Lot D-22
                                               Case No.:        17-12793              17-12798               17-12803               17-12807              17-12809
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                    -                      -                     -                      -             895,000
      40010 · Rent Revenue                                                    -                      -                     -                      -                    -
      40090 · Other Revenue                                                   -                      -                     -                      -                    -
    Total Income                                                              -                      -                     -                      -             895,000
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                               -                      -                     -                      -                    -
        50020 · Cost of Sales Real Property                                   -                  (4)                       -                      -           1,103,221
        50030 · Closing Costs / Prorations                                    -                      -                     -                      -              48,343
        50040 · Structured Settlement Costs                                   -                      -                     -                      -                   -
      Total 50000 · Cost of Goods Sold                                        -                  (4)                       -                      -           1,151,563
    Total COGS                                                                -                  (4)                       -                      -           1,151,563
   Gross Profit                                                               -                   4                        -                      -            (256,563)
    Expense
      60020 · Media Consulting                                                -                      -                     -                      -                    -
      60400 · Bank Charges                                                    -                      -                     -                      -                    -
      60600 · Equipment Lease                                                 -                      -                     -                      -                    -
      61700 · Information Technology
        61701 · IT - Software                                                 -                      -                     -                      -                    -
        61700 · Information Technology - Other                                -                      -                     -                      -                    -
      Total 61700 · Information Technology                                    -                      -                     -                      -                    -
      61850 · Meals and Entertainment                                         -                      -                     -                      -                    -
      62500 · Employee Benefits                                               -                      -                     -                      -                    -
      63300 · Insurance                                                       -                      -                     -                      -                    -
      63400 · Interest                                                        -                      -                     -                      -                    -
      63401 · Int Expense - BK DIP financing                                  -                      -                     -                      -                    -
      64800 · Office Expense                                                  -                      -                     -                      -                    -
      64900 · Office Supplies                                                 -                      -                     -                      -                    -
      65000 · Outside Services                                                -                      -                     -                      -                    -
      66000 · Payroll-Salaries and Wages                                      -                      -                     -                      -                    -
      66005 · Payroll-Service Fees                                            -                      -                     -                      -                    -
      66015 · Payroll-Employer Taxes                                          -                      -                     -                      -                    -
      66030 · Postage and Delivery                                            -                      -                     -                      -                    -
      66900 · Repairs and Maintenance                                         -                      -                     -                      -                    -
      67100 · Telephone and Internet Expense                                  -                      -                     -                      -                    -
      67110 · Title Searches                                                  -                      -                     -                      -                    -
      67200 · Travel                                                          -                      -                     -                      -                    -
      67210 · Travel / Relocation allowance                                   -                      -                     -                      -                    -
      67400 · Utilities                                                       -                      -                     -                      -                    -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                       -                      -                     -                      -                    -
        68200 · Legal Fees - Ord Course                                       -                      -                     -                      -                    -
        68300 · Accntng Fees - Ord Course                                     -                      -                     -                      -                    -
      Total 68000 · Professional Fee Ord Course                               -                      -                     -                      -                    -
      71000 · U.S. Trustee Fees                                            325               4,875                      650                    325                   650
      72000 · Prof Fees - Bankruptcy Related
        72010 · Legal - Bankruptcy                                            -                      -                     -                      -                    -
        72030 · Consulting - Bankruptcy                                       -                      -                     -                      -                    -
      Total 72000 · Prof Fees - Bankruptcy                                    -                      -                     -                      -                    -
      81140 · Board Fees                                                      -                      -                     -                      -                    -
    Total Expense                                                          325               4,875                      650                    325                   650
 Net Ordinary Income                                                       (325)             (4,871)                    (650)                  (325)           (257,213)
 Other Income/Expense
   Other Expense
    85001 · Charitable Contribution                                           -                      -                     -                      -                    -
   Total Other Expense                                                        -                      -                     -                      -                    -
 Net Other Income                                                             -                      -                     -                      -                    -
Net Income                                                                 (325)             (4,871)                    (650)                  (325)           (257,213)




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                                                            P-025 Carbondale       P-026 Carbondale       P-027 Carbondale       P-028 Carbondale       P-029 Carbondale
                                                  Debtor:     Glen Lot E-24         Glen Lot GV-13           Glen Lot L-2         Glen Lot SD-14         Glen Lot SD-23
                                               Case No.:        17-12811               17-12813               18-10284               17-12817              17-12815
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                    -                      -                      -                      -                     -
      40010 · Rent Revenue                                                    -                      -                      -                      -                     -
      40090 · Other Revenue                                                   -                      -                      -                      -                     -
    Total Income                                                              -                      -                      -                      -                     -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                               -                      -                      -                      -                     -
        50020 · Cost of Sales Real Property                                   -                      -                      -                      -                     -
        50030 · Closing Costs / Prorations                                    -                      -                      -                      -                     -
        50040 · Structured Settlement Costs                                   -                      -                      -                      -                     -
      Total 50000 · Cost of Goods Sold                                        -                      -                      -                      -                     -
    Total COGS                                                                -                      -                      -                      -                     -
   Gross Profit                                                               -                      -                      -                      -                     -
    Expense
      60020 · Media Consulting                                                -                      -                      -                      -                     -
      60400 · Bank Charges                                                    -                      -                      -                      -                     -
      60600 · Equipment Lease                                                 -                      -                      -                      -                     -
      61700 · Information Technology
        61701 · IT - Software                                                 -                      -                      -                      -                     -
        61700 · Information Technology - Other                                -                      -                      -                      -                     -
      Total 61700 · Information Technology                                    -                      -                      -                      -                     -
      61850 · Meals and Entertainment                                         -                      -                      -                      -                     -
      62500 · Employee Benefits                                               -                      -                      -                      -                     -
      63300 · Insurance                                                       -                      -                      -                      -                     -
      63400 · Interest                                                        -                      -                      -                      -                     -
      63401 · Int Expense - BK DIP financing                                  -                      -                      -                      -                     -
      64800 · Office Expense                                                  -                      -                      -                      -                     -
      64900 · Office Supplies                                                 -                      -                      -                      -                     -
      65000 · Outside Services                                                -                      -                      -                      -                     -
      66000 · Payroll-Salaries and Wages                                      -                      -                      -                      -                     -
      66005 · Payroll-Service Fees                                            -                      -                      -                      -                     -
      66015 · Payroll-Employer Taxes                                          -                      -                      -                      -                     -
      66030 · Postage and Delivery                                            -                      -                      -                      -                     -
      66900 · Repairs and Maintenance                                         -                      -                      -                      -                     -
      67100 · Telephone and Internet Expense                                  -                      -                      -                      -                     -
      67110 · Title Searches                                                  -                      -                      -                      -                     -
      67200 · Travel                                                          -                      -                      -                      -                     -
      67210 · Travel / Relocation allowance                                   -                      -                      -                      -                     -
      67400 · Utilities                                                       -                      -                      -                      -                     -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                       -                      -                      -                      -                     -
        68200 · Legal Fees - Ord Course                                       -                      -                      -                      -                     -
        68300 · Accntng Fees - Ord Course                                     -                      -                      -                      -                     -
      Total 68000 · Professional Fee Ord Course                               -                      -                      -                      -                     -
      71000 · U.S. Trustee Fees                                            325                    325                    325                    325                   325
      72000 · Prof Fees - Bankruptcy Related
        72010 · Legal - Bankruptcy                                            -                      -                      -                      -                     -
        72030 · Consulting - Bankruptcy                                       -                      -                      -                      -                     -
      Total 72000 · Prof Fees - Bankruptcy                                    -                      -                      -                      -                     -
      81140 · Board Fees                                                      -                      -                      -                      -                     -
    Total Expense                                                          325                    325                    325                    325                   325
 Net Ordinary Income                                                       (325)                  (325)                  (325)                  (325)                 (325)
 Other Income/Expense
   Other Expense
    85001 · Charitable Contribution                                           -                      -                      -                      -                     -
   Total Other Expense                                                        -                      -                      -                      -                     -
 Net Other Income                                                             -                      -                      -                      -                     -
Net Income                                                                 (325)                  (325)                  (325)                  (325)                 (325)




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                                                            P-030 Carbondale       P-031 Carbondale       P-032 Carbondale       P-036 Carbondale       P-037 Carbondale
                                                  Debtor:    Glen Mes Lot19         Glen River Mes         Gl Sunda Ponds          Peaks Lot L-1           Spruce 101
                                               Case No.:        17-12819               17-12820               17-12822               18-10286              17-12568
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                    -                      -                      -                      -                     -
      40010 · Rent Revenue                                                    -                      -                      -                      -                     -
      40090 · Other Revenue                                                   -                      -                      -                      -                     -
    Total Income                                                              -                      -                      -                      -                     -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                               -                      -                      -                      -                     -
        50020 · Cost of Sales Real Property                                   -                      -                      -                      -                     -
        50030 · Closing Costs / Prorations                                    -                      -                      -                      -                     -
        50040 · Structured Settlement Costs                                   -                      -                      -                      -                     -
      Total 50000 · Cost of Goods Sold                                        -                      -                      -                      -                     -
    Total COGS                                                                -                      -                      -                      -                     -
   Gross Profit                                                               -                      -                      -                      -                     -
    Expense
      60020 · Media Consulting                                                -                      -                      -                      -                     -
      60400 · Bank Charges                                                    -                      -                      -                      -                     -
      60600 · Equipment Lease                                                 -                      -                      -                      -                     -
      61700 · Information Technology
        61701 · IT - Software                                                 -                      -                      -                      -                     -
        61700 · Information Technology - Other                                -                      -                      -                      -                     -
      Total 61700 · Information Technology                                    -                      -                      -                      -                     -
      61850 · Meals and Entertainment                                         -                      -                      -                      -                     -
      62500 · Employee Benefits                                               -                      -                      -                      -                     -
      63300 · Insurance                                                       -                      -                      -                      -                     -
      63400 · Interest                                                        -                      -                      -                      -                     -
      63401 · Int Expense - BK DIP financing                                  -                      -                      -                      -                     -
      64800 · Office Expense                                                  -                      -                      -                      -                     -
      64900 · Office Supplies                                                 -                      -                      -                      -                     -
      65000 · Outside Services                                                -                      -                      -                      -                     -
      66000 · Payroll-Salaries and Wages                                      -                      -                      -                      -                     -
      66005 · Payroll-Service Fees                                            -                      -                      -                      -                     -
      66015 · Payroll-Employer Taxes                                          -                      -                      -                      -                     -
      66030 · Postage and Delivery                                            -                      -                      -                      -                     -
      66900 · Repairs and Maintenance                                         -                      -                      -                      -                     -
      67100 · Telephone and Internet Expense                                  -                      -                      -                      -                     -
      67110 · Title Searches                                                  -                      -                      -                      -                     -
      67200 · Travel                                                          -                      -                      -                      -                     -
      67210 · Travel / Relocation allowance                                   -                      -                      -                      -                     -
      67400 · Utilities                                                       -                      -                      -                      -                     -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                       -                      -                      -                      -                     -
        68200 · Legal Fees - Ord Course                                       -                      -                      -                      -                     -
        68300 · Accntng Fees - Ord Course                                     -                      -                      -                      -                     -
      Total 68000 · Professional Fee Ord Course                               -                      -                      -                      -                     -
      71000 · U.S. Trustee Fees                                            325                    650                    325                    325                   650
      72000 · Prof Fees - Bankruptcy Related
        72010 · Legal - Bankruptcy                                            -                      -                      -                      -                     -
        72030 · Consulting - Bankruptcy                                       -                      -                      -                      -                     -
      Total 72000 · Prof Fees - Bankruptcy                                    -                      -                      -                      -                     -
      81140 · Board Fees                                                      -                      -                      -                      -                     -
    Total Expense                                                          325                    650                    325                    325                   650
 Net Ordinary Income                                                       (325)                  (650)                  (325)                  (325)                 (650)
 Other Income/Expense
   Other Expense
    85001 · Charitable Contribution                                           -                      -                      -                      -                     -
   Total Other Expense                                                        -                      -                      -                      -                     -
 Net Other Income                                                             -                      -                      -                      -                     -
Net Income                                                                 (325)                  (650)                  (325)                  (325)                 (650)




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                                                            P-038 Carbondale       P-039 Carbondale P-040 Castle Pines       P-041 Centershot      P-042 Chaplin
                                                  Debtor:    Sundanc Lot 15         Sundanc Lot 16      Invest LLC              Invest LLC          Invest LLC
                                               Case No.:        17-12569               17-12570           17-12581              17-12586             17-12592
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                    -                      -                  -                     -                    -
      40010 · Rent Revenue                                                    -                      -                  -                     -                    -
      40090 · Other Revenue                                                   -                      -                  -                     -                    -
    Total Income                                                              -                      -                  -                     -                    -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                               -                      -                  -                     -                    -
        50020 · Cost of Sales Real Property                                   -                      -                  -                     -                    -
        50030 · Closing Costs / Prorations                                    -                      -                  -                     -                    -
        50040 · Structured Settlement Costs                                   -                      -                  -                     -                    -
      Total 50000 · Cost of Goods Sold                                        -                      -                  -                     -                    -
    Total COGS                                                                -                      -                  -                     -                    -
   Gross Profit                                                               -                      -                  -                     -                    -
    Expense
      60020 · Media Consulting                                                -                      -                  -                     -                    -
      60400 · Bank Charges                                                    -                      -                  -                     -                    -
      60600 · Equipment Lease                                                 -                      -                  -                     -                    -
      61700 · Information Technology
        61701 · IT - Software                                                 -                      -                  -                     -                    -
        61700 · Information Technology - Other                                -                      -                  -                     -                    -
      Total 61700 · Information Technology                                    -                      -                  -                     -                    -
      61850 · Meals and Entertainment                                         -                      -                  -                     -                    -
      62500 · Employee Benefits                                               -                      -                  -                     -                    -
      63300 · Insurance                                                       -                      -                  -                     -                    -
      63400 · Interest                                                        -                      -                  -                     -                    -
      63401 · Int Expense - BK DIP financing                                  -                      -                  -                     -                    -
      64800 · Office Expense                                                  -                      -                  -                     -                    -
      64900 · Office Supplies                                                 -                      -                  -                     -                    -
      65000 · Outside Services                                                -                      -                  -                     -                    -
      66000 · Payroll-Salaries and Wages                                      -                      -                  -                     -                    -
      66005 · Payroll-Service Fees                                            -                      -                  -                     -                    -
      66015 · Payroll-Employer Taxes                                          -                      -                  -                     -                    -
      66030 · Postage and Delivery                                            -                      -                  -                     -                    -
      66900 · Repairs and Maintenance                                         -                      -                  -                     -                    -
      67100 · Telephone and Internet Expense                                  -                      -                  -                     -                    -
      67110 · Title Searches                                                  -                      -                  -                     -                    -
      67200 · Travel                                                          -                      -                  -                     -                    -
      67210 · Travel / Relocation allowance                                   -                      -                  -                     -                    -
      67400 · Utilities                                                       -                      -                  -                     -                    -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                       -                      -                  -                     -                    -
        68200 · Legal Fees - Ord Course                                       -                      -                  -                     -                    -
        68300 · Accntng Fees - Ord Course                                     -                      -                  -                     -                    -
      Total 68000 · Professional Fee Ord Course                               -                      -                  -                     -                    -
      71000 · U.S. Trustee Fees                                            325                    325                325                   975                  325
      72000 · Prof Fees - Bankruptcy Related
        72010 · Legal - Bankruptcy                                            -                      -                  -                     -                    -
        72030 · Consulting - Bankruptcy                                       -                      -                  -                     -                    -
      Total 72000 · Prof Fees - Bankruptcy                                    -                      -                  -                     -                    -
      81140 · Board Fees                                                      -                      -                  -                     -                    -
    Total Expense                                                          325                    325                325                   975                  325
 Net Ordinary Income                                                       (325)                  (325)              (325)                 (975)                (325)
 Other Income/Expense
   Other Expense
    85001 · Charitable Contribution                                           -                      -                  -                     -                    -
   Total Other Expense                                                        -                      -                  -                     -                    -
 Net Other Income                                                             -                      -                  -                     -                    -
Net Income                                                                 (325)                  (325)              (325)                 (975)                (325)




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                                                            P-043 Chestnut        P-044 Chestnut     P-045 Clover Basin P-046 Coffee Creek     P-047 Craven
                                                  Debtor:     Invest LLC         Ridge Invest LLC        Invest LLC         Invest LLC          Invest LLC
                                               Case No.:      17-12603              17-12614             17-12621           17-12627            17-12636
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                   -                  -                    -                    -         9,000,000
      40010 · Rent Revenue                                                   -                  -                    -                    -                   -
      40090 · Other Revenue                                                  -                  -                    -                    -                   -
    Total Income                                                             -                  -                    -                    -         9,000,000
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                              -                  -                    -                    -                   -
        50020 · Cost of Sales Real Property                                  -                  -                3,921                    -         9,100,969
        50030 · Closing Costs / Prorations                                   -                  -                    -                    -           651,140
        50040 · Structured Settlement Costs                                  -                  -                    -                    -                 -
      Total 50000 · Cost of Goods Sold                                       -                  -                3,921                    -         9,752,109
    Total COGS                                                               -                  -                3,921                    -         9,752,109
   Gross Profit                                                              -                  -               (3,921)                   -          (752,109)
    Expense
      60020 · Media Consulting                                               -                  -                    -                    -                   -
      60400 · Bank Charges                                                   -                  -                    -                    -                   -
      60600 · Equipment Lease                                                -                  -                    -                    -                   -
      61700 · Information Technology
        61701 · IT - Software                                                -                  -                    -                    -                   -
        61700 · Information Technology - Other                               -                  -                    -                    -                   -
      Total 61700 · Information Technology                                   -                  -                    -                    -                   -
      61850 · Meals and Entertainment                                        -                  -                    -                    -                   -
      62500 · Employee Benefits                                              -                  -                    -                    -                   -
      63300 · Insurance                                                      -                  -                    -                    -                   -
      63400 · Interest                                                       -                  -                    -                    -                   -
      63401 · Int Expense - BK DIP financing                                 -                  -                    -                    -                   -
      64800 · Office Expense                                                 -                  -                    -                    -                   -
      64900 · Office Supplies                                                -                  -                    -                    -                   -
      65000 · Outside Services                                               -                  -                    -                    -                   -
      66000 · Payroll-Salaries and Wages                                     -                  -                    -                    -                   -
      66005 · Payroll-Service Fees                                           -                  -                    -                    -                   -
      66015 · Payroll-Employer Taxes                                         -                  -                    -                    -                   -
      66030 · Postage and Delivery                                           -                  -                    -                    -                   -
      66900 · Repairs and Maintenance                                        -                  -                    -                    -                   -
      67100 · Telephone and Internet Expense                                 -                  -                    -                    -                   -
      67110 · Title Searches                                                 -                  -                    -                    -                   -
      67200 · Travel                                                         -                  -                    -                    -                   -
      67210 · Travel / Relocation allowance                                  -                  -                    -                    -                   -
      67400 · Utilities                                                      -                  -                    -                    -                   -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                      -                  -                    -                    -                   -
        68200 · Legal Fees - Ord Course                                      -                  -                    -                    -                   -
        68300 · Accntng Fees - Ord Course                                    -                  -                    -                    -                   -
      Total 68000 · Professional Fee Ord Course                              -                  -                    -                    -                   -
      71000 · U.S. Trustee Fees                                          975                1,625                4,875                 325             46,373
      72000 · Prof Fees - Bankruptcy Related
        72010 · Legal - Bankruptcy                                           -                  -                    -                    -                   -
        72030 · Consulting - Bankruptcy                                      -                  -                    -                    -                   -
      Total 72000 · Prof Fees - Bankruptcy                                   -                  -                    -                    -                   -
      81140 · Board Fees                                                     -                  -                    -                    -                   -
    Total Expense                                                        975                1,625                4,875                 325             46,373
 Net Ordinary Income                                                     (975)             (1,625)              (8,796)                (325)         (798,481)
 Other Income/Expense
   Other Expense
    85001 · Charitable Contribution                                          -                  -                    -                    -                   -
   Total Other Expense                                                       -                  -                    -                    -                   -
 Net Other Income                                                            -                  -                    -                    -                   -
Net Income                                                               (975)             (1,625)              (8,796)                (325)         (798,481)




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                                                            P-049 Crowfield        P-050 Crystal         P-051 Daleville       P-052 Derbyshire      P-053 Diamond
                                                  Debtor:     Invest LLC          Woods Invest LLC         Invest LLC             Invest LLC         Cove Invest LLC
                                               Case No.:       17-12660               17-12676             17-12687               17-12696              17-12705
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                    -                     -                      -                    -                   -
      40010 · Rent Revenue                                                    -                     -                      -                    -                   -
      40090 · Other Revenue                                                   -                     -                      -                    -                   -
    Total Income                                                              -                     -                      -                    -                   -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                               -                     -                      -                    -                   -
        50020 · Cost of Sales Real Property                                   -                     -                      -                    -                   -
        50030 · Closing Costs / Prorations                                    -                     -                      -                    -                   -
        50040 · Structured Settlement Costs                                   -                     -                      -                    -                   -
      Total 50000 · Cost of Goods Sold                                        -                     -                      -                    -                   -
    Total COGS                                                                -                     -                      -                    -                   -
   Gross Profit                                                               -                     -                      -                    -                   -
    Expense
      60020 · Media Consulting                                                -                     -                      -                    -                   -
      60400 · Bank Charges                                                    -                     -                      -                    -                   -
      60600 · Equipment Lease                                                 -                     -                      -                    -                   -
      61700 · Information Technology
        61701 · IT - Software                                                 -                     -                      -                    -                   -
        61700 · Information Technology - Other                                -                     -                      -                    -                   -
      Total 61700 · Information Technology                                    -                     -                      -                    -                   -
      61850 · Meals and Entertainment                                         -                     -                      -                    -                   -
      62500 · Employee Benefits                                               -                     -                      -                    -                   -
      63300 · Insurance                                                       -                     -                      -                    -                   -
      63400 · Interest                                                        -                     -                      -                    -                   -
      63401 · Int Expense - BK DIP financing                                  -                     -                      -                    -                   -
      64800 · Office Expense                                                  -                     -                      -                    -                   -
      64900 · Office Supplies                                                 -                     -                      -                    -                   -
      65000 · Outside Services                                                -                     -                      -                    -                   -
      66000 · Payroll-Salaries and Wages                                      -                     -                      -                    -                   -
      66005 · Payroll-Service Fees                                            -                     -                      -                    -                   -
      66015 · Payroll-Employer Taxes                                          -                     -                      -                    -                   -
      66030 · Postage and Delivery                                            -                     -                      -                    -                   -
      66900 · Repairs and Maintenance                                         -                     -                      -                    -                   -
      67100 · Telephone and Internet Expense                                  -                     -                      -                    -                   -
      67110 · Title Searches                                                  -                     -                      -                    -                   -
      67200 · Travel                                                          -                     -                      -                    -                   -
      67210 · Travel / Relocation allowance                                   -                     -                      -                    -                   -
      67400 · Utilities                                                       -                     -                      -                    -                   -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                       -                     -                      -                    -                   -
        68200 · Legal Fees - Ord Course                                       -                     -                      -                    -                   -
        68300 · Accntng Fees - Ord Course                                     -                     -                      -                    -                   -
      Total 68000 · Professional Fee Ord Course                               -                     -                      -                    -                   -
      71000 · U.S. Trustee Fees                                       1,950                      325                  325                    325              31,443
      72000 · Prof Fees - Bankruptcy Related
        72010 · Legal - Bankruptcy                                            -                     -                      -                    -                   -
        72030 · Consulting - Bankruptcy                                       -                     -                      -                    -                   -
      Total 72000 · Prof Fees - Bankruptcy                                    -                     -                      -                    -                   -
      81140 · Board Fees                                                      -                     -                      -                    -                   -
    Total Expense                                                     1,950                      325                  325                    325              31,443
 Net Ordinary Income                                                  (1,950)                    (325)                (325)                  (325)            (31,443)
 Other Income/Expense
   Other Expense
    85001 · Charitable Contribution                                           -                     -                      -                    -                   -
   Total Other Expense                                                        -                     -                      -                    -                   -
 Net Other Income                                                             -                     -                      -                    -                   -
Net Income                                                            (1,950)                    (325)                (325)                  (325)            (31,443)




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                                                           P-054 Dixville         P-055 Dogwood         P-056 Dollis Brook P-057 Donnington     P-059 Doubleleaf
                                                  Debtor: Notch Invest LLC       Valley Invest LLC          Invest LLC        Invest LLC           Invest LLC
                                               Case No.:      17-12716               17-12727               17-12735           17-12744            17-12755
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                  -                      -                      -         610,000                      -
      40010 · Rent Revenue                                                  -                      -                      -                 -                    -
      40090 · Other Revenue                                                 -                      -                      -                 -                    -
    Total Income                                                            -                      -                      -         610,000                      -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                             -                      -                      -                 -                    -
        50020 · Cost of Sales Real Property                                 -                      -                      -         610,000                      -
        50030 · Closing Costs / Prorations                                  -                      -                      -          52,755                      -
        50040 · Structured Settlement Costs                                 -                      -                      -               -                      -
      Total 50000 · Cost of Goods Sold                                      -                      -                      -         662,755                      -
    Total COGS                                                              -                      -                      -         662,755                      -
   Gross Profit                                                             -                      -                      -         (52,755)                     -
    Expense
      60020 · Media Consulting                                              -                      -                      -                 -                    -
      60400 · Bank Charges                                                  -                      -                      -                 -                    -
      60600 · Equipment Lease                                               -                      -                      -                 -                    -
      61700 · Information Technology
        61701 · IT - Software                                               -                      -                      -                 -                    -
        61700 · Information Technology - Other                              -                      -                      -                 -                    -
      Total 61700 · Information Technology                                  -                      -                      -                 -                    -
      61850 · Meals and Entertainment                                       -                      -                      -                 -                    -
      62500 · Employee Benefits                                             -                      -                      -                 -                    -
      63300 · Insurance                                                     -                      -                      -                 -                    -
      63400 · Interest                                                      -                      -                      -                 -                    -
      63401 · Int Expense - BK DIP financing                                -                      -                      -                 -                    -
      64800 · Office Expense                                                -                      -                      -                 -                    -
      64900 · Office Supplies                                               -                      -                      -                 -                    -
      65000 · Outside Services                                              -                      -                      -                 -                    -
      66000 · Payroll-Salaries and Wages                                    -                      -                      -                 -                    -
      66005 · Payroll-Service Fees                                          -                      -                      -                 -                    -
      66015 · Payroll-Employer Taxes                                        -                      -                      -                 -                    -
      66030 · Postage and Delivery                                          -                      -                      -                 -                    -
      66900 · Repairs and Maintenance                                       -                      -                      -                 -                    -
      67100 · Telephone and Internet Expense                                -                      -                      -                 -                    -
      67110 · Title Searches                                                -                      -                      -                 -                    -
      67200 · Travel                                                        -                      -                      -                 -                    -
      67210 · Travel / Relocation allowance                                 -                      -                      -                 -                    -
      67400 · Utilities                                                     -                      -                      -                 -                    -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                     -                      -                      -                 -                    -
        68200 · Legal Fees - Ord Course                                     -                      -                      -                 -                    -
        68300 · Accntng Fees - Ord Course                                   -                      -                      -                 -                    -
      Total 68000 · Professional Fee Ord Course                             -                      -                      -                 -                    -
      71000 · U.S. Trustee Fees                                          325                    325                    650                975                 650
      72000 · Prof Fees - Bankruptcy Related
        72010 · Legal - Bankruptcy                                          -                      -                      -                 -                    -
        72030 · Consulting - Bankruptcy                                     -                      -                      -                 -                    -
      Total 72000 · Prof Fees - Bankruptcy                                  -                      -                      -                 -                    -
      81140 · Board Fees                                                    -                      -                      -                 -                    -
    Total Expense                                                        325                    325                    650                975                 650
 Net Ordinary Income                                                     (325)                  (325)                  (650)        (53,730)                  (650)
 Other Income/Expense
   Other Expense
    85001 · Charitable Contribution                                         -                      -                      -                 -                    -
   Total Other Expense                                                      -                      -                      -                 -                    -
 Net Other Income                                                           -                      -                      -                 -                    -
Net Income                                                               (325)                  (325)                  (650)        (53,730)                  (650)




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                                                            P-060 Drawspan        P-061 Eldredge       P-062 Elstar Invest    P-063 Emerald        P-064 Fieldpoint
                                                  Debtor:      Invest LLC           Invest LLC                LLC            Lake Invest LLC          Invest LLC
                                               Case No.:       17-12767             17-12775               17-12782             17-12788              17-12794
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                   -                     -                    -                      -            900,113
      40010 · Rent Revenue                                                   -                     -                    -             20,000                          -
      40090 · Other Revenue                                                  -                     -                    -                  -                          -
    Total Income                                                             -                     -                    -             20,000                900,113
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                              -                     -                    -                      -                      -
        50020 · Cost of Sales Real Property                                  -                     -                    -                      -            884,029
        50030 · Closing Costs / Prorations                                   -                     -                    -                      -            114,864
        50040 · Structured Settlement Costs                                  -                     -                    -                      -                  -
      Total 50000 · Cost of Goods Sold                                       -                     -                    -                      -            998,893
    Total COGS                                                               -                     -                    -                      -            998,893
   Gross Profit                                                              -                     -                    -             20,000                (98,780)
    Expense
      60020 · Media Consulting                                               -                     -                    -                      -                      -
      60400 · Bank Charges                                                   -                     -                    -                      -                      -
      60600 · Equipment Lease                                                -                     -                    -                      -                      -
      61700 · Information Technology
        61701 · IT - Software                                                -                     -                    -                      -                      -
        61700 · Information Technology - Other                               -                     -                    -                      -                      -
      Total 61700 · Information Technology                                   -                     -                    -                      -                      -
      61850 · Meals and Entertainment                                        -                     -                    -                      -                      -
      62500 · Employee Benefits                                              -                     -                    -                      -                      -
      63300 · Insurance                                                      -                     -                    -                      -                      -
      63400 · Interest                                                       -                     -                    -                      -                      -
      63401 · Int Expense - BK DIP financing                                 -                     -                    -                      -                      -
      64800 · Office Expense                                                 -                     -                    -                      -                      -
      64900 · Office Supplies                                                -                     -                    -                      -                      -
      65000 · Outside Services                                               -                     -                    -                      -                      -
      66000 · Payroll-Salaries and Wages                                     -                     -                    -                      -                      -
      66005 · Payroll-Service Fees                                           -                     -                    -                      -                      -
      66015 · Payroll-Employer Taxes                                         -                     -                    -                      -                      -
      66030 · Postage and Delivery                                           -                     -                    -                      -                      -
      66900 · Repairs and Maintenance                                        -                     -                    -                      -                      -
      67100 · Telephone and Internet Expense                                 -                     -                    -                      -                      -
      67110 · Title Searches                                                 -                     -                    -                      -                      -
      67200 · Travel                                                         -                     -                    -                      -                      -
      67210 · Travel / Relocation allowance                                  -                     -                    -                      -                      -
      67400 · Utilities                                                      -                     -                    -                      -                      -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                      -                     -                    -                      -                      -
        68200 · Legal Fees - Ord Course                                      -                     -                    -                      -                      -
        68300 · Accntng Fees - Ord Course                                    -                     -                    -                      -                      -
      Total 68000 · Professional Fee Ord Course                              -                     -                    -                      -                      -
      71000 · U.S. Trustee Fees                                           975               1,950                   4,875                  650                1,625
      72000 · Prof Fees - Bankruptcy Related
        72010 · Legal - Bankruptcy                                           -                     -                    -                      -                      -
        72030 · Consulting - Bankruptcy                                      -                     -                    -                      -                      -
      Total 72000 · Prof Fees - Bankruptcy                                   -                     -                    -                      -                      -
      81140 · Board Fees                                                     -                     -                    -                      -                      -
    Total Expense                                                         975               1,950                   4,875                  650                1,625
 Net Ordinary Income                                                      (975)            (1,950)                 (4,875)            19,350               (100,405)
 Other Income/Expense
   Other Expense
    85001 · Charitable Contribution                                          -                     -                    -                      -                      -
   Total Other Expense                                                       -                     -                    -                      -                      -
 Net Other Income                                                            -                     -                    -                      -                      -
Net Income                                                                (975)            (1,950)                 (4,875)            19,350               (100,405)




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 (Jointly Administered)
 Statement of Operations
 for the period June 1-30, 2018
                                                                                                                                                   P-069
                                                            P-065 Franconia       P-066 Gateshead     P-067 Glenn Rich        P-068 Goose      Goosebrook
                                                  Debtor:   Notch Inves LLC          Invest LLC          Invest LLC         Rocks Invest LLC    Invest LLC
                                               Case No.:       17-12797              17-12794            17-12602              17-12611         17-12617
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                   -           1,850,500                     -                  -                  -
      40010 · Rent Revenue                                                   -                   -                     -                  -                  -
      40090 · Other Revenue                                                  -                   -                     -             22,192                  -
    Total Income                                                             -           1,850,500                     -             22,192                  -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                              -                   -                     -                  -                  -
        50020 · Cost of Sales Real Property                                  -           2,287,089                     -                  -                  -
        50030 · Closing Costs / Prorations                                   -            163,640                      -                  -                  -
        50040 · Structured Settlement Costs                                  -                  -                      -                  -                  -
      Total 50000 · Cost of Goods Sold                                       -           2,450,729                     -                  -                  -
    Total COGS                                                               -           2,450,729                     -                  -                  -
   Gross Profit                                                              -            (600,229)                    -             22,192                  -
    Expense
      60020 · Media Consulting                                               -                   -                     -                  -                  -
      60400 · Bank Charges                                                   -                   -                     -                  -                  -
      60600 · Equipment Lease                                                -                   -                     -                  -                  -
      61700 · Information Technology
        61701 · IT - Software                                                -                   -                     -                  -                  -
        61700 · Information Technology - Other                               -                   -                     -                  -                  -
      Total 61700 · Information Technology                                   -                   -                     -                  -                  -
      61850 · Meals and Entertainment                                        -                   -                     -                  -                  -
      62500 · Employee Benefits                                              -                   -                     -                  -                  -
      63300 · Insurance                                                      -                   -                     -                  -                  -
      63400 · Interest                                                       -                   -                     -                  -                  -
      63401 · Int Expense - BK DIP financing                                 -                   -                     -                  -                  -
      64800 · Office Expense                                                 -                   -                     -                  -                  -
      64900 · Office Supplies                                                -                   -                     -                  -                  -
      65000 · Outside Services                                               -                   -                     -                  -                  -
      66000 · Payroll-Salaries and Wages                                     -                   -                     -                  -                  -
      66005 · Payroll-Service Fees                                           -                   -                     -                  -                  -
      66015 · Payroll-Employer Taxes                                         -                   -                     -                  -                  -
      66030 · Postage and Delivery                                           -                   -                     -                  -                  -
      66900 · Repairs and Maintenance                                        -                   -                     -                  -                  -
      67100 · Telephone and Internet Expense                                 -                   -                     -                  -                  -
      67110 · Title Searches                                                 -                   -                     -                  -                  -
      67200 · Travel                                                         -                   -                     -                  -                  -
      67210 · Travel / Relocation allowance                                  -                   -                     -                  -                  -
      67400 · Utilities                                                      -                   -                     -                  -                  -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                      -                   -                     -                  -                  -
        68200 · Legal Fees - Ord Course                                      -                   -                     -                  -                  -
        68300 · Accntng Fees - Ord Course                                    -                   -                     -                  -                  -
      Total 68000 · Professional Fee Ord Course                              -                   -                     -                  -                  -
      71000 · U.S. Trustee Fees                                           325                1,950                  325               4,875            1,950
      72000 · Prof Fees - Bankruptcy Related
        72010 · Legal - Bankruptcy                                           -                   -                     -                  -                  -
        72030 · Consulting - Bankruptcy                                      -                   -                     -                  -                  -
      Total 72000 · Prof Fees - Bankruptcy                                   -                   -                     -                  -                  -
      81140 · Board Fees                                                     -                   -                     -                  -                  -
    Total Expense                                                         325                1,950                  325               4,875            1,950
 Net Ordinary Income                                                      (325)           (602,179)                 (325)            17,317           (1,950)
 Other Income/Expense
   Other Expense
    85001 · Charitable Contribution                                          -                   -                     -                  -                  -
   Total Other Expense                                                       -                   -                     -                  -                  -
 Net Other Income                                                            -                   -                     -                  -                  -
Net Income                                                                (325)           (602,179)                 (325)            17,317           (1,950)




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 Woodbridge Group of Companies, LLC, et al
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 Statement of Operations
 for the period June 1-30, 2018
                                                                                  P-071 Grand           P-072          P-073 Green
                                                          P-070 Graeme Park      Midway Invest       Gravenstein       Gables Invest       P-074 Grenadier
                                                  Debtor:     Invest LLC              LLC            Invest LLC            LLC                Invest LLC
                                               Case No.:      17-12622             17-12628           17-12632           17-12637             17-12643
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                   -                   -                 -                   -                   -
      40010 · Rent Revenue                                                   -                   -                 -                   -                   -
      40090 · Other Revenue                                                  -                   -                 -                   -                   -
    Total Income                                                             -                   -                 -                   -                   -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                              -                   -                 -                   -                   -
        50020 · Cost of Sales Real Property                                  -                   -                 -                   -                   -
        50030 · Closing Costs / Prorations                                   -                   -                 -                   -                   -
        50040 · Structured Settlement Costs                                  -                   -                 -                   -                   -
      Total 50000 · Cost of Goods Sold                                       -                   -                 -                   -                   -
    Total COGS                                                               -                   -                 -                   -                   -
   Gross Profit                                                              -                   -                 -                   -                   -
    Expense
      60020 · Media Consulting                                               -                   -                 -                   -                   -
      60400 · Bank Charges                                                   -                   -                 -                   -                   -
      60600 · Equipment Lease                                                -                   -                 -                   -                   -
      61700 · Information Technology
        61701 · IT - Software                                                -                   -                 -                   -                   -
        61700 · Information Technology - Other                               -                   -                 -                   -                   -
      Total 61700 · Information Technology                                   -                   -                 -                   -                   -
      61850 · Meals and Entertainment                                        -                   -                 -                   -                   -
      62500 · Employee Benefits                                              -                   -                 -                   -                   -
      63300 · Insurance                                                      -                   -                 -                   -                   -
      63400 · Interest                                                       -                   -                 -                   -                   -
      63401 · Int Expense - BK DIP financing                                 -                   -                 -                   -                   -
      64800 · Office Expense                                                 -                   -                 -                   -                   -
      64900 · Office Supplies                                                -                   -                 -                   -                   -
      65000 · Outside Services                                               -                   -                 -                   -                   -
      66000 · Payroll-Salaries and Wages                                     -                   -                 -                   -                   -
      66005 · Payroll-Service Fees                                           -                   -                 -                   -                   -
      66015 · Payroll-Employer Taxes                                         -                   -                 -                   -                   -
      66030 · Postage and Delivery                                           -                   -                 -                   -                   -
      66900 · Repairs and Maintenance                                        -                   -                 -                   -                   -
      67100 · Telephone and Internet Expense                                 -                   -                 -                   -                   -
      67110 · Title Searches                                                 -                   -                 -                   -                   -
      67200 · Travel                                                         -                   -                 -                   -                   -
      67210 · Travel / Relocation allowance                                  -                   -                 -                   -                   -
      67400 · Utilities                                                      -                   -                 -                   -                   -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                      -                   -                 -                   -                   -
        68200 · Legal Fees - Ord Course                                      -                   -                 -                   -                   -
        68300 · Accntng Fees - Ord Course                                    -                   -                 -                   -                   -
      Total 68000 · Professional Fee Ord Course                              -                   -                 -                   -                   -
      71000 · U.S. Trustee Fees                                          1,625          250,000              4,875              4,875                    325
      72000 · Prof Fees - Bankruptcy Related
        72010 · Legal - Bankruptcy                                           -                   -                 -                   -                   -
        72030 · Consulting - Bankruptcy                                      -                   -                 -                   -                   -
      Total 72000 · Prof Fees - Bankruptcy                                   -                   -                 -                   -                   -
      81140 · Board Fees                                                     -                   -                 -                   -                   -
    Total Expense                                                        1,625          250,000              4,875              4,875                    325
 Net Ordinary Income                                                  (1,625)          (250,000)            (4,875)            (4,875)                (325)
 Other Income/Expense
   Other Expense
    85001 · Charitable Contribution                                          -                   -                 -                   -                   -
   Total Other Expense                                                       -                   -                 -                   -                   -
 Net Other Income                                                            -                   -                 -                   -                   -
Net Income                                                           (1,625)           (250,000)            (4,875)            (4,875)                (325)




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                                                                 P-075              P-076
                                                            Grumblethorpe       Hackmatack        P-077 Haffenburg      P-078 Haralson       P-080 Harringworth
                                                  Debtor:     Invest LLC         Invest LLC          Invest LLC           Invest LLC             Invest, LLC
                                               Case No.:      17-12649           17-12653            17-12659             17-12663               17-12669
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                  -                 -                    -                     -                     -
      40010 · Rent Revenue                                                  -                 -                    -                     -                     -
      40090 · Other Revenue                                                 -                 -                    -                     -                     -
    Total Income                                                            -                 -                    -                     -                     -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                             -                 -                    -                     -                     -
        50020 · Cost of Sales Real Property                                 -                 -                    -                     -                     -
        50030 · Closing Costs / Prorations                                  -                 -                    -                     -                     -
        50040 · Structured Settlement Costs                                 -                 -                    -                     -                     -
      Total 50000 · Cost of Goods Sold                                      -                 -                    -                     -                     -
    Total COGS                                                              -                 -                    -                     -                     -
   Gross Profit                                                             -                 -                    -                     -                     -
    Expense
      60020 · Media Consulting                                              -                 -                    -                     -                     -
      60400 · Bank Charges                                                  -                 -                    -                     -                     -
      60600 · Equipment Lease                                               -                 -                    -                     -                     -
      61700 · Information Technology
        61701 · IT - Software                                               -                 -                    -                     -                     -
        61700 · Information Technology - Other                              -                 -                    -                     -                     -
      Total 61700 · Information Technology                                  -                 -                    -                     -                     -
      61850 · Meals and Entertainment                                       -                 -                    -                     -                     -
      62500 · Employee Benefits                                             -                 -                    -                     -                     -
      63300 · Insurance                                                     -                 -                    -                     -                     -
      63400 · Interest                                                      -                 -                    -                     -                     -
      63401 · Int Expense - BK DIP financing                                -                 -                    -                     -                     -
      64800 · Office Expense                                                -                 -                    -                     -                     -
      64900 · Office Supplies                                               -                 -                    -                     -                     -
      65000 · Outside Services                                              -                 -                    -                     -                     -
      66000 · Payroll-Salaries and Wages                                    -                 -                    -                     -                     -
      66005 · Payroll-Service Fees                                          -                 -                    -                     -                     -
      66015 · Payroll-Employer Taxes                                        -                 -                    -                     -                     -
      66030 · Postage and Delivery                                          -                 -                    -                     -                     -
      66900 · Repairs and Maintenance                                       -                 -                    -                     -                     -
      67100 · Telephone and Internet Expense                                -                 -                    -                     -                     -
      67110 · Title Searches                                                -                 -                    -                     -                     -
      67200 · Travel                                                        -                 -                    -                     -                     -
      67210 · Travel / Relocation allowance                                 -                 -                    -                     -                     -
      67400 · Utilities                                                     -                 -                    -                     -                     -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                     -                 -                    -                     -                     -
        68200 · Legal Fees - Ord Course                                     -                 -                    -                     -                     -
        68300 · Accntng Fees - Ord Course                                   -                 -                    -                     -                     -
      Total 68000 · Professional Fee Ord Course                             -                 -                    -                     -                     -
      71000 · U.S. Trustee Fees                                          325                325                 325                  325                    325
      72000 · Prof Fees - Bankruptcy Related
        72010 · Legal - Bankruptcy                                          -                 -                    -                     -                     -
        72030 · Consulting - Bankruptcy                                     -                 -                    -                     -                     -
      Total 72000 · Prof Fees - Bankruptcy                                  -                 -                    -                     -                     -
      81140 · Board Fees                                                    -                 -                    -                     -                     -
    Total Expense                                                        325                325                 325                  325                    325
 Net Ordinary Income                                                  (325)              (325)                  (325)                (325)                  (325)
 Other Income/Expense
   Other Expense
    85001 · Charitable Contribution                                         -                 -                    -                     -                     -
   Total Other Expense                                                      -                 -                    -                     -                     -
 Net Other Income                                                           -                 -                    -                     -                     -
Net Income                                                            (325)              (325)                  (325)                (325)                  (325)




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                                                            P-081 Hawthorne       P-082 Hazelpoint        P-084 Heilbron       P-085 Hollyline       P-086 Hornbeam
                                                  Debtor:      Invest LLC            Invest LLC          Manor Invest LLC       Owners LLC              Invest LLC
                                               Case No.:       18-10291              17-12674               17-12681              17-12688              17-12694
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                    -                      -                    -                      -                 -
      40010 · Rent Revenue                                                    -                      -                    -                      -                 -
      40090 · Other Revenue                                                   -                      -                    -                      -                 -
    Total Income                                                              -                      -                    -                      -                 -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                               -                      -                    -                      -                 -
        50020 · Cost of Sales Real Property                                   -                      -                    -                      -                 -
        50030 · Closing Costs / Prorations                                    -                      -                    -                      -                 -
        50040 · Structured Settlement Costs                                   -                      -                    -                      -                 -
      Total 50000 · Cost of Goods Sold                                        -                      -                    -                      -                 -
    Total COGS                                                                -                      -                    -                      -                 -
   Gross Profit                                                               -                      -                    -                      -                 -
    Expense
      60020 · Media Consulting                                                -                      -                    -                      -                 -
      60400 · Bank Charges                                                    -                      -                    -                      -                 -
      60600 · Equipment Lease                                                 -                      -                    -                      -                 -
      61700 · Information Technology
        61701 · IT - Software                                                 -                      -                    -                      -                 -
        61700 · Information Technology - Other                                -                      -                    -                      -                 -
      Total 61700 · Information Technology                                    -                      -                    -                      -                 -
      61850 · Meals and Entertainment                                         -                      -                    -                      -                 -
      62500 · Employee Benefits                                               -                      -                    -                      -                 -
      63300 · Insurance                                                       -                      -                    -                      -                 -
      63400 · Interest                                                        -                      -                    -                      -                 -
      63401 · Int Expense - BK DIP financing                                  -                      -                    -                      -                 -
      64800 · Office Expense                                                  -                      -                    -                      -                 -
      64900 · Office Supplies                                                 -                      -                    -                      -                 -
      65000 · Outside Services                                                -                      -                    -                      -                 -
      66000 · Payroll-Salaries and Wages                                      -                      -                    -                      -                 -
      66005 · Payroll-Service Fees                                            -                      -                    -                      -                 -
      66015 · Payroll-Employer Taxes                                          -                      -                    -                      -                 -
      66030 · Postage and Delivery                                            -                      -                    -                      -                 -
      66900 · Repairs and Maintenance                                         -                      -                    -                      -                 -
      67100 · Telephone and Internet Expense                                  -                      -                    -                      -                 -
      67110 · Title Searches                                                  -                      -                    -                      -                 -
      67200 · Travel                                                          -                      -                    -                      -                 -
      67210 · Travel / Relocation allowance                                   -                      -                    -                      -                 -
      67400 · Utilities                                                       -                      -                    -                      -                 -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                       -                      -                    -                      -                 -
        68200 · Legal Fees - Ord Course                                       -                      -                    -                      -                 -
        68300 · Accntng Fees - Ord Course                                     -                      -                    -                      -                 -
      Total 68000 · Professional Fee Ord Course                               -                      -                    -                      -                 -
      71000 · U.S. Trustee Fees                                           650                   325                    975                   650              1,625
      72000 · Prof Fees - Bankruptcy Related
        72010 · Legal - Bankruptcy                                            -                      -                    -                      -                 -
        72030 · Consulting - Bankruptcy                                       -                      -                    -                      -                 -
      Total 72000 · Prof Fees - Bankruptcy                                    -                      -                    -                      -                 -
      81140 · Board Fees                                                      -                      -                    -                      -                 -
    Total Expense                                                         650                   325                    975                   650              1,625
 Net Ordinary Income                                                      (650)                 (325)                  (975)              (650)               (1,625)
 Other Income/Expense
   Other Expense
    85001 · Charitable Contribution                                           -                      -                    -                      -                 -
   Total Other Expense                                                        -                      -                    -                      -                 -
 Net Other Income                                                             -                      -                    -                      -                 -
Net Income                                                                (650)                 (325)                  (975)              (650)               (1,625)




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                                                                                                         P-092 Lenni          P-093 Lilac
                                                            P-087 Idared       P-088 Imperial Aly       Heights Invest       Meadow Invest       P-094 Lilac Valley
                                                  Debtor:    Invest LLC           Invest LLC                LLC                  LLC                Invest LLC
                                               Case No.:     17-12701              17-12708               17-12720             17-12728              18-10292
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                 -                        -          101,000                       -            670,000
      40010 · Rent Revenue                                                 -                        -                    -                   -                    -
      40090 · Other Revenue                                                -                        -                    -                   -                    -
    Total Income                                                           -                        -          101,000                       -            670,000
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                            -                        -                    -                   -                    -
        50020 · Cost of Sales Real Property                                -                        -          178,040                       -            736,639
        50030 · Closing Costs / Prorations                                 -                        -             7,706                      -             39,724
        50040 · Structured Settlement Costs                                -                        -                 -                      -                  -
      Total 50000 · Cost of Goods Sold                                     -                        -          185,746                       -            776,363
    Total COGS                                                             -                        -          185,746                       -            776,363
   Gross Profit                                                            -                        -           (84,746)                     -            (106,363)
    Expense
      60020 · Media Consulting                                             -                        -                    -                   -                    -
      60400 · Bank Charges                                                 -                        -                    -                   -                    -
      60600 · Equipment Lease                                              -                        -                    -                   -                    -
      61700 · Information Technology
        61701 · IT - Software                                              -                        -                    -                   -                    -
        61700 · Information Technology - Other                             -                        -                    -                   -                    -
      Total 61700 · Information Technology                                 -                        -                    -                   -                    -
      61850 · Meals and Entertainment                                      -                        -                    -                   -                    -
      62500 · Employee Benefits                                            -                        -                    -                   -                    -
      63300 · Insurance                                                    -                        -                    -                   -                    -
      63400 · Interest                                                     -                        -                    -                   -                    -
      63401 · Int Expense - BK DIP financing                               -                        -                    -                   -                    -
      64800 · Office Expense                                               -                        -                    -                   -                    -
      64900 · Office Supplies                                              -                        -                    -                   -                    -
      65000 · Outside Services                                             -                        -                    -                   -                    -
      66000 · Payroll-Salaries and Wages                                   -                        -                    -                   -                    -
      66005 · Payroll-Service Fees                                         -                        -                    -                   -                    -
      66015 · Payroll-Employer Taxes                                       -                        -                    -                   -                    -
      66030 · Postage and Delivery                                         -                        -                    -                   -                    -
      66900 · Repairs and Maintenance                                      -                        -                    -                   -                    -
      67100 · Telephone and Internet Expense                               -                        -                    -                   -                    -
      67110 · Title Searches                                               -                        -                    -                   -                    -
      67200 · Travel                                                       -                        -                    -                   -                    -
      67210 · Travel / Relocation allowance                                -                        -                    -                   -                    -
      67400 · Utilities                                                    -                        -                    -                   -                    -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                    -                        -                    -                   -                    -
        68200 · Legal Fees - Ord Course                                    -                        -                    -                   -                    -
        68300 · Accntng Fees - Ord Course                                  -                        -                    -                   -                    -
      Total 68000 · Professional Fee Ord Course                            -                        -                    -                   -                    -
      71000 · U.S. Trustee Fees                                         325                    975                   325              4,875                     650
      72000 · Prof Fees - Bankruptcy Related
        72010 · Legal - Bankruptcy                                         -                        -                    -                   -                    -
        72030 · Consulting - Bankruptcy                                    -                        -                    -                   -                    -
      Total 72000 · Prof Fees - Bankruptcy                                 -                        -                    -                   -                    -
      81140 · Board Fees                                                   -                        -                    -                   -                    -
    Total Expense                                                       325                    975                   325              4,875                     650
 Net Ordinary Income                                                  (325)                    (975)            (85,071)             (4,875)              (107,013)
 Other Income/Expense
   Other Expense
    85001 · Charitable Contribution                                        -                        -                    -                   -                    -
   Total Other Expense                                                     -                        -                    -                   -                    -
 Net Other Income                                                          -                        -                    -                   -                    -
Net Income                                                           (325)                     (975)            (85,071)             (4,875)              (107,013)




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                                                                P-095
                                                            Lincolnshire       P-096 Lonetree       P-097 Longbourn P-098 Mason Run P-099 Massabesic
                                                  Debtor:    Invest LLC          Invest LLC            Invest LLC      Invest LLC      Invest LLC
                                               Case No.:     17-12733            17-12740              17-12746         17-12751         18-10293
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                 -                    -                 -                  -                -
      40010 · Rent Revenue                                                 -                    -                 -                  -                -
      40090 · Other Revenue                                                -                    -                 -                  -                -
    Total Income                                                           -                    -                 -                  -                -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                            -                    -                 -                  -                -
        50020 · Cost of Sales Real Property                                -                    -                 -                  -                -
        50030 · Closing Costs / Prorations                                 -                    -                 -                  -                -
        50040 · Structured Settlement Costs                                -                    -                 -                  -                -
      Total 50000 · Cost of Goods Sold                                     -                    -                 -                  -                -
    Total COGS                                                             -                    -                 -                  -                -
   Gross Profit                                                            -                    -                 -                  -                -
    Expense
      60020 · Media Consulting                                             -                    -                 -                  -                -
      60400 · Bank Charges                                                 -                    -                 -                  -                -
      60600 · Equipment Lease                                              -                    -                 -                  -                -
      61700 · Information Technology
        61701 · IT - Software                                              -                    -                 -                  -                -
        61700 · Information Technology - Other                             -                    -                 -                  -                -
      Total 61700 · Information Technology                                 -                    -                 -                  -                -
      61850 · Meals and Entertainment                                      -                    -                 -                  -                -
      62500 · Employee Benefits                                            -                    -                 -                  -                -
      63300 · Insurance                                                    -                    -                 -                  -                -
      63400 · Interest                                                     -                    -                 -                  -                -
      63401 · Int Expense - BK DIP financing                               -                    -                 -                  -                -
      64800 · Office Expense                                               -                    -                 -                  -                -
      64900 · Office Supplies                                              -                    -                 -                  -                -
      65000 · Outside Services                                             -                    -                 -                  -                -
      66000 · Payroll-Salaries and Wages                                   -                    -                 -                  -                -
      66005 · Payroll-Service Fees                                         -                    -                 -                  -                -
      66015 · Payroll-Employer Taxes                                       -                    -                 -                  -                -
      66030 · Postage and Delivery                                         -                    -                 -                  -                -
      66900 · Repairs and Maintenance                                      -                    -                 -                  -                -
      67100 · Telephone and Internet Expense                               -                    -                 -                  -                -
      67110 · Title Searches                                               -                    -                 -                  -                -
      67200 · Travel                                                       -                    -                 -                  -                -
      67210 · Travel / Relocation allowance                                -                    -                 -                  -                -
      67400 · Utilities                                                    -                    -                 -                  -                -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                    -                    -                 -                  -                -
        68200 · Legal Fees - Ord Course                                    -                    -                 -                  -                -
        68300 · Accntng Fees - Ord Course                                  -                    -                 -                  -                -
      Total 68000 · Professional Fee Ord Course                            -                    -                 -                  -                -
      71000 · U.S. Trustee Fees                                         650                 325               4,875                975              325
      72000 · Prof Fees - Bankruptcy Related
        72010 · Legal - Bankruptcy                                         -                    -                 -                  -                -
        72030 · Consulting - Bankruptcy                                    -                    -                 -                  -                -
      Total 72000 · Prof Fees - Bankruptcy                                 -                    -                 -                  -                -
      81140 · Board Fees                                                   -                    -                 -                  -                -
    Total Expense                                                       650                 325               4,875                975              325
 Net Ordinary Income                                                 (650)               (325)               (4,875)           (975)            (325)
 Other Income/Expense
   Other Expense
    85001 · Charitable Contribution                                        -                    -                 -                  -                -
   Total Other Expense                                                     -                    -                 -                  -                -
 Net Other Income                                                          -                    -                 -                  -                -
Net Income                                                           (650)               (325)               (4,875)           (975)            (325)




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                                                           P-100 Melody       P-101 Merrimack     P-102 Mineola       P-103 Monadnock     P-104 Moravian
                                                  Debtor: Lane Invest LLC       Valley Invest      Invest LLC            Invest LLC         Invest LLC
                                               Case No.:     17-12757            17-12665           17-12673             17-12682           17-12690
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                -                   -                   -                   -                  -
      40010 · Rent Revenue                                                -                   -                   -                   -                  -
      40090 · Other Revenue                                               -                   -                   -                   -                  -
    Total Income                                                          -                   -                   -                   -                  -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                           -                   -                   -                   -                  -
        50020 · Cost of Sales Real Property                               -                   -                   -                   -                  -
        50030 · Closing Costs / Prorations                                -                   -                   -                   -                  -
        50040 · Structured Settlement Costs                               -                   -                   -                   -                  -
      Total 50000 · Cost of Goods Sold                                    -                   -                   -                   -                  -
    Total COGS                                                            -                   -                   -                   -                  -
   Gross Profit                                                           -                   -                   -                   -                  -
    Expense
      60020 · Media Consulting                                            -                   -                   -                   -                  -
      60400 · Bank Charges                                                -                   -                   -                   -                  -
      60600 · Equipment Lease                                             -                   -                   -                   -                  -
      61700 · Information Technology
        61701 · IT - Software                                             -                   -                   -                   -                  -
        61700 · Information Technology - Other                            -                   -                   -                   -                  -
      Total 61700 · Information Technology                                -                   -                   -                   -                  -
      61850 · Meals and Entertainment                                     -                   -                   -                   -                  -
      62500 · Employee Benefits                                           -                   -                   -                   -                  -
      63300 · Insurance                                                   -                   -                   -                   -                  -
      63400 · Interest                                                    -                   -                   -                   -                  -
      63401 · Int Expense - BK DIP financing                              -                   -                   -                   -                  -
      64800 · Office Expense                                              -                   -                   -                   -                  -
      64900 · Office Supplies                                             -                   -                   -                   -                  -
      65000 · Outside Services                                            -                   -                   -                   -                  -
      66000 · Payroll-Salaries and Wages                                  -                   -                   -                   -                  -
      66005 · Payroll-Service Fees                                        -                   -                   -                   -                  -
      66015 · Payroll-Employer Taxes                                      -                   -                   -                   -                  -
      66030 · Postage and Delivery                                        -                   -                   -                   -                  -
      66900 · Repairs and Maintenance                                     -                   -                   -                   -                  -
      67100 · Telephone and Internet Expense                              -                   -                   -                   -                  -
      67110 · Title Searches                                              -                   -                   -                   -                  -
      67200 · Travel                                                      -                   -                   -                   -                  -
      67210 · Travel / Relocation allowance                               -                   -                   -                   -                  -
      67400 · Utilities                                                   -                   -                   -                   -                  -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                   -                   -                   -                   -                  -
        68200 · Legal Fees - Ord Course                                   -                   -                   -                   -                  -
        68300 · Accntng Fees - Ord Course                                 -                   -                   -                   -                  -
      Total 68000 · Professional Fee Ord Course                           -                   -                   -                   -                  -
      71000 · U.S. Trustee Fees                                         325                 325                325                  325                325
      72000 · Prof Fees - Bankruptcy Related
        72010 · Legal - Bankruptcy                                        -                   -                   -                   -                  -
        72030 · Consulting - Bankruptcy                                   -                   -                   -                   -                  -
      Total 72000 · Prof Fees - Bankruptcy                                -                   -                   -                   -                  -
      81140 · Board Fees                                                  -                   -                   -                   -                  -
    Total Expense                                                       325                 325                325                  325                325
 Net Ordinary Income                                                 (325)               (325)              (325)               (325)               (325)
 Other Income/Expense
   Other Expense
    85001 · Charitable Contribution                                       -                   -                   -                   -                  -
   Total Other Expense                                                    -                   -                   -                   -                  -
 Net Other Income                                                         -                   -                   -                   -                  -
Net Income                                                           (325)               (325)              (325)               (325)               (325)




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                                                            P-105 Mountain     P-106 Mt. Holly       P-107 Mutsu       P-108 Newville       P-109 Old Carbon
                                                  Debtor:    Spring Invest       Invest LLC           Invest LLC         Invest LLC            Invest LLC
                                               Case No.:      17-12698            17-12707            17-12719           17-12734              17-12743
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                 -                     -                 -                    -                   -
      40010 · Rent Revenue                                                 -                     -                 -                    -                   -
      40090 · Other Revenue                                                -                     -                 -                    -                   -
    Total Income                                                           -                     -                 -                    -                   -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                            -                     -                 -                    -                   -
        50020 · Cost of Sales Real Property                                -                     -                 -                    -                   -
        50030 · Closing Costs / Prorations                                 -                     -                 -                    -                   -
        50040 · Structured Settlement Costs                                -                     -                 -                    -                   -
      Total 50000 · Cost of Goods Sold                                     -                     -                 -                    -                   -
    Total COGS                                                             -                     -                 -                    -                   -
   Gross Profit                                                            -                     -                 -                    -                   -
    Expense
      60020 · Media Consulting                                             -                     -                 -                    -                   -
      60400 · Bank Charges                                                 -                     -                 -                    -                   -
      60600 · Equipment Lease                                              -                     -                 -                    -                   -
      61700 · Information Technology
        61701 · IT - Software                                              -                     -                 -                    -                   -
        61700 · Information Technology - Other                             -                     -                 -                    -                   -
      Total 61700 · Information Technology                                 -                     -                 -                    -                   -
      61850 · Meals and Entertainment                                      -                     -                 -                    -                   -
      62500 · Employee Benefits                                            -                     -                 -                    -                   -
      63300 · Insurance                                                    -                     -                 -                    -                   -
      63400 · Interest                                                     -                     -                 -                    -                   -
      63401 · Int Expense - BK DIP financing                               -                     -                 -                    -                   -
      64800 · Office Expense                                               -                     -                 -                    -                   -
      64900 · Office Supplies                                              -                     -                 -                    -                   -
      65000 · Outside Services                                             -                     -                 -                    -                   -
      66000 · Payroll-Salaries and Wages                                   -                     -                 -                    -                   -
      66005 · Payroll-Service Fees                                         -                     -                 -                    -                   -
      66015 · Payroll-Employer Taxes                                       -                     -                 -                    -                   -
      66030 · Postage and Delivery                                         -                     -                 -                    -                   -
      66900 · Repairs and Maintenance                                      -                     -                 -                    -                   -
      67100 · Telephone and Internet Expense                               -                     -                 -                    -                   -
      67110 · Title Searches                                               -                     -                 -                    -                   -
      67200 · Travel                                                       -                     -                 -                    -                   -
      67210 · Travel / Relocation allowance                                -                     -                 -                    -                   -
      67400 · Utilities                                                    -                     -                 -                    -                   -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                    -                     -                 -                    -                   -
        68200 · Legal Fees - Ord Course                                    -                     -                 -                    -                   -
        68300 · Accntng Fees - Ord Course                                  -                     -                 -                    -                   -
      Total 68000 · Professional Fee Ord Course                            -                     -                 -                    -                   -
      71000 · U.S. Trustee Fees                                          650                 325                 325                325                   325
      72000 · Prof Fees - Bankruptcy Related
        72010 · Legal - Bankruptcy                                         -                     -                 -                    -                   -
        72030 · Consulting - Bankruptcy                                    -                     -                 -                    -                   -
      Total 72000 · Prof Fees - Bankruptcy                                 -                     -                 -                    -                   -
      81140 · Board Fees                                                   -                     -                 -                    -                   -
    Total Expense                                                        650                 325                 325                325                   325
 Net Ordinary Income                                                  (650)               (325)               (325)              (325)                 (325)
 Other Income/Expense
   Other Expense
    85001 · Charitable Contribution                                        -                     -                 -                    -                   -
   Total Other Expense                                                     -                     -                 -                    -                   -
 Net Other Income                                                          -                     -                 -                    -                   -
Net Income                                                            (650)               (325)               (325)              (325)                 (325)




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                                                              P-110 Old                                                       P-113
                                                            Maitland Invest       P-111 Owl Ridge     P-112 Papirovka     Pawtuckaway       P-114 Pemberley
                                                  Debtor:         LLC                Invest LLC          Invest LLC        Invest LLC          Invest LLC
                                               Case No.:       17-12752              17-12763            17-12774          17-12783            17-12790
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                    -                   -                   -                 -                   -
      40010 · Rent Revenue                                                    -                   -                   -                 -                   -
      40090 · Other Revenue                                                   -                   -                   -                 -                   -
    Total Income                                                              -                   -                   -                 -                   -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                               -                   -                   -                 -                   -
        50020 · Cost of Sales Real Property                                   -                   -                   -                 -                   -
        50030 · Closing Costs / Prorations                                    -                   -                   -                 -                   -
        50040 · Structured Settlement Costs                                   -                   -                   -                 -                   -
      Total 50000 · Cost of Goods Sold                                        -                   -                   -                 -                   -
    Total COGS                                                                -                   -                   -                 -                   -
   Gross Profit                                                               -                   -                   -                 -                   -
    Expense
      60020 · Media Consulting                                                -                   -                   -                 -                   -
      60400 · Bank Charges                                                    -                   -                   -                 -                   -
      60600 · Equipment Lease                                                 -                   -                   -                 -                   -
      61700 · Information Technology
        61701 · IT - Software                                                 -                   -                   -                 -                   -
        61700 · Information Technology - Other                                -                   -                   -                 -                   -
      Total 61700 · Information Technology                                    -                   -                   -                 -                   -
      61850 · Meals and Entertainment                                         -                   -                   -                 -                   -
      62500 · Employee Benefits                                               -                   -                   -                 -                   -
      63300 · Insurance                                                       -                   -                   -                 -                   -
      63400 · Interest                                                        -                   -                   -                 -                   -
      63401 · Int Expense - BK DIP financing                                  -                   -                   -                 -                   -
      64800 · Office Expense                                                  -                   -                   -                 -                   -
      64900 · Office Supplies                                                 -                   -                   -                 -                   -
      65000 · Outside Services                                                -                   -                   -                 -                   -
      66000 · Payroll-Salaries and Wages                                      -                   -                   -                 -                   -
      66005 · Payroll-Service Fees                                            -                   -                   -                 -                   -
      66015 · Payroll-Employer Taxes                                          -                   -                   -                 -                   -
      66030 · Postage and Delivery                                            -                   -                   -                 -                   -
      66900 · Repairs and Maintenance                                         -                   -                   -                 -                   -
      67100 · Telephone and Internet Expense                                  -                   -                   -                 -                   -
      67110 · Title Searches                                                  -                   -                   -                 -                   -
      67200 · Travel                                                          -                   -                   -                 -                   -
      67210 · Travel / Relocation allowance                                   -                   -                   -                 -                   -
      67400 · Utilities                                                       -                   -                   -                 -                   -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                       -                   -                   -                 -                   -
        68200 · Legal Fees - Ord Course                                       -                   -                   -                 -                   -
        68300 · Accntng Fees - Ord Course                                     -                   -                   -                 -                   -
      Total 68000 · Professional Fee Ord Course                               -                   -                   -                 -                   -
      71000 · U.S. Trustee Fees                                           650                   325                 325          4,875                    650
      72000 · Prof Fees - Bankruptcy Related
        72010 · Legal - Bankruptcy                                            -                   -                   -                 -                   -
        72030 · Consulting - Bankruptcy                                       -                   -                   -                 -                   -
      Total 72000 · Prof Fees - Bankruptcy                                    -                   -                   -                 -                   -
      81140 · Board Fees                                                      -                   -                   -                 -                   -
    Total Expense                                                         650                   325                 325          4,875                    650
 Net Ordinary Income                                                   (650)                 (325)               (325)           (4,875)               (650)
 Other Income/Expense
   Other Expense
    85001 · Charitable Contribution                                           -                   -                   -                 -                   -
   Total Other Expense                                                        -                   -                   -                 -                   -
 Net Other Income                                                             -                   -                   -                 -                   -
Net Income                                                             (650)                 (325)               (325)           (4,875)               (650)




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                                                               P-115                                  P-117
                                                            Pemigewasset       P-116 Pennhurst    Pepperwood        P-118 Pinney       P-119 Pinova
                                                  Debtor:      Invest             Invest LLC       Invest LLC        Invest LLC         Invest LLC
                                               Case No.:      17-12800            18-10296         17-12804          17-12808           17-12812
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                 -                  -                 -                  -                  -
      40010 · Rent Revenue                                                 -             2,300                  -                  -                  -
      40090 · Other Revenue                                                -                 -                  -                  -                  -
    Total Income                                                           -             2,300                  -                  -                  -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                            -                 49                 -                  -                  -
        50020 · Cost of Sales Real Property                                -                  -                 -                  -                  -
        50030 · Closing Costs / Prorations                                 -                  -                 -                  -                  -
        50040 · Structured Settlement Costs                                -                  -                 -                  -                  -
      Total 50000 · Cost of Goods Sold                                     -                 49                 -                  -                  -
    Total COGS                                                             -                 49                 -                  -                  -
   Gross Profit                                                            -             2,251                  -                  -                  -
    Expense
      60020 · Media Consulting                                             -                  -                 -                  -                  -
      60400 · Bank Charges                                                 -                  -                 -                  -                  -
      60600 · Equipment Lease                                              -                  -                 -                  -                  -
      61700 · Information Technology
        61701 · IT - Software                                              -                  -                 -                  -                  -
        61700 · Information Technology - Other                             -                  -                 -                  -                  -
      Total 61700 · Information Technology                                 -                  -                 -                  -                  -
      61850 · Meals and Entertainment                                      -                  -                 -                  -                  -
      62500 · Employee Benefits                                            -                  -                 -                  -                  -
      63300 · Insurance                                                    -                  -                 -                  -                  -
      63400 · Interest                                                     -                  -                 -                  -                  -
      63401 · Int Expense - BK DIP financing                               -                  -                 -                  -                  -
      64800 · Office Expense                                               -                  -                 -                  -                  -
      64900 · Office Supplies                                              -                  -                 -                  -                  -
      65000 · Outside Services                                             -                  -                 -                  -                  -
      66000 · Payroll-Salaries and Wages                                   -                  -                 -                  -                  -
      66005 · Payroll-Service Fees                                         -                  -                 -                  -                  -
      66015 · Payroll-Employer Taxes                                       -                  -                 -                  -                  -
      66030 · Postage and Delivery                                         -                  -                 -                  -                  -
      66900 · Repairs and Maintenance                                      -                  -                 -                  -                  -
      67100 · Telephone and Internet Expense                               -                  -                 -                  -                  -
      67110 · Title Searches                                               -                  -                 -                  -                  -
      67200 · Travel                                                       -                  -                 -                  -                  -
      67210 · Travel / Relocation allowance                                -                  -                 -                  -                  -
      67400 · Utilities                                                    -                  -                 -                  -                  -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                    -                  -                 -                  -                  -
        68200 · Legal Fees - Ord Course                                    -                  -                 -                  -                  -
        68300 · Accntng Fees - Ord Course                                  -                  -                 -                  -                  -
      Total 68000 · Professional Fee Ord Course                            -                  -                 -                  -                  -
      71000 · U.S. Trustee Fees                                          325            10,087                650               650                325
      72000 · Prof Fees - Bankruptcy Related
        72010 · Legal - Bankruptcy                                         -                  -                 -                  -                  -
        72030 · Consulting - Bankruptcy                                    -                  -                 -                  -                  -
      Total 72000 · Prof Fees - Bankruptcy                                 -                  -                 -                  -                  -
      81140 · Board Fees                                                   -                  -                 -                  -                  -
    Total Expense                                                        325            10,087                650               650                325
 Net Ordinary Income                                                 (325)              (7,836)            (650)             (650)              (325)
 Other Income/Expense
   Other Expense
    85001 · Charitable Contribution                                        -                  -                 -                  -                  -
   Total Other Expense                                                     -                  -                 -                  -                  -
 Net Other Income                                                          -                  -                 -                  -                  -
Net Income                                                           (325)              (7,836)            (650)             (650)              (325)




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                                                               P-120
                                                            Quarterpost       P-121 Red Woods P-122 Ridgecrest P-123 Riley Creek P-124 Rising Sun
                                                  Debtor:   Invest LLC           Invest LLC      Invest LLC       Invest LLC        Invest LLC
                                               Case No.:     17-12816            17-12824          17-12821         17-12826         17-12828
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                -                   -                 -              -                  -
      40010 · Rent Revenue                                                -                   -                 -              -                  -
      40090 · Other Revenue                                               -                   -                 -              -                  -
    Total Income                                                          -                   -                 -              -                  -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                           -                   -                 -              -                  -
        50020 · Cost of Sales Real Property                        (1,291)                    -                 -              -                  -
        50030 · Closing Costs / Prorations                                -                   -                 -              -                  -
        50040 · Structured Settlement Costs                               -                   -                 -              -                  -
      Total 50000 · Cost of Goods Sold                             (1,291)                    -                 -              -                  -
    Total COGS                                                     (1,291)                    -                 -              -                  -
   Gross Profit                                                     1,291                     -                 -              -                  -
    Expense
      60020 · Media Consulting                                            -                   -                 -              -                  -
      60400 · Bank Charges                                                -                   -                 -              -                  -
      60600 · Equipment Lease                                             -                   -                 -              -                  -
      61700 · Information Technology
        61701 · IT - Software                                             -                   -                 -              -                  -
        61700 · Information Technology - Other                            -                   -                 -              -                  -
      Total 61700 · Information Technology                                -                   -                 -              -                  -
      61850 · Meals and Entertainment                                     -                   -                 -              -                  -
      62500 · Employee Benefits                                           -                   -                 -              -                  -
      63300 · Insurance                                                   -                   -                 -              -                  -
      63400 · Interest                                                    -                   -                 -              -                  -
      63401 · Int Expense - BK DIP financing                              -                   -                 -              -                  -
      64800 · Office Expense                                              -                   -                 -              -                  -
      64900 · Office Supplies                                             -                   -                 -              -                  -
      65000 · Outside Services                                            -                   -                 -              -                  -
      66000 · Payroll-Salaries and Wages                                  -                   -                 -              -                  -
      66005 · Payroll-Service Fees                                        -                   -                 -              -                  -
      66015 · Payroll-Employer Taxes                                      -                   -                 -              -                  -
      66030 · Postage and Delivery                                        -                   -                 -              -                  -
      66900 · Repairs and Maintenance                                     -                   -                 -              -                  -
      67100 · Telephone and Internet Expense                              -                   -                 -              -                  -
      67110 · Title Searches                                              -                   -                 -              -                  -
      67200 · Travel                                                      -                   -                 -              -                  -
      67210 · Travel / Relocation allowance                               -                   -                 -              -                  -
      67400 · Utilities                                                   -                   -                 -              -                  -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                   -                   -                 -              -                  -
        68200 · Legal Fees - Ord Course                                   -                   -                 -              -                  -
        68300 · Accntng Fees - Ord Course                                 -                   -                 -              -                  -
      Total 68000 · Professional Fee Ord Course                           -                   -                 -              -                  -
      71000 · U.S. Trustee Fees                                     4,875                   650               325         4,875                 650
      72000 · Prof Fees - Bankruptcy Related
        72010 · Legal - Bankruptcy                                        -                   -                 -              -                  -
        72030 · Consulting - Bankruptcy                                   -                   -                 -              -                  -
      Total 72000 · Prof Fees - Bankruptcy                                -                   -                 -              -                  -
      81140 · Board Fees                                                  -                   -                 -              -                  -
    Total Expense                                                   4,875                   650               325         4,875                 650
 Net Ordinary Income                                               (3,584)               (650)            (325)           (4,875)           (650)
 Other Income/Expense
   Other Expense
    85001 · Charitable Contribution                                       -                   -                 -              -                  -
   Total Other Expense                                                    -                   -                 -              -                  -
 Net Other Income                                                         -                   -                 -              -                  -
Net Income                                                         (3,584)               (650)            (325)           (4,875)           (650)




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                                                             P-125 Sachs    P-126 Sagebrook       P-127 Seven       P-128 Silk City         P-129 Silver
                                                  Debtor: Bridge Invest LLC    Invest LLC       Stars Invest LLC      Invest LLC          Maple Invest LLC
                                               Case No.:     18-10297          17-12830            17-12832           17-12834               17-12836
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                        340,000                   -           250,000                       -          8,500,000
      40010 · Rent Revenue                                                -                 -                   -                     -                  -
      40090 · Other Revenue                                               -                 -                   -                     -                  -
    Total Income                                                  340,000                   -           250,000                       -          8,500,000
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                           -                 -                   -                     -                  -
        50020 · Cost of Sales Real Property                       262,062                   -           342,626                       -          7,900,432
        50030 · Closing Costs / Prorations                         21,405                   -            22,523                       -           398,947
        50040 · Structured Settlement Costs                             -                   -                 -                       -                 -
      Total 50000 · Cost of Goods Sold                            283,467                   -           365,149                       -          8,299,379
    Total COGS                                                    283,467                   -           365,149                       -          8,299,379
   Gross Profit                                                    56,533                   -           (115,149)                     -           200,621
    Expense
      60020 · Media Consulting                                            -                 -                   -                     -                  -
      60400 · Bank Charges                                                -                 -                   -                     -                  -
      60600 · Equipment Lease                                             -                 -                   -                     -                  -
      61700 · Information Technology
        61701 · IT - Software                                             -                 -                   -                     -                  -
        61700 · Information Technology - Other                            -                 -                   -                     -                  -
      Total 61700 · Information Technology                                -                 -                   -                     -                  -
      61850 · Meals and Entertainment                                     -                 -                   -                     -                  -
      62500 · Employee Benefits                                           -                 -                   -                     -                  -
      63300 · Insurance                                                   -                 -                   -                     -                  -
      63400 · Interest                                                    -                 -                   -                     -                  -
      63401 · Int Expense - BK DIP financing                              -                 -                   -                     -                  -
      64800 · Office Expense                                              -                 -                   -                     -                  -
      64900 · Office Supplies                                             -                 -                   -                     -                  -
      65000 · Outside Services                                            -                 -                   -                     -                  -
      66000 · Payroll-Salaries and Wages                                  -                 -                   -                     -                  -
      66005 · Payroll-Service Fees                                        -                 -                   -                     -                  -
      66015 · Payroll-Employer Taxes                                      -                 -                   -                     -                  -
      66030 · Postage and Delivery                                        -                 -                   -                     -                  -
      66900 · Repairs and Maintenance                                     -                 -                   -                     -                  -
      67100 · Telephone and Internet Expense                              -                 -                   -                     -                  -
      67110 · Title Searches                                              -                 -                   -                     -                  -
      67200 · Travel                                                      -                 -                   -                     -                  -
      67210 · Travel / Relocation allowance                               -                 -                   -                     -                  -
      67400 · Utilities                                                   -                 -                   -                     -                  -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                   -                 -                   -                     -                  -
        68200 · Legal Fees - Ord Course                                   -                 -                   -                     -                  -
        68300 · Accntng Fees - Ord Course                                 -                 -                   -                     -                  -
      Total 68000 · Professional Fee Ord Course                           -                 -                   -                     -                  -
      71000 · U.S. Trustee Fees                                         650               325                 650            11,015                 4,875
      72000 · Prof Fees - Bankruptcy Related
        72010 · Legal - Bankruptcy                                        -                 -                   -                     -                  -
        72030 · Consulting - Bankruptcy                                   -                 -                   -                     -                  -
      Total 72000 · Prof Fees - Bankruptcy                                -                 -                   -                     -                  -
      81140 · Board Fees                                                  -                 -                   -                     -                  -
    Total Expense                                                       650               325                 650            11,015                 4,875
 Net Ordinary Income                                               55,883             (325)             (115,799)           (11,015)              195,746
 Other Income/Expense
   Other Expense
    85001 · Charitable Contribution                                       -                 -                   -                     -                  -
   Total Other Expense                                                    -                 -                   -                     -                  -
 Net Other Income                                                         -                 -                   -                     -                  -
Net Income                                                         55,883             (325)             (115,799)           (11,015)              195,746




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                                                                P-138
                                                            Silverthorne       P-139 Springline    P-140 Springvale    P-141 Squaretop    P-142 Stayman
                                                  Debtor:    Invest LLC           Invest LLC          Invest LLC          Invest LLC        Invest LLC
                                               Case No.:     17-12582             17-12585            18-10298            17-12589          17-12594
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                 -                   -                   -                 -                    -
      40010 · Rent Revenue                                                 -                   -                   -                 -                    -
      40090 · Other Revenue                                                -                   -                   -                 -                    -
    Total Income                                                           -                   -                   -                 -                    -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                            -                   -                   -                 -                    -
        50020 · Cost of Sales Real Property                                -                   -                   -                 -                    -
        50030 · Closing Costs / Prorations                                 -                   -                   -                 -                    -
        50040 · Structured Settlement Costs                                -                   -                   -                 -                    -
      Total 50000 · Cost of Goods Sold                                     -                   -                   -                 -                    -
    Total COGS                                                             -                   -                   -                 -                    -
   Gross Profit                                                            -                   -                   -                 -                    -
    Expense
      60020 · Media Consulting                                             -                   -                   -                 -                    -
      60400 · Bank Charges                                                 -                   -                   -                 -                    -
      60600 · Equipment Lease                                              -                   -                   -                 -                    -
      61700 · Information Technology
        61701 · IT - Software                                              -                   -                   -                 -                    -
        61700 · Information Technology - Other                             -                   -                   -                 -                    -
      Total 61700 · Information Technology                                 -                   -                   -                 -                    -
      61850 · Meals and Entertainment                                      -                   -                   -                 -                    -
      62500 · Employee Benefits                                            -                   -                   -                 -                    -
      63300 · Insurance                                                    -                   -                   -                 -                    -
      63400 · Interest                                                     -                   -                   -                 -                    -
      63401 · Int Expense - BK DIP financing                               -                   -                   -                 -                    -
      64800 · Office Expense                                               -                   -                   -                 -                    -
      64900 · Office Supplies                                              -                   -                   -                 -                    -
      65000 · Outside Services                                             -                   -                   -                 -                    -
      66000 · Payroll-Salaries and Wages                                   -                   -                   -                 -                    -
      66005 · Payroll-Service Fees                                         -                   -                   -                 -                    -
      66015 · Payroll-Employer Taxes                                       -                   -                   -                 -                    -
      66030 · Postage and Delivery                                         -                   -                   -                 -                    -
      66900 · Repairs and Maintenance                                      -                   -                   -                 -                    -
      67100 · Telephone and Internet Expense                               -                   -                   -                 -                    -
      67110 · Title Searches                                               -                   -                   -                 -                    -
      67200 · Travel                                                       -                   -                   -                 -                    -
      67210 · Travel / Relocation allowance                                -                   -                   -                 -                    -
      67400 · Utilities                                                    -                   -                   -                 -                    -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                    -                   -                   -                 -                    -
        68200 · Legal Fees - Ord Course                                    -                   -                   -                 -                    -
        68300 · Accntng Fees - Ord Course                                  -                   -                   -                 -                    -
      Total 68000 · Professional Fee Ord Course                            -                   -                   -                 -                    -
      71000 · U.S. Trustee Fees                                         325                  325                 650            16,459                 325
      72000 · Prof Fees - Bankruptcy Related
        72010 · Legal - Bankruptcy                                         -                   -                   -                 -                    -
        72030 · Consulting - Bankruptcy                                    -                   -                   -                 -                    -
      Total 72000 · Prof Fees - Bankruptcy                                 -                   -                   -                 -                    -
      81140 · Board Fees                                                   -                   -                   -                 -                    -
    Total Expense                                                       325                  325                 650            16,459                 325
 Net Ordinary Income                                                  (325)                (325)              (650)            (16,459)             (325)
 Other Income/Expense
   Other Expense
    85001 · Charitable Contribution                                        -                   -                   -                 -                    -
   Total Other Expense                                                     -                   -                   -                 -                    -
 Net Other Income                                                          -                   -                   -                 -                    -
Net Income                                                            (325)                (325)              (650)            (16,459)             (325)




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                                                                                                                                             P-147
                                                          P-143 Steele Hill    P-144 Stepstone     P-145 Strawberry   P-146 Sturmer      Summerfree
                                                  Debtor:    Invest LLC           Invest LLC         Fields Invest  Pippin Invest LLC     Invest LLC
                                               Case No.:      17-12598            17-12606            17-12613          17-12629          17-12635
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                 -                   -                   -                -                  -
      40010 · Rent Revenue                                                 -                   -                   -                -                  -
      40090 · Other Revenue                                                -                   -                   -                -                  -
    Total Income                                                           -                   -                   -                -                  -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                            -                   -                   -                -                  -
        50020 · Cost of Sales Real Property                              277                   -                   -                -                  -
        50030 · Closing Costs / Prorations                                 -                   -                   -                -                  -
        50040 · Structured Settlement Costs                                -                   -                   -                -                  -
      Total 50000 · Cost of Goods Sold                                   277                   -                   -                -                  -
    Total COGS                                                           277                   -                   -                -                  -
   Gross Profit                                                        (277)                   -                   -                -                  -
    Expense
      60020 · Media Consulting                                             -                   -                   -                -                  -
      60400 · Bank Charges                                                 -                   -                   -                -                  -
      60600 · Equipment Lease                                              -                   -                   -                -                  -
      61700 · Information Technology
        61701 · IT - Software                                              -                   -                   -                -                  -
        61700 · Information Technology - Other                             -                   -                   -                -                  -
      Total 61700 · Information Technology                                 -                   -                   -                -                  -
      61850 · Meals and Entertainment                                      -                   -                   -                -                  -
      62500 · Employee Benefits                                            -                   -                   -                -                  -
      63300 · Insurance                                                    -                   -                   -                -                  -
      63400 · Interest                                                     -                   -                   -                -                  -
      63401 · Int Expense - BK DIP financing                               -                   -                   -                -                  -
      64800 · Office Expense                                               -                   -                   -                -                  -
      64900 · Office Supplies                                              -                   -                   -                -                  -
      65000 · Outside Services                                             -                   -                   -                -                  -
      66000 · Payroll-Salaries and Wages                                   -                   -                   -                -                  -
      66005 · Payroll-Service Fees                                         -                   -                   -                -                  -
      66015 · Payroll-Employer Taxes                                       -                   -                   -                -                  -
      66030 · Postage and Delivery                                         -                   -                   -                -                  -
      66900 · Repairs and Maintenance                                      -                   -                   -                -                  -
      67100 · Telephone and Internet Expense                               -                   -                   -                -                  -
      67110 · Title Searches                                               -                   -                   -                -                  -
      67200 · Travel                                                       -                   -                   -                -                  -
      67210 · Travel / Relocation allowance                                -                   -                   -                -                  -
      67400 · Utilities                                                    -                   -                   -                -                  -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                    -                   -                   -                -                  -
        68200 · Legal Fees - Ord Course                                    -                   -                   -                -                  -
        68300 · Accntng Fees - Ord Course                                  -                   -                   -                -                  -
      Total 68000 · Professional Fee Ord Course                            -                   -                   -                -                  -
      71000 · U.S. Trustee Fees                                          650                 325                 325           4,875             4,875
      72000 · Prof Fees - Bankruptcy Related
        72010 · Legal - Bankruptcy                                         -                   -                   -                -                  -
        72030 · Consulting - Bankruptcy                                    -                   -                   -                -                  -
      Total 72000 · Prof Fees - Bankruptcy                                 -                   -                   -                -                  -
      81140 · Board Fees                                                   -                   -                   -                -                  -
    Total Expense                                                        650                 325                 325           4,875             4,875
 Net Ordinary Income                                                   (927)              (325)               (325)            (4,875)          (4,875)
 Other Income/Expense
   Other Expense
    85001 · Charitable Contribution                                        -                   -                   -                -                  -
   Total Other Expense                                                     -                   -                   -                -                  -
 Net Other Income                                                          -                   -                   -                -                  -
Net Income                                                             (927)              (325)               (325)            (4,875)          (4,875)




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                                                          P-150 Thornbury      P-152 Thunder      P-155 Vallecito       P-156 Varga       P-157 Wetterhorn
                                                  Debtor: Farm Invest LLC     Basin Invest LLC      Invest LLC          Invest LLC           Invest LLC
                                               Case No.:     17-12651            17-12657           17-12675             17-12685            17-12693
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                -                   -                     -                 -                   -
      40010 · Rent Revenue                                                -                   -                     -                 -                   -
      40090 · Other Revenue                                               -                   -                     -                 -                   -
    Total Income                                                          -                   -                     -                 -                   -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                           -                   -                     -                 -                   -
        50020 · Cost of Sales Real Property                               -                   -                     -                 -                   -
        50030 · Closing Costs / Prorations                                -                   -                     -                 -                   -
        50040 · Structured Settlement Costs                               -                   -                     -                 -                   -
      Total 50000 · Cost of Goods Sold                                    -                   -                     -                 -                   -
    Total COGS                                                            -                   -                     -                 -                   -
   Gross Profit                                                           -                   -                     -                 -                   -
    Expense
      60020 · Media Consulting                                            -                   -                     -                 -                   -
      60400 · Bank Charges                                                -                   -                     -                 -                   -
      60600 · Equipment Lease                                             -                   -                     -                 -                   -
      61700 · Information Technology
        61701 · IT - Software                                             -                   -                     -                 -                   -
        61700 · Information Technology - Other                            -                   -                     -                 -                   -
      Total 61700 · Information Technology                                -                   -                     -                 -                   -
      61850 · Meals and Entertainment                                     -                   -                     -                 -                   -
      62500 · Employee Benefits                                           -                   -                     -                 -                   -
      63300 · Insurance                                                   -                   -                     -                 -                   -
      63400 · Interest                                                    -                   -                     -                 -                   -
      63401 · Int Expense - BK DIP financing                              -                   -                     -                 -                   -
      64800 · Office Expense                                              -                   -                     -                 -                   -
      64900 · Office Supplies                                             -                   -                     -                 -                   -
      65000 · Outside Services                                            -                   -                     -                 -                   -
      66000 · Payroll-Salaries and Wages                                  -                   -                     -                 -                   -
      66005 · Payroll-Service Fees                                        -                   -                     -                 -                   -
      66015 · Payroll-Employer Taxes                                      -                   -                     -                 -                   -
      66030 · Postage and Delivery                                        -                   -                     -                 -                   -
      66900 · Repairs and Maintenance                                     -                   -                     -                 -                   -
      67100 · Telephone and Internet Expense                              -                   -                     -                 -                   -
      67110 · Title Searches                                              -                   -                     -                 -                   -
      67200 · Travel                                                      -                   -                     -                 -                   -
      67210 · Travel / Relocation allowance                               -                   -                     -                 -                   -
      67400 · Utilities                                                   -                   -                     -                 -                   -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                   -                   -                     -                 -                   -
        68200 · Legal Fees - Ord Course                                   -                   -                     -                 -                   -
        68300 · Accntng Fees - Ord Course                                 -                   -                     -                 -                   -
      Total 68000 · Professional Fee Ord Course                           -                   -                     -                 -                   -
      71000 · U.S. Trustee Fees                                         975                 325                325              4,875                   325
      72000 · Prof Fees - Bankruptcy Related
        72010 · Legal - Bankruptcy                                        -                   -                     -                 -                   -
        72030 · Consulting - Bankruptcy                                   -                   -                     -                 -                   -
      Total 72000 · Prof Fees - Bankruptcy                                -                   -                     -                 -                   -
      81140 · Board Fees                                                  -                   -                     -                 -                   -
    Total Expense                                                       975                 325                325              4,875                   325
 Net Ordinary Income                                                 (975)               (325)               (325)             (4,875)               (325)
 Other Income/Expense
   Other Expense
    85001 · Charitable Contribution                                       -                   -                     -                 -                   -
   Total Other Expense                                                    -                   -                     -                 -                   -
 Net Other Income                                                         -                   -                     -                 -                   -
Net Income                                                           (975)               (325)               (325)             (4,875)               (325)




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                                                            P-158 White Birch   P-159 White   P-164 Wildernest   P-165 Willow       P-166 Winding
                                                  Debtor:      Invest LLC     Dome Invest LLC    Invest LLC    Grove Invest LLC      Road Invest
                                               Case No.:       17-12702          17-12709         17-12723         17-12732           17-12739
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                 -                  -                -                -                   -
      40010 · Rent Revenue                                                 -                  -                -                -                   -
      40090 · Other Revenue                                                -                  -                -                -                   -
    Total Income                                                           -                  -                -                -                   -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                            -                  -                -                -                   -
        50020 · Cost of Sales Real Property                                -                  -                -                -                   -
        50030 · Closing Costs / Prorations                                 -                  -                -                -                   -
        50040 · Structured Settlement Costs                                -                  -                -                -                   -
      Total 50000 · Cost of Goods Sold                                     -                  -                -                -                   -
    Total COGS                                                             -                  -                -                -                   -
   Gross Profit                                                            -                  -                -                -                   -
    Expense
      60020 · Media Consulting                                             -                  -                -                -                   -
      60400 · Bank Charges                                                 -                  -                -                -                   -
      60600 · Equipment Lease                                              -                  -                -                -                   -
      61700 · Information Technology
        61701 · IT - Software                                              -                  -                -                -                   -
        61700 · Information Technology - Other                             -                  -                -                -                   -
      Total 61700 · Information Technology                                 -                  -                -                -                   -
      61850 · Meals and Entertainment                                      -                  -                -                -                   -
      62500 · Employee Benefits                                            -                  -                -                -                   -
      63300 · Insurance                                                    -                  -                -                -                   -
      63400 · Interest                                                     -                  -                -                -                   -
      63401 · Int Expense - BK DIP financing                               -                  -                -                -                   -
      64800 · Office Expense                                               -                  -                -                -                   -
      64900 · Office Supplies                                              -                  -                -                -                   -
      65000 · Outside Services                                             -                  -                -                -                   -
      66000 · Payroll-Salaries and Wages                                   -                  -                -                -                   -
      66005 · Payroll-Service Fees                                         -                  -                -                -                   -
      66015 · Payroll-Employer Taxes                                       -                  -                -                -                   -
      66030 · Postage and Delivery                                         -                  -                -                -                   -
      66900 · Repairs and Maintenance                                      -                  -                -                -                   -
      67100 · Telephone and Internet Expense                               -                  -                -                -                   -
      67110 · Title Searches                                               -                  -                -                -                   -
      67200 · Travel                                                       -                  -                -                -                   -
      67210 · Travel / Relocation allowance                                -                  -                -                -                   -
      67400 · Utilities                                                    -                  -                -                -                   -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                    -                  -                -                -                   -
        68200 · Legal Fees - Ord Course                                    -                  -                -                -                   -
        68300 · Accntng Fees - Ord Course                                  -                  -                -                -                   -
      Total 68000 · Professional Fee Ord Course                            -                  -                -                -                   -
      71000 · U.S. Trustee Fees                                       4,875                 325              325              650           18,500
      72000 · Prof Fees - Bankruptcy Related
        72010 · Legal - Bankruptcy                                         -                  -                -                -                   -
        72030 · Consulting - Bankruptcy                                    -                  -                -                -                   -
      Total 72000 · Prof Fees - Bankruptcy                                 -                  -                -                -                   -
      81140 · Board Fees                                                   -                  -                -                -                   -
    Total Expense                                                     4,875                 325              325              650           18,500
 Net Ordinary Income                                                  (4,875)           (325)            (325)            (650)            (18,500)
 Other Income/Expense
   Other Expense
    85001 · Charitable Contribution                                        -                  -                -                -                   -
   Total Other Expense                                                     -                  -                -                -                   -
 Net Other Income                                                          -                  -                -                -                   -
Net Income                                                            (4,875)           (325)            (325)            (650)            (18,500)




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                                                            P-167 Zestar       P-187 695 Buggy     P-188 Deerfield     P-207 Frog Rock P-048 Crossbeam
                                                  Debtor:    Invest LLC           Circle, LLC      Park Invest LLC       Investments      Invest LLC
                                               Case No.:     17-12792             17-12714            17-12714            17-12714         17-12650
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                                 -                   -                   -                   -                -
      40010 · Rent Revenue                                                 -                   -                   -                   -                -
      40090 · Other Revenue                                                -                   -                   -                   -                -
    Total Income                                                           -                   -                   -                   -                -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                            -                   -                   -                   -                -
        50020 · Cost of Sales Real Property                                -                   -                   -                   -                -
        50030 · Closing Costs / Prorations                                 -                   -                   -                   -                -
        50040 · Structured Settlement Costs                                -                   -                   -                   -                -
      Total 50000 · Cost of Goods Sold                                     -                   -                   -                   -                -
    Total COGS                                                             -                   -                   -                   -                -
   Gross Profit                                                            -                   -                   -                   -                -
    Expense
      60020 · Media Consulting                                             -                   -                   -                   -                -
      60400 · Bank Charges                                                 -                   -                   -                   -                -
      60600 · Equipment Lease                                              -                   -                   -                   -                -
      61700 · Information Technology
        61701 · IT - Software                                              -                   -                   -                   -                -
        61700 · Information Technology - Other                             -                   -                   -                   -                -
      Total 61700 · Information Technology                                 -                   -                   -                   -                -
      61850 · Meals and Entertainment                                      -                   -                   -                   -                -
      62500 · Employee Benefits                                            -                   -                   -                   -                -
      63300 · Insurance                                                    -                   -                   -                   -                -
      63400 · Interest                                                     -                   -                   -                   -                -
      63401 · Int Expense - BK DIP financing                               -                   -                   -                   -                -
      64800 · Office Expense                                               -                   -                   -                   -                -
      64900 · Office Supplies                                              -                   -                   -                   -                -
      65000 · Outside Services                                             -                   -                   -                   -                -
      66000 · Payroll-Salaries and Wages                                   -                   -                   -                   -                -
      66005 · Payroll-Service Fees                                         -                   -                   -                   -                -
      66015 · Payroll-Employer Taxes                                       -                   -                   -                   -                -
      66030 · Postage and Delivery                                         -                   -                   -                   -                -
      66900 · Repairs and Maintenance                                      -                   -                   -                   -                -
      67100 · Telephone and Internet Expense                               -                   -                   -                   -                -
      67110 · Title Searches                                               -                   -                   -                   -                -
      67200 · Travel                                                       -                   -                   -                   -                -
      67210 · Travel / Relocation allowance                                -                   -                   -                   -                -
      67400 · Utilities                                                    -                   -                   -                   -                -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                    -                   -                   -                   -                -
        68200 · Legal Fees - Ord Course                                    -                   -                   -                   -                -
        68300 · Accntng Fees - Ord Course                                  -                   -                   -                   -                -
      Total 68000 · Professional Fee Ord Course                            -                   -                   -                   -                -
      71000 · U.S. Trustee Fees                                     4,875                    325                 325                 325              325
      72000 · Prof Fees - Bankruptcy Related
        72010 · Legal - Bankruptcy                                         -                   -                   -                   -                -
        72030 · Consulting - Bankruptcy                                    -                   -                   -                   -                -
      Total 72000 · Prof Fees - Bankruptcy                                 -                   -                   -                   -                -
      81140 · Board Fees                                                   -                   -                   -                   -                -
    Total Expense                                                   4,875                    325                 325                 325              325
 Net Ordinary Income                                                (4,875)               (325)               (325)              (325)            (325)
 Other Income/Expense
   Other Expense
    85001 · Charitable Contribution                                        -                   -                   -                   -                -
   Total Other Expense                                                     -                   -                   -                   -                -
 Net Other Income                                                          -                   -                   -                   -                -
Net Income                                                          (4,875)               (325)               (325)              (325)            (325)




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                                                            P-287 Kirkstead      Silverleaf          Summit Cut          Topchord
                                                  Debtor:   Inves Huron St.     Funding LLC       Investments LLC    Investments LLC     WCBL 1
                                               Case No.:       18-10675          17-12837            17-12640           17-12664         17-12754
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                          650,671                   -                 -                    -                -
      40010 · Rent Revenue                                                  -                 -                 -                    -                -
      40090 · Other Revenue                                                 -                 -                 -                    -                -
    Total Income                                                    650,671                   -                 -                    -                -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                             -                 -                 -                    -                -
        50020 · Cost of Sales Real Property                                 -                 -                 -                    -                -
        50030 · Closing Costs / Prorations                                  -                 -                 -                    -                -
        50040 · Structured Settlement Costs                                 -                 -                 -                    -                -
      Total 50000 · Cost of Goods Sold                                      -                 -                 -                    -                -
    Total COGS                                                              -                 -                 -                    -                -
   Gross Profit                                                     650,671                   -                 -                    -                -
    Expense
      60020 · Media Consulting                                              -                 -                 -                    -                -
      60400 · Bank Charges                                                  -                 -                 -                    -                -
      60600 · Equipment Lease                                               -                 -                 -                    -                -
      61700 · Information Technology
        61701 · IT - Software                                               -                 -                 -                    -                -
        61700 · Information Technology - Other                              -                 -                 -                    -                -
      Total 61700 · Information Technology                                  -                 -                 -                    -                -
      61850 · Meals and Entertainment                                       -                 -                 -                    -                -
      62500 · Employee Benefits                                             -                 -                 -                    -                -
      63300 · Insurance                                                     -                 -                 -                    -                -
      63400 · Interest                                                      -                 -                 -                    -                -
      63401 · Int Expense - BK DIP financing                                -                 -                 -                    -                -
      64800 · Office Expense                                                -                 -                 -                    -                -
      64900 · Office Supplies                                               -                 -                 -                    -                -
      65000 · Outside Services                                              -                 -                 -                    -                -
      66000 · Payroll-Salaries and Wages                                    -                 -                 -                    -                -
      66005 · Payroll-Service Fees                                          -                 -                 -                    -                -
      66015 · Payroll-Employer Taxes                                        -                 -                 -                    -                -
      66030 · Postage and Delivery                                          -                 -                 -                    -                -
      66900 · Repairs and Maintenance                                       -                 -                 -                    -                -
      67100 · Telephone and Internet Expense                                -                 -                 -                    -                -
      67110 · Title Searches                                                -                 -                 -                    -                -
      67200 · Travel                                                        -                 -                 -                    -                -
      67210 · Travel / Relocation allowance                                 -                 -                 -                    -                -
      67400 · Utilities                                                     -                 -                 -                    -                -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                     -                 -                 -                    -                -
        68200 · Legal Fees - Ord Course                                     -                 -                 -                    -                -
        68300 · Accntng Fees - Ord Course                                   -                 -                 -                    -                -
      Total 68000 · Professional Fee Ord Course                             -                 -                 -                    -                -
      71000 · U.S. Trustee Fees                                           325               650             4,875                  650              325
      72000 · Prof Fees - Bankruptcy Related
        72010 · Legal - Bankruptcy                                          -                 -                 -                    -                -
        72030 · Consulting - Bankruptcy                                     -                 -                 -                    -                -
      Total 72000 · Prof Fees - Bankruptcy                                  -                 -                 -                    -                -
      81140 · Board Fees                                                    -                 -                 -                    -                -
    Total Expense                                                         325               650             4,875                  650              325
 Net Ordinary Income                                                650,346              (650)             (4,875)              (650)             (325)
 Other Income/Expense
   Other Expense
    85001 · Charitable Contribution                                         -                 -                 -                    -                -
   Total Other Expense                                                      -                 -                 -                    -                -
 Net Other Income                                                           -                 -                 -                    -                -
Net Income                                                          650,346              (650)             (4,875)              (650)             (325)




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 Woodbridge Group of Companies, LLC, et al
 (Jointly Administered)
 Statement of Operations
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                                                                              Whiteacre
                                                  Debtor:   WCBL 2           Funding LLC       WMIF 1           WMIF 2         WMIF 3         WMIF 3a
                                               Case No.:    17-12758          17-12713         17-12768         17-12772       17-12776       17-12780
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                               -                 -                -              -              -              -
      40010 · Rent Revenue                                               -          11,836                  -              -              -              -
      40090 · Other Revenue                                              -               -                  -              -              -              -
    Total Income                                                         -          11,836                  -              -              -              -
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                          -                 -                -              -              -              -
        50020 · Cost of Sales Real Property                              -                 -                -              -              -              -
        50030 · Closing Costs / Prorations                               -                 -                -              -              -              -
        50040 · Structured Settlement Costs                              -                 -                -              -              -              -
      Total 50000 · Cost of Goods Sold                                   -                 -                -              -              -              -
    Total COGS                                                           -                 -                -              -              -              -
   Gross Profit                                                          -          11,836                  -              -              -              -
    Expense
      60020 · Media Consulting                                           -                 -                -              -              -              -
      60400 · Bank Charges                                               -                 -                -              -              -              -
      60600 · Equipment Lease                                            -                 -                -              -              -              -
      61700 · Information Technology
        61701 · IT - Software                                            -                 -                -              -              -              -
        61700 · Information Technology - Other                           -                 -                -              -              -              -
      Total 61700 · Information Technology                               -                 -                -              -              -              -
      61850 · Meals and Entertainment                                    -                 -                -              -              -              -
      62500 · Employee Benefits                                          -                 -                -              -              -              -
      63300 · Insurance                                                  -                 -                -              -              -              -
      63400 · Interest                                                   -                 -                -              -              -              -
      63401 · Int Expense - BK DIP financing                             -                 -                -              -              -              -
      64800 · Office Expense                                             -                 -                -              -              -              -
      64900 · Office Supplies                                            -                 -                -              -              -              -
      65000 · Outside Services                                           -                 -                -              -              -              -
      66000 · Payroll-Salaries and Wages                                 -                 -                -              -              -              -
      66005 · Payroll-Service Fees                                       -                 -                -              -              -              -
      66015 · Payroll-Employer Taxes                                     -                 -                -              -              -              -
      66030 · Postage and Delivery                                       -                 -                -              -              -              -
      66900 · Repairs and Maintenance                                    -                 -                -              -              -              -
      67100 · Telephone and Internet Expense                             -                 -                -              -              -              -
      67110 · Title Searches                                             -                 -         1,880                 -              -              -
      67200 · Travel                                                     -                 -                -              -              -              -
      67210 · Travel / Relocation allowance                              -                 -                -              -              -              -
      67400 · Utilities                                                  -                 -                -              -              -              -
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                  -                 -                -              -              -              -
        68200 · Legal Fees - Ord Course                                  -           7,865                  -              -              -              -
        68300 · Accntng Fees - Ord Course                                -               -                  -              -              -              -
      Total 68000 · Professional Fee Ord Course                          -           7,865                  -              -              -              -
      71000 · U.S. Trustee Fees                                        325           1,625                650         325            325            325
      72000 · Prof Fees - Bankruptcy Related
        72010 · Legal - Bankruptcy                                       -                 -                -              -              -              -
        72030 · Consulting - Bankruptcy                                  -                 -                -              -              -              -
      Total 72000 · Prof Fees - Bankruptcy                               -                 -                -              -              -              -
      81140 · Board Fees                                                 -                 -                -              -              -              -
    Total Expense                                                      325           9,490           2,530            325            325            325
 Net Ordinary Income                                                 (325)           2,346           (2,530)         (325)          (325)          (325)
 Other Income/Expense
   Other Expense
    85001 · Charitable Contribution                                      -                 -                -              -              -              -
   Total Other Expense                                                   -                 -                -              -              -              -
 Net Other Income                                                        -                 -                -              -              -              -
Net Income                                                           (325)           2,346           (2,530)         (325)          (325)          (325)




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 Woodbridge Group of Companies, LLC, et al
 (Jointly Administered)
 Statement of Operations
 for the period June 1-30, 2018


                                                  Debtor:   WMIF 4           TOTAL

                                               Case No.:    17-12784
 Ordinary Income/Expense
    Income
      40005 · Sales Proceeds / Note Payoff                             -    26,127,284
      40010 · Rent Revenue                                      4,596          38,731
      40090 · Other Revenue                                         -          25,375
    Total Income                                                4,596       26,191,390
    Cost of Goods Sold
      50000 · Cost of Goods Sold
        50010 · Rental Property Cost Operations                        -             49
        50020 · Cost of Sales Real Property                            -    26,377,339
        50030 · Closing Costs / Prorations                             -     1,693,972
        50040 · Structured Settlement Costs                            -         1,232
      Total 50000 · Cost of Goods Sold                                 -    28,072,592
    Total COGS                                                         -    28,072,592
   Gross Profit                                                 4,596       (1,881,202)
    Expense
      60020 · Media Consulting                                         -       (65,000)
      60400 · Bank Charges                                             -             44
      60600 · Equipment Lease                                          -          562
      61700 · Information Technology
        61701 · IT - Software                                          -        7,621
        61700 · Information Technology - Other                         -       23,309
      Total 61700 · Information Technology                             -       30,930
      61850 · Meals and Entertainment                                  -          660
      62500 · Employee Benefits                                        -         8,618
      63300 · Insurance                                                -         1,231
      63400 · Interest                                                 -      442,708
      63401 · Int Expense - BK DIP financing                           -      521,699
      64800 · Office Expense                                           -             (47)
      64900 · Office Supplies                                          -         2,395
      65000 · Outside Services                                         -         5,642
      66000 · Payroll-Salaries and Wages                               -      315,825
      66005 · Payroll-Service Fees                                     -          410
      66015 · Payroll-Employer Taxes                                   -       15,278
      66030 · Postage and Delivery                                     -         7,091
      66900 · Repairs and Maintenance                                  -       10,335
      67100 · Telephone and Internet Expense                           -         6,313
      67110 · Title Searches                                           -       26,642
      67200 · Travel                                                   -         6,777
      67210 · Travel / Relocation allowance                            -       10,000
      67400 · Utilities                                                -          212
      68000 · Professional Fee Ord Course
        68100 · Consulting - Ord Course                                -         1,050
        68200 · Legal Fees - Ord Course                                -      372,124
        68300 · Accntng Fees - Ord Course                              -       15,512
      Total 68000 · Professional Fee Ord Course                        -      388,685
      71000 · U.S. Trustee Fees                                   325        1,052,063
      72000 · Prof Fees - Bankruptcy Related
        72010 · Legal - Bankruptcy                                     -     1,908,777
        72030 · Consulting - Bankruptcy                                -     2,077,623
      Total 72000 · Prof Fees - Bankruptcy                             -     3,986,400
      81140 · Board Fees                                               -        75,482
    Total Expense                                                 325        6,850,954
 Net Ordinary Income                                            4,271       (8,732,156)
 Other Income/Expense
   Other Expense
    85001 · Charitable Contribution                                    -          250
   Total Other Expense                                                 -          250
 Net Other Income                                                      -          (250)
Net Income                                                      4,271       (8,732,406)




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DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through June 30, 2018

                                                       1. Woodbridge Group                                 Brise Soleil Investments    Carbondale Glen
                                                              LLC                Bellflower Funding LLC              LLC               Sweetgrass LLC         Holding Companies
                                                            17-12560                   18-10507                   17-12762                17-12564                 Various
  Ordinary Income/Expense
      Income
         40005 · Sales Proceeds / Note Payoff                       659,000                    575,000                            -               985,000                          -
         40010 · Rent Revenue                                           2,725                     14,937                          -                       -                        -
         40020 · Interest Revenue                                      48,539                          -                          -                       -                        -
         40022 · Structured Settlement Income                          84,075                          -                          -                       -                        -
         40090 · Other Revenue                                          4,784                  209,411                            -                       -                        -
      Total Income                                                  799,123                    799,348                            -               985,000                          -
      Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                     268                           -                          -                    105                         -
             50020 · Cost of Sales Real Property                             -                 509,534                            -             1,362,759                          -
             50030 · Closing Costs / Prorations                              -                    40,560                          -                  56,723                        -
             50040 · Structured Settlement Costs                        1,232                          -                          -                       -                        -
         Total 50000 · Cost of Goods Sold                               1,500                  550,094                            -             1,419,587                          -
      Total COGS                                                        1,500                  550,094                            -             1,419,587                          -
    Gross Profit                                                    797,623                    249,254                            -              (434,587)                         -
      Expense
         60020 · Media Consulting                                   333,170                            -                          -                       -                        -
         60400 · Bank Charges                                           8,101                          -                          -                       -                        -
         60500 · Dues and Subscriptions                                 4,181                          -                          -                       -                        -
         60600 · Equipment Lease                                        1,520                          -                          -                       -                        -
         61700 · Information Technology
             61701 · IT - Software                                     22,857                          -                          -                       -                        -
             61700 · Information Technology - Other                 262,920                            -                          -                       -                        -
         Total 61700 · Information Technology                       285,778                            -                          -                       -                        -
         61800 · License and Filing Fees                                2,348                          -                       149                     100                     2,846
         61850 · Meals and Entertainment                                1,344                          -                          -                       -                        -
         61870 · Moving                                                18,096                          -                          -                       -                        -
         62500 · Employee Benefits                                  179,099                            -                          -                       -                        -
         63300 · Insurance                                          118,588                         541                           -                       -                        -
         63400 · Interest                                                    -                         -                          -                       -                        -
         63401 · Int Expense - BK DIP financing                   2,350,009                            -                          -                       -                        -
         64800 · Office Expense                                        82,304                          -                          -                       -                        -
         64900 · Office Supplies                                       17,630                          -                          -                       -                        -
         65000 · Outside Services                                      29,072                          -                          -                       -                        -
         65100 · Parking                                               39,322                          -                          -                       -                        -
         66000 · Payroll-Salaries and Wages                       4,230,994                            -                          -                       -                        -
         66005 · Payroll-Service Fees                                   5,570                          -                          -                       -                        -
         66015 · Payroll-Employer Taxes                             355,369                            -                          -                       -                        -
         66020 · Independent Contractors                                6,000                          -                          -                       -                        -
         66030 · Postage and Delivery                                  25,883                          -                          -                       -                        -
         66800 · Rent Expense                                       432,889                            -                          -                       -                        -
         66900 · Repairs and Maintenance                               30,657                          -                          -                       -                        -
         67000 · Security                                               2,691                          -                          -                       -                        -
         67050 · Storage                                                7,201                          -                          -                       -                        -
         67100 · Telephone and Internet Expense                        62,885                          -                          -                       -                        -
         67110 · Title Searches                                        77,890                          -                          -                       -                        -
         67200 · Travel                                                36,453                          -                          -                       -                        -
         67210 · Travel / Relocation allowance                         70,240                          -                          -                       -                        -
         67400 · Utilities                                             14,857                       216                           -                       -                      (16)
         Total 68000 · Professional Fee Ord Course                  683,822                        1,935                          -                   1,155                        -
         71000 · U.S. Trustee Fees                                  511,904                         975                        650                     975                    89,050
         72000 · Prof Fees - Bankruptcy Related
             72010 · Legal - Bankruptcy                          20,195,064                            -                          -                       -                        -
             72030 · Consulting - Bankruptcy                     11,284,531                            -                          -                       -                        -
             72050 · Creditor's Committee Fees Expen                   23,881                          -                          -                       -                        -
         Total 72000 · Prof Fees - Bankruptcy                    31,503,476                            -                          -                       -                        -
         72100 · DIP Loan Origination Fee                         1,500,000                            -                          -                       -                        -
         81140 · Board Fees                                         522,059                            -                          -                       -                        -
         83000 · Tax Expense                                             887                        800                      2,142                        -                  175,200
      Total Expense                                              43,552,287                        4,467                     2,941                    2,230                  267,080
  Net Ordinary Income                                           (42,754,665)                   244,787                       (2,941)             (436,817)               (267,080)
  Other Income/Expense
      85100 · (Gain) / Loss loan payoff/sale                                 -                         -                          -                       -                        -
      85101 · Refund of Pre-Petition Expense                           33,342                          -                          -                       -                        -
      85000 · Write off uncollectible rents                              850                           -                          -                       -                        -
      85001 · Charitable Contribution                                    250                           -                          -                       -                        -
  Net Other Income                                                     32,241                          -                          -                       -                        -
Net Income                                                      (42,722,423)                   244,787                       (2,941)             (436,817)               (267,080)




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DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
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                                                       Inactive Property       Ironsides Investments    Non-Debtor Under       P-001 215 North 12th St    P-002 Addison Park
                                                          Companies                     LLC              Debtor Control                 LLC                   Invest LLC
                                                           Various                   17-12714             Non-Debtor                  17-12561                17-12563
  Ordinary Income/Expense
      Income
         40005 · Sales Proceeds / Note Payoff                              -                       -                       -                  800,000                          -
         40010 · Rent Revenue                                              -                       -                       -                     68,957                        -
         40020 · Interest Revenue                                          -                       -                       -                         2                         -
         40022 · Structured Settlement Income                              -                       -                       -                          -                        -
         40090 · Other Revenue                                             -                       -                       -                          -                        -
      Total Income                                                         -                       -                       -                  868,960                          -
      Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                       -                       -                       -                     13,203                        -
             50020 · Cost of Sales Real Property                           -                       -                       -                1,097,036                          -
             50030 · Closing Costs / Prorations                            -                       -                       -                     75,642                        -
             50040 · Structured Settlement Costs                           -                       -                       -                          -                        -
         Total 50000 · Cost of Goods Sold                                  -                       -                       -                1,185,881                          -
      Total COGS                                                           -                       -                       -                1,185,881                          -
    Gross Profit                                                           -                       -                       -                 (316,921)                         -
      Expense
         60020 · Media Consulting                                          -                       -                       -                          -                        -
         60400 · Bank Charges                                              -                       -                       -                          -                        -
         60500 · Dues and Subscriptions                                    -                       -                       -                          -                        -
         60600 · Equipment Lease                                           -                       -                       -                          -                        -
         61700 · Information Technology
             61701 · IT - Software                                         -                       -                       -                          -                        -
             61700 · Information Technology - Other                        -                       -                       -                          -                        -
         Total 61700 · Information Technology                              -                       -                       -                          -                        -
         61800 · License and Filing Fees                                   -                      49                       -                       100                      100
         61850 · Meals and Entertainment                                   -                       -                       -                          -                        -
         61870 · Moving                                                    -                       -                       -                          -                        -
         62500 · Employee Benefits                                         -                       -                       -                          -                        -
         63300 · Insurance                                                 -                       -                       -                          -                        -
         63400 · Interest                                                  -                       -                       -                          -                        -
         63401 · Int Expense - BK DIP financing                            -                       -                       -                          -                        -
         64800 · Office Expense                                            -                       -                       -                          -                        -
         64900 · Office Supplies                                           -                       -                       -                          -                        -
         65000 · Outside Services                                          -                       -                       -                          -                        -
         65100 · Parking                                                   -                       -                       -                          -                        -
         66000 · Payroll-Salaries and Wages                                -                       -                       -                          -                        -
         66005 · Payroll-Service Fees                                      -                       -                       -                          -                        -
         66015 · Payroll-Employer Taxes                                    -                       -                       -                          -                        -
         66020 · Independent Contractors                                   -                       -                       -                          -                        -
         66030 · Postage and Delivery                                      -                       -                       -                          -                        -
         66800 · Rent Expense                                              -                       -                       -                          -                        -
         66900 · Repairs and Maintenance                                   -                       -                       -                     10,056                        -
         67000 · Security                                                  -                       -                       -                          -                        -
         67050 · Storage                                                   -                       -                       -                          -                        -
         67100 · Telephone and Internet Expense                            -                       -                       -                          -                        -
         67110 · Title Searches                                            -                       -                       -                          -                        -
         67200 · Travel                                                    -                       -                       -                          -                        -
         67210 · Travel / Relocation allowance                             -                       -                       -                          -                        -
         67400 · Utilities                                                 -                       -                       -                       187                    1,165
         Total 68000 · Professional Fee Ord Course                         -                       -                       -                          -                        -
         71000 · U.S. Trustee Fees                                   5,200                       650                       -                      1,625                  41,592
         72000 · Prof Fees - Bankruptcy Related
             72010 · Legal - Bankruptcy                                    -                       -                       -                          -                        -
             72030 · Consulting - Bankruptcy                               -                       -                       -                          -                        -
             72050 · Creditor's Committee Fees Expen                       -                       -                       -                          -                        -
         Total 72000 · Prof Fees - Bankruptcy                              -                       -                       -                          -                        -
         72100 · DIP Loan Origination Fee                                  -                       -                       -                          -                        -
         81140 · Board Fees                                                -                       -                       -                          -                        -
         83000 · Tax Expense                                         2,400                         -                71,200                         800                      800
      Total Expense                                                  7,600                       699                71,200                       12,768                  43,657
  Net Ordinary Income                                                (7,600)                    (699)              (71,200)                  (329,689)                   (43,657)
  Other Income/Expense
      85100 · (Gain) / Loss loan payoff/sale                               -                       -                       -                          -                        -
      85101 · Refund of Pre-Petition Expense                               -                       -                       -                          -                        -
      85000 · Write off uncollectible rents                                -                       -                       -                          -                        -
      85001 · Charitable Contribution                                      -                       -                       -                          -                        -
  Net Other Income                                                         -                       -                       -                          -                        -
Net Income                                                           (7,600)                    (699)              (71,200)                  (329,689)                 (43,657)




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DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
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                                                       P-003 Anchorpoint       P-004 Arborvitae Invest     P-005 Archivolt Invest       P-006 Arlington Ridge       P-007 Arrowpoint Invest
                                                           Invest LLC                   LLC                        LLC                       Inves LLC                       LLC
                                                           17-12566                   17-12572                   17-12574                     17-12576                     17-12578
  Ordinary Income/Expense
      Income
         40005 · Sales Proceeds / Note Payoff                              -                          -                             -                           -                          -
         40010 · Rent Revenue                                         60,760                          -                             -                           -                          -
         40020 · Interest Revenue                                          1                          -                             -                           -                          -
         40022 · Structured Settlement Income                              -                          -                             -                           -                          -
         40090 · Other Revenue                                             -                          -                             -                           -                          -
      Total Income                                                    60,761                          -                             -                           -                          -
      Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                  28,415                          -                             -                           -                          -
             50020 · Cost of Sales Real Property                           -                          -                             -                           -                          -
             50030 · Closing Costs / Prorations                            -                          -                          -                              -                          -
             50040 · Structured Settlement Costs                           -                          -                          -                              -                          -
         Total 50000 · Cost of Goods Sold                             28,415                          -                          -                              -                          -
      Total COGS                                                      28,415                          -                          -                              -                          -
    Gross Profit                                                      32,346                          -                          -                              -                          -
      Expense
         60020 · Media Consulting                                          -                          -                          -                              -                          -
         60400 · Bank Charges                                            38                           -                          -                              -                          -
         60500 · Dues and Subscriptions                                    -                          -                          -                              -                          -
         60600 · Equipment Lease                                           -                          -                             -                           -                          -
         61700 · Information Technology
             61701 · IT - Software                                         -                          -                             -                           -                          -
             61700 · Information Technology - Other                        -                          -                             -                           -                          -
         Total 61700 · Information Technology                              -                          -                             -                           -                          -
         61800 · License and Filing Fees                                198                           -                        49                               -                        98
         61850 · Meals and Entertainment                                   -                          -                             -                           -                          -
         61870 · Moving                                                    -                          -                             -                           -                          -
         62500 · Employee Benefits                                         -                          -                             -                           -                          -
         63300 · Insurance                                              407                           -                          -                              -                          -
         63400 · Interest                                                  -                          -                          -                              -                          -
         63401 · Int Expense - BK DIP financing                            -                          -                          -                              -                          -
         64800 · Office Expense                                            -                          -                          -                              -                          -
         64900 · Office Supplies                                           -                          -                          -                              -                          -
         65000 · Outside Services                                          -                          -                          -                              -                          -
         65100 · Parking                                                   -                          -                          -                              -                          -
         66000 · Payroll-Salaries and Wages                                -                          -                          -                              -                          -
         66005 · Payroll-Service Fees                                      -                          -                             -                           -                          -
         66015 · Payroll-Employer Taxes                                    -                          -                             -                           -                          -
         66020 · Independent Contractors                                   -                          -                             -                           -                          -
         66030 · Postage and Delivery                                      -                          -                             -                           -                          -
         66800 · Rent Expense                                              -                          -                             -                           -                          -
         66900 · Repairs and Maintenance                                   -                          -                             -                           -                          -
         67000 · Security                                                  -                          -                             -                           -                          -
         67050 · Storage                                                   -                          -                          -                              -                          -
         67100 · Telephone and Internet Expense                            -                          -                          -                              -                          -
         67110 · Title Searches                                            -                          -                          -                              -                          -
         67200 · Travel                                                    -                          -                          -                              -                          -
         67210 · Travel / Relocation allowance                             -                          -                          -                              -                          -
         67400 · Utilities                                               41                           -                        (11)                             -                          -
         Total 68000 · Professional Fee Ord Course                         -                          -                          -                              -                          -
         71000 · U.S. Trustee Fees                                     1,300                       650                        650                         9,750                         650
         72000 · Prof Fees - Bankruptcy Related
             72010 · Legal - Bankruptcy                                    -                          -                          -                              -                          -
             72030 · Consulting - Bankruptcy                               -                          -                             -                           -                          -
             72050 · Creditor's Committee Fees Expen                       -                          -                             -                           -                          -
         Total 72000 · Prof Fees - Bankruptcy                              -                          -                             -                           -                          -
         72100 · DIP Loan Origination Fee                                  -                          -                             -                           -                          -
         81140 · Board Fees                                                -                          -                             -                           -                          -
         83000 · Tax Expense                                            800                        800                        800                           800                         800
      Total Expense                                                    2,785                     1,450                      1,488                        10,550                       1,548
  Net Ordinary Income                                                 29,562                     (1,450)                    (1,488)                      (10,550)                     (1,548)
  Other Income/Expense
      85100 · (Gain) / Loss loan payoff/sale                               -                          -                             -                           -                          -
      85101 · Refund of Pre-Petition Expense                               -                          -                             -                           -                          -
      85000 · Write off uncollectible rents                                -                          -                          -                              -                          -
      85001 · Charitable Contribution                                      -                          -                          -                              -                          -
  Net Other Income                                                         -                          -                          -                              -                          -
Net Income                                                            29,562                     (1,450)                    (1,488)                   (10,550)                        (1,548)




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                                                       P-008 Baleroy Invest       P-009 Bay Village Invest P-010 Bear Brook Invest     P-011 Beech Creek        P-012 Bishop White
                                                              LLC                          LLC                      LLC                    Invest LLC               Invest LLC
                                                            17-12580                     17-12604                 17-12610                 17-12616                 17-12623
  Ordinary Income/Expense
      Income
         40005 · Sales Proceeds / Note Payoff                                 -                           -                       -                        -                         -
         40010 · Rent Revenue                                                 -                           -                       -                        -                         -
         40020 · Interest Revenue                                             -                           -                       -                        -                         -
         40022 · Structured Settlement Income                                 -                           -                       -                        -                         -
         40090 · Other Revenue                                                -                           -                       -                        -                         -
      Total Income                                                            -                           -                       -                        -                         -
      Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                          -                           -                       -                        -                         -
             50020 · Cost of Sales Real Property                              -                           -                       -                        -                         -
             50030 · Closing Costs / Prorations                               -                           -                       -                        -                         -
             50040 · Structured Settlement Costs                              -                           -                       -                        -                         -
         Total 50000 · Cost of Goods Sold                                     -                           -                       -                        -                         -
      Total COGS                                                              -                           -                       -                        -                         -
    Gross Profit                                                              -                           -                       -                        -                         -
      Expense
         60020 · Media Consulting                                             -                           -                       -                        -                         -
         60400 · Bank Charges                                                 -                           -                       -                        -                         -
         60500 · Dues and Subscriptions                                       -                           -                       -                        -                         -
         60600 · Equipment Lease                                              -                           -                       -                        -                         -
         61700 · Information Technology
             61701 · IT - Software                                            -                           -                       -                        -                         -
             61700 · Information Technology - Other                           -                           -                       -                        -                         -
         Total 61700 · Information Technology                                 -                           -                       -                        -                         -
         61800 · License and Filing Fees                                  98                              -                       -                     149                      149
         61850 · Meals and Entertainment                                      -                           -                       -                        -                         -
         61870 · Moving                                                       -                           -                       -                        -                         -
         62500 · Employee Benefits                                            -                           -                       -                        -                         -
         63300 · Insurance                                                    -                           -                       -                        -                         -
         63400 · Interest                                                     -                           -                       -                        -                 655,208
         63401 · Int Expense - BK DIP financing                               -                           -                       -                        -                         -
         64800 · Office Expense                                               -                           -                       -                        -                         -
         64900 · Office Supplies                                              -                           -                       -                        -                         -
         65000 · Outside Services                                             -                           -                       -                        -                         -
         65100 · Parking                                                      -                           -                       -                        -                         -
         66000 · Payroll-Salaries and Wages                                   -                           -                       -                        -                         -
         66005 · Payroll-Service Fees                                         -                           -                       -                        -                         -
         66015 · Payroll-Employer Taxes                                       -                           -                       -                        -                         -
         66020 · Independent Contractors                                      -                           -                       -                        -                         -
         66030 · Postage and Delivery                                         -                           -                       -                        -                         -
         66800 · Rent Expense                                                 -                           -                       -                        -                         -
         66900 · Repairs and Maintenance                                      -                           -                       -                        -                         -
         67000 · Security                                                     -                           -                       -                        -                         -
         67050 · Storage                                                      -                           -                       -                        -                         -
         67100 · Telephone and Internet Expense                               -                           -                       -                        -                         -
         67110 · Title Searches                                               -                           -                       -                        -                         -
         67200 · Travel                                                       -                           -                       -                        -                         -
         67210 · Travel / Relocation allowance                                -                           -                       -                        -                         -
         67400 · Utilities                                                    -                           -                       -                        -                         -
         Total 68000 · Professional Fee Ord Course                       390                              -                       -                     420                  250,000
         71000 · U.S. Trustee Fees                                       650                         9,750                     650                      975                  181,959
         72000 · Prof Fees - Bankruptcy Related
             72010 · Legal - Bankruptcy                                       -                           -                       -                        -                         -
             72030 · Consulting - Bankruptcy                                  -                           -                       -                        -                         -
             72050 · Creditor's Committee Fees Expen                          -                           -                       -                        -                         -
         Total 72000 · Prof Fees - Bankruptcy                                 -                           -                       -                        -                         -
         72100 · DIP Loan Origination Fee                                     -                           -                       -                        -                         -
         81140 · Board Fees                                                   -                           -                       -                        -                         -
         83000 · Tax Expense                                             800                           800                     800                      800                      800
      Total Expense                                                    1,938                        10,550                   1,450                    2,344                1,088,116
  Net Ordinary Income                                                  (1,938)                      (10,550)                 (1,450)                  (2,344)             (1,088,116)
  Other Income/Expense
      85100 · (Gain) / Loss loan payoff/sale                                  -                           -                       -                        -                         -
      85101 · Refund of Pre-Petition Expense                                  -                           -                       -                        -                         -
      85000 · Write off uncollectible rents                                   -                           -                       -                        -                         -
      85001 · Charitable Contribution                                         -                           -                       -                        -                         -
  Net Other Income                                                            -                           -                       -                        -                         -
Net Income                                                             (1,938)                   (10,550)                    (1,450)                  (2,344)             (1,088,116)




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                                                       P-013 Black Bass Invest     P-014 Black Locust       P-015 Bluff Point Invest    P-016 Bowman Invest       P-017 Bramley Invest
                                                                LLC                    Invest LLC                    LLC                        LLC                       LLC
                                                              17-12641                 17-12648                    17-12722                  17-12753                  17-12769
  Ordinary Income/Expense
      Income
         40005 · Sales Proceeds / Note Payoff                                 -                         -                          -                          -                          -
         40010 · Rent Revenue                                                 -                         -                          -                          -                          -
         40020 · Interest Revenue                                             -                         -                          -                          -                          -
         40022 · Structured Settlement Income                                 -                         -                          -                          -                          -
         40090 · Other Revenue                                                -                         -                          -                          -                          -
      Total Income                                                            -                         -                          -                          -                          -
      Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                          -                         -                          -                          -                          -
             50020 · Cost of Sales Real Property                              -                         -                          -                          -                          -
             50030 · Closing Costs / Prorations                               -                         -                          -                          -                          -
             50040 · Structured Settlement Costs                              -                         -                          -                          -                          -
         Total 50000 · Cost of Goods Sold                                     -                         -                          -                          -                          -
      Total COGS                                                              -                         -                          -                          -                          -
    Gross Profit                                                              -                         -                          -                          -                          -
      Expense
         60020 · Media Consulting                                             -                         -                          -                          -                          -
         60400 · Bank Charges                                                 -                         -                          -                          -                          -
         60500 · Dues and Subscriptions                                       -                         -                          -                          -                          -
         60600 · Equipment Lease                                              -                         -                          -                          -                          -
         61700 · Information Technology
             61701 · IT - Software                                            -                         -                          -                          -                          -
             61700 · Information Technology - Other                           -                         -                          -                          -                          -
         Total 61700 · Information Technology                                 -                         -                          -                          -                          -
         61800 · License and Filing Fees                                    49                      100                            -                      149                            -
         61850 · Meals and Entertainment                                      -                         -                          -                          -                          -
         61870 · Moving                                                       -                         -                          -                          -                          -
         62500 · Employee Benefits                                            -                         -                          -                          -                          -
         63300 · Insurance                                                    -                         -                          -                          -                          -
         63400 · Interest                                                     -                         -                          -                          -                          -
         63401 · Int Expense - BK DIP financing                               -                         -                          -                          -                          -
         64800 · Office Expense                                               -                         -                          -                          -                          -
         64900 · Office Supplies                                              -                         -                          -                          -                          -
         65000 · Outside Services                                             -                         -                          -                          -                          -
         65100 · Parking                                                      -                         -                          -                          -                          -
         66000 · Payroll-Salaries and Wages                                   -                         -                          -                          -                          -
         66005 · Payroll-Service Fees                                         -                         -                          -                          -                          -
         66015 · Payroll-Employer Taxes                                       -                         -                          -                          -                          -
         66020 · Independent Contractors                                      -                         -                          -                          -                          -
         66030 · Postage and Delivery                                         -                         -                          -                          -                          -
         66800 · Rent Expense                                                 -                         -                          -                          -                          -
         66900 · Repairs and Maintenance                                      -                         -                          -                          -                          -
         67000 · Security                                                     -                         -                          -                          -                          -
         67050 · Storage                                                      -                         -                          -                          -                          -
         67100 · Telephone and Internet Expense                               -                         -                          -                          -                          -
         67110 · Title Searches                                               -                         -                          -                          -                          -
         67200 · Travel                                                       -                         -                          -                          -                          -
         67210 · Travel / Relocation allowance                                -                         -                          -                          -                          -
         67400 · Utilities                                                    -                         -                          -                          -                          -
         Total 68000 · Professional Fee Ord Course                            -                         -                          -                          -                          -
         71000 · U.S. Trustee Fees                                         650                      975                       2,600                       650                       650
         72000 · Prof Fees - Bankruptcy Related
             72010 · Legal - Bankruptcy                                       -                         -                          -                          -                          -
             72030 · Consulting - Bankruptcy                                  -                         -                          -                          -                          -
             72050 · Creditor's Committee Fees Expen                          -                         -                          -                          -                          -
         Total 72000 · Prof Fees - Bankruptcy                                 -                         -                          -                          -                          -
         72100 · DIP Loan Origination Fee                                     -                         -                          -                          -                          -
         81140 · Board Fees                                                   -                         -                          -                          -                          -
         83000 · Tax Expense                                               800                      800                         800                       800                       800
      Total Expense                                                      1,499                    1,875                       3,400                     1,599                     1,450
  Net Ordinary Income                                                    (1,499)                  (1,875)                     (3,400)                   (1,599)                   (1,450)
  Other Income/Expense
      85100 · (Gain) / Loss loan payoff/sale                                  -                         -                          -                          -                          -
      85101 · Refund of Pre-Petition Expense                                  -                         -                          -                          -                          -
      85000 · Write off uncollectible rents                                   -                         -                          -                          -                          -
      85001 · Charitable Contribution                                         -                         -                          -                          -                          -
  Net Other Income                                                            -                         -                          -                          -                          -
Net Income                                                               (1,499)                  (1,875)                     (3,400)                   (1,599)                   (1,450)




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                                                       P-019 Broadsands         P-020 Brynderwen         P-021 Cablestay Invest    P-022 Cannington Invest     P-023 Carbondale Glen
                                                          Invest LLC               Invest LLC                    LLC                        LLC                       Lot A-5
                                                           17-12777                 17-12793                   17-12798                   17-12803                   17-12807
  Ordinary Income/Expense
      Income
         40005 · Sales Proceeds / Note Payoff                              -                        -                14,950,000                           -                          -
         40010 · Rent Revenue                                              -                        -                          -                          -                          -
         40020 · Interest Revenue                                          -                        -                          -                          -                          -
         40022 · Structured Settlement Income                              -                        -                          -                          -                          -
         40090 · Other Revenue                                             -                        -                          -                          -                          -
      Total Income                                                         -                        -                14,950,000                           -                          -
      Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                       -                        -                          -                          -                          -
             50020 · Cost of Sales Real Property                           -                        -                10,638,867                           -                          -
             50030 · Closing Costs / Prorations                            -                        -                  776,777                            -                          -
             50040 · Structured Settlement Costs                           -                        -                          -                          -                          -
         Total 50000 · Cost of Goods Sold                                  -                        -               11,415,645                            -                          -
      Total COGS                                                           -                        -               11,415,645                            -                          -
    Gross Profit                                                           -                        -                 3,534,355                           -                          -
      Expense
         60020 · Media Consulting                                          -                        -                          -                          -                          -
         60400 · Bank Charges                                              -                        -                          -                          -                          -
         60500 · Dues and Subscriptions                                    -                        -                          -                          -                          -
         60600 · Equipment Lease                                           -                        -                          -                          -                          -
         61700 · Information Technology
             61701 · IT - Software                                         -                        -                          -                          -                          -
             61700 · Information Technology - Other                        -                        -                          -                          -                          -
         Total 61700 · Information Technology                              -                        -                          -                          -                          -
         61800 · License and Filing Fees                                149                        49                        49                        149                        100
         61850 · Meals and Entertainment                                   -                        -                          -                          -                          -
         61870 · Moving                                                    -                        -                          -                          -                          -
         62500 · Employee Benefits                                         -                        -                          -                          -                          -
         63300 · Insurance                                                 -                        -                          -                          -                          -
         63400 · Interest                                                  -                        -                          -                          -                          -
         63401 · Int Expense - BK DIP financing                            -                        -                          -                          -                          -
         64800 · Office Expense                                            -                        -                          -                          -                          -
         64900 · Office Supplies                                           -                        -                          -                          -                          -
         65000 · Outside Services                                          -                        -                          -                          -                          -
         65100 · Parking                                                   -                        -                          -                          -                          -
         66000 · Payroll-Salaries and Wages                                -                        -                          -                          -                          -
         66005 · Payroll-Service Fees                                      -                        -                          -                          -                          -
         66015 · Payroll-Employer Taxes                                    -                        -                          -                          -                          -
         66020 · Independent Contractors                                   -                        -                          -                          -                          -
         66030 · Postage and Delivery                                      -                        -                          -                          -                          -
         66800 · Rent Expense                                              -                        -                          -                          -                          -
         66900 · Repairs and Maintenance                                   -                        -                          -                          -                          -
         67000 · Security                                                  -                        -                          -                          -                          -
         67050 · Storage                                                   -                        -                          -                          -                          -
         67100 · Telephone and Internet Expense                            -                        -                          -                        51                           -
         67110 · Title Searches                                            -                        -                          -                          -                          -
         67200 · Travel                                                    -                        -                          -                          -                          -
         67210 · Travel / Relocation allowance                             -                        -                          -                          -                          -
         67400 · Utilities                                                 -                        -                          -                          -                          -
         Total 68000 · Professional Fee Ord Course                         -                        -                          -                          -                        70
         71000 · U.S. Trustee Fees                                      650                      650                       9,750                     1,300                        650
         72000 · Prof Fees - Bankruptcy Related
             72010 · Legal - Bankruptcy                                    -                        -                          -                          -                          -
             72030 · Consulting - Bankruptcy                               -                        -                          -                          -                          -
             72050 · Creditor's Committee Fees Expen                       -                        -                          -                          -                          -
         Total 72000 · Prof Fees - Bankruptcy                              -                        -                          -                          -                          -
         72100 · DIP Loan Origination Fee                                  -                        -                          -                          -                          -
         81140 · Board Fees                                                -                        -                          -                          -                          -
         83000 · Tax Expense                                            800                      800                        800                        800                        800
      Total Expense                                                   1,599                    1,499                      10,599                     2,300                      1,620
  Net Ordinary Income                                                 (1,599)                  (1,499)                3,523,756                      (2,300)                    (1,620)
  Other Income/Expense
      85100 · (Gain) / Loss loan payoff/sale                               -                        -                          -                          -                          -
      85101 · Refund of Pre-Petition Expense                               -                        -                          -                          -                          -
      85000 · Write off uncollectible rents                                -                        -                          -                          -                          -
      85001 · Charitable Contribution                                      -                        -                          -                          -                          -
  Net Other Income                                                         -                        -                          -                          -                          -
Net Income                                                            (1,599)                  (1,499)                3,523,756                      (2,300)                    (1,620)




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                                                       P-024 Carbondale Glen     P-025 Carbondale Glen      P-026 Carbondale Glen      P-027 Carbondale Glen      P-028 Carbondale Glen
                                                              Lot D-22                  Lot E-24                  Lot GV-13                   Lot L-2                   Lot SD-14
                                                             17-12809                  17-12811                   17-12813                   18-10284                   17-12817
  Ordinary Income/Expense
      Income
         40005 · Sales Proceeds / Note Payoff                        895,000                           -                          -                          -                          -
         40010 · Rent Revenue                                                -                         -                          -                          -                          -
         40020 · Interest Revenue                                            -                         -                          -                          -                          -
         40022 · Structured Settlement Income                                -                         -                          -                          -                          -
         40090 · Other Revenue                                               -                         -                          -                          -                          -
      Total Income                                                   895,000                           -                          -                          -                          -
      Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                         -                         -                          -                          -                          -
             50020 · Cost of Sales Real Property                   1,103,221                           -                          -                          -                          -
             50030 · Closing Costs / Prorations                         48,343                         -                          -                          -                          -
             50040 · Structured Settlement Costs                             -                         -                          -                          -                          -
         Total 50000 · Cost of Goods Sold                          1,151,563                           -                          -                          -                          -
      Total COGS                                                   1,151,563                           -                          -                          -                          -
    Gross Profit                                                    (256,563)                          -                          -                          -                          -
      Expense
         60020 · Media Consulting                                            -                         -                          -                          -                          -
         60400 · Bank Charges                                                -                         -                          -                          -                          -
         60500 · Dues and Subscriptions                                      -                         -                          -                          -                          -
         60600 · Equipment Lease                                             -                         -                          -                          -                          -
         61700 · Information Technology
             61701 · IT - Software                                           -                         -                          -                          -                          -
             61700 · Information Technology - Other                          -                         -                          -                          -                          -
         Total 61700 · Information Technology                                -                         -                          -                          -                          -
         61800 · License and Filing Fees                                     -                         -                          -                       100                           -
         61850 · Meals and Entertainment                                     -                         -                          -                          -                          -
         61870 · Moving                                                      -                         -                          -                          -                          -
         62500 · Employee Benefits                                           -                         -                          -                          -                          -
         63300 · Insurance                                                   -                         -                          -                          -                          -
         63400 · Interest                                                    -                         -                          -                          -                          -
         63401 · Int Expense - BK DIP financing                              -                         -                          -                          -                          -
         64800 · Office Expense                                              -                         -                          -                          -                          -
         64900 · Office Supplies                                             -                         -                          -                          -                          -
         65000 · Outside Services                                            -                         -                          -                          -                          -
         65100 · Parking                                                     -                         -                          -                          -                          -
         66000 · Payroll-Salaries and Wages                                  -                         -                          -                          -                          -
         66005 · Payroll-Service Fees                                        -                         -                          -                          -                          -
         66015 · Payroll-Employer Taxes                                      -                         -                          -                          -                          -
         66020 · Independent Contractors                                     -                         -                          -                          -                          -
         66030 · Postage and Delivery                                        -                         -                          -                          -                          -
         66800 · Rent Expense                                                -                         -                          -                          -                          -
         66900 · Repairs and Maintenance                                     -                         -                          -                          -                          -
         67000 · Security                                                    -                         -                          -                          -                          -
         67050 · Storage                                                     -                         -                          -                          -                          -
         67100 · Telephone and Internet Expense                              -                         -                          -                          -                          -
         67110 · Title Searches                                              -                         -                          -                          -                          -
         67200 · Travel                                                      -                         -                          -                          -                          -
         67210 · Travel / Relocation allowance                               -                         -                          -                          -                          -
         67400 · Utilities                                                   -                         -                          -                          -                          -
         Total 68000 · Professional Fee Ord Course                        465                          -                          -                          -                        70
         71000 · U.S. Trustee Fees                                        975                       650                        650                        325                        650
         72000 · Prof Fees - Bankruptcy Related
             72010 · Legal - Bankruptcy                                      -                         -                          -                          -                          -
             72030 · Consulting - Bankruptcy                                 -                         -                          -                          -                          -
             72050 · Creditor's Committee Fees Expen                         -                         -                          -                          -                          -
         Total 72000 · Prof Fees - Bankruptcy                                -                         -                          -                          -                          -
         72100 · DIP Loan Origination Fee                                    -                         -                          -                          -                          -
         81140 · Board Fees                                                  -                         -                          -                          -                          -
         83000 · Tax Expense                                             1,600                      800                        800                        800                        800
      Total Expense                                                      3,040                    1,450                      1,450                      1,225                      1,520
  Net Ordinary Income                                               (259,603)                     (1,450)                    (1,450)                    (1,225)                    (1,520)
  Other Income/Expense
      85100 · (Gain) / Loss loan payoff/sale                                 -                         -                          -                          -                          -
      85101 · Refund of Pre-Petition Expense                                 -                         -                          -                          -                          -
      85000 · Write off uncollectible rents                                  -                         -                          -                          -                          -
      85001 · Charitable Contribution                                        -                         -                          -                          -                          -
  Net Other Income                                                           -                         -                          -                          -                          -
Net Income                                                          (259,603)                     (1,450)                    (1,450)                    (1,225)                    (1,520)




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                                                       P-029 Carbondale Glen      P-030 Carbondale Glen      P-031 Carbondale Glen      P-032 Carbondale Gl       P-036 Carbondale Peaks
                                                             Lot SD-23                  Mes Lot19                  River Mes               Sunda Ponds                    Lot L-1
                                                             17-12815                   17-12819                   17-12820                  17-12822                    18-10286
  Ordinary Income/Expense
      Income
         40005 · Sales Proceeds / Note Payoff                                -                          -                          -                          -                          -
         40010 · Rent Revenue                                                -                          -                          -                          -                          -
         40020 · Interest Revenue                                            -                          -                          -                          -                          -
         40022 · Structured Settlement Income                                -                          -                          -                          -                          -
         40090 · Other Revenue                                               -                          -                          -                          -                          -
      Total Income                                                           -                          -                          -                          -                          -
      Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                         -                          -                          -                          -                          -
             50020 · Cost of Sales Real Property                             -                          -                          -                          -                          -
             50030 · Closing Costs / Prorations                              -                          -                          -                          -                          -
             50040 · Structured Settlement Costs                             -                          -                          -                          -                          -
         Total 50000 · Cost of Goods Sold                                    -                          -                          -                          -                          -
      Total COGS                                                             -                          -                          -                          -                          -
    Gross Profit                                                             -                          -                          -                          -                          -
      Expense
         60020 · Media Consulting                                            -                          -                          -                          -                          -
         60400 · Bank Charges                                                -                          -                          -                          -                          -
         60500 · Dues and Subscriptions                                      -                          -                          -                          -                     1,515
         60600 · Equipment Lease                                             -                          -                          -                          -                          -
         61700 · Information Technology
             61701 · IT - Software                                           -                          -                          -                          -                          -
             61700 · Information Technology - Other                          -                          -                          -                          -                          -
         Total 61700 · Information Technology                                -                          -                          -                          -                          -
         61800 · License and Filing Fees                                  100                        100                           -                      100                            -
         61850 · Meals and Entertainment                                     -                          -                          -                          -                          -
         61870 · Moving                                                      -                          -                          -                          -                          -
         62500 · Employee Benefits                                           -                          -                          -                          -                          -
         63300 · Insurance                                                   -                          -                          -                          -                          -
         63400 · Interest                                                    -                          -                          -                          -                          -
         63401 · Int Expense - BK DIP financing                              -                          -                          -                          -                          -
         64800 · Office Expense                                              -                          -                          -                          -                          -
         64900 · Office Supplies                                             -                          -                          -                          -                          -
         65000 · Outside Services                                            -                          -                          -                          -                          -
         65100 · Parking                                                     -                          -                          -                          -                          -
         66000 · Payroll-Salaries and Wages                                  -                          -                          -                          -                          -
         66005 · Payroll-Service Fees                                        -                          -                          -                          -                          -
         66015 · Payroll-Employer Taxes                                      -                          -                          -                          -                          -
         66020 · Independent Contractors                                     -                          -                          -                          -                          -
         66030 · Postage and Delivery                                        -                          -                          -                          -                          -
         66800 · Rent Expense                                                -                          -                          -                          -                          -
         66900 · Repairs and Maintenance                                     -                          -                          -                          -                          -
         67000 · Security                                                    -                          -                          -                          -                          -
         67050 · Storage                                                     -                          -                          -                          -                          -
         67100 · Telephone and Internet Expense                              -                          -                          -                          -                          -
         67110 · Title Searches                                              -                          -                          -                          -                          -
         67200 · Travel                                                      -                          -                          -                          -                          -
         67210 · Travel / Relocation allowance                               -                          -                          -                          -                          -
         67400 · Utilities                                                   -                          -                          -                          -                          -
         Total 68000 · Professional Fee Ord Course                           -                          -                        70                           -                          -
         71000 · U.S. Trustee Fees                                        650                        650                      1,300                       975                         650
         72000 · Prof Fees - Bankruptcy Related
             72010 · Legal - Bankruptcy                                      -                          -                          -                          -                          -
             72030 · Consulting - Bankruptcy                                 -                          -                          -                          -                          -
             72050 · Creditor's Committee Fees Expen                         -                          -                          -                          -                          -
         Total 72000 · Prof Fees - Bankruptcy                                -                          -                          -                          -                          -
         72100 · DIP Loan Origination Fee                                    -                          -                          -                          -                          -
         81140 · Board Fees                                                  -                          -                          -                          -                          -
         83000 · Tax Expense                                              800                        800                        800                       800                         800
      Total Expense                                                     1,550                      1,550                      2,170                     1,875                       2,965
  Net Ordinary Income                                                   (1,550)                    (1,550)                    (2,170)                   (1,875)                     (2,965)
  Other Income/Expense
      85100 · (Gain) / Loss loan payoff/sale                                 -                          -                          -                          -                          -
      85101 · Refund of Pre-Petition Expense                                 -                          -                          -                          -                          -
      85000 · Write off uncollectible rents                                  -                          -                          -                          -                          -
      85001 · Charitable Contribution                                        -                          -                          -                          -                          -
  Net Other Income                                                           -                          -                          -                          -                          -
Net Income                                                              (1,550)                    (1,550)                    (2,170)                   (1,875)                     (2,965)




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                                                       P-037 Carbondale        P-038 Carbondale        P-039 Carbondale       P-040 Castle Pines       P-041 Centershot Invest
                                                          Spruce 101            Sundanc Lot 15          Sundanc Lot 16            Invest LLC                    LLC
                                                          17-12568                17-12569                17-12570                17-12581                    17-12586
  Ordinary Income/Expense
      Income
         40005 · Sales Proceeds / Note Payoff                              -                      -                       -                        -                1,500,000
         40010 · Rent Revenue                                        12,439                       -                   750                          -                          -
         40020 · Interest Revenue                                          1                      -                       -                        -                          -
         40022 · Structured Settlement Income                              -                      -                       -                        -                          -
         40090 · Other Revenue                                             -                      -                       -                        -                          -
      Total Income                                                   12,440                       -                   750                          -                1,500,000
      Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                  6,677                       -                       -                        -                          -
             50020 · Cost of Sales Real Property                           -                      -                       -                        -                2,290,736
             50030 · Closing Costs / Prorations                            -                      -                       -                        -                     86,530
             50040 · Structured Settlement Costs                           -                      -                       -                        -                          -
         Total 50000 · Cost of Goods Sold                             6,677                       -                       -                        -                2,377,265
      Total COGS                                                      6,677                       -                       -                        -                2,377,265
    Gross Profit                                                      5,763                       -                   750                          -                 (877,265)
      Expense
         60020 · Media Consulting                                          -                      -                       -                        -                          -
         60400 · Bank Charges                                             40                      -                       -                        -                          -
         60500 · Dues and Subscriptions                                    -                      -                       -                        -                          -
         60600 · Equipment Lease                                           -                      -                       -                        -                          -
         61700 · Information Technology
             61701 · IT - Software                                         -                      -                       -                        -                          -
             61700 · Information Technology - Other                        -                      -                       -                        -                          -
         Total 61700 · Information Technology                              -                      -                       -                        -                          -
         61800 · License and Filing Fees                               100                        -                       -                        -                        49
         61850 · Meals and Entertainment                                   -                      -                       -                        -                          -
         61870 · Moving                                                    -                      -                       -                        -                          -
         62500 · Employee Benefits                                         -                      -                       -                        -                          -
         63300 · Insurance                                                 -                      -                       -                        -                          -
         63400 · Interest                                                  -                      -                       -                        -                          -
         63401 · Int Expense - BK DIP financing                            -                      -                       -                        -                     25,000
         64800 · Office Expense                                            -                      -                       -                        -                          -
         64900 · Office Supplies                                           -                      -                       -                        -                          -
         65000 · Outside Services                                          -                      -                       -                        -                          -
         65100 · Parking                                                   -                      -                       -                        -                          -
         66000 · Payroll-Salaries and Wages                                -                      -                       -                        -                          -
         66005 · Payroll-Service Fees                                      -                      -                       -                        -                          -
         66015 · Payroll-Employer Taxes                                    -                      -                       -                        -                          -
         66020 · Independent Contractors                                   -                      -                       -                        -                          -
         66030 · Postage and Delivery                                      -                      -                       -                        -                          -
         66800 · Rent Expense                                              -                      -                       -                        -                          -
         66900 · Repairs and Maintenance                               197                        -                       -                        -                          -
         67000 · Security                                                  -                      -                       -                        -                          -
         67050 · Storage                                                   -                      -                       -                        -                          -
         67100 · Telephone and Internet Expense                            -                      -                       -                        -                          -
         67110 · Title Searches                                            -                      -                       -                        -                          -
         67200 · Travel                                                    -                      -                       -                        -                          -
         67210 · Travel / Relocation allowance                             -                      -                       -                        -                          -
         67400 · Utilities                                                98                      -                       -                        -                          -
         Total 68000 · Professional Fee Ord Course                         -                      -                       -                        -                          -
         71000 · U.S. Trustee Fees                                    1,300                    650                    650                      650                        1,300
         72000 · Prof Fees - Bankruptcy Related
             72010 · Legal - Bankruptcy                                    -                      -                       -                        -                          -
             72030 · Consulting - Bankruptcy                               -                      -                       -                        -                          -
             72050 · Creditor's Committee Fees Expen                       -                      -                       -                        -                          -
         Total 72000 · Prof Fees - Bankruptcy                              -                      -                       -                        -                          -
         72100 · DIP Loan Origination Fee                                  -                      -                       -                        -                          -
         81140 · Board Fees                                                -                      -                       -                        -                          -
         83000 · Tax Expense                                           800                     800                    800                      800                         800
      Total Expense                                                   2,535                  1,450                   1,450                   1,450                       27,149
  Net Ordinary Income                                                 3,228                  (1,450)                  (700)                  (1,450)                 (904,414)
  Other Income/Expense
      85100 · (Gain) / Loss loan payoff/sale                               -                      -                       -                        -                          -
      85101 · Refund of Pre-Petition Expense                               -                      -                       -                        -                          -
      85000 · Write off uncollectible rents                                -                      -                       -                        -                          -
      85001 · Charitable Contribution                                      -                      -                       -                        -                          -
  Net Other Income                                                         -                      -                       -                        -                          -
Net Income                                                            3,228                  (1,450)                 (700)                   (1,450)                 (904,414)




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                                                       P-042 Chaplin Invest       P-043 Chestnut Invest       P-044 Chestnut Ridge       P-045 Clover Basin       P-046 Coffee Creek
                                                              LLC                         LLC                      Invest LLC                Invest LLC               Invest LLC
                                                            17-12592                    17-12603                   17-12614                  17-12621                 17-12627
  Ordinary Income/Expense
      Income
         40005 · Sales Proceeds / Note Payoff                                 -                          -                           -              9,550,000                          -
         40010 · Rent Revenue                                                 -                          -                           -                        -                        -
         40020 · Interest Revenue                                             -                          -                           -                        -                        -
         40022 · Structured Settlement Income                                 -                          -                           -                        -                        -
         40090 · Other Revenue                                                -                          -                           -                        -                        -
      Total Income                                                            -                          -                           -              9,550,000                          -
      Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                          -                          -                           -                  (2,000)                        -
             50020 · Cost of Sales Real Property                              -                          -                           -              8,465,398                          -
             50030 · Closing Costs / Prorations                               -                          -                           -               594,994                           -
             50040 · Structured Settlement Costs                              -                          -                           -                        -                        -
         Total 50000 · Cost of Goods Sold                                     -                          -                           -              9,058,392                          -
      Total COGS                                                              -                          -                           -              9,058,392                          -
    Gross Profit                                                              -                          -                           -               491,608                           -
      Expense
         60020 · Media Consulting                                             -                          -                           -                        -                        -
         60400 · Bank Charges                                                 -                          -                           -                        -                        -
         60500 · Dues and Subscriptions                                       -                          -                           -                        -                        -
         60600 · Equipment Lease                                              -                          -                           -                        -                        -
         61700 · Information Technology
             61701 · IT - Software                                            -                          -                           -                        -                        -
             61700 · Information Technology - Other                           -                          -                           -                        -                        -
         Total 61700 · Information Technology                                 -                          -                           -                        -                        -
         61800 · License and Filing Fees                                      -                          -                           -                        -                        -
         61850 · Meals and Entertainment                                      -                          -                           -                        -                        -
         61870 · Moving                                                       -                          -                           -                        -                        -
         62500 · Employee Benefits                                            -                          -                           -                        -                        -
         63300 · Insurance                                                    -                          -                           -                        -                        -
         63400 · Interest                                                     -                          -                           -                        -                        -
         63401 · Int Expense - BK DIP financing                               -                          -                           -                        -                        -
         64800 · Office Expense                                               -                          -                           -                        -                        -
         64900 · Office Supplies                                              -                          -                           -                        -                        -
         65000 · Outside Services                                             -                          -                           -                        -                        -
         65100 · Parking                                                      -                          -                           -                        -                        -
         66000 · Payroll-Salaries and Wages                                   -                          -                           -                        -                        -
         66005 · Payroll-Service Fees                                         -                          -                           -                        -                        -
         66015 · Payroll-Employer Taxes                                       -                          -                           -                        -                        -
         66020 · Independent Contractors                                      -                          -                           -                        -                        -
         66030 · Postage and Delivery                                         -                          -                           -                        -                        -
         66800 · Rent Expense                                                 -                          -                           -                        -                        -
         66900 · Repairs and Maintenance                                      -                          -                           -                        -                        -
         67000 · Security                                                     -                          -                           -                        -                        -
         67050 · Storage                                                      -                          -                           -                        -                        -
         67100 · Telephone and Internet Expense                               -                          -                           -                        -                        -
         67110 · Title Searches                                               -                          -                           -                        -                        -
         67200 · Travel                                                       -                          -                           -                        -                        -
         67210 · Travel / Relocation allowance                                -                          -                           -                        -                        -
         67400 · Utilities                                                    -                          -                           -                  (1,218)                        -
         Total 68000 · Professional Fee Ord Course                            -                    95,000                            -                   6,870                         -
         71000 · U.S. Trustee Fees                                       650                        1,950                     3,575                      5,525                     650
         72000 · Prof Fees - Bankruptcy Related
             72010 · Legal - Bankruptcy                                       -                          -                           -                        -                        -
             72030 · Consulting - Bankruptcy                                  -                          -                           -                        -                        -
             72050 · Creditor's Committee Fees Expen                          -                          -                           -                        -                        -
         Total 72000 · Prof Fees - Bankruptcy                                 -                          -                           -                        -                        -
         72100 · DIP Loan Origination Fee                                     -                          -                           -                        -                        -
         81140 · Board Fees                                                   -                          -                           -                        -                        -
         83000 · Tax Expense                                             800                          800                       800                       800                      800
      Total Expense                                                    1,450                       97,750                     4,375                     11,977                   1,450
  Net Ordinary Income                                                  (1,450)                     (97,750)                   (4,375)                479,631                     (1,450)
  Other Income/Expense
      85100 · (Gain) / Loss loan payoff/sale                                  -                          -                           -                        -                        -
      85101 · Refund of Pre-Petition Expense                                  -                          -                           -                        -                        -
      85000 · Write off uncollectible rents                                   -                          -                           -                        -                        -
      85001 · Charitable Contribution                                         -                          -                           -                        -                        -
  Net Other Income                                                            -                          -                           -                        -                        -
Net Income                                                             (1,450)                  (97,750)                      (4,375)                479,631                     (1,450)




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                                                                                  P-049 Crowfield Invest     P-050 Crystal Woods       P-051 Daleville       P-052 Derbyshire      P-053 Diamond
                                                       P-047 Craven Invest LLC            LLC                     Invest LLC             Invest LLC             Invest LLC         Cove Invest LLC
                                                              17-12636                  17-12660                  17-12676               17-12687               17-12696               17-12705
  Ordinary Income/Expense
      Income
         40005 · Sales Proceeds / Note Payoff                       9,270,000                           -                          -                     -                   -                      -
         40010 · Rent Revenue                                                 -                         -                          -                     -                   -                      -
         40020 · Interest Revenue                                             -                         -                          -                     -                   -                      -
         40022 · Structured Settlement Income                                 -                         -                          -                     -                   -                      -
         40090 · Other Revenue                                                -                         -                          -                     -                   -                      -
      Total Income                                                  9,270,000                           -                          -                     -                   -                      -
      Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                          -                         -                          -                     -                   -                      -
             50020 · Cost of Sales Real Property                    9,100,969                           -                          -                     -                   -                      -
             50030 · Closing Costs / Prorations                       651,140                           -                          -                     -                   -                      -
             50040 · Structured Settlement Costs                              -                         -                          -                     -                   -                      -
         Total 50000 · Cost of Goods Sold                           9,752,109                           -                          -                     -                   -                      -
      Total COGS                                                    9,752,109                           -                          -                     -                   -                      -
    Gross Profit                                                     (482,109)                          -                          -                     -                   -                      -
      Expense
         60020 · Media Consulting                                             -                         -                          -                     -                   -                      -
         60400 · Bank Charges                                                 -                         -                          -                     -                   -                      -
         60500 · Dues and Subscriptions                                       -                         -                          -                     -                   -                      -
         60600 · Equipment Lease                                              -                         -                          -                     -                   -                      -
         61700 · Information Technology
             61701 · IT - Software                                            -                         -                          -                     -                   -                      -
             61700 · Information Technology - Other                           -                         -                          -                     -                   -                      -
         Total 61700 · Information Technology                                 -                         -                          -                     -                   -                      -
         61800 · License and Filing Fees                                      -                       49                        49                       -                  49                      -
         61850 · Meals and Entertainment                                      -                         -                          -                     -                   -                      -
         61870 · Moving                                                       -                         -                          -                     -                   -                      -
         62500 · Employee Benefits                                            -                         -                          -                     -                   -                      -
         63300 · Insurance                                                    -                         -                          -                     -                   -                      -
         63400 · Interest                                             160,685                           -                          -                     -                   -                      -
         63401 · Int Expense - BK DIP financing                               -                         -                          -                     -                   -                      -
         64800 · Office Expense                                               -                         -                          -                     -                   -                      -
         64900 · Office Supplies                                              -                         -                          -                     -                   -                      -
         65000 · Outside Services                                             -                         -                          -                     -                   -                      -
         65100 · Parking                                                      -                         -                          -                     -                   -                      -
         66000 · Payroll-Salaries and Wages                                   -                         -                          -                     -                   -                      -
         66005 · Payroll-Service Fees                                         -                         -                          -                     -                   -                      -
         66015 · Payroll-Employer Taxes                                       -                         -                          -                     -                   -                      -
         66020 · Independent Contractors                                      -                         -                          -                     -                   -                      -
         66030 · Postage and Delivery                                         -                         -                          -                     -                   -                      -
         66800 · Rent Expense                                                 -                         -                          -                     -                   -                      -
         66900 · Repairs and Maintenance                                      -                         -                          -                     -                   -                      -
         67000 · Security                                                     -                         -                          -                     -                   -                      -
         67050 · Storage                                                      -                         -                          -                     -                   -                      -
         67100 · Telephone and Internet Expense                               -                         -                          -                     -                   -                    99
         67110 · Title Searches                                               -                         -                          -                     -                   -                      -
         67200 · Travel                                                       -                         -                          -                     -                   -                      -
         67210 · Travel / Relocation allowance                                -                         -                          -                     -                   -                      -
         67400 · Utilities                                                    -                         -                          -                     -                   -                      -
         Total 68000 · Professional Fee Ord Course                       22,500                         -                          -                     -                 375                      -
         71000 · U.S. Trustee Fees                                       47,023                    6,825                       650                  650                    650               36,318
         72000 · Prof Fees - Bankruptcy Related
             72010 · Legal - Bankruptcy                                       -                         -                          -                     -                   -                      -
             72030 · Consulting - Bankruptcy                                  -                         -                          -                     -                   -                      -
             72050 · Creditor's Committee Fees Expen                          -                         -                          -                     -                   -                      -
         Total 72000 · Prof Fees - Bankruptcy                                 -                         -                          -                     -                   -                      -
         72100 · DIP Loan Origination Fee                                     -                         -                          -                     -                   -                      -
         81140 · Board Fees                                                   -                         -                          -                     -                   -                      -
         83000 · Tax Expense                                               800                       800                       800                  800                1,600                      800
      Total Expense                                                   231,008                      7,674                     1,499               1,450                 2,674                 37,218
  Net Ordinary Income                                                (713,116)                     (7,674)                   (1,499)            (1,450)                (2,674)               (37,218)
  Other Income/Expense
      85100 · (Gain) / Loss loan payoff/sale                                  -                         -                          -                     -                   -                      -
      85101 · Refund of Pre-Petition Expense                                  -                         -                          -                     -                   -                      -
      85000 · Write off uncollectible rents                                   -                         -                          -                     -                   -                      -
      85001 · Charitable Contribution                                         -                         -                          -                     -                   -                      -
  Net Other Income                                                            -                         -                          -                     -                   -                      -
Net Income                                                           (713,116)                     (7,674)                   (1,499)            (1,450)                (2,674)               (37,218)




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                                                        P-054 Dixville   P-055 Dogwood      P-056 Dollis      P-057 Donnington     P-059 Doubleleaf    P-060 Drawspan         P-061 Eldredge
                                                       Notch Invest LLC Valley Invest LLC Brook Invest LLC       Invest LLC           Invest LLC          Invest LLC            Invest LLC
                                                          17-12716          17-12727         17-12735             17-12744            17-12755            17-12767               17-12775
  Ordinary Income/Expense
      Income
         40005 · Sales Proceeds / Note Payoff                          -                 -                -            610,000                     -                   -                       -
         40010 · Rent Revenue                                          -                 -                -             62,356                     -                   -                       -
         40020 · Interest Revenue                                      -                 -                -                    3                   -                   -                       -
         40022 · Structured Settlement Income                          -                 -                -                    -                   -                   -                       -
         40090 · Other Revenue                                         -                 -         49,937                      -                   -                   -                47,375
      Total Income                                                     -                 -         49,937              672,359                     -                   -                47,375
      Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                   -                 -                -             18,364                     -                   -                       -
             50020 · Cost of Sales Real Property                       -                 -                -            610,000                     -                   -                       -
             50030 · Closing Costs / Prorations                        -                 -                -             52,755                     -                   -                       -
             50040 · Structured Settlement Costs                       -                 -                -                    -                   -                   -                       -
         Total 50000 · Cost of Goods Sold                              -                 -                -            681,118                     -                   -                       -
      Total COGS                                                       -                 -                -            681,118                     -                   -                       -
    Gross Profit                                                       -                 -         49,937               (8,759)                    -                   -                47,375
      Expense
         60020 · Media Consulting                                      -                 -                -                    -                   -                   -                       -
         60400 · Bank Charges                                          -                 -                -                    -                   -                   -                       -
         60500 · Dues and Subscriptions                                -                 -                -                    -                   -                   -                       -
         60600 · Equipment Lease                                       -                 -                -                    -                   -                   -                       -
         61700 · Information Technology
             61701 · IT - Software                                     -                 -                -                    -                   -                   -                       -
             61700 · Information Technology - Other                    -                 -                -                    -                   -                   -                       -
         Total 61700 · Information Technology                          -                 -                -                    -                   -                   -                       -
         61800 · License and Filing Fees                               -               100              149                   49                 49                  149                       -
         61850 · Meals and Entertainment                               -                 -                -                    -                   -                   -                       -
         61870 · Moving                                                -                 -                -                    -                   -                   -                       -
         62500 · Employee Benefits                                     -                 -                -                    -                   -                   -                       -
         63300 · Insurance                                             -                 -                -                    -                   -                   -                       -
         63400 · Interest                                              -                 -                -                    -                   -                   -                       -
         63401 · Int Expense - BK DIP financing                        -                 -                -                    -                   -                   -                       -
         64800 · Office Expense                                        -                 -                -                    -                   -                   -                       -
         64900 · Office Supplies                                       -                 -                -                    -                   -                   -                       -
         65000 · Outside Services                                      -                 -                -                    -                   -                   -                       -
         65100 · Parking                                               -                 -                -                    -                   -                   -                       -
         66000 · Payroll-Salaries and Wages                            -                 -                -                    -                   -                   -                       -
         66005 · Payroll-Service Fees                                  -                 -                -                    -                   -                   -                       -
         66015 · Payroll-Employer Taxes                                -                 -                -                    -                   -                   -                       -
         66020 · Independent Contractors                               -                 -                -                    -                   -                   -                       -
         66030 · Postage and Delivery                                  -                 -                -                    -                   -                   -                       -
         66800 · Rent Expense                                          -                 -                -                    -                   -                   -                       -
         66900 · Repairs and Maintenance                               -                 -                -                    -                   -                   -                       -
         67000 · Security                                              -                 -                -                    -                   -                   -                       -
         67050 · Storage                                               -                 -                -                    -                   -                   -                       -
         67100 · Telephone and Internet Expense                        -                 -               54                    -                   -                   -                       -
         67110 · Title Searches                                        -                 -                -                    -                   -                   -                       -
         67200 · Travel                                                -                 -                -                    -                   -                   -                       -
         67210 · Travel / Relocation allowance                         -                 -                -                    -                   -                   -                       -
         67400 · Utilities                                             -                 -                -                    -                   -                   -                       -
         Total 68000 · Professional Fee Ord Course                     -                 -                -                  810                   -                   -                       -
         71000 · U.S. Trustee Fees                                   650               975          1,300                    975                 975            5,850                     2,600
         72000 · Prof Fees - Bankruptcy Related
             72010 · Legal - Bankruptcy                                -                 -                -                    -                   -                   -                       -
             72030 · Consulting - Bankruptcy                           -                 -                -                    -                   -                   -                       -
             72050 · Creditor's Committee Fees Expen                   -                 -                -                    -                   -                   -                       -
         Total 72000 · Prof Fees - Bankruptcy                          -                 -                -                    -                   -                   -                       -
         72100 · DIP Loan Origination Fee                              -                 -                -                    -                   -                   -                       -
         81140 · Board Fees                                            -                 -                -                    -                   -                   -                       -
         83000 · Tax Expense                                         800               800              800                  800                 800                 800                    800
      Total Expense                                              1,450             1,875            2,303                2,634               1,824              6,799                     3,400
  Net Ordinary Income                                            (1,450)          (1,875)          47,635              (11,393)              (1,824)            (6,799)                 43,975
  Other Income/Expense
      85100 · (Gain) / Loss loan payoff/sale                           -                 -                -                    -                   -                   -                       -
      85101 · Refund of Pre-Petition Expense                           -                 -                -                    -                   -                   -                       -
      85000 · Write off uncollectible rents                            -                 -                -                    -                   -                   -                       -
      85001 · Charitable Contribution                                  -                 -                -                    -                   -                   -                       -
  Net Other Income                                                     -                 -                -                    -                   -                   -                       -
Net Income                                                       (1,450)          (1,875)          47,635              (11,393)              (1,824)            (6,799)                 43,975




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                                                       P-062 Elstar        P-063 Emerald      P-064 Fieldpoint    P-065 Franconia     P-066 Gateshead P-067 Glenn Rich   P-068 Goose
                                                       Invest LLC         Lake Invest LLC        Invest LLC       Notch Inves LLC        Invest LLC      Invest LLC    Rocks Invest LLC
                                                        17-12782             17-12788            17-12794            17-12797            17-12597         17-12602              17-12611
  Ordinary Income/Expense
      Income
         40005 · Sales Proceeds / Note Payoff                         -                   -           900,113                     -         1,850,500                  -                     -
         40010 · Rent Revenue                                         -           160,000              55,169                     -           132,642                  -                     -
         40020 · Interest Revenue                                     -                   -                  1                    -                  3                 -                     -
         40022 · Structured Settlement Income                         -                   -                   -                   -                   -                -                     -
         40090 · Other Revenue                                        -                   -                   -                   -                   -                -               22,192
      Total Income                                                    -           160,000             955,282                     -         1,983,145                  -               22,192
      Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                  -                 505              7,240                    -            40,714                  -                     -
             50020 · Cost of Sales Real Property                      -                   -           884,029                     -         2,287,082                  -                     -
             50030 · Closing Costs / Prorations                       -                   -           114,864                     -           163,640                  -                     -
             50040 · Structured Settlement Costs                      -                   -                   -                   -                   -                -                     -
         Total 50000 · Cost of Goods Sold                             -                 505         1,006,134                     -         2,491,436                  -                     -
      Total COGS                                                      -                 505         1,006,134                     -         2,491,436                  -                     -
    Gross Profit                                                      -           159,495              (50,851)                   -          (508,291)                 -               22,192
      Expense
         60020 · Media Consulting                                     -                   -                   -                   -                   -                -                     -
         60400 · Bank Charges                                         -                   -                   -                   -                   -                -                     -
         60500 · Dues and Subscriptions                               -                   -                   -                   -                   -                -                     -
         60600 · Equipment Lease                                      -                   -                   -                   -                   -                -                     -
         61700 · Information Technology
             61701 · IT - Software                                    -                   -                   -                   -                   -                -                     -
             61700 · Information Technology - Other                   -                   -                   -                   -                   -                -                     -
         Total 61700 · Information Technology                         -                   -                   -                   -                   -                -                     -
         61800 · License and Filing Fees                              -                   -                 198                 49                  149              49                    49
         61850 · Meals and Entertainment                              -                   -                   -                   -                   -                -                     -
         61870 · Moving                                               -                   -                   -                   -                   -                -                     -
         62500 · Employee Benefits                                    -                   -                   -                   -                   -                -                     -
         63300 · Insurance                                            -                   -                 570                   -                   -                -                     -
         63400 · Interest                                             -                   -                   -                   -                   -                -                     -
         63401 · Int Expense - BK DIP financing                       -                   -                   -                   -                   -                -                     -
         64800 · Office Expense                                       -                   -                   -                   -                   -                -                     -
         64900 · Office Supplies                                      -                   -                   -                   -                   -                -                     -
         65000 · Outside Services                                     -                   -                   -                   -                   -                -                     -
         65100 · Parking                                              -                   -                   -                   -                   -                -                     -
         66000 · Payroll-Salaries and Wages                           -                   -                   -                   -                   -                -                     -
         66005 · Payroll-Service Fees                                 -                   -                   -                   -                   -                -                     -
         66015 · Payroll-Employer Taxes                               -                   -                   -                   -                   -                -                     -
         66020 · Independent Contractors                              -                   -                   -                   -                   -                -                     -
         66030 · Postage and Delivery                                 -                   -                   -                   -                   -                -                     -
         66800 · Rent Expense                                         -                   -                   -                   -                   -                -                     -
         66900 · Repairs and Maintenance                              -                   -                 300                   -             3,628                  -                     -
         67000 · Security                                             -                   -                   -                   -                   -                -                     -
         67050 · Storage                                              -                   -                   -                   -                   -                -                     -
         67100 · Telephone and Internet Expense                       -                   -                   -                   -                   -                -                     -
         67110 · Title Searches                                       -                   -                   -                   -                   -                -                     -
         67200 · Travel                                               -                   -                   -                   -                   -                -                     -
         67210 · Travel / Relocation allowance                        -                   -                   -                   -                   -                -                     -
         67400 · Utilities                                            -                   -                   -                   -                 269                -                     -
         Total 68000 · Professional Fee Ord Course                    -                   -                   -                   -                   -                -                     -
         71000 · U.S. Trustee Fees                              9,750               1,300                1,950                  650             2,600                650                9,750
         72000 · Prof Fees - Bankruptcy Related
             72010 · Legal - Bankruptcy                               -                   -                   -                   -                   -                -                     -
             72030 · Consulting - Bankruptcy                          -                   -                   -                   -                   -                -                     -
             72050 · Creditor's Committee Fees Expen                  -                   -                   -                   -                   -                -                     -
         Total 72000 · Prof Fees - Bankruptcy                         -                   -                   -                   -                   -                -                     -
         72100 · DIP Loan Origination Fee                             -                   -                   -                   -                   -                -                     -
         81140 · Board Fees                                           -                   -                   -                   -                   -                -                     -
         83000 · Tax Expense                                       800                  800                 800                 800                 800              800                   800
      Total Expense                                           10,550                2,100                3,818              1,499               7,446            1,499                 10,599
  Net Ordinary Income                                         (10,550)            157,395              (54,669)            (1,499)           (515,737)          (1,499)                11,593
  Other Income/Expense
      85100 · (Gain) / Loss loan payoff/sale                          -                   -                   -                   -                   -                -                     -
      85101 · Refund of Pre-Petition Expense                          -                   -                   -                   -                   -                -                     -
      85000 · Write off uncollectible rents                           -                   -                   -                   -                   -                -                     -
      85001 · Charitable Contribution                                 -                   -                   -                   -                   -                -                     -
  Net Other Income                                                    -                   -                   -                   -                   -                -                     -
Net Income                                                    (10,550)            157,395              (54,669)            (1,499)           (515,737)          (1,499)                11,593




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                                                       P-069 Goosebrook P-070 Graeme Park    P-071 Grand    P-072 Gravenstein       P-073 Green        P-074 Grenadier
                                                           Invest LLC       Invest LLC    Midway Invest LLC    Invest LLC         Gables Invest LLC       Invest LLC
                                                           17-12617          17-12622          17-12628          17-12632             17-12637            17-12643
  Ordinary Income/Expense
      Income
         40005 · Sales Proceeds / Note Payoff                           -                 -                 -                 -                    -                   -
         40010 · Rent Revenue                                           -                 -                 -                 -                    -                   -
         40020 · Interest Revenue                                       -                 -                 -                 -                    -                   -
         40022 · Structured Settlement Income                           -                 -                 -                 -                    -                   -
         40090 · Other Revenue                                          -                 -                 -                 -                    -                   -
      Total Income                                                      -                 -                 -                 -                    -                   -
      Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                    -                 -                 -                 -                    -                   -
             50020 · Cost of Sales Real Property                        -                 -                 -                 -                    -                   -
             50030 · Closing Costs / Prorations                         -                 -                 -                 -                    -                   -
             50040 · Structured Settlement Costs                        -                 -                 -                 -                    -                   -
         Total 50000 · Cost of Goods Sold                               -                 -                 -                 -                    -                   -
      Total COGS                                                        -                 -                 -                 -                    -                   -
    Gross Profit                                                        -                 -                 -                 -                    -                   -
      Expense
         60020 · Media Consulting                                       -                 -                 -                 -                    -                   -
         60400 · Bank Charges                                           -                 -                 -                 -                    -                   -
         60500 · Dues and Subscriptions                                 -                 -                 -                 -                    -                   -
         60600 · Equipment Lease                                        -                 -                 -                 -                    -                   -
         61700 · Information Technology
             61701 · IT - Software                                      -                 -                 -                 -                    -                   -
             61700 · Information Technology - Other                     -                 -                 -                 -                    -                   -
         Total 61700 · Information Technology                           -                 -                 -                 -                    -                   -
         61800 · License and Filing Fees                                -               49            3,778                   -                  149                 100
         61850 · Meals and Entertainment                                -                 -                 -                 -                    -                   -
         61870 · Moving                                                 -                 -                 -                 -                    -                   -
         62500 · Employee Benefits                                      -                 -                 -                 -                    -                   -
         63300 · Insurance                                              -                 -                 -                 -                    -                   -
         63400 · Interest                                               -                 -         866,702                   -                    -                   -
         63401 · Int Expense - BK DIP financing                         -                 -                 -                 -                    -                   -
         64800 · Office Expense                                         -                 -                 -                 -                    -                   -
         64900 · Office Supplies                                        -                 -                 -                 -                    -                   -
         65000 · Outside Services                                       -                 -                 -                 -                    -                   -
         65100 · Parking                                                -                 -                 -                 -                    -                   -
         66000 · Payroll-Salaries and Wages                             -                 -                 -                 -                    -                   -
         66005 · Payroll-Service Fees                                   -                 -                 -                 -                    -                   -
         66015 · Payroll-Employer Taxes                                 -                 -                 -                 -                    -                   -
         66020 · Independent Contractors                                -                 -                 -                 -                    -                   -
         66030 · Postage and Delivery                                   -                 -                 -                 -                    -                   -
         66800 · Rent Expense                                           -                 -                 -                 -                    -                   -
         66900 · Repairs and Maintenance                                -                 -                 -                 -                    -                   -
         67000 · Security                                               -                 -                 -                 -                    -                   -
         67050 · Storage                                                -                 -                 -                 -                    -                   -
         67100 · Telephone and Internet Expense                         -                 -                 -                 -                    -                   -
         67110 · Title Searches                                         -                 -               600                 -                    -                   -
         67200 · Travel                                                 -                 -                 -                 -                    -                   -
         67210 · Travel / Relocation allowance                          -                 -                 -                 -                    -                   -
         67400 · Utilities                                              -                 -                 -                 -                  160                   -
         Total 68000 · Professional Fee Ord Course                      -                 -          15,000                   -             24,024                     -
         71000 · U.S. Trustee Fees                                6,825             3,250           254,875            16,958                6,825                   650
         72000 · Prof Fees - Bankruptcy Related
             72010 · Legal - Bankruptcy                                 -                 -                 -                 -                    -                   -
             72030 · Consulting - Bankruptcy                            -                 -                 -                 -                    -                   -
             72050 · Creditor's Committee Fees Expen                    -                 -                 -                 -                    -                   -
         Total 72000 · Prof Fees - Bankruptcy                           -                 -                 -                 -                    -                   -
         72100 · DIP Loan Origination Fee                               -                 -                 -                 -                    -                   -
         81140 · Board Fees                                             -                 -                 -                 -                    -                   -
         83000 · Tax Expense                                          800               800               800               800                  800                 800
      Total Expense                                               7,625             4,099         1,141,756            17,758               31,958               1,550
  Net Ordinary Income                                            (7,625)           (4,099)       (1,141,756)          (17,758)              (31,958)            (1,550)
  Other Income/Expense
      85100 · (Gain) / Loss loan payoff/sale                            -                 -                 -                 -                    -                   -
      85101 · Refund of Pre-Petition Expense                            -                 -                 -                 -                    -                   -
      85000 · Write off uncollectible rents                             -                 -                 -                 -                    -                   -
      85001 · Charitable Contribution                                   -                 -                 -                 -                    -                   -
  Net Other Income                                                      -                 -                 -                 -                    -                   -
Net Income                                                       (7,625)           (4,099)       (1,141,756)          (17,758)              (31,958)            (1,550)




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                                                       P-075 Grumblethorpe       P-076 Hackmatack       P-077 Haffenburg    P-078 Haralson       P-080 Harringworth P-081 Hawthorne
                                                            Invest LLC               Invest LLC            Invest LLC         Invest LLC             Invest, LLC       Invest LLC
                                                            17-12649                 17-12653              17-12659           17-12663               17-12669          18-10291
  Ordinary Income/Expense
      Income
         40005 · Sales Proceeds / Note Payoff                               -                       -                   -                    -                    -                 -
         40010 · Rent Revenue                                               -                       -                   -                    -                    -          38,864
         40020 · Interest Revenue                                           -                       -                   -                    -                    -                 -
         40022 · Structured Settlement Income                               -                       -                   -                    -                    -                 -
         40090 · Other Revenue                                              -                       -                   -                    -                    -                 -
      Total Income                                                          -                       -                   -                    -                    -          38,864
      Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                        -                       -                   -                    -                    -           3,687
             50020 · Cost of Sales Real Property                            -                       -                   -                    -                    -                 -
             50030 · Closing Costs / Prorations                             -                       -                   -                    -                    -                 -
             50040 · Structured Settlement Costs                            -                       -                   -                    -                    -                 -
         Total 50000 · Cost of Goods Sold                                   -                       -                   -                    -                    -           3,687
      Total COGS                                                            -                       -                   -                    -                    -           3,687
    Gross Profit                                                            -                       -                   -                    -                    -          35,178
      Expense
         60020 · Media Consulting                                           -                       -                   -                    -                    -                 -
         60400 · Bank Charges                                               -                       -                   -                    -                    -                 8
         60500 · Dues and Subscriptions                                     -                   1,515                   -                    -                    -                 -
         60600 · Equipment Lease                                            -                       -                   -                    -                    -                 -
         61700 · Information Technology
             61701 · IT - Software                                          -                       -                   -                    -                    -                 -
             61700 · Information Technology - Other                         -                       -                   -                    -                    -                 -
         Total 61700 · Information Technology                               -                       -                   -                    -                    -                 -
         61800 · License and Filing Fees                                 149                      49                    -                    -                   98               149
         61850 · Meals and Entertainment                                    -                       -                   -                    -                    -                 -
         61870 · Moving                                                     -                       -                   -                    -                    -                 -
         62500 · Employee Benefits                                          -                       -                   -                    -                    -                 -
         63300 · Insurance                                                  -                       -                   -                    -                    -                 -
         63400 · Interest                                                   -                       -                   -                    -                    -                 -
         63401 · Int Expense - BK DIP financing                             -                       -                   -                    -                    -                 -
         64800 · Office Expense                                             -                       -                   -                    -                    -                 -
         64900 · Office Supplies                                            -                       -                   -                    -                    -                 -
         65000 · Outside Services                                           -                       -                   -                    -                    -                 -
         65100 · Parking                                                    -                       -                   -                    -                    -                 -
         66000 · Payroll-Salaries and Wages                                 -                       -                   -                    -                    -                 -
         66005 · Payroll-Service Fees                                       -                       -                   -                    -                    -                 -
         66015 · Payroll-Employer Taxes                                     -                       -                   -                    -                    -                 -
         66020 · Independent Contractors                                    -                       -                   -                    -                    -                 -
         66030 · Postage and Delivery                                       -                       -                   -                    -                    -                 -
         66800 · Rent Expense                                               -                       -                   -                    -                    -                 -
         66900 · Repairs and Maintenance                                    -                       -                   -                    -                    -               381
         67000 · Security                                                   -                       -                   -                    -                    -                 -
         67050 · Storage                                                    -                       -                   -                    -                    -                 -
         67100 · Telephone and Internet Expense                             -                       -                   -                    -                    -                 -
         67110 · Title Searches                                             -                       -                   -                    -                    -                 -
         67200 · Travel                                                     -                       -                   -                    -                    -                 -
         67210 · Travel / Relocation allowance                              -                       -                   -                    -                    -                 -
         67400 · Utilities                                                  -                       -                   -                    -                    -               565
         Total 68000 · Professional Fee Ord Course                          -                       -                   -                    -                    -                 -
         71000 · U.S. Trustee Fees                                       650                     650                  325                650                    650               975
         72000 · Prof Fees - Bankruptcy Related
             72010 · Legal - Bankruptcy                                     -                       -                   -                    -                    -                 -
             72030 · Consulting - Bankruptcy                                -                       -                   -                    -                    -                 -
             72050 · Creditor's Committee Fees Expen                        -                       -                   -                    -                    -                 -
         Total 72000 · Prof Fees - Bankruptcy                               -                       -                   -                    -                    -                 -
         72100 · DIP Loan Origination Fee                                   -                       -                   -                    -                    -                 -
         81140 · Board Fees                                                 -                       -                   -                    -                    -                 -
         83000 · Tax Expense                                             800                     800                  800                800                    800               800
      Total Expense                                                    1,599                    3,014             1,125              1,450                   1,548            2,879
  Net Ordinary Income                                                  (1,599)              (3,014)               (1,125)            (1,450)                (1,548)          32,299
  Other Income/Expense
      85100 · (Gain) / Loss loan payoff/sale                                -                       -                   -                    -                    -                 -
      85101 · Refund of Pre-Petition Expense                                -                       -                   -                    -                    -                 -
      85000 · Write off uncollectible rents                                 -                       -                   -                    -                    -                 -
      85001 · Charitable Contribution                                       -                       -                   -                    -                    -                 -
  Net Other Income                                                          -                       -                   -                    -                    -                 -
Net Income                                                             (1,599)              (3,014)               (1,125)            (1,450)                (1,548)          32,299




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                                                       P-082 Hazelpoint  P-084 Heilbron     P-085 Hollyline       P-086 Hornbeam      P-087 Idared       P-088 Imperial Aly P-092 Lenni Heights
                                                          Invest LLC    Manor Invest LLC     Owners LLC              Invest LLC        Invest LLC           Invest LLC          Invest LLC
                                                          17-12674         17-12681            17-12688              17-12694          17-12701              17-12708               17-12720
  Ordinary Income/Expense
      Income
         40005 · Sales Proceeds / Note Payoff                          -               -                      -                   -                  -                    -                101,000
         40010 · Rent Revenue                                          -               -                      -                   -                  -                    -                       -
         40020 · Interest Revenue                                      -               -                      -                   -                  -                    -                       -
         40022 · Structured Settlement Income                          -               -                      -                   -                  -                    -                       -
         40090 · Other Revenue                                         -               -                      -                   -                  -                    -                       -
      Total Income                                                     -               -                      -                   -                  -                    -                101,000
      Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                   -               -                      -                   -                  -                    -                       -
             50020 · Cost of Sales Real Property                       -               -                      -                   -                  -                    -                178,040
             50030 · Closing Costs / Prorations                        -               -                      -                   -                  -                    -                  7,706
             50040 · Structured Settlement Costs                       -               -                      -                   -                  -                    -                       -
         Total 50000 · Cost of Goods Sold                              -               -                      -                   -                  -                    -                185,746
      Total COGS                                                       -               -                      -                   -                  -                    -                185,746
    Gross Profit                                                       -               -                      -                   -                  -                    -                (84,746)
      Expense
         60020 · Media Consulting                                      -               -                      -                   -                  -                    -                       -
         60400 · Bank Charges                                          -               -                      -                   -                  -                    -                       -
         60500 · Dues and Subscriptions                                -               -                      -                   -                  -                    -                       -
         60600 · Equipment Lease                                       -               -                      -                   -                  -                    -                       -
         61700 · Information Technology
             61701 · IT - Software                                     -               -                      -                   -                  -                    -                       -
             61700 · Information Technology - Other                    -               -                      -                   -                  -                    -                       -
         Total 61700 · Information Technology                          -               -                      -                   -                  -                    -                       -
         61800 · License and Filing Fees                               -               -                      -                   -                  -                    -                    149
         61850 · Meals and Entertainment                               -               -                      -                   -                  -                    -                       -
         61870 · Moving                                                -               -                      -                   -                  -                    -                       -
         62500 · Employee Benefits                                     -               -                      -                   -                  -                    -                       -
         63300 · Insurance                                             -               -                      -                   -                  -                    -                       -
         63400 · Interest                                              -               -                      -                   -                  -                    -                       -
         63401 · Int Expense - BK DIP financing                        -               -                      -                   -                  -                    -                       -
         64800 · Office Expense                                        -               -                      -                   -                  -                    -                       -
         64900 · Office Supplies                                       -               -                      -                   -                  -                    -                       -
         65000 · Outside Services                                      -               -                      -                   -                  -                    -                       -
         65100 · Parking                                               -               -                      -                   -                  -                    -                       -
         66000 · Payroll-Salaries and Wages                            -               -                      -                   -                  -                    -                       -
         66005 · Payroll-Service Fees                                  -               -                      -                   -                  -                    -                       -
         66015 · Payroll-Employer Taxes                                -               -                      -                   -                  -                    -                       -
         66020 · Independent Contractors                               -               -                      -                   -                  -                    -                       -
         66030 · Postage and Delivery                                  -               -                      -                   -                  -                    -                       -
         66800 · Rent Expense                                          -               -                      -                   -                  -                    -                       -
         66900 · Repairs and Maintenance                               -               -                      -                   -                  -                    -                       -
         67000 · Security                                              -               -                      -                   -                  -                    -                       -
         67050 · Storage                                               -               -                      -                   -                  -                    -                       -
         67100 · Telephone and Internet Expense                        -               -                      -                   -                  -                    -                       -
         67110 · Title Searches                                        -               -                      -                   -                  -                    -                       -
         67200 · Travel                                                -               -                      -                   -                  -                    -                       -
         67210 · Travel / Relocation allowance                         -               -                      -                   -                  -                    -                       -
         67400 · Utilities                                             -               -                      -                   -                  -                    -                       -
         Total 68000 · Professional Fee Ord Course                     -               -                      -                   -                  -                    -                       -
         71000 · U.S. Trustee Fees                                   650          2,600                   975              6,500                  650               1,950                      650
         72000 · Prof Fees - Bankruptcy Related
             72010 · Legal - Bankruptcy                                -               -                      -                   -                  -                    -                       -
             72030 · Consulting - Bankruptcy                           -               -                      -                   -                  -                    -                       -
             72050 · Creditor's Committee Fees Expen                   -               -                      -                   -                  -                    -                       -
         Total 72000 · Prof Fees - Bankruptcy                          -               -                      -                   -                  -                    -                       -
         72100 · DIP Loan Origination Fee                              -               -                      -                   -                  -                    -                       -
         81140 · Board Fees                                            -               -                      -                   -                  -                    -                       -
         83000 · Tax Expense                                         800          1,600                   800                   800               800                   800                    800
      Total Expense                                              1,450            4,200               1,775                7,300              1,450                 2,750                    1,599
  Net Ordinary Income                                           (1,450)           (4,200)            (1,775)               (7,300)            (1,450)              (2,750)                 (86,345)
  Other Income/Expense
      85100 · (Gain) / Loss loan payoff/sale                           -               -                      -                   -                  -                    -                       -
      85101 · Refund of Pre-Petition Expense                           -               -                      -                   -                  -                    -                       -
      85000 · Write off uncollectible rents                            -               -                      -                   -                  -                    -                       -
      85001 · Charitable Contribution                                  -               -                      -                   -                  -                    -                       -
  Net Other Income                                                     -               -                      -                   -                  -                    -                       -
Net Income                                                      (1,450)           (4,200)            (1,775)               (7,300)            (1,450)              (2,750)                 (86,345)




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DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through June 30, 2018

                                                       P-093 Lilac Meadow P-094 Lilac Valley P-095 Lincolnshire    P-096 Lonetree       P-097 Longbourn P-098 Mason Run
                                                           Invest LLC        Invest LLC          Invest LLC          Invest LLC            Invest LLC      Invest LLC
                                                            17-12728           18-10292           17-12733           17-12740              17-12746         17-12751
  Ordinary Income/Expense
      Income
         40005 · Sales Proceeds / Note Payoff                            -          670,000                    -                    -                   -                -
         40010 · Rent Revenue                                            -                  -                  -                    -                   -                -
         40020 · Interest Revenue                                        -                  -                  -                    -                   -                -
         40022 · Structured Settlement Income                            -                  -                  -                    -                   -                -
         40090 · Other Revenue                                           -                  -                  -                    -                   -                -
      Total Income                                                       -          670,000                    -                    -                   -                -
      Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                     -                  -                  -                    -                   -                -
             50020 · Cost of Sales Real Property                         -          736,639                    -                    -                   -                -
             50030 · Closing Costs / Prorations                          -           39,724                    -                    -                   -                -
             50040 · Structured Settlement Costs                         -                  -                  -                    -                   -                -
         Total 50000 · Cost of Goods Sold                                -          776,363                    -                    -                   -                -
      Total COGS                                                         -          776,363                    -                    -                   -                -
    Gross Profit                                                         -         (106,363)                   -                    -                   -                -
      Expense
         60020 · Media Consulting                                        -                  -                  -                    -                   -                -
         60400 · Bank Charges                                            -                  -                  -                    -                   -                -
         60500 · Dues and Subscriptions                                  -                  -                  -                    -                   -                -
         60600 · Equipment Lease                                         -                  -                  -                    -                   -                -
         61700 · Information Technology
             61701 · IT - Software                                       -                  -                  -                    -                   -                -
             61700 · Information Technology - Other                      -                  -                  -                    -                   -                -
         Total 61700 · Information Technology                            -                  -                  -                    -                   -                -
         61800 · License and Filing Fees                                 -                 49                149                    -                  49                -
         61850 · Meals and Entertainment                                 -                  -                  -                    -                   -                -
         61870 · Moving                                                  -                  -                  -                    -                   -                -
         62500 · Employee Benefits                                       -                  -                  -                    -                   -                -
         63300 · Insurance                                               -                  -                  -                    -                   -                -
         63400 · Interest                                                -                  -                  -                    -                   -                -
         63401 · Int Expense - BK DIP financing                          -                  -                  -                    -                   -                -
         64800 · Office Expense                                          -                  -                  -                    -                   -                -
         64900 · Office Supplies                                         -                  -                  -                    -                   -                -
         65000 · Outside Services                                        -                  -                  -                    -                   -                -
         65100 · Parking                                                 -                  -                  -                    -                   -                -
         66000 · Payroll-Salaries and Wages                              -                  -                  -                    -                   -                -
         66005 · Payroll-Service Fees                                    -                  -                  -                    -                   -                -
         66015 · Payroll-Employer Taxes                                  -                  -                  -                    -                   -                -
         66020 · Independent Contractors                                 -                  -                  -                    -                   -                -
         66030 · Postage and Delivery                                    -                  -                  -                    -                   -                -
         66800 · Rent Expense                                            -                  -                  -                    -                   -                -
         66900 · Repairs and Maintenance                                 -                  -                  -                    -                   -                -
         67000 · Security                                                -                  -                  -                    -                   -                -
         67050 · Storage                                                 -                  -                  -                    -                   -                -
         67100 · Telephone and Internet Expense                          -                  -                  -                    -                   -                -
         67110 · Title Searches                                          -                  -                  -                    -                   -                -
         67200 · Travel                                                  -                  -                  -                    -                   -                -
         67210 · Travel / Relocation allowance                           -                  -                  -                    -                   -                -
         67400 · Utilities                                               -                  -                  -                    -                   -                -
         Total 68000 · Professional Fee Ord Course                       -                  -                  -                    -                   -                -
         71000 · U.S. Trustee Fees                                  6,825                 975            1,300                  650              9,750            1,625
         72000 · Prof Fees - Bankruptcy Related
             72010 · Legal - Bankruptcy                                  -                  -                  -                    -                   -                -
             72030 · Consulting - Bankruptcy                             -                  -                  -                    -                   -                -
             72050 · Creditor's Committee Fees Expen                     -                  -                  -                    -                   -                -
         Total 72000 · Prof Fees - Bankruptcy                            -                  -                  -                    -                   -                -
         72100 · DIP Loan Origination Fee                                -                  -                  -                    -                   -                -
         81140 · Board Fees                                              -                  -                  -                    -                   -                -
         83000 · Tax Expense                                           800                800                800                800                   800              800
      Total Expense                                                 7,625             1,824              2,249              1,450               10,599            2,425
  Net Ordinary Income                                              (7,625)         (108,187)             (2,249)            (1,450)             (10,599)          (2,425)
  Other Income/Expense
      85100 · (Gain) / Loss loan payoff/sale                             -                  -                  -                    -                   -                -
      85101 · Refund of Pre-Petition Expense                             -                  -                  -                    -                   -                -
      85000 · Write off uncollectible rents                              -                  -                  -                    -                   -                -
      85001 · Charitable Contribution                                    -                  -                  -                    -                   -                -
  Net Other Income                                                       -                  -                  -                    -                   -                -
Net Income                                                         (7,625)         (108,187)             (2,249)            (1,450)             (10,599)          (2,425)




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                                                       P-099 Massabesic      P-100 Melody       P-101 Merrimack     P-102 Mineola       P-103 Monadnock     P-104 Moravian     P-105 Mountain
                                                          Invest LLC        Lane Invest LLC       Valley Invest      Invest LLC            Invest LLC         Invest LLC        Spring Invest
                                                           18-10293            17-12757            17-12665           17-12673             17-12682           17-12690             17-12698
  Ordinary Income/Expense
      Income
         40005 · Sales Proceeds / Note Payoff                   799,000                     -                   -                   -                   -                  -                    -
         40010 · Rent Revenue                                           -                   -                   -                   -                   -                  -                    -
         40020 · Interest Revenue                                       -                   -                   -                   -                   -                  -                    -
         40022 · Structured Settlement Income                           -                   -                   -                   -                   -                  -                    -
         40090 · Other Revenue                                          -                   -                   -                   -                   -                  -                    -
      Total Income                                              799,000                     -                   -                   -                   -                  -                    -
      Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                    -                   -                   -                   -                   -                  -                    -
             50020 · Cost of Sales Real Property                867,761                     -                   -                   -                   -                  -                    -
             50030 · Closing Costs / Prorations                  55,740                     -                   -                   -                   -                  -                    -
             50040 · Structured Settlement Costs                        -                   -                   -                   -                   -                  -                    -
         Total 50000 · Cost of Goods Sold                       923,500                     -                   -                   -                   -                  -                    -
      Total COGS                                                923,500                     -                   -                   -                   -                  -                    -
    Gross Profit                                               (124,500)                    -                   -                   -                   -                  -                    -
      Expense
         60020 · Media Consulting                                       -                   -                   -                   -                   -                  -                    -
         60400 · Bank Charges                                           -                   -                   -                   -                   -                  -                    -
         60500 · Dues and Subscriptions                                 -                   -                 277                   -                   -                  -                    -
         60600 · Equipment Lease                                        -                   -                   -                   -                   -                  -                    -
         61700 · Information Technology
             61701 · IT - Software                                      -                   -                   -                   -                   -                  -                    -
             61700 · Information Technology - Other                     -                   -                   -                   -                   -                  -                    -
         Total 61700 · Information Technology                           -                   -                   -                   -                   -                  -                    -
         61800 · License and Filing Fees                                -                 100                  49                149                    -                  -                   49
         61850 · Meals and Entertainment                                -                   -                   -                   -                   -                  -                    -
         61870 · Moving                                                 -                   -                   -                   -                   -                  -                    -
         62500 · Employee Benefits                                      -                   -                   -                   -                   -                  -                    -
         63300 · Insurance                                              -                   -                   -                   -                   -                  -                    -
         63400 · Interest                                               -                   -                   -                   -                   -                  -                    -
         63401 · Int Expense - BK DIP financing                         -                   -                   -                   -                   -                  -                    -
         64800 · Office Expense                                         -                   -                   -                   -                   -                  -                    -
         64900 · Office Supplies                                        -                   -                   -                   -                   -                  -                    -
         65000 · Outside Services                                       -                   -                   -                   -                   -                  -                    -
         65100 · Parking                                                -                   -                   -                   -                   -                  -                    -
         66000 · Payroll-Salaries and Wages                             -                   -                   -                   -                   -                  -                    -
         66005 · Payroll-Service Fees                                   -                   -                   -                   -                   -                  -                    -
         66015 · Payroll-Employer Taxes                                 -                   -                   -                   -                   -                  -                    -
         66020 · Independent Contractors                                -                   -                   -                   -                   -                  -                    -
         66030 · Postage and Delivery                                   -                   -                   -                   -                   -                  -                    -
         66800 · Rent Expense                                           -                   -                   -                   -                   -                  -                    -
         66900 · Repairs and Maintenance                                -                   -                   -                   -                   -                  -                    -
         67000 · Security                                               -                   -                   -                   -                   -                  -                    -
         67050 · Storage                                                -                   -                   -                   -                   -                  -                    -
         67100 · Telephone and Internet Expense                         -                   -                   -                   -                   -                  -                    -
         67110 · Title Searches                                         -                   -                   -                   -                   -                  -                    -
         67200 · Travel                                                 -                   -                   -                   -                   -                  -                    -
         67210 · Travel / Relocation allowance                          -                   -                   -                   -                   -                  -                    -
         67400 · Utilities                                              -                   -                   -                   -                   -                246                    -
         Total 68000 · Professional Fee Ord Course                2,625                     -                   -                   -                   -                  -                    -
         71000 · U.S. Trustee Fees                                    650                 650                 650                650                  650                650               1,300
         72000 · Prof Fees - Bankruptcy Related
             72010 · Legal - Bankruptcy                                 -                   -                   -                   -                   -                  -                    -
             72030 · Consulting - Bankruptcy                            -                   -                   -                   -                   -                  -                    -
             72050 · Creditor's Committee Fees Expen                    -                   -                   -                   -                   -                  -                    -
         Total 72000 · Prof Fees - Bankruptcy                           -                   -                   -                   -                   -                  -                    -
         72100 · DIP Loan Origination Fee                               -                   -                   -                   -                   -                  -                    -
         81140 · Board Fees                                             -                   -                   -                   -                   -                  -                    -
         83000 · Tax Expense                                          800                 800                 800                800                  800                800                  800
      Total Expense                                               4,075               1,550               1,776              1,599                1,450              1,696                 2,149
  Net Ordinary Income                                          (128,575)             (1,550)             (1,776)            (1,599)              (1,450)             (1,696)              (2,149)
  Other Income/Expense
      85100 · (Gain) / Loss loan payoff/sale                            -                   -                   -                   -                   -                  -                    -
      85101 · Refund of Pre-Petition Expense                            -                   -                   -                   -                   -                  -                    -
      85000 · Write off uncollectible rents                             -                   -                   -                   -                   -                  -                    -
      85001 · Charitable Contribution                                   -                   -                   -                   -                   -                  -                    -
  Net Other Income                                                      -                   -                   -                   -                   -                  -                    -
Net Income                                                     (128,575)             (1,550)             (1,776)            (1,599)              (1,450)             (1,696)              (2,149)




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                                                       P-106 Mt. Holly       P-107 Mutsu       P-108 Newville       P-109 Old Carbon P-110 Old Maitland    P-111 Owl Ridge       P-112 Papirovka
                                                         Invest LLC           Invest LLC         Invest LLC            Invest LLC        Invest LLC           Invest LLC            Invest LLC
                                                          17-12707            17-12719           17-12734              17-12743           17-12752            17-12763               17-12774
  Ordinary Income/Expense
      Income
         40005 · Sales Proceeds / Note Payoff                            -                 -                    -                   -                  -                   -                      -
         40010 · Rent Revenue                                            -                 -                    -                   -                  -                   -                      -
         40020 · Interest Revenue                                        -                 -                    -                   -                  -                   -                      -
         40022 · Structured Settlement Income                            -                 -                    -                   -                  -                   -                      -
         40090 · Other Revenue                                           -                 -                    -                   -                  -                   -                      -
      Total Income                                                       -                 -                    -                   -                  -                   -                      -
      Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                     -                 -                    -                   -                  -                   -                      -
             50020 · Cost of Sales Real Property                         -                 -                    -                   -                  -                   -                      -
             50030 · Closing Costs / Prorations                          -                 -                    -                   -                  -                   -                      -
             50040 · Structured Settlement Costs                         -                 -                    -                   -                  -                   -                      -
         Total 50000 · Cost of Goods Sold                                -                 -                    -                   -                  -                   -                      -
      Total COGS                                                         -                 -                    -                   -                  -                   -                      -
    Gross Profit                                                         -                 -                    -                   -                  -                   -                      -
      Expense
         60020 · Media Consulting                                        -                 -                    -                   -                  -                   -                      -
         60400 · Bank Charges                                            -                 -                    -                   -                  -                   -                      -
         60500 · Dues and Subscriptions                              277                   -                    -                   -                  -                   -                      -
         60600 · Equipment Lease                                         -                 -                    -                   -                  -                   -                      -
         61700 · Information Technology
             61701 · IT - Software                                       -                 -                    -                   -                  -                   -                      -
             61700 · Information Technology - Other                      -                 -                    -                   -                  -                   -                      -
         Total 61700 · Information Technology                            -                 -                    -                   -                  -                   -                      -
         61800 · License and Filing Fees                             149                   -                49                     49                  -                 100                      -
         61850 · Meals and Entertainment                                 -                 -                    -                   -                  -                   -                      -
         61870 · Moving                                                  -                 -                    -                   -                  -                   -                      -
         62500 · Employee Benefits                                       -                 -                    -                   -                  -                   -                      -
         63300 · Insurance                                               -                 -                    -                   -           (36,980)                   -                      -
         63400 · Interest                                                -                 -                    -                   -                  -                   -                      -
         63401 · Int Expense - BK DIP financing                          -                 -                    -                   -                  -                   -                      -
         64800 · Office Expense                                          -                 -                    -                   -                  -                   -                      -
         64900 · Office Supplies                                         -                 -                    -                   -                  -                   -                      -
         65000 · Outside Services                                        -                 -                    -                   -                  -                   -                      -
         65100 · Parking                                                 -                 -                    -                   -                  -                   -                      -
         66000 · Payroll-Salaries and Wages                              -                 -                    -                   -                  -                   -                      -
         66005 · Payroll-Service Fees                                    -                 -                    -                   -                  -                   -                      -
         66015 · Payroll-Employer Taxes                                  -                 -                    -                   -                  -                   -                      -
         66020 · Independent Contractors                                 -                 -                    -                   -                  -                   -                      -
         66030 · Postage and Delivery                                    -                 -                    -                   -                  -                   -                      -
         66800 · Rent Expense                                            -                 -                    -                   -                  -                   -                      -
         66900 · Repairs and Maintenance                                 -                 -                    -                   -                  -                   -                      -
         67000 · Security                                                -                 -                    -                   -                  -                   -                      -
         67050 · Storage                                                 -                 -                    -                   -                  -                   -                      -
         67100 · Telephone and Internet Expense                          -                 -                    -                   -                  -                   -                      -
         67110 · Title Searches                                          -                 -                    -                   -                  -                   -                      -
         67200 · Travel                                                  -                 -                    -                   -                  -                   -                      -
         67210 · Travel / Relocation allowance                           -                 -                    -                   -                  -                   -                      -
         67400 · Utilities                                               -                 -                    -                   -                  -                   -                      -
         Total 68000 · Professional Fee Ord Course                       -                 -                    -                   -            1,110                     -                      -
         71000 · U.S. Trustee Fees                                   650                 650                650                   650            2,600                   650                    650
         72000 · Prof Fees - Bankruptcy Related
             72010 · Legal - Bankruptcy                                  -                 -                    -                   -                  -                   -                      -
             72030 · Consulting - Bankruptcy                             -                 -                    -                   -                  -                   -                      -
             72050 · Creditor's Committee Fees Expen                     -                 -                    -                   -                  -                   -                      -
         Total 72000 · Prof Fees - Bankruptcy                            -                 -                    -                   -                  -                   -                      -
         72100 · DIP Loan Origination Fee                                -                 -                    -                   -                  -                   -                      -
         81140 · Board Fees                                              -                 -                    -                   -                  -                   -                      -
         83000 · Tax Expense                                         800                 800                800                   800                800                 800                    800
      Total Expense                                              1,876               1,450              1,499                 1,499             (32,470)             1,550                    1,450
  Net Ordinary Income                                           (1,876)             (1,450)             (1,499)               (1,499)           32,470              (1,550)                  (1,450)
  Other Income/Expense
      85100 · (Gain) / Loss loan payoff/sale                             -                 -                    -                   -                  -                   -                      -
      85101 · Refund of Pre-Petition Expense                             -                 -                    -                   -                  -                   -                      -
      85000 · Write off uncollectible rents                              -                 -                    -                   -                  -                   -                      -
      85001 · Charitable Contribution                                    -                 -                    -                   -                  -                   -                      -
  Net Other Income                                                       -                 -                    -                   -                  -                   -                      -
Net Income                                                      (1,876)             (1,450)             (1,499)               (1,499)           32,470              (1,550)                  (1,450)




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                                                       P-113 Pawtuckaway      P-114 Pemberley     P-115 Pemigewasset        P-116 Pennhurst     P-117 Pepperwood     P-118 Pinney
                                                           Invest LLC            Invest LLC              Invest                Invest LLC           Invest LLC        Invest LLC
                                                           17-12783              17-12790              17-12800                18-10296             17-12804          17-12808
  Ordinary Income/Expense
      Income
         40005 · Sales Proceeds / Note Payoff                             -           500,000                          -         21,500,000              800,000                    -
         40010 · Rent Revenue                                             -                   -                        -            541,050                      -                  -
         40020 · Interest Revenue                                         -                   -                        -                    -                    -                  -
         40022 · Structured Settlement Income                             -                   -                        -                    -                    -                  -
         40090 · Other Revenue                                            -                   -                        -                  279                    -                  -
      Total Income                                                        -           500,000                          -         22,041,329              800,000                    -
      Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                      -                   -                        -            137,589                      -                  -
             50020 · Cost of Sales Real Property                          -                   -                        -         19,525,561             1,011,126                   -
             50030 · Closing Costs / Prorations                           -                   -                        -            802,994               75,938                    -
             50040 · Structured Settlement Costs                          -                   -                        -                    -                    -                  -
         Total 50000 · Cost of Goods Sold                                 -                   -                        -         20,466,144             1,087,064                   -
      Total COGS                                                          -                   -                        -         20,466,144             1,087,064                   -
    Gross Profit                                                          -           500,000                          -          1,575,185              (287,064)                  -
      Expense
         60020 · Media Consulting                                         -                   -                        -                    -                    -                  -
         60400 · Bank Charges                                             -                   -                        -             10,354                      -                  -
         60500 · Dues and Subscriptions                                   -                   -                        -                    -                    -                  -
         60600 · Equipment Lease                                          -                   -                        -                    -                    -                  -
         61700 · Information Technology
             61701 · IT - Software                                        -                   -                        -                    -                    -                  -
             61700 · Information Technology - Other                       -                   -                        -                    -                    -                  -
         Total 61700 · Information Technology                             -                   -                        -                    -                    -                  -
         61800 · License and Filing Fees                                  -                  98                        -                   49                  149                  -
         61850 · Meals and Entertainment                                  -                   -                        -                    -                    -                  -
         61870 · Moving                                                   -                   -                        -                    -                    -                  -
         62500 · Employee Benefits                                        -                   -                        -                    -                    -                  -
         63300 · Insurance                                                -                   -                        -                    -                    -                  -
         63400 · Interest                                                 -                   -                        -                    -                    -                  -
         63401 · Int Expense - BK DIP financing                           -                   -                        -                    -                    -                  -
         64800 · Office Expense                                           -                   -                        -                    -                    -                  -
         64900 · Office Supplies                                          -                   -                        -                    -                    -                  -
         65000 · Outside Services                                         -                   -                        -                    -                    -                  -
         65100 · Parking                                                  -                   -                        -                    -                    -                  -
         66000 · Payroll-Salaries and Wages                               -                   -                        -                    -                    -                  -
         66005 · Payroll-Service Fees                                     -                   -                        -                    -                    -                  -
         66015 · Payroll-Employer Taxes                                   -                   -                        -                    -                    -                  -
         66020 · Independent Contractors                                  -                   -                        -                    -                    -                  -
         66030 · Postage and Delivery                                     -                   -                        -                    -                    -                  -
         66800 · Rent Expense                                             -                   -                        -                    -                    -                  -
         66900 · Repairs and Maintenance                                  -             4,300                          -             11,854                      -                  -
         67000 · Security                                                 -                   -                        -                    -                    -                  -
         67050 · Storage                                                  -                   -                        -                    -                    -                  -
         67100 · Telephone and Internet Expense                           -                   -                        -                    -                    -                  -
         67110 · Title Searches                                           -                   -                        -                    -                    -                  -
         67200 · Travel                                                   -                   -                        -                    -                    -                  -
         67210 · Travel / Relocation allowance                            -                   -                        -                    -                    -                  -
         67400 · Utilities                                                -                   -                        -                  191                    -                  -
         Total 68000 · Professional Fee Ord Course                        -                   -                        -                    -               1,635                   -
         71000 · U.S. Trustee Fees                                    9,750                 975                     650              10,412                    975            1,300
         72000 · Prof Fees - Bankruptcy Related
             72010 · Legal - Bankruptcy                                   -                   -                        -                    -                    -                  -
             72030 · Consulting - Bankruptcy                              -                   -                        -                    -                    -                  -
             72050 · Creditor's Committee Fees Expen                      -                   -                        -                    -                    -                  -
         Total 72000 · Prof Fees - Bankruptcy                             -                   -                        -                    -                    -                  -
         72100 · DIP Loan Origination Fee                                 -                   -                        -                    -                    -                  -
         81140 · Board Fees                                               -                   -                        -                    -                    -                  -
         83000 · Tax Expense                                           800                  800                     800                   800                  800               800
      Total Expense                                               10,550                6,173                     1,450              33,661                 3,559             2,100
  Net Ordinary Income                                             (10,550)            493,827                     (1,450)         1,541,525              (290,623)           (2,100)
  Other Income/Expense
      85100 · (Gain) / Loss loan payoff/sale                              -                   -                        -                    -                    -                  -
      85101 · Refund of Pre-Petition Expense                              -                   -                        -                    -                    -                  -
      85000 · Write off uncollectible rents                               -                   -                        -                    -                    -                  -
      85001 · Charitable Contribution                                     -                   -                        -                    -                    -                  -
  Net Other Income                                                        -                   -                        -                    -                    -                  -
Net Income                                                        (10,550)            493,827                     (1,450)         1,541,525              (290,623)           (2,100)




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                                                       P-119 Pinova       P-120 Quarterpost       P-121 Red Woods       P-122 Ridgecrest P-123 Riley Creek P-124 Rising Sun
                                                        Invest LLC           Invest LLC              Invest LLC            Invest LLC       Invest LLC        Invest LLC
                                                        17-12812              17-12816               17-12824              17-12821          17-12826          17-12828
  Ordinary Income/Expense
      Income
         40005 · Sales Proceeds / Note Payoff                         -           5,950,000                         -                   -                 -                 -
         40010 · Rent Revenue                                         -                      -                      -                   -                 -                 -
         40020 · Interest Revenue                                     -                      -                      -                   -                 -                 -
         40022 · Structured Settlement Income                         -                      -                      -                   -                 -                 -
         40090 · Other Revenue                                        -                      -                      -                   -                 -                 -
      Total Income                                                    -           5,950,000                         -                   -                 -                 -
      Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                  -                      -                      -                   -                 -                 -
             50020 · Cost of Sales Real Property                      -           5,225,722                         -                   -                 -                 -
             50030 · Closing Costs / Prorations                       -             336,159                         -                   -                 -                 -
             50040 · Structured Settlement Costs                      -                      -                      -                   -                 -                 -
         Total 50000 · Cost of Goods Sold                             -           5,561,880                         -                   -                 -                 -
      Total COGS                                                      -           5,561,880                         -                   -                 -                 -
    Gross Profit                                                      -             388,120                         -                   -                 -                 -
      Expense
         60020 · Media Consulting                                     -                      -                      -                   -                 -                 -
         60400 · Bank Charges                                         -                      -                      -                   -                 -                 -
         60500 · Dues and Subscriptions                               -                      -                      -                   -                 -                 -
         60600 · Equipment Lease                                      -                      -                      -                   -                 -                 -
         61700 · Information Technology
             61701 · IT - Software                                    -                      -                      -                   -                 -                 -
             61700 · Information Technology - Other                   -                      -                      -                   -                 -                 -
         Total 61700 · Information Technology                         -                      -                      -                   -                 -                 -
         61800 · License and Filing Fees                              -                   149                     49                    -                 -               49
         61850 · Meals and Entertainment                              -                      -                      -                   -                 -                 -
         61870 · Moving                                               -                      -                      -                   -                 -                 -
         62500 · Employee Benefits                                    -                      -                      -                   -                 -                 -
         63300 · Insurance                                            -                      -                      -                   -                 -                 -
         63400 · Interest                                             -                      -                      -                   -                 -                 -
         63401 · Int Expense - BK DIP financing                       -                      -                      -                   -                 -                 -
         64800 · Office Expense                                       -                      -                      -                   -                 -                 -
         64900 · Office Supplies                                      -                      -                      -                   -                 -                 -
         65000 · Outside Services                                     -                  1,920                      -                   -                 -                 -
         65100 · Parking                                              -                      -                      -                   -                 -                 -
         66000 · Payroll-Salaries and Wages                           -                      -                      -                   -                 -                 -
         66005 · Payroll-Service Fees                                 -                      -                      -                   -                 -                 -
         66015 · Payroll-Employer Taxes                               -                      -                      -                   -                 -                 -
         66020 · Independent Contractors                              -                      -                      -                   -                 -                 -
         66030 · Postage and Delivery                                 -                      -                      -                   -                 -                 -
         66800 · Rent Expense                                         -                      -                      -                   -                 -                 -
         66900 · Repairs and Maintenance                              -                      -                      -                   -                 -                 -
         67000 · Security                                             -                      -                      -                   -                 -                 -
         67050 · Storage                                              -                      -                      -                   -                 -                 -
         67100 · Telephone and Internet Expense                       -                    (10)                     -                   -                 -                 -
         67110 · Title Searches                                       -                      -                      -                   -                 -                 -
         67200 · Travel                                               -                      -                      -                   -                 -                 -
         67210 · Travel / Relocation allowance                        -                      -                      -                   -                 -                 -
         67400 · Utilities                                            -                      -                      -                   -                 -                 -
         Total 68000 · Professional Fee Ord Course                    -                  7,864                   473                    -                 -                 -
         71000 · U.S. Trustee Fees                                 650                5,200                  2,600                    650           9,750            1,625
         72000 · Prof Fees - Bankruptcy Related
             72010 · Legal - Bankruptcy                               -                      -                      -                   -                 -                 -
             72030 · Consulting - Bankruptcy                          -                      -                      -                   -                 -                 -
             72050 · Creditor's Committee Fees Expen                  -                      -                      -                   -                 -                 -
         Total 72000 · Prof Fees - Bankruptcy                         -                      -                      -                   -                 -                 -
         72100 · DIP Loan Origination Fee                             -                      -                      -                   -                 -                 -
         81140 · Board Fees                                           -                      -                      -                   -                 -                 -
         83000 · Tax Expense                                       800                    800                    800                  800               800               800
      Total Expense                                            1,450                 15,923                     3,922             1,450            10,550            2,474
  Net Ordinary Income                                          (1,450)              372,197                 (3,922)              (1,450)          (10,550)           (2,474)
  Other Income/Expense
      85100 · (Gain) / Loss loan payoff/sale                          -                      -                      -                   -                 -                 -
      85101 · Refund of Pre-Petition Expense                          -                      -                      -                   -                 -                 -
      85000 · Write off uncollectible rents                           -                      -                      -                   -                 -                 -
      85001 · Charitable Contribution                                 -                      -                      -                   -                 -                 -
  Net Other Income                                                    -                      -                      -                   -                 -                 -
Net Income                                                     (1,450)              372,197                 (3,922)              (1,450)          (10,550)           (2,474)




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                                                          P-125 Sachs    P-126 Sagebrook       P-127 Seven       P-128 Silk City         P-129 Silver      P-138 Silverthorne    P-139 Springline
                                                       Bridge Invest LLC    Invest LLC       Stars Invest LLC      Invest LLC          Maple Invest LLC        Invest LLC           Invest LLC
                                                           18-10297         17-12830            17-12832           17-12834               17-12836             17-12582             17-12585
  Ordinary Income/Expense
      Income
         40005 · Sales Proceeds / Note Payoff                  825,000                   -           250,000                       -          8,500,000                     -                    -
         40010 · Rent Revenue                                           -                -                   -                     -                   -                    -                    -
         40020 · Interest Revenue                                       -                -                   -                     -                   -                    -                    -
         40022 · Structured Settlement Income                           -                -                   -                     -                   -                    -                    -
         40090 · Other Revenue                                          -                -                   -                     -                   -                    -                    -
      Total Income                                             825,000                   -           250,000                       -          8,500,000                     -                    -
      Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                    -                -                   -                     -                   -                    -                    -
             50020 · Cost of Sales Real Property               522,321                   -           342,626                       -          7,900,432                     -                    -
             50030 · Closing Costs / Prorations                 61,745                   -            22,523                       -           398,947                      -                    -
             50040 · Structured Settlement Costs                        -                -                   -                     -                   -                    -                    -
         Total 50000 · Cost of Goods Sold                      584,066                   -           365,149                       -          8,299,379                     -                    -
      Total COGS                                               584,066                   -           365,149                       -          8,299,379                     -                    -
    Gross Profit                                               240,934                   -          (115,149)                      -           200,621                      -                    -
      Expense
         60020 · Media Consulting                                       -                -                   -                     -                   -                    -                    -
         60400 · Bank Charges                                           -                -                   -                     -                   -                    -                    -
         60500 · Dues and Subscriptions                                 -                -                   -                     -                   -                    -                    -
         60600 · Equipment Lease                                        -                -                   -                     -                   -                    -                    -
         61700 · Information Technology
             61701 · IT - Software                                      -                -                   -                     -                   -                    -                    -
             61700 · Information Technology - Other                     -                -                   -                     -                   -                    -                    -
         Total 61700 · Information Technology                           -                -                   -                     -                   -                    -                    -
         61800 · License and Filing Fees                              149              49                  149                     -                   -                  100                  149
         61850 · Meals and Entertainment                                -                -                   -                     -                   -                    -                    -
         61870 · Moving                                                 -                -                   -                     -                   -                    -                    -
         62500 · Employee Benefits                                      -                -                   -                     -                   -                    -                    -
         63300 · Insurance                                              -                -                   -                     -                   -                    -                    -
         63400 · Interest                                               -                -                   -                     -                   -                    -                    -
         63401 · Int Expense - BK DIP financing                         -                -                   -                     -                   -                    -                    -
         64800 · Office Expense                                         -                -                   -                     -                   -                    -                    -
         64900 · Office Supplies                                        -                -                   -                     -                   -                    -                    -
         65000 · Outside Services                                       -                -                   -                     -                   -                    -                    -
         65100 · Parking                                                -                -                   -                     -                   -                    -                    -
         66000 · Payroll-Salaries and Wages                             -                -                   -                     -                   -                    -                    -
         66005 · Payroll-Service Fees                                   -                -                   -                     -                   -                    -                    -
         66015 · Payroll-Employer Taxes                                 -                -                   -                     -                   -                    -                    -
         66020 · Independent Contractors                                -                -                   -                     -                   -                    -                    -
         66030 · Postage and Delivery                                   -                -                   -                     -                   -                    -                    -
         66800 · Rent Expense                                           -                -                   -                     -                   -                    -                    -
         66900 · Repairs and Maintenance                                -                -                   -                     -                   -                    -                    -
         67000 · Security                                               -                -                   -                     -                   -                    -                    -
         67050 · Storage                                                -                -                   -                     -                   -                    -                    -
         67100 · Telephone and Internet Expense                         -                -                   -                     -                   -                    -                    -
         67110 · Title Searches                                         -                -                   -                     -                   -                    -                    -
         67200 · Travel                                                 -                -                   -                     -                   -                    -                    -
         67210 · Travel / Relocation allowance                          -                -                   -                     -                   -                    -                    -
         67400 · Utilities                                              -                -                   -                     -                   -                    -                  101
         Total 68000 · Professional Fee Ord Course               4,455            10,898                   780                     -                   -                  705                  795
         71000 · U.S. Trustee Fees                               1,300                 975                 975            15,890                 6,825                    650                  650
         72000 · Prof Fees - Bankruptcy Related
             72010 · Legal - Bankruptcy                                 -                -                   -                     -                   -                    -                    -
             72030 · Consulting - Bankruptcy                            -                -                   -                     -                   -                    -                    -
             72050 · Creditor's Committee Fees Expen                    -                -                   -                     -                   -                    -                    -
         Total 72000 · Prof Fees - Bankruptcy                           -                -                   -                     -                   -                    -                    -
         72100 · DIP Loan Origination Fee                               -                -                   -                     -                   -                    -                    -
         81140 · Board Fees                                             -                -                   -                     -                   -                    -                    -
         83000 · Tax Expense                                          800              800                 800                800                    800                  800                  800
      Total Expense                                              6,704            12,722               2,704              16,690                 7,625                 2,255                2,495
  Net Ordinary Income                                          234,230           (12,722)           (117,853)            (16,690)              192,996                 (2,255)             (2,495)
  Other Income/Expense
      85100 · (Gain) / Loss loan payoff/sale                            -                -                   -                     -                   -                    -                    -
      85101 · Refund of Pre-Petition Expense                            -                -                   -                     -                   -                    -                    -
      85000 · Write off uncollectible rents                             -                -                   -                     -                   -                    -                    -
      85001 · Charitable Contribution                                   -                -                   -                     -                   -                    -                    -
  Net Other Income                                                      -                -                   -                     -                   -                    -                    -
Net Income                                                     234,230           (12,722)           (117,853)            (16,690)              192,996                 (2,255)             (2,495)




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                                                       P-140 Springvale    P-141 Squaretop     P-142 Stayman       P-143 Steele Hill   P-144 Stepstone     P-145 Strawberry        P-146 Sturmer
                                                          Invest LLC          Invest LLC         Invest LLC           Invest LLC          Invest LLC         Fields Invest        Pippin Invest LLC
                                                          17-12585            17-12589           17-12594             17-12598            17-12606            17-12613                17-12629
  Ordinary Income/Expense
      Income
         40005 · Sales Proceeds / Note Payoff                          -                   -                   -            165,000                    -                      -                    -
         40010 · Rent Revenue                                          -                   -                   -                   -                   -                      -                    -
         40020 · Interest Revenue                                      -                   -                   -                   -                   -                      -                    -
         40022 · Structured Settlement Income                          -                   -                   -                   -                   -                      -                    -
         40090 · Other Revenue                                         -                   -                   -                   -                   -                      -                    -
      Total Income                                                     -                   -                   -            165,000                    -                      -                    -
      Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                   -                   -                   -                   -                   -                      -                    -
             50020 · Cost of Sales Real Property                       -                   -                   -            144,388                    -                      -                    -
             50030 · Closing Costs / Prorations                        -                   -                   -             13,623                    -                      -                    -
             50040 · Structured Settlement Costs                       -                   -                   -                   -                   -                      -                    -
         Total 50000 · Cost of Goods Sold                              -                   -                   -            158,011                    -                      -                    -
      Total COGS                                                       -                   -                   -            158,011                    -                      -                    -
    Gross Profit                                                       -                   -                   -              6,989                    -                      -                    -
      Expense
         60020 · Media Consulting                                      -                   -                   -                   -                   -                      -                    -
         60400 · Bank Charges                                          -                   -                   -                   -                   -                      -                    -
         60500 · Dues and Subscriptions                          6,094                     -                   -                   -                   -                      -                    -
         60600 · Equipment Lease                                       -                   -                   -                   -                   -                      -                    -
         61700 · Information Technology
             61701 · IT - Software                                     -                   -                   -                   -                   -                      -                    -
             61700 · Information Technology - Other                    -                   -                   -                   -                   -                      -                    -
         Total 61700 · Information Technology                          -                   -                   -                   -                   -                      -                    -
         61800 · License and Filing Fees                              49                   -                   -                  49                 149                      -              9,164
         61850 · Meals and Entertainment                               -                   -                   -                   -                   -                      -                    -
         61870 · Moving                                                -                   -                   -                   -                   -                      -                    -
         62500 · Employee Benefits                                     -                   -                   -                   -                   -                      -                    -
         63300 · Insurance                                             -                   -                   -                   -                   -                      -                    -
         63400 · Interest                                              -                   -                   -                   -                   -                      -                    -
         63401 · Int Expense - BK DIP financing                        -                   -                   -                   -                   -                      -                    -
         64800 · Office Expense                                        -                   -                   -                   -                   -                      -                    -
         64900 · Office Supplies                                       -                   -                   -                   -                   -                      -                    -
         65000 · Outside Services                                      -                   -                   -                   -                   -                      -                    -
         65100 · Parking                                               -                   -                   -                   -                   -                      -                    -
         66000 · Payroll-Salaries and Wages                            -                   -                   -                   -                   -                      -                    -
         66005 · Payroll-Service Fees                                  -                   -                   -                   -                   -                      -                    -
         66015 · Payroll-Employer Taxes                                -                   -                   -                   -                   -                      -                    -
         66020 · Independent Contractors                               -                   -                   -                   -                   -                      -                    -
         66030 · Postage and Delivery                                  -                   -                   -                   -                   -                      -                    -
         66800 · Rent Expense                                          -                   -                   -                   -                   -                      -                    -
         66900 · Repairs and Maintenance                               -                   -                   -                   -                   -                      -                  280
         67000 · Security                                              -                   -                   -                   -                   -                      -                    -
         67050 · Storage                                               -                   -                   -                   -                   -                      -                    -
         67100 · Telephone and Internet Expense                        -                   -                   -                   -                   -                      -                    -
         67110 · Title Searches                                        -                   -                   -                   -                   -                      -                    -
         67200 · Travel                                                -                   -                   -                   -                   -                      -                    -
         67210 · Travel / Relocation allowance                         -                   -                   -                   -                   -                      -                    -
         67400 · Utilities                                             -                   -                   -                   -                   -                      -                    -
         Total 68000 · Professional Fee Ord Course                     -                   -                   -                 75                    -                      -                    -
         71000 · U.S. Trustee Fees                               1,300              28,168                  650                  975                 650                 650                 5,850
         72000 · Prof Fees - Bankruptcy Related
             72010 · Legal - Bankruptcy                                -                   -                   -                   -                   -                      -                    -
             72030 · Consulting - Bankruptcy                           -                   -                   -                   -                   -                      -                    -
             72050 · Creditor's Committee Fees Expen                   -                   -                   -                   -                   -                      -                    -
         Total 72000 · Prof Fees - Bankruptcy                          -                   -                   -                   -                   -                      -                    -
         72100 · DIP Loan Origination Fee                              -                   -                   -                   -                   -                      -                    -
         81140 · Board Fees                                            -                   -                   -                   -                   -                      -                    -
         83000 · Tax Expense                                         800                 800                800                  800                 800                 800                     800
      Total Expense                                              8,243              28,968              1,450                 1,899              1,599                1,450                 16,094
  Net Ordinary Income                                            (8,243)           (28,968)            (1,450)                5,090             (1,599)               (1,450)              (16,094)
  Other Income/Expense
      85100 · (Gain) / Loss loan payoff/sale                           -                   -                   -                   -                   -                      -                    -
      85101 · Refund of Pre-Petition Expense                           -                   -                   -                   -                   -                      -                    -
      85000 · Write off uncollectible rents                            -                   -                   -                   -                   -                      -                    -
      85001 · Charitable Contribution                                  -                   -                   -                   -                   -                      -                    -
  Net Other Income                                                     -                   -                   -                   -                   -                      -                    -
Net Income                                                       (8,243)           (28,968)            (1,450)                5,090             (1,599)               (1,450)              (16,094)




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                                                       P-147 Summerfree     P-150 Thornbury      P-152 Thunder      P-155 Vallecito       P-156 Varga       P-157 Wetterhorn     P-158 White Birch
                                                           Invest LLC       Farm Invest LLC     Basin Invest LLC      Invest LLC          Invest LLC           Invest LLC           Invest LLC
                                                           17-12635            17-12651            17-12657           17-12675             17-12685            17-12693              17-12702
  Ordinary Income/Expense
      Income
         40005 · Sales Proceeds / Note Payoff                           -                   -                   -                     -                 -                   -                     -
         40010 · Rent Revenue                                           -                   -                   -                     -                 -                   -                     -
         40020 · Interest Revenue                                       -                   -                   -                     -                 -                   -                     -
         40022 · Structured Settlement Income                           -                   -                   -                     -                 -                   -                     -
         40090 · Other Revenue                                          -                   -                   -                     -                 -                   -                     -
      Total Income                                                      -                   -                   -                     -                 -                   -                     -
      Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                    -                   -                   -                     -                 -                   -                     -
             50020 · Cost of Sales Real Property                        -                   -                   -                     -                 -                   -                     -
             50030 · Closing Costs / Prorations                         -                   -                   -                     -                 -                   -                     -
             50040 · Structured Settlement Costs                        -                   -                   -                     -                 -                   -                     -
         Total 50000 · Cost of Goods Sold                               -                   -                   -                     -                 -                   -                     -
      Total COGS                                                        -                   -                   -                     -                 -                   -                     -
    Gross Profit                                                        -                   -                   -                     -                 -                   -                     -
      Expense
         60020 · Media Consulting                                       -                   -                   -                     -                 -                   -                     -
         60400 · Bank Charges                                           -                   -                   -                     -                 -                   -                     -
         60500 · Dues and Subscriptions                                 -                   -                   -                     -                 -                   -                     -
         60600 · Equipment Lease                                        -                   -                   -                     -                 -                   -                     -
         61700 · Information Technology
             61701 · IT - Software                                      -                   -                   -                     -                 -                   -                     -
             61700 · Information Technology - Other                     -                   -                   -                     -                 -                   -                     -
         Total 61700 · Information Technology                           -                   -                   -                     -                 -                   -                     -
         61800 · License and Filing Fees                                -                 49                   49                100                    -                 100                     -
         61850 · Meals and Entertainment                                -                   -                   -                     -                 -                   -                     -
         61870 · Moving                                                 -                   -                   -                     -                 -                   -                     -
         62500 · Employee Benefits                                      -                   -                   -                     -                 -                   -                     -
         63300 · Insurance                                              -                   -                   -                     -                 -                   -                     -
         63400 · Interest                                               -                   -                   -                     -                 -                   -                     -
         63401 · Int Expense - BK DIP financing                         -                   -                   -                     -                 -                   -                     -
         64800 · Office Expense                                         -                   -                   -                     -                 -                   -                     -
         64900 · Office Supplies                                        -                   -                   -                     -                 -                   -                     -
         65000 · Outside Services                                       -                   -                   -                     -                 -                   -                     -
         65100 · Parking                                                -                   -                   -                     -                 -                   -                     -
         66000 · Payroll-Salaries and Wages                             -                   -                   -                     -                 -                   -                     -
         66005 · Payroll-Service Fees                                   -                   -                   -                     -                 -                   -                     -
         66015 · Payroll-Employer Taxes                                 -                   -                   -                     -                 -                   -                     -
         66020 · Independent Contractors                                -                   -                   -                     -                 -                   -                     -
         66030 · Postage and Delivery                                   -                   -                   -                     -                 -                   -                     -
         66800 · Rent Expense                                           -                   -                   -                     -                 -                   -                     -
         66900 · Repairs and Maintenance                                -                   -                   -                     -                 -                   -                     -
         67000 · Security                                               -                   -                   -                     -                 -                   -                     -
         67050 · Storage                                                -                   -                   -                     -                 -                   -                     -
         67100 · Telephone and Internet Expense                         -                   -                   -                     -                 -                   -                     -
         67110 · Title Searches                                         -                   -                   -                     -                 -                   -                     -
         67200 · Travel                                                 -                   -                   -                     -                 -                   -                     -
         67210 · Travel / Relocation allowance                          -                   -                   -                     -                 -                   -                     -
         67400 · Utilities                                            421                   -                   -                     -                 -                   -                     -
         Total 68000 · Professional Fee Ord Course                    70                    -                   -                     -                 -                   -                     -
         71000 · U.S. Trustee Fees                               17,241               2,600                   650                650              9,750                   650               9,750
         72000 · Prof Fees - Bankruptcy Related
             72010 · Legal - Bankruptcy                                 -                   -                   -                     -                 -                   -                     -
             72030 · Consulting - Bankruptcy                            -                   -                   -                     -                 -                   -                     -
             72050 · Creditor's Committee Fees Expen                    -                   -                   -                     -                 -                   -                     -
         Total 72000 · Prof Fees - Bankruptcy                           -                   -                   -                     -                 -                   -                     -
         72100 · DIP Loan Origination Fee                               -                   -                   -                     -                 -                   -                     -
         81140 · Board Fees                                             -                   -                   -                     -                 -                   -                     -
         83000 · Tax Expense                                          800                 800                 800                800                  800                 800                   800
      Total Expense                                              18,532               3,449               1,499               1,550              10,550                1,550               10,550
  Net Ordinary Income                                           (18,532)             (3,449)              (1,499)            (1,550)            (10,550)               (1,550)            (10,550)
  Other Income/Expense
      85100 · (Gain) / Loss loan payoff/sale                            -                   -                   -                     -                 -                   -                     -
      85101 · Refund of Pre-Petition Expense                            -                   -                   -                     -                 -                   -                     -
      85000 · Write off uncollectible rents                             -                   -                   -                     -                 -                   -                     -
      85001 · Charitable Contribution                                   -                   -                   -                     -                 -                   -                     -
  Net Other Income                                                      -                   -                   -                     -                 -                   -                     -
Net Income                                                      (18,532)             (3,449)              (1,499)            (1,550)            (10,550)               (1,550)            (10,550)




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                                                         P-159 White       P-164 Wildernest   P-165 Willow        P-166 Winding       P-167 Zestar       P-187 695 Buggy      P-188 Deerfield
                                                       Dome Invest LLC        Invest LLC    Grove Invest LLC       Road Invest         Invest LLC           Circle, LLC       Park Invest LLC
                                                          17-12709            17-12723          17-12732            17-12739           17-12792             18-10670              18-10673
  Ordinary Income/Expense
      Income
         40005 · Sales Proceeds / Note Payoff                          -                   -                 -                    -                  -         1,800,000             8,735,000
         40010 · Rent Revenue                                          -                   -          3,000                       -                  -                   -                     -
         40020 · Interest Revenue                                      -                   -                 -                    -                  -                  21                     -
         40022 · Structured Settlement Income                          -                   -                 -                    -                  -                   -                     -
         40090 · Other Revenue                                         -                   -                 -                    -                  -                   -                     -
      Total Income                                                     -                   -          3,000                       -                  -         1,800,021             8,735,000
      Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                   -                   -                 -                    -                  -                   8                     -
             50020 · Cost of Sales Real Property                       -                   -                 -                    -                  -         1,636,389             6,694,877
             50030 · Closing Costs / Prorations                        -                   -                 -                    -                  -           134,682               505,830
             50040 · Structured Settlement Costs                       -                   -                 -                    -                  -                   -                     -
         Total 50000 · Cost of Goods Sold                              -                   -                 -                    -                  -         1,771,079             7,200,707
      Total COGS                                                       -                   -                 -                    -                  -         1,771,079             7,200,707
    Gross Profit                                                       -                   -          3,000                       -                  -            28,942             1,534,293
      Expense
         60020 · Media Consulting                                      -                   -                 -                    -                  -                   -                     -
         60400 · Bank Charges                                          -                   -                 -                    -                  -                  8                      -
         60500 · Dues and Subscriptions                                -                   -                 -                    -                  -                   -                     -
         60600 · Equipment Lease                                       -                   -                 -                    -                  -                   -                     -
         61700 · Information Technology
             61701 · IT - Software                                     -                   -                 -                    -                  -                   -                     -
             61700 · Information Technology - Other                    -                   -                 -                    -                  -                   -                     -
         Total 61700 · Information Technology                          -                   -                 -                    -                  -                   -                     -
         61800 · License and Filing Fees                               -                 100               49                  679                   -                   -                     -
         61850 · Meals and Entertainment                               -                   -                 -                    -                  -                   -                     -
         61870 · Moving                                                -                   -                 -                    -                  -                   -                     -
         62500 · Employee Benefits                                     -                   -                 -                    -                  -                   -                     -
         63300 · Insurance                                             -                   -                 -                    -                  -              (668)                      -
         63400 · Interest                                              -                   -                 -           520,000                     -                   -                     -
         63401 · Int Expense - BK DIP financing                        -                   -                 -                    -                  -                   -                     -
         64800 · Office Expense                                        -                   -                 -                    -                  -                   -                     -
         64900 · Office Supplies                                       -                   -                 -                    -                  -                   -                     -
         65000 · Outside Services                                      -                   -                 -                    -                  -                   -                   125
         65100 · Parking                                               -                   -                 -                    -                  -                   -                     -
         66000 · Payroll-Salaries and Wages                            -                   -                 -                    -                  -                   -                     -
         66005 · Payroll-Service Fees                                  -                   -                 -                    -                  -                   -                     -
         66015 · Payroll-Employer Taxes                                -                   -                 -                    -                  -                   -                     -
         66020 · Independent Contractors                               -                   -                 -                    -                  -                   -                     -
         66030 · Postage and Delivery                                  -                   -                 -                    -                  -                   -                     -
         66800 · Rent Expense                                          -                   -                 -                    -                  -                   -                     -
         66900 · Repairs and Maintenance                               -                   -                 -                    -                  -                   -                     -
         67000 · Security                                              -                   -                 -                    -                  -                   -                     -
         67050 · Storage                                               -                   -                 -                    -                  -                   -                     -
         67100 · Telephone and Internet Expense                        -                   -                 -                    -                  -                   -                     -
         67110 · Title Searches                                        -                   -                 -                    -                  -                   -                     -
         67200 · Travel                                                -                   -                 -                    -                  -                   -                     -
         67210 · Travel / Relocation allowance                         -                   -                 -                    -                  -                   -                     -
         67400 · Utilities                                             -                   -               (68)                   -                  -                   -                   244
         Total 68000 · Professional Fee Ord Course                     -             1,045                   -                    -                  -             3,828                  5,001
         71000 · U.S. Trustee Fees                                   650                 650          1,300               31,023              9,750                    650                   650
         72000 · Prof Fees - Bankruptcy Related
             72010 · Legal - Bankruptcy                                -                   -                 -                    -                  -                   -                     -
             72030 · Consulting - Bankruptcy                           -                   -                 -                    -                  -                   -                     -
             72050 · Creditor's Committee Fees Expen                   -                   -                 -                    -                  -                   -                     -
         Total 72000 · Prof Fees - Bankruptcy                          -                   -                 -                    -                  -                   -                     -
         72100 · DIP Loan Origination Fee                              -                   -                 -                    -                  -                   -                     -
         81140 · Board Fees                                            -                   -                 -                    -                  -                   -                     -
         83000 · Tax Expense                                         800                 800               800                 800                800              1,600                     800
      Total Expense                                              1,450               2,595            2,081              552,502             10,550                5,418                  6,820
  Net Ordinary Income                                           (1,450)             (2,595)                919          (552,502)            (10,550)             23,524             1,527,473
  Other Income/Expense
      85100 · (Gain) / Loss loan payoff/sale                           -                   -                 -                    -                  -                   -                     -
      85101 · Refund of Pre-Petition Expense                           -                   -          2,578                       -                  -                 668                     -
      85000 · Write off uncollectible rents                            -                   -                 -                    -                  -           102,745                       -
      85001 · Charitable Contribution                                  -                   -                 -                    -                  -                   -                     -
  Net Other Income                                                     -                   -          2,578                       -                  -          (102,077)                      -
Net Income                                                      (1,450)             (2,595)           3,497             (552,502)            (10,550)            (78,553)            1,527,473




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DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through June 30, 2018

                                                       P-207 Frog Rock     P-048 Crossbeam     P-287 Kirkstead     Silverleaf Funding    Summit Cut           Topchord
                                                         Investments          Invest LLC       Inves Huron St.             LLC        Investments LLC     Investments LLC            WCBL 1
                                                          18-10733            17-12650            18-10675             17-12837          17-12640            17-12664               17-12754
  Ordinary Income/Expense
      Income
         40005 · Sales Proceeds / Note Payoff                          -                   -           650,671               30,000                   -                   -                      -
         40010 · Rent Revenue                                        271                   -                   -                    -                 -             5,400                        -
         40020 · Interest Revenue                                      -                   -                   -                    -                 -              (182)                       -
         40022 · Structured Settlement Income                          -                   -                   -                    -                 -                   -                      -
         40090 · Other Revenue                                         -                   -                   -                    -                 -                   -                      -
      Total Income                                                   271                   -           650,671               30,000                   -             5,218                        -
      Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations             4,348                     -                   -                    -                 -             2,139                        -
             50020 · Cost of Sales Real Property                (1,742)                    -                   -            160,174                   -                   -                      -
             50030 · Closing Costs / Prorations                        -                   -                   -              6,596                   -                   -                      -
             50040 · Structured Settlement Costs                       -                   -                   -                    -                 -                   -                      -
         Total 50000 · Cost of Goods Sold                        2,606                     -                   -            166,770                   -             2,139                        -
      Total COGS                                                 2,606                     -                   -            166,770                   -             2,139                        -
    Gross Profit                                                (2,335)                    -           650,671             (136,770)                  -             3,079                        -
      Expense
         60020 · Media Consulting                                      -                   -                   -                    -                 -                   -                      -
         60400 · Bank Charges                                          3                   -                   -                    -                 -                   8                      -
         60500 · Dues and Subscriptions                                -                   -                   -                    -                 -                   -                      -
         60600 · Equipment Lease                                       -                   -                   -                    -                 -                   -                      -
         61700 · Information Technology
             61701 · IT - Software                                     -                   -                   -                    -                 -                   -                      -
             61700 · Information Technology - Other                    -                   -                   -                    -                 -                   -                      -
         Total 61700 · Information Technology                          -                   -                   -                    -                 -                   -                      -
         61800 · License and Filing Fees                               -                 149                  49                    -                 -                 149                      -
         61850 · Meals and Entertainment                               -                   -                   -                    -                 -                   -                      -
         61870 · Moving                                                -                   -                   -                    -                 -                   -                      -
         62500 · Employee Benefits                                     -                   -                   -                    -                 -                   -                      -
         63300 · Insurance                                             -                   -                   -                    -                 -                   -                      -
         63400 · Interest                                              -                   -                   -                    -                 -                   -                      -
         63401 · Int Expense - BK DIP financing                        -                   -                   -                    -                 -                   -                      -
         64800 · Office Expense                                        -                   -                   -                    -                 -                   -                      -
         64900 · Office Supplies                                       -                   -                   -                    -                 -                   -                      -
         65000 · Outside Services                                      -                   -                   -                    -                 -                   -                      -
         65100 · Parking                                               -                   -                   -                    -                 -                   -                      -
         66000 · Payroll-Salaries and Wages                            -                   -                   -                    -                 -                   -                      -
         66005 · Payroll-Service Fees                                  -                   -                   -                    -                 -                   -                      -
         66015 · Payroll-Employer Taxes                                -                   -                   -                    -                 -                   -                      -
         66020 · Independent Contractors                               -                   -                   -                    -                 -                   -                      -
         66030 · Postage and Delivery                                  -                   -                   -                    -                 -                   -                      -
         66800 · Rent Expense                                          -                   -                   -                    -                 -                   -                      -
         66900 · Repairs and Maintenance                               -                   -                   -                    -                 -             1,175                        -
         67000 · Security                                              -                   -                   -                   35                 -                   -                      -
         67050 · Storage                                               -                   -                   -                    -                 -                   -                      -
         67100 · Telephone and Internet Expense                        -                   -                   -                    -                 -                   -                      -
         67110 · Title Searches                                        -                   -                   -                    -                 -                   -                      -
         67200 · Travel                                                -                   -                   -                    -                 -                   -                      -
         67210 · Travel / Relocation allowance                         -                   -                   -                    -                 -                   -                      -
         67400 · Utilities                                        (420)                    -                   -                  216                 -                   -                      -
         Total 68000 · Professional Fee Ord Course                     -                   -                   -                    -                 -                   -                      -
         71000 · U.S. Trustee Fees                                   650                 650                 650                  975          9,750                1,300                      650
         72000 · Prof Fees - Bankruptcy Related
             72010 · Legal - Bankruptcy                                -                   -                   -                    -                 -                   -                      -
             72030 · Consulting - Bankruptcy                           -                   -                   -                    -                 -                   -                      -
             72050 · Creditor's Committee Fees Expen                   -                   -                   -                    -                 -                   -                      -
         Total 72000 · Prof Fees - Bankruptcy                          -                   -                   -                    -                 -                   -                      -
         72100 · DIP Loan Origination Fee                              -                   -                   -                    -                 -                   -                      -
         81140 · Board Fees                                            -                   -                   -                    -                 -                   -                      -
         83000 · Tax Expense                                           -                 800                   -                    -               800                 800                    800
      Total Expense                                                  233             1,599                   699              1,226           10,550                3,432                    1,450
  Net Ordinary Income                                           (2,568)              (1,599)           649,972             (137,996)          (10,550)               (352)                  (1,450)
  Other Income/Expense
      85100 · (Gain) / Loss loan payoff/sale                           -                   -                   -                    -                 -                   -                      -
      85101 · Refund of Pre-Petition Expense                     1,120                     -                   -                    -                 -                   -                      -
      85000 · Write off uncollectible rents                            -                   -                   -                    -                 -                   -                      -
      85001 · Charitable Contribution                                  -                   -                   -                    -                 -                   -                      -
  Net Other Income                                               1,120                     -                   -                    -                 -                   -                      -
Net Income                                                      (1,448)              (1,599)           649,972             (137,996)          (10,550)               (352)                  (1,450)




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DIP Woodbridge Group of Companies, LLC
Profit & Loss by Debtor
December 4, 2017 through June 30, 2018

                                                                         Whiteacre
                                                       WCBL 2           Funding LLC       WMIF 1           WMIF 2           WMIF 3           WMIF 3a                WMIF 4
                                                       17-12758          17-12713         17-12768         17-12772         17-12776         17-12780              17-12784
  Ordinary Income/Expense
      Income
         40005 · Sales Proceeds / Note Payoff                       -                 -                -                -                -                -                     -
         40010 · Rent Revenue                                       -          94,815           3,795                   -                -                -               27,574
         40020 · Interest Revenue                                   -          22,000          45,051            7,500           16,177                   -                3,355
         40022 · Structured Settlement Income                       -                 -                -                -                -                -                     -
         40090 · Other Revenue                                      -                 -              300                -                -                -                     -
      Total Income                                                  -         116,815          49,146            7,500           16,177                   -               30,929
      Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations                -          22,519                  -                -                -                -                     -
             50020 · Cost of Sales Real Property                    -                 -                -                -                -                -                     -
             50030 · Closing Costs / Prorations                     -                 -                -                -                -                -                     -
             50040 · Structured Settlement Costs                    -                 -                -                -                -                -                     -
         Total 50000 · Cost of Goods Sold                           -          22,519                  -                -                -                -                     -
      Total COGS                                                    -          22,519                  -                -                -                -                     -
    Gross Profit                                                    -          94,296          49,146            7,500           16,177                   -               30,929
      Expense
         60020 · Media Consulting                                   -                 -                -                -                -                -                     -
         60400 · Bank Charges                                       -                 -                -                -                -                -                     -
         60500 · Dues and Subscriptions                             -                 -                -                -                -                -                     -
         60600 · Equipment Lease                                    -                 -                -                -                -                -                     -
         61700 · Information Technology
             61701 · IT - Software                                  -                 -                -                -                -                -                     -
             61700 · Information Technology - Other                 -                 -                -                -                -                -                     -
         Total 61700 · Information Technology                       -                 -                -                -                -                -                     -
         61800 · License and Filing Fees                            -                49                -                -                -                -                   100
         61850 · Meals and Entertainment                            -                 -                -                -                -                -                     -
         61870 · Moving                                             -                 -                -                -                -                -                     -
         62500 · Employee Benefits                                  -                 -                -                -                -                -                     -
         63300 · Insurance                                          -           4,342                  -                -                -                -                     -
         63400 · Interest                                           -                 -                -                -                -                -                     -
         63401 · Int Expense - BK DIP financing                     -                 -                -                -                -                -                     -
         64800 · Office Expense                                     -                 -                -                -                -                -                     -
         64900 · Office Supplies                                    -                 -                -                -                -                -                     -
         65000 · Outside Services                                   -                 -                -                -                -                -                     -
         65100 · Parking                                            -                 -                -                -                -                -                     -
         66000 · Payroll-Salaries and Wages                         -                 -                -                -                -                -                     -
         66005 · Payroll-Service Fees                               -                 -                -                -                -                -                     -
         66015 · Payroll-Employer Taxes                             -                 -                -                -                -                -                     -
         66020 · Independent Contractors                            -                 -                -                -                -                -                     -
         66030 · Postage and Delivery                               -                 -                -                -                -                -                     -
         66800 · Rent Expense                                       -                 -                -                -                -                -                     -
         66900 · Repairs and Maintenance                            -                 -                -                -                -                -                     -
         67000 · Security                                           -               375                -                -                -                -                     -
         67050 · Storage                                            -                 -                -                -                -                -                     -
         67100 · Telephone and Internet Expense                     -                 -                -                -                -                -                     -
         67110 · Title Searches                                     -                 -         1,880                   -                -                -                     -
         67200 · Travel                                             -                 -                -                -                -                -                     -
         67210 · Travel / Relocation allowance                      -                 -                -                -                -                -                     -
         67400 · Utilities                                          -           5,890                  -                -                -                -                     -
         Total 68000 · Professional Fee Ord Course                  -          37,665           1,364            4,798                   -                -                1,383
         71000 · U.S. Trustee Fees                                650           2,275           2,275                 650              650              325                   650
         72000 · Prof Fees - Bankruptcy Related
             72010 · Legal - Bankruptcy                             -                 -                -                -                -                -                     -
             72030 · Consulting - Bankruptcy                        -                 -                -                -                -                -                     -
             72050 · Creditor's Committee Fees Expen                -                 -                -                -                -                -                     -
         Total 72000 · Prof Fees - Bankruptcy                       -                 -                -                -                -                -                     -
         72100 · DIP Loan Origination Fee                           -                 -                -                -                -                -                     -
         81140 · Board Fees                                         -                 -                -                -                -                -                     -
         83000 · Tax Expense                                      800          11,584           3,426                 800              800              800                   800
      Total Expense                                          1,450             62,180           8,945            6,248            1,450            1,125                   2,933
  Net Ordinary Income                                        (1,450)           32,116          40,202            1,253           14,727            (1,125)                27,996
  Other Income/Expense
      85100 · (Gain) / Loss loan payoff/sale                        -                 -                -                -        (13,710)         (26,745)                (6,168)
      85101 · Refund of Pre-Petition Expense                        -           3,132                  -                -                -                -                     -
      85000 · Write off uncollectible rents                         -                 -                -                -                -                -                     -
      85001 · Charitable Contribution                               -                 -                -                -                -                -                     -
  Net Other Income                                                  -           3,132                  -                -        (13,710)         (26,745)                (6,168)
Net Income                                                   (1,450)           35,248          40,202            1,253            1,017           (27,870)                21,828




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DIP Woodbridge Group of Companies, LLC                      7:18 AM

Profit & Loss by Debtor                                   08/05/2018
December 4, 2017 through June 30, 2018                 Accrual Basis



                                                       TOTAL


  Ordinary Income/Expense
      Income
         40005 · Sales Proceeds / Note Payoff          93,820,284
         40010 · Rent Revenue                            1,285,505
         40020 · Interest Revenue                          142,473
         40022 · Structured Settlement Income               84,075
         40090 · Other Revenue                             334,278
      Total Income                                     95,666,615
      Cost of Goods Sold
         50000 · Cost of Goods Sold
             50010 · Rental Property Cost Operations       283,780
             50020 · Cost of Sales Real Property       83,293,944
             50030 · Closing Costs / Prorations          5,124,175
             50040 · Structured Settlement Costs             1,232
         Total 50000 · Cost of Goods Sold              88,703,131
      Total COGS                                       88,703,131
    Gross Profit                                         6,963,484
      Expense
         60020 · Media Consulting                          333,170
         60400 · Bank Charges                               18,561
         60500 · Dues and Subscriptions                     13,859
         60600 · Equipment Lease                             1,520
         61700 · Information Technology
             61701 · IT - Software                          22,857
             61700 · Information Technology - Other        262,920
         Total 61700 · Information Technology              285,778
         61800 · License and Filing Fees                    26,696
         61850 · Meals and Entertainment                     1,344
         61870 · Moving                                     18,096
         62500 · Employee Benefits                         179,099
         63300 · Insurance                                  86,800
         63400 · Interest                                2,202,596
         63401 · Int Expense - BK DIP financing          2,375,009
         64800 · Office Expense                             82,304
         64900 · Office Supplies                            17,630
         65000 · Outside Services                           31,117
         65100 · Parking                                    39,322
         66000 · Payroll-Salaries and Wages              4,230,994
         66005 · Payroll-Service Fees                        5,570
         66015 · Payroll-Employer Taxes                    355,369
         66020 · Independent Contractors                     6,000
         66030 · Postage and Delivery                       25,883
         66800 · Rent Expense                              432,889
         66900 · Repairs and Maintenance                    62,827
         67000 · Security                                    3,101
         67050 · Storage                                     7,201
         67100 · Telephone and Internet Expense             63,079
         67110 · Title Searches                             80,370
         67200 · Travel                                     36,453
         67210 · Travel / Relocation allowance              70,240
         67400 · Utilities                                  23,136
         Total 68000 · Professional Fee Ord Course       1,189,543
         71000 · U.S. Trustee Fees                       1,592,787
         72000 · Prof Fees - Bankruptcy Related
             72010 · Legal - Bankruptcy                20,195,064
             72030 · Consulting - Bankruptcy           11,284,531
             72050 · Creditor's Committee Fees Expen        23,881
         Total 72000 · Prof Fees - Bankruptcy          31,503,476
         72100 · DIP Loan Origination Fee                1,500,000
         81140 · Board Fees                                522,059
         83000 · Tax Expense                               390,839
      Total Expense                                    47,814,716
  Net Ordinary Income                                  (40,851,232)
  Other Income/Expense
      85100 · (Gain) / Loss loan payoff/sale               (46,623)
      85101 · Refund of Pre-Petition Expense                40,840
      85000 · Write off uncollectible rents                103,595
      85001 · Charitable Contribution                          250
  Net Other Income                                        (109,629)
Net Income                                             (40,960,860)




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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of June 30, 218

                                                                                 1. Woodbridge         Bellflower Funding           Brise Soleil           Carbondale Glen
                                                               Debtor: Notes       Group LLC                   LLC               Investments LLC           Sweetgrass LLC          Holding Companies

                                                             Case No.:   1.         17-12560                18-10507                17-12762                   17-12564                 Various




                                                                               1. Woodbridge Group       Total Bellflower        Total Brise Soleil       Total Carbondale Glen
                                                                                      LLC                 Funding LLC            Investments LLC             Sweetgrass LLC        Holding Companies

ASSETS
   Current Assets
         Checking/Savings
             Total 10000 · Cash                                                         37,516,159                           -                        -                       -                        -
         Total Checking/Savings                                          2.             37,516,159                           -                        -                       -                        -
         Other Current Assets
             11500 · Vendor Deposits                                                        23,046                           -                        -                       -                        -
             11510 · Property Manager Advance                                                      -                         -                        -                       -                        -
             14010 · Due From Shapiro
             14020 · Prepaid Expenses                                                          7,500                         -                        -                       -                        -
             14025 · Professional Retainers                                                254,801                           -                        -                       -                        -
         Total Other Current Assets                                                        285,347                           -                        -                       -                        -
   Total Current Assets                                                                 37,801,506                           -                        -                       -                        -
   Fixed Assets
         15000 · Furniture and Equipment
             15110 · Office Equipment                                                          9,638                         -                        -                       -                        -
         Total 15000 · Furniture and Equipment                                                 9,638                         -                        -                       -                        -
   Total Fixed Assets                                                                          9,638                         -                        -                       -                        -
   Other Assets
         18000 · Property / Loan Investment                              3.                        -              1,200,000                  195,000                   160,000                         -
         18050 · Property proceeds/notepayoff                                                      -               (509,534)                          -              (1,362,759)                       -
         18100 · Pre-Pet Capitalized Improvement                                                   -                    132                   11,310                  1,181,525                        -
         18200 · Post Pet Capitalized Improvemen                         4.
             18210 · Post-Petition Construction                                                2,382                   1,023                    1,043                         -                        -
             18230 · Post-Pet Property Taxes                                                       -                 47,993                     2,658                     7,455                        -
             18240 · Post-Pet Insurance                                                        7,536                 18,574                      253                      5,454                        -
             18250 · Post-Pet Interest                                                             -                         -                        -                       -                        -
             18260 · Post-Pet Utilities Costs                                                   203                     878                           -                   1,830                        -
             18270 · Post-Pet Other Costs                                                        60                    9,557                    3,366                     6,495                        -
             18280 · Rental Property major improvements
         Total 18200 · Post Pet Capitalized Improvemen                   4.                 10,181                   78,024                     7,319                   21,234                         -
         18300 · Structured Settlements                                  5.                    1,893                         -                        -                       -                        -
   Total Other Assets                                                                       12,074                  768,622                  213,629                          -                        -
TOTAL ASSETS                                                                            37,823,218                  768,622                  213,629                          -                        -

LIABILITIES & EQUITY
   Liabilities
         Current Liabilities
             Accounts Payable
                  20000 · Accounts Payable                               6.             13,612,606                      650                      325                       650                    44,574
             Total Accounts Payable                                                     13,612,606                      650                      325                       650                    44,574
             Other Current Liabilities
                  20110 · Pre-Petition AP Scheduled                                     11,578,057                           -                        -                    479                         -
                  20115 · Misc Current LIability/Payable                                           -                         -                        -                       -                        -
                  20120 · Tenant Deposit & Prepaid Rent                                            -                         -                        -                       -                        -
                  24000 · Payroll Liabilities                                               71,150                           -                        -                       -                        -
                  24400 · Due (to)/from Group or affiliat                                (8,316,512)               (676,946)                    9,935                  (905,358)              222,506
                  24500 · DIP Lender Note Payable                        7.             60,898,947                           -                        -                       -                        -
             Total Other Current Liabilities                                            64,231,642                 (676,946)                    9,935                  (904,879)              222,506
         Total Current Liabilities                                                      77,844,248                 (676,296)                  10,260                   (904,229)              267,080
         Long Term Liabilities
             25200 · Due to / (from) Funds/Holdco                        8.            317,570,964                1,200,132                  206,310                  1,341,525                        -
             25250 · Due to Noteholders                                  8.
             25300 · Due to Unitholders                                  8.
         Total Long Term Liabilities                                                   317,570,964                1,200,132                  206,310                  1,341,525                        -
   Total Liabilities                                                                   395,415,212                  523,836                  216,570                   437,296                267,080
   Equity
         30000 · Opening Balance Equity                                  9.            (306,906,961)                         -                        -                    (479)                       -
         32000 · Retained Earnings                                       9.              (7,962,610)                         -                        -                       -                        -
         Retained Earnings/(Losses): Post-Pet Prior Period                               (5,568,552)
         Net Income/(Loss): Post Petition Current Period                                (37,153,872)                244,787                    (2,941)                 (436,817)             (267,080)
   Total Equity                                                                        (357,591,994)                244,787                    (2,941)                 (437,296)             (267,080)
TOTAL LIABILITIES & EQUITY                                                              37,823,218                  768,622                  213,629                          -                        -




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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of June 30, 218

                                                                          Inactive Property              Ironsides              Under Debtor         P-001 215 North 12th P-002 Addison Park            P-003 Anchorpoint
                                                               Debtor:       Companies               Investments LLC              Control                   St LLC            Invest LLC                    Invest LLC

                                                             Case No.:          Various                 17-12714                 Non-Debtor               17-12561                 17-12563                 17-12566




                                                                         Total Inactive Property      Total Ironsides       Total Non-Debtor Under P-001 215 North 12th St     P-002 Addison Park       P-003 Anchorpoint
                                                                               Companies             Investments LLC            Debtor Control              LLC                    Invest LLC               Invest LLC

ASSETS
   Current Assets
         Checking/Savings
             Total 10000 · Cash                                                                -                        -                        -                        -                         -                       -
         Total Checking/Savings                                                                -                        -                        -                        -                         -                       -
         Other Current Assets
             11500 · Vendor Deposits                                                           -                        -                        -                        -                         -                       -
             11510 · Property Manager Advance                                                  -                        -                        -                 14,884                           -                  6,382
             14010 · Due From Shapiro
             14020 · Prepaid Expenses                                                          -                        -                        -                        -                         -                       -
             14025 · Professional Retainers                                                    -                        -                        -                        -                         -                       -
         Total Other Current Assets                                                            -                        -                        -                 14,884                           -                  6,382
   Total Current Assets                                                                        -                        -                        -                 14,884                           -                  6,382
   Fixed Assets
         15000 · Furniture and Equipment
             15110 · Office Equipment                                                          -                        -                        -                        -                         -                       -
         Total 15000 · Furniture and Equipment                                                 -                        -                        -                        -                         -                       -
   Total Fixed Assets                                                                          -                        -                        -                        -                         -                       -
   Other Assets
         18000 · Property / Loan Investment                                                    -              1,290,000                          -              1,000,000               18,200,000                 753,000
         18050 · Property proceeds/notepayoff                                                  -                        -                        -             (1,097,036)                          -                       -
         18100 · Pre-Pet Capitalized Improvement                                               -                        -                        -                 53,785                4,179,941                  20,212
         18200 · Post Pet Capitalized Improvemen
             18210 · Post-Petition Construction                                            4,950                        -                   1,900                         -              4,063,958                          -
             18230 · Post-Pet Property Taxes                                                   -                 16,403                          -                 23,453                  108,658                  18,428
             18240 · Post-Pet Insurance                                                        -                 15,903                          -                   1,736                          -                  2,272
             18250 · Post-Pet Interest                                                         -                        -                        -                        -                         -                       -
             18260 · Post-Pet Utilities Costs                                                  -                        -                        -                   2,511                    1,199                       92
             18270 · Post-Pet Other Costs                                                   749                    3,149                         -                     667                    4,946                    4,282
             18280 · Rental Property major improvements
         Total 18200 · Post Pet Capitalized Improvemen                                     5,699                 35,455                     1,900                  28,367                4,178,762                  25,074
         18300 · Structured Settlements                                                        -                        -                        -                        -                         -                       -
   Total Other Assets                                                                      5,699              1,325,455                     1,900                 (14,884)              26,558,702                 798,286
TOTAL ASSETS                                                                               5,699              1,325,455                     1,900                         -             26,558,702                 804,668

LIABILITIES & EQUITY
   Liabilities
         Current Liabilities
             Accounts Payable
                  20000 · Accounts Payable                                                 2,925                    361                          -                     975                 606,225                       650
             Total Accounts Payable                                                        2,925                    361                          -                     975                 606,225                       650
             Other Current Liabilities
                  20110 · Pre-Petition AP Scheduled                                            -                        -                        -                   2,217                    4,567                 20,212
                  20115 · Misc Current LIability/Payable                                       -                        -                        -                        -                         -                       -
                  20120 · Tenant Deposit & Prepaid Rent                                        -                        -                        -                   9,774                          -                  3,430
                  24000 · Payroll Liabilities                                                  -                        -                        -                        -                         -                       -
                  24400 · Due (to)/from Group or affiliat                                 10,374                 35,793                    73,100                (735,986)               4,944,010                     (2,671)
                  24500 · DIP Lender Note Payable                                              -                        -                        -                        -                         -                       -
             Total Other Current Liabilities                                              10,374                 35,793                    73,100                (723,996)               4,948,576                  20,972
         Total Current Liabilities                                                        13,299                 36,154                    73,100                (723,021)               5,554,801                  21,622
         Long Term Liabilities
             25200 · Due to / (from) Funds/Holdco                                              -              1,290,000                          -              1,053,785               21,052,124                 773,212
             25250 · Due to Noteholders
             25300 · Due to Unitholders
         Total Long Term Liabilities                                                           -              1,290,000                          -              1,053,785               21,052,124                 773,212
   Total Liabilities                                                                      13,299              1,326,154                    73,100                 330,764               26,606,925                 794,834
   Equity
         30000 · Opening Balance Equity                                                        -                        -                        -                   (1,076)                  (4,567)               (19,727)
         32000 · Retained Earnings                                                             -                        -                        -                        -                         -                       -
         Retained Earnings/(Losses): Post-Pet Prior Period                                                                                                           9,140                                             (8,816)
         Net Income/(Loss): Post Petition Current Period                                  (7,600)                   (699)                 (71,200)               (338,828)                 (43,657)                 38,378
   Total Equity                                                                           (7,600)                   (699)                 (71,200)               (330,764)                 (48,223)                    9,834
TOTAL LIABILITIES & EQUITY                                                                 5,699              1,325,455                     1,900                         -             26,558,702                 804,668




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                                                                           P-004 Arborvitae           P-005 Archivolt           P-006 Arlington         P-007 Arrowpoint        P-008 Baleroy Invest        P-009 Bay Village
                                                               Debtor:        Invest LLC                Invest LLC              Ridge Inves LLC            Invest LLC                  LLC                     Invest LLC

                                                             Case No.:         17-12572                   17-12574                  17-12576               17-12578                   17-12580                  17-12604




                                                                         P-004 Arborvitae Invest    P-005 Archivolt Invest     P-006 Arlington Ridge    P-007 Arrowpoint         P-008 Baleroy Invest       P-009 Bay Village
                                                                                  LLC                       LLC                      Inves LLC             Invest LLC                   LLC                    Invest LLC

ASSETS
   Current Assets
         Checking/Savings
             Total 10000 · Cash                                                                -                          -                        -                       -                            -                        -
         Total Checking/Savings                                                                -                          -                        -                       -                            -                        -
         Other Current Assets
             11500 · Vendor Deposits                                                           -                          -                        -                       -                            -                        -
             11510 · Property Manager Advance                                                  -                          -                        -                       -                            -                        -
             14010 · Due From Shapiro
             14020 · Prepaid Expenses                                                          -                          -                        -                       -                            -                        -
             14025 · Professional Retainers                                                    -                          -                        -                       -                            -                        -
         Total Other Current Assets                                                            -                          -                        -                       -                            -                        -
   Total Current Assets                                                                        -                          -                        -                       -                            -                        -
   Fixed Assets
         15000 · Furniture and Equipment
             15110 · Office Equipment                                                          -                          -                        -                       -                            -                        -
         Total 15000 · Furniture and Equipment                                                 -                          -                        -                       -                            -                        -
   Total Fixed Assets                                                                          -                          -                        -                       -                            -                        -
   Other Assets
         18000 · Property / Loan Investment                                             96,000                            -                6,300,000               611,000                  1,434,400                 8,900,000
         18050 · Property proceeds/notepayoff                                                  -                          -                        -                       -                            -                        -
         18100 · Pre-Pet Capitalized Improvement                                          9,872                           -                6,183,009                44,074                     82,502                 2,301,696
         18200 · Post Pet Capitalized Improvemen
             18210 · Post-Petition Construction                                                -                          -                1,031,466                       -                            -              590,987
             18230 · Post-Pet Property Taxes                                              2,195                           -                  38,601                 13,866                       8,355                  55,033
             18240 · Post-Pet Insurance                                                     126                           -                  59,963                     126                             -                  502
             18250 · Post-Pet Interest                                                         -                          -                        -                       -                            -                        -
             18260 · Post-Pet Utilities Costs                                                  -                          -                    1,519                       -                     3,444                          74
             18270 · Post-Pet Other Costs                                                 1,683                           -                        -                  1,683                      3,977                           -
             18280 · Rental Property major improvements
         Total 18200 · Post Pet Capitalized Improvemen                                    4,005                           -                1,131,548                15,675                     15,777                  646,596
         18300 · Structured Settlements                                                        -                          -                        -                       -                            -                        -
   Total Other Assets                                                                  109,877                            -              13,614,557                670,749                  1,532,678               11,848,292
TOTAL ASSETS                                                                           109,877                            -              13,614,557                670,749                  1,532,678               11,848,292

LIABILITIES & EQUITY
   Liabilities
         Current Liabilities
             Accounts Payable
                  20000 · Accounts Payable                                                  325                        325                     5,543                    325                        748                  15,420
             Total Accounts Payable                                                         325                        325                     5,543                    325                        748                  15,420
             Other Current Liabilities
                  20110 · Pre-Petition AP Scheduled                                            -                          -                     958                     258                      1,083                     260
                  20115 · Misc Current LIability/Payable                                       -                          -                        -                       -                            -                        -
                  20120 · Tenant Deposit & Prepaid Rent                                        -                          -                        -                       -                            -                        -
                  24000 · Payroll Liabilities                                                  -                          -                        -                       -                            -                        -
                  24400 · Due (to)/from Group or affiliat                                 5,130                      1,163                 1,746,302                16,898                     17,290                  692,974
                  24500 · DIP Lender Note Payable                                              -                          -                        -                       -                            -                        -
             Total Other Current Liabilities                                              5,130                      1,163                 1,747,259                17,156                     18,373                  693,235
         Total Current Liabilities                                                        5,455                      1,488                 1,752,803                17,481                     19,121                  708,654
         Long Term Liabilities
             25200 · Due to / (from) Funds/Holdco                                      105,872                            -              11,873,262                655,074                  1,516,578               11,150,448
             25250 · Due to Noteholders
             25300 · Due to Unitholders
         Total Long Term Liabilities                                                   105,872                            -              11,873,262                655,074                  1,516,578               11,150,448
   Total Liabilities                                                                   111,327                       1,488               13,626,065                672,555                  1,535,699               11,859,102
   Equity
         30000 · Opening Balance Equity                                                        -                          -                     (958)                  (258)                     (1,083)                   (260)
         32000 · Retained Earnings                                                             -                          -                        -                       -                            -                        -
         Retained Earnings/(Losses): Post-Pet Prior Period
         Net Income/(Loss): Post Petition Current Period                                  (1,450)                    (1,488)                 (10,550)                 (1,548)                    (1,938)                (10,550)
   Total Equity                                                                           (1,450)                    (1,488)                 (11,508)                 (1,806)                    (3,021)                (10,810)
TOTAL LIABILITIES & EQUITY                                                             109,877                            -              13,614,557                670,749                  1,532,678               11,848,292




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Balance Sheet by Property Company
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                                                                         P-010 Bear Brook        P-011 Beech Creek         P-012 Bishop White        P-013 Black Bass        P-014 Black Locust         P-015 Bluff Point
                                                               Debtor:      Invest LLC               Invest LLC                Invest LLC               Invest LLC               Invest LLC                Invest LLC

                                                             Case No.:      17-12610                  17-12616                  17-12623                17-12641                 17-12648                    17-12722




                                                                         P-010 Bear Brook         P-011 Beech Creek         P-012 Bishop White       P-013 Black Bass        P-014 Black Locust       P-015 Bluff Point Invest
                                                                            Invest LLC                Invest LLC                Invest LLC              Invest LLC               Invest LLC                    LLC

ASSETS
   Current Assets
         Checking/Savings
             Total 10000 · Cash                                                             -                         -                          -                      -                         -                          -
         Total Checking/Savings                                                             -                         -                          -                      -                         -                          -
         Other Current Assets
             11500 · Vendor Deposits                                                        -                         -                          -                      -                         -                          -
             11510 · Property Manager Advance                                               -                         -                          -                      -                         -                          -
             14010 · Due From Shapiro
             14020 · Prepaid Expenses                                                       -                         -                          -                      -                         -                          -
             14025 · Professional Retainers                                                 -                         -                          -                      -                         -                          -
         Total Other Current Assets                                                         -                         -                          -                      -                         -                          -
   Total Current Assets                                                                     -                         -                          -                      -                         -                          -
   Fixed Assets
         15000 · Furniture and Equipment
             15110 · Office Equipment                                                       -                         -                          -                      -                         -                          -
         Total 15000 · Furniture and Equipment                                              -                         -                          -                      -                         -                          -
   Total Fixed Assets                                                                       -                         -                          -                      -                         -                          -
   Other Assets
         18000 · Property / Loan Investment                                          90,000                1,472,500                 35,000,000                 110,000                  125,000                  13,200,000
         18050 · Property proceeds/notepayoff                                               -                         -                          -                      -                         -                          -
         18100 · Pre-Pet Capitalized Improvement                                       5,811                 465,906                    533,212                    6,372                    9,705                  1,537,161
         18200 · Post Pet Capitalized Improvemen
             18210 · Post-Petition Construction                                             -                         -                 174,971                         -                 15,959                     291,427
             18230 · Post-Pet Property Taxes                                           2,195                     8,150                   73,377                    2,658                    2,658                     80,667
             18240 · Post-Pet Insurance                                                  126                     7,786                      502                      126                      273                     13,986
             18250 · Post-Pet Interest                                                      -                         -                 106,250                         -                         -                          -
             18260 · Post-Pet Utilities Costs                                               -                    2,365                           -                      -                         -                       139
             18270 · Post-Pet Other Costs                                              1,683                     4,356                     1,750                   1,983                    2,007                       1,995
             18280 · Rental Property major improvements
         Total 18200 · Post Pet Capitalized Improvemen                                 4,005                  22,657                    356,849                    4,767                  20,897                     388,213
         18300 · Structured Settlements                                                     -                         -                          -                      -                         -                          -
   Total Other Assets                                                                99,816                1,961,063                 35,890,061                 121,139                  155,602                  15,125,374
TOTAL ASSETS                                                                         99,816                1,961,063                 35,890,061                 121,139                  155,602                  15,125,374

LIABILITIES & EQUITY
   Liabilities
         Current Liabilities
             Accounts Payable
                  20000 · Accounts Payable                                               325                       860                  180,009                      325                      650                       3,791
             Total Accounts Payable                                                      325                       860                  180,009                      325                      650                       3,791
             Other Current Liabilities
                  20110 · Pre-Petition AP Scheduled                                         -                    5,389                   22,431                         -                         -                   20,399
                  20115 · Misc Current LIability/Payable                                    -                         -                          -                      -                         -                          -
                  20120 · Tenant Deposit & Prepaid Rent                                     -                         -                          -                      -                         -                          -
                  24000 · Payroll Liabilities                                               -                         -                          -                      -                         -                          -
                  24400 · Due (to)/from Group or affiliat                              5,130                  26,685                 18,305,920                    5,941                  22,122                     398,541
                  24500 · DIP Lender Note Payable                                           -                         -                          -                      -                         -                          -
             Total Other Current Liabilities                                           5,130                  32,074                 18,328,351                    5,941                  22,122                     418,940
         Total Current Liabilities                                                     5,455                  32,934                 18,508,360                    6,266                  22,772                     422,732
         Long Term Liabilities
             25200 · Due to / (from) Funds/Holdco                                    95,811                1,935,863                 18,492,249                 116,372                  134,705                  14,726,442
             25250 · Due to Noteholders
             25300 · Due to Unitholders
         Total Long Term Liabilities                                                 95,811                1,935,863                 18,492,249                 116,372                  134,705                  14,726,442
   Total Liabilities                                                                101,266                1,968,797                 37,000,609                 122,638                  157,477                  15,149,174
   Equity
         30000 · Opening Balance Equity                                                     -                    (5,389)                (22,431)                        -                         -                   (20,399)
         32000 · Retained Earnings                                                          -                         -                          -                      -                         -                          -
         Retained Earnings/(Losses): Post-Pet Prior Period
         Net Income/(Loss): Post Petition Current Period                               (1,450)                   (2,344)             (1,088,116)                   (1,499)                  (1,875)                     (3,400)
   Total Equity                                                                        (1,450)                   (7,733)             (1,110,548)                   (1,499)                  (1,875)                   (23,799)
TOTAL LIABILITIES & EQUITY                                                           99,816                 1,961,063                35,890,061                 121,139                  155,602                  15,125,374




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                                                                           P-016 Bowman            P-017 Bramley Invest       P-019 Broadsands         P-020 Brynderwen           P-021 Cablestay         P-022 Cannington
                                                               Debtor:       Invest LLC                    LLC                   Invest LLC               Invest LLC                Invest LLC               Invest LLC

                                                             Case No.:        17-12753                   17-12769                 17-12777                 17-12793                   17-12798                17-12803




                                                                         P-016 Bowman Invest        P-017 Bramley Invest      P-019 Broadsands         P-020 Brynderwen         P-021 Cablestay Invest    P-022 Cannington
                                                                                 LLC                        LLC                   Invest LLC              Invest LLC                    LLC                  Invest LLC

ASSETS
   Current Assets
         Checking/Savings
             Total 10000 · Cash                                                               -                          -                        -                        -                         -                        -
         Total Checking/Savings                                                               -                          -                        -                        -                         -                        -
         Other Current Assets
             11500 · Vendor Deposits                                                          -                          -                        -                        -                         -                        -
             11510 · Property Manager Advance                                                 -                          -                        -                        -                         -                        -
             14010 · Due From Shapiro
             14020 · Prepaid Expenses                                                         -                          -                        -                        -                         -                        -
             14025 · Professional Retainers                                                   -                          -                        -                        -                         -                        -
         Total Other Current Assets                                                           -                          -                        -                        -                         -                        -
   Total Current Assets                                                                       -                          -                        -                        -                         -                        -
   Fixed Assets
         15000 · Furniture and Equipment
             15110 · Office Equipment                                                         -                          -                        -                        -                         -                        -
         Total 15000 · Furniture and Equipment                                                -                          -                        -                        -                         -                        -
   Total Fixed Assets                                                                         -                          -                        -                        -                         -                        -
   Other Assets
         18000 · Property / Loan Investment                                           90,000                     500,000                345,000                            -                4,000,000              4,850,000
         18050 · Property proceeds/notepayoff                                                 -                          -                        -                        -              (10,638,871)                        -
         18100 · Pre-Pet Capitalized Improvement                                         4,432                    57,140                  23,790                           -                5,897,792              2,993,667
         18200 · Post Pet Capitalized Improvemen
             18210 · Post-Petition Construction                                               -                          -                        -                        -                  561,943                 27,543
             18230 · Post-Pet Property Taxes                                             1,733                      7,854                    2,199                         -                   46,791                 58,285
             18240 · Post-Pet Insurance                                                    126                        126                      126                         -                     1,169                15,169
             18250 · Post-Pet Interest                                                        -                          -                        -                        -                         -                        -
             18260 · Post-Pet Utilities Costs                                                 -                          -                        -                        -                     4,401                   2,991
             18270 · Post-Pet Other Costs                                                1,713                      9,841                    5,629                         -                  126,775                    9,606
             18280 · Rental Property major improvements
         Total 18200 · Post Pet Capitalized Improvemen                                   3,573                    17,821                     7,955                         -                  741,079                113,593
         18300 · Structured Settlements                                                       -                          -                        -                        -                         -                        -
   Total Other Assets                                                                 98,005                     574,961                376,745                            -                         -             7,957,260
TOTAL ASSETS                                                                          98,005                     574,961                376,745                            -                         -             7,957,260

LIABILITIES & EQUITY
   Liabilities
         Current Liabilities
             Accounts Payable
                  20000 · Accounts Payable                                                 325                        325                      325                      325                      4,875                   6,626
             Total Accounts Payable                                                        325                        325                      325                      325                      4,875                   6,626
             Other Current Liabilities
                  20110 · Pre-Petition AP Scheduled                                           -                          -                        -                        -                      744                    3,847
                  20115 · Misc Current LIability/Payable                                      -                          -                        -                        -                  137,042                         -
                  20120 · Tenant Deposit & Prepaid Rent                                       -                          -                        -                        -                         -                        -
                  24000 · Payroll Liabilities                                                 -                          -                        -                        -                         -                        -
                  24400 · Due (to)/from Group or affiliat                                4,847                    18,946                     9,229                    1,174               (13,433,233)               113,267
                  24500 · DIP Lender Note Payable                                             -                          -                        -                        -                         -                        -
             Total Other Current Liabilities                                             4,847                    18,946                     9,229                    1,174               (13,295,447)               117,114
         Total Current Liabilities                                                       5,172                    19,271                     9,554                    1,499               (13,290,572)               123,740
         Long Term Liabilities
             25200 · Due to / (from) Funds/Holdco                                     94,432                     557,140                368,790                            -                9,767,560              7,839,667
             25250 · Due to Noteholders
             25300 · Due to Unitholders
         Total Long Term Liabilities                                                  94,432                     557,140                368,790                            -                9,767,560              7,839,667
   Total Liabilities                                                                  99,604                     576,411                378,344                       1,499                (3,523,012)             7,963,407
   Equity
         30000 · Opening Balance Equity                                                       -                          -                        -                        -                      (744)                  (3,847)
         32000 · Retained Earnings                                                            -                          -                        -                        -                         -                        -
         Retained Earnings/(Losses): Post-Pet Prior Period
         Net Income/(Loss): Post Petition Current Period                                 (1,599)                    (1,450)                  (1,599)                  (1,499)               3,523,756                    (2,300)
   Total Equity                                                                          (1,599)                    (1,450)                  (1,599)                  (1,499)               3,523,012                    (6,147)
TOTAL LIABILITIES & EQUITY                                                            98,005                     574,961                376,745                            -                         -             7,957,260




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                                                                          P-023 Carbondale          P-024 Carbondale        P-025 Carbondale         P-026 Carbondale         P-027 Carbondale         P-028 Carbondale
                                                               Debtor:      Glen Lot A-5              Glen Lot D-22           Glen Lot E-24           Glen Lot GV-13             Glen Lot L-2           Glen Lot SD-14

                                                             Case No.:        17-12807                  17-12809                17-12811                 17-12813                 18-10284                 17-12817




                                                                         P-023 Carbondale Glen P-024 Carbondale Glen P-025 Carbondale Glen P-026 Carbondale Glen P-027 Carbondale Glen P-028 Carbondale Glen
                                                                                Lot A-5               Lot D-22              Lot E-24             Lot GV-13              Lot L-2              Lot SD-14

ASSETS
   Current Assets
         Checking/Savings
             Total 10000 · Cash                                                               -                        -                        -                        -                        -                        -
         Total Checking/Savings                                                               -                        -                        -                        -                        -                        -
         Other Current Assets
             11500 · Vendor Deposits                                                          -                        -                        -                        -                        -                        -
             11510 · Property Manager Advance                                                 -                        -                        -                        -                        -                        -
             14010 · Due From Shapiro
             14020 · Prepaid Expenses                                                         -                        -                        -                        -                        -                        -
             14025 · Professional Retainers                                                   -                        -                        -                        -                        -                        -
         Total Other Current Assets                                                           -                        -                        -                        -                        -                        -
   Total Current Assets                                                                       -                        -                        -                        -                        -                        -
   Fixed Assets
         15000 · Furniture and Equipment
             15110 · Office Equipment                                                         -                        -                        -                        -                        -                        -
         Total 15000 · Furniture and Equipment                                                -                        -                        -                        -                        -                        -
   Total Fixed Assets                                                                         -                        -                        -                        -                        -                        -
   Other Assets
         18000 · Property / Loan Investment                                           650,000                  80,000                  90,000                   95,000                  120,000                   105,000
         18050 · Property proceeds/notepayoff                                                 -             (1,103,221)                         -                        -                        -                        -
         18100 · Pre-Pet Capitalized Improvement                                      101,463                1,005,321                 12,433                   10,811                   11,700                       8,043
         18200 · Post Pet Capitalized Improvemen
             18210 · Post-Petition Construction                                               -                     750                         -                        -                     750                         -
             18230 · Post-Pet Property Taxes                                           15,022                  10,551                      2,658                    2,658                    2,658                      733
             18240 · Post-Pet Insurance                                                    126                         -                     126                      126                      126                      126
             18250 · Post-Pet Interest                                                        -                        -                        -                        -                        -                        -
             18260 · Post-Pet Utilities Costs                                                 -                    3,966                        -                        -                        -                        -
             18270 · Post-Pet Other Costs                                                1,683                     2,633                   1,683                    1,683                    3,385                    1,713
             18280 · Rental Property major improvements
         Total 18200 · Post Pet Capitalized Improvemen                                 16,831                  17,900                      4,467                    4,467                    6,919                    2,572
         18300 · Structured Settlements                                                       -                        -                        -                        -                        -                        -
   Total Other Assets                                                                 768,294                          -              106,900                  110,278                  138,619                   115,615
TOTAL ASSETS                                                                          768,294                          -              106,900                  110,278                  138,619                   115,615

LIABILITIES & EQUITY
   Liabilities
         Current Liabilities
             Accounts Payable
                  20000 · Accounts Payable                                                 325                      737                      325                      325                      325                      325
             Total Accounts Payable                                                        325                      737                      325                      325                      325                      325
             Other Current Liabilities
                  20110 · Pre-Petition AP Scheduled                                           -                     307                         -                        -                        -                        -
                  20115 · Misc Current LIability/Payable                                      -                        -                        -                        -                        -                        -
                  20120 · Tenant Deposit & Prepaid Rent                                       -                        -                        -                        -                        -                        -
                  24000 · Payroll Liabilities                                                 -                        -                        -                        -                        -                        -
                  24400 · Due (to)/from Group or affiliat                              18,126                 (826,455)                    5,592                    5,592                    7,819                    3,767
                  24500 · DIP Lender Note Payable                                             -                        -                        -                        -                        -                        -
             Total Other Current Liabilities                                           18,126                 (826,148)                    5,592                    5,592                    7,819                    3,767
         Total Current Liabilities                                                     18,451                 (825,411)                    5,917                    5,917                    8,144                    4,092
         Long Term Liabilities
             25200 · Due to / (from) Funds/Holdco                                     751,463                1,085,321                102,433                  105,811                  131,700                   113,043
             25250 · Due to Noteholders
             25300 · Due to Unitholders
         Total Long Term Liabilities                                                  751,463                1,085,321                102,433                  105,811                  131,700                   113,043
   Total Liabilities                                                                  769,914                 259,910                 108,350                  111,728                  139,844                   117,135
   Equity
         30000 · Opening Balance Equity                                                       -                     (307)                       -                        -                        -                        -
         32000 · Retained Earnings                                                            -                        -                        -                        -                        -                        -
         Retained Earnings/(Losses): Post-Pet Prior Period
         Net Income/(Loss): Post Petition Current Period                                 (1,620)              (259,603)                    (1,450)                  (1,450)                  (1,225)                  (1,520)
   Total Equity                                                                          (1,620)              (259,910)                    (1,450)                  (1,450)                  (1,225)                  (1,520)
TOTAL LIABILITIES & EQUITY                                                            768,294                          -              106,900                  110,278                  138,619                   115,615




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                                                                          P-029 Carbondale          P-030 Carbondale         P-031 Carbondale         P-032 Carbondale Gl       P-036 Carbondale         P-037 Carbondale
                                                               Debtor:     Glen Lot SD-23            Glen Mes Lot19           Glen River Mes             Sunda Ponds              Peaks Lot L-1             Spruce 101

                                                             Case No.:        17-12815                  17-12819                 17-12820                  17-12822                 18-10286                 17-12568




                                                                         P-029 Carbondale Glen P-030 Carbondale Glen P-031 Carbondale Glen            P-032 Carbondale Gl       P-036 Carbondale         P-037 Carbondale
                                                                               Lot SD-23             Mes Lot19             River Mes                     Sunda Ponds              Peaks Lot L-1             Spruce 101

ASSETS
   Current Assets
         Checking/Savings
             Total 10000 · Cash                                                               -                         -                        -                          -                       -                        -
         Total Checking/Savings                                                               -                         -                        -                          -                       -                        -
         Other Current Assets
             11500 · Vendor Deposits                                                          -                         -                        -                          -                       -                        -
             11510 · Property Manager Advance                                                 -                         -                        -                          -                       -                   6,926
             14010 · Due From Shapiro
             14020 · Prepaid Expenses                                                         -                         -                        -                          -                       -                        -
             14025 · Professional Retainers                                                   -                         -                        -                          -                       -                        -
         Total Other Current Assets                                                           -                         -                        -                          -                       -                   6,926
   Total Current Assets                                                                       -                         -                        -                          -                       -                   6,926
   Fixed Assets
         15000 · Furniture and Equipment
             15110 · Office Equipment                                                         -                         -                        -                          -                       -                        -
         Total 15000 · Furniture and Equipment                                                -                         -                        -                          -                       -                        -
   Total Fixed Assets                                                                         -                         -                        -                          -                       -                        -
   Other Assets
         18000 · Property / Loan Investment                                           115,000                 105,000                 1,350,000                   820,000                  550,000                  750,000
         18050 · Property proceeds/notepayoff                                                 -                         -                        -                          -                       -                        -
         18100 · Pre-Pet Capitalized Improvement                                         7,954                 13,061                 4,059,013                    63,375                  207,236                   86,822
         18200 · Post Pet Capitalized Improvemen
             18210 · Post-Petition Construction                                               -                         -               76,784                              -                       -                        -
             18230 · Post-Pet Property Taxes                                               733                     3,391                16,247                        5,865                    3,648                 17,095
             18240 · Post-Pet Insurance                                                    126                       273                    5,963                       126                      290                    1,270
             18250 · Post-Pet Interest                                                        -                         -                        -                          -                       -                        -
             18260 · Post-Pet Utilities Costs                                                 -                         -               14,254                              -                  1,873                      121
             18270 · Post-Pet Other Costs                                                1,713                     1,713                16,417                     13,704                      6,150                    4,558
             18280 · Rental Property major improvements
         Total 18200 · Post Pet Capitalized Improvemen                                   2,572                     5,377               129,665                     19,696                   11,962                   23,043
         18300 · Structured Settlements                                                       -                         -                        -                          -                       -                        -
   Total Other Assets                                                                 125,526                 123,438                 5,538,678                   903,071                  769,198                  859,865
TOTAL ASSETS                                                                          125,526                 123,438                 5,538,678                   903,071                  769,198                  866,792

LIABILITIES & EQUITY
   Liabilities
         Current Liabilities
             Accounts Payable
                  20000 · Accounts Payable                                                 325                       325                    3,132                       325                    1,285                      650
             Total Accounts Payable                                                        325                       325                    3,132                       325                    1,285                      650
             Other Current Liabilities
                  20110 · Pre-Petition AP Scheduled                                           -                         -               25,067                              -                     75                         -
                  20115 · Misc Current LIability/Payable                                      -                         -                        -                          -                       -                        -
                  20120 · Tenant Deposit & Prepaid Rent                                       -                         -                        -                          -                       -                10,663
                  24000 · Payroll Liabilities                                                 -                         -                        -                          -                       -                        -
                  24400 · Due (to)/from Group or affiliat                                3,797                     6,602               131,933                     21,246                   13,642                   14,910
                  24500 · DIP Lender Note Payable                                             -                         -                        -                          -                       -                        -
             Total Other Current Liabilities                                             3,797                     6,602               157,000                     21,246                   13,717                   25,574
         Total Current Liabilities                                                       4,122                     6,927               160,132                     21,571                   15,002                   26,224
         Long Term Liabilities
             25200 · Due to / (from) Funds/Holdco                                     122,954                 118,061                 5,405,783                   883,375                  757,236                  836,822
             25250 · Due to Noteholders
             25300 · Due to Unitholders
         Total Long Term Liabilities                                                  122,954                 118,061                 5,405,783                   883,375                  757,236                  836,822
   Total Liabilities                                                                  127,076                 124,988                 5,565,915                   904,946                  772,238                  863,046
   Equity
         30000 · Opening Balance Equity                                                       -                         -               (25,067)                            -                     (75)                    518
         32000 · Retained Earnings                                                            -                         -                        -                          -                       -
         Retained Earnings/(Losses): Post-Pet Prior Period                                                                                                                                                              9,057
         Net Income/(Loss): Post Petition Current Period                                 (1,550)                   (1,550)                  (2,170)                   (1,875)                  (2,965)                  (5,828)
   Total Equity                                                                          (1,550)                   (1,550)              (27,237)                      (1,875)                  (3,040)                  3,746
TOTAL LIABILITIES & EQUITY                                                            125,526                 123,438                 5,538,678                   903,071                  769,198                  866,792




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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of June 30, 218

                                                                         P-038 Carbondale          P-039 Carbondale        P-040 Castle Pines       P-041 Centershot       P-042 Chaplin Invest          P-043 Chestnut
                                                               Debtor:    Sundanc Lot 15            Sundanc Lot 16             Invest LLC              Invest LLC                 LLC                      Invest LLC

                                                             Case No.:       17-12569                  17-12570                17-12581                17-12586                  17-12592                   17-12603




                                                                         P-038 Carbondale          P-039 Carbondale        P-040 Castle Pines       P-041 Centershot        P-042 Chaplin Invest       P-043 Chestnut Invest
                                                                          Sundanc Lot 15            Sundanc Lot 16             Invest LLC              Invest LLC                  LLC                         LLC

ASSETS
   Current Assets
         Checking/Savings
             Total 10000 · Cash                                                              -                        -                         -                      -                           -                       -
         Total Checking/Savings                                                              -                        -                         -                      -                           -                       -
         Other Current Assets
             11500 · Vendor Deposits                                                         -                        -                         -                      -                           -                       -
             11510 · Property Manager Advance                                                -                        -                         -                      -                           -                       -
             14010 · Due From Shapiro
             14020 · Prepaid Expenses                                                        -                        -                         -                      -                           -                       -
             14025 · Professional Retainers                                                  -                        -                         -                      -                           -                       -
         Total Other Current Assets                                                          -                        -                         -                      -                           -                       -
   Total Current Assets                                                                      -                        -                         -                      -                           -                       -
   Fixed Assets
         15000 · Furniture and Equipment
             15110 · Office Equipment                                                        -                        -                         -                      -                           -                       -
         Total 15000 · Furniture and Equipment                                               -                        -                         -                      -                           -                       -
   Total Fixed Assets                                                                        -                        -                         -                      -                           -                       -
   Other Assets
         18000 · Property / Loan Investment                                         105,000                   105,000                  100,000               1,400,000                   100,000                   5,312,447
         18050 · Property proceeds/notepayoff                                                -                        -                         -           (2,290,736)                            -                       -
         18100 · Pre-Pet Capitalized Improvement                                        9,419                  10,069                     9,731                865,717                    10,121                   2,071,803
         18200 · Post Pet Capitalized Improvemen
             18210 · Post-Petition Construction                                              -                        -                         -                 2,942                            -                 46,269
             18230 · Post-Pet Property Taxes                                              733                      733                          -               17,531                      2,658                    65,317
             18240 · Post-Pet Insurance                                                   126                      126                      126                    502                        273                    12,107
             18250 · Post-Pet Interest                                                       -                        -                         -                      -                           -                       -
             18260 · Post-Pet Utilities Costs                                                -                        -                         -                  293                             -                    487
             18270 · Post-Pet Other Costs                                               2,463                     2,953                   1,683                   3,750                     1,781                       598
             18280 · Rental Property major improvements
         Total 18200 · Post Pet Capitalized Improvemen                                  3,322                     3,812                   1,809                 25,019                      4,712                   124,778
         18300 · Structured Settlements                                                      -                        -                         -                      -                           -                       -
   Total Other Assets                                                               117,741                   118,881                  111,540                         -                 114,833                   7,509,028
TOTAL ASSETS                                                                        117,741                   118,881                  111,540                         -                 114,833                   7,509,028

LIABILITIES & EQUITY
   Liabilities
         Current Liabilities
             Accounts Payable
                  20000 · Accounts Payable                                                325                      325                      325                    975                        325                      9,345
             Total Accounts Payable                                                       325                      325                      325                    975                        325                      9,345
             Other Current Liabilities
                  20110 · Pre-Petition AP Scheduled                                          -                        -                         -                  123                             -                    315
                  20115 · Misc Current LIability/Payable                                     -                        -                         -                      -                           -                       -
                  20120 · Tenant Deposit & Prepaid Rent                                      -                        -                         -                      -                           -                       -
                  24000 · Payroll Liabilities                                                -                        -                         -                      -                           -                       -
                  24400 · Due (to)/from Group or affiliat                               4,447                     4,187                   2,934                 26,193                      5,837                   222,005
                  24500 · DIP Lender Note Payable                                            -                        -                         -           (1,388,470)                            -                       -
             Total Other Current Liabilities                                            4,447                     4,187                   2,934             (1,362,155)                     5,837                   222,320
         Total Current Liabilities                                                      4,772                     4,512                   3,259             (1,361,180)                     6,162                   231,665
         Long Term Liabilities
             25200 · Due to / (from) Funds/Holdco                                   114,419                   115,069                  109,731               2,265,717                   110,121                   7,375,428
             25250 · Due to Noteholders
             25300 · Due to Unitholders
         Total Long Term Liabilities                                                114,419                   115,069                  109,731               2,265,717                   110,121                   7,375,428
   Total Liabilities                                                                119,191                   119,581                  112,990                 904,537                   116,283                   7,607,093
   Equity
         30000 · Opening Balance Equity                                                      -                        -                         -                  (123)                           -                    (315)
         32000 · Retained Earnings                                                           -                        -                         -                      -                           -                       -
         Retained Earnings/(Losses): Post-Pet Prior Period
         Net Income/(Loss): Post Petition Current Period                                (1,450)                    (700)                  (1,450)             (904,414)                     (1,450)                  (97,750)
   Total Equity                                                                         (1,450)                    (700)                  (1,450)             (904,537)                     (1,450)                  (98,065)
TOTAL LIABILITIES & EQUITY                                                          117,741                   118,881                  111,540                         -                 114,833                   7,509,028




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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of June 30, 218

                                                                           P-044 Chestnut          P-045 Clover Basin        P-046 Coffee Creek       P-047 Craven Invest          P-049 Crowfield          P-050 Crystal Woods
                                                               Debtor:    Ridge Invest LLC             Invest LLC                Invest LLC                  LLC                     Invest LLC                  Invest LLC

                                                             Case No.:        17-12614                  17-12621                 17-12627                  17-12636                    17-12660                   17-12676




                                                                         P-044 Chestnut Ridge       P-045 Clover Basin       P-046 Coffee Creek        P-047 Craven Invest       P-049 Crowfield Invest      P-050 Crystal Woods
                                                                              Invest LLC                Invest LLC               Invest LLC                   LLC                         LLC                     Invest LLC

ASSETS
   Current Assets
         Checking/Savings
             Total 10000 · Cash                                                               -                          -                        -                          -                         -                           -
         Total Checking/Savings                                                               -                          -                        -                          -                         -                           -
         Other Current Assets
             11500 · Vendor Deposits                                                          -                          -                        -                          -                         -                           -
             11510 · Property Manager Advance                                                 -                          -                        -                          -                         -                          -
             14010 · Due From Shapiro
             14020 · Prepaid Expenses                                                         -                          -                        -                          -                         -                          -
             14025 · Professional Retainers                                                   -                          -                        -                          -                         -                          -
         Total Other Current Assets                                                           -                          -                        -                          -                         -                          -
   Total Current Assets                                                                       -                          -                        -                          -                         -                          -
   Fixed Assets
         15000 · Furniture and Equipment
             15110 · Office Equipment                                                         -                          -                        -                          -                         -                          -
         Total 15000 · Furniture and Equipment                                                -                          -                        -                          -                         -                          -
   Total Fixed Assets                                                                         -                          -                        -                          -                         -                          -
   Other Assets
         18000 · Property / Loan Investment                                         4,700,000                 3,500,000                   90,000                  8,725,000                  5,200,000                   125,000
         18050 · Property proceeds/notepayoff                                                 -              (8,461,478)                          -              (9,100,969)                           -                          -
         18100 · Pre-Pet Capitalized Improvement                                    2,145,536                 4,918,467                     9,436                  236,732                   1,390,049                       9,670
         18200 · Post Pet Capitalized Improvemen
             18210 · Post-Petition Construction                                       484,211                    21,131                           -                 50,169                     972,086                             -
             18230 · Post-Pet Property Taxes                                           28,914                      6,801                    2,658                   52,749                      62,463                       2,658
             18240 · Post-Pet Insurance                                                       -                      557                      126                       502                       6,275                        126
             18250 · Post-Pet Interest                                                        -                          -                        -                 24,068                             -                           -
             18260 · Post-Pet Utilities Costs                                              647                     7,073                          -                          -                    1,160                            -
             18270 · Post-Pet Other Costs                                                  500                     7,448                    1,783                   11,750                             -                     1,683
             18280 · Rental Property major improvements
         Total 18200 · Post Pet Capitalized Improvemen                                514,272                    43,011                     4,567                  139,237                   1,041,984                       4,467
         18300 · Structured Settlements                                                       -                          -                        -                          -                         -                           -
   Total Other Assets                                                               7,359,808                            -               104,003                             -               7,632,033                   139,137
TOTAL ASSETS                                                                        7,359,808                            -               104,003                             -               7,632,033                   139,137

LIABILITIES & EQUITY
   Liabilities
         Current Liabilities
             Accounts Payable
                  20000 · Accounts Payable                                             82,859                      9,596                      325                   57,906                     144,913                         325
             Total Accounts Payable                                                    82,859                      9,596                      325                   57,906                     144,913                         325
             Other Current Liabilities
                  20110 · Pre-Petition AP Scheduled                                           -                    6,999                          -                   4,000                     14,328                             -
                  20115 · Misc Current LIability/Payable                                      -                          -                        -                180,000                             -                           -
                  20120 · Tenant Deposit & Prepaid Rent                                       -                          -                        -                          -                         -                           -
                  24000 · Payroll Liabilities                                                 -                          -                        -                          -                         -                           -
                  24400 · Due (to)/from Group or affiliat                             566,401                (8,873,891)                    5,692                (4,478,521)                 1,052,838                       5,641
                  24500 · DIP Lender Note Payable                                             -                          -                        -                          -                         -                          -
             Total Other Current Liabilities                                          566,401                (8,866,892)                    5,692                (4,294,521)                 1,067,166                       5,641
         Total Current Liabilities                                                    649,260                (8,857,296)                    6,017                (4,236,616)                 1,212,079                       5,966
         Long Term Liabilities
             25200 · Due to / (from) Funds/Holdco                                   6,714,923                 8,384,664                   99,436                  4,953,732                  6,441,956                   134,670
             25250 · Due to Noteholders
             25300 · Due to Unitholders
         Total Long Term Liabilities                                                6,714,923                 8,384,664                   99,436                  4,953,732                  6,441,956                   134,670
   Total Liabilities                                                                7,364,183                  (472,632)                 105,453                   717,116                   7,654,035                   140,636
   Equity
         30000 · Opening Balance Equity                                                       -                    (6,999)                        -                   (4,000)                  (14,328)                            -
         32000 · Retained Earnings                                                            -                          -                        -                          -                         -                           -
         Retained Earnings/(Losses): Post-Pet Prior Period
         Net Income/(Loss): Post Petition Current Period                                 (4,375)                479,631                     (1,450)                (713,116)                      (7,674)                    (1,499)
   Total Equity                                                                          (4,375)                472,632                     (1,450)                (717,116)                   (22,002)                      (1,499)
TOTAL LIABILITIES & EQUITY                                                          7,359,808                            -               104,003                             -               7,632,033                   139,137




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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of June 30, 218

                                                                           P-051 Daleville         P-052 Derbyshire        P-053 Diamond Cove P-054 Dixville Notch              P-055 Dogwood           P-056 Dollis Brook
                                                               Debtor:       Invest LLC               Invest LLC                Invest LLC        Invest LLC                   Valley Invest LLC            Invest LLC

                                                             Case No.:        17-12687                17-12696                  17-12705                17-12716                   17-12727                 17-12735




                                                                         P-051 Daleville Invest    P-052 Derbyshire         P-053 Diamond Cove     P-054 Dixville Notch       P-055 Dogwood Valley      P-056 Dollis Brook
                                                                                 LLC                  Invest LLC                 Invest LLC            Invest LLC                  Invest LLC               Invest LLC

ASSETS
   Current Assets
         Checking/Savings
             Total 10000 · Cash                                                               -                       -                        -                          -                        -                         -
         Total Checking/Savings                                                               -                       -                        -                          -                        -                         -
         Other Current Assets
             11500 · Vendor Deposits                                                          -                       -                        -                          -                        -                         -
             11510 · Property Manager Advance                                                 -                       -                        -                          -                        -                         -
             14010 · Due From Shapiro                                                         -                       -                        -                          -                        -                         -
             14020 · Prepaid Expenses                                                         -                       -                        -                          -                        -                         -
             14025 · Professional Retainers                                                   -                       -                        -                          -                        -                         -
         Total Other Current Assets                                                           -                       -                        -                          -                        -                         -
   Total Current Assets                                                                       -                       -                        -                          -                        -                         -
   Fixed Assets
         15000 · Furniture and Equipment
             15110 · Office Equipment                                                         -                       -                        -                          -                        -                         -
         Total 15000 · Furniture and Equipment                                                -                       -                        -                          -                        -                         -
   Total Fixed Assets                                                                         -                       -                        -                          -                        -                         -
   Other Assets
         18000 · Property / Loan Investment                                             90,500              1,017,450                38,282,208                 150,000                    110,000                1,000,000
         18050 · Property proceeds/notepayoff                                                 -                       -                        -                          -                        -                         -
         18100 · Pre-Pet Capitalized Improvement                                        14,276                 34,195                  372,318                     9,591                      9,665                 170,557
         18200 · Post Pet Capitalized Improvemen
             18210 · Post-Petition Construction                                               -                       -                465,269                            -                 24,703                   17,291
             18230 · Post-Pet Property Taxes                                             2,658                   6,323                 253,045                     3,351                      2,658                  24,961
             18240 · Post-Pet Insurance                                                    126                   3,552                     7,034                     126                        126                    1,865
             18250 · Post-Pet Interest
             18260 · Post-Pet Utilities Costs                                                 -                  2,408                  17,543                            -                        -                   3,850
             18270 · Post-Pet Other Costs                                                5,006                   6,055                     3,516                   1,683                      1,683                    2,383
             18280 · Rental Property major improvements                                       -                       -                        -                          -                        -                         -
         Total 18200 · Post Pet Capitalized Improvemen                                   7,790                 18,338                  746,407                     5,160                    29,170                   50,350
         18300 · Structured Settlements                                                       -                       -                        -                          -                        -                         -
   Total Other Assets                                                                  112,566              1,069,983                39,400,933                 164,751                   148,835                 1,220,907
TOTAL ASSETS                                                                           112,566              1,069,983                39,400,933                 164,751                   148,835                 1,220,907

LIABILITIES & EQUITY
   Liabilities
         Current Liabilities
             Accounts Payable
                  20000 · Accounts Payable                                                 325                     764                  40,754                       325                        325                     724
             Total Accounts Payable                                                        325                     764                  40,754                       325                        325                     724
             Other Current Liabilities
                  20110 · Pre-Petition AP Scheduled                                           -                    664                  14,756                            -                        -                    358
                  20115 · Misc Current LIability/Payable
                  20120 · Tenant Deposit & Prepaid Rent                                       -                       -                        -                          -                        -                         -
                  24000 · Payroll Liabilities                                                 -                       -                        -                          -                        -                         -
                  24400 · Due (to)/from Group or affiliat                                8,915                 20,248                 3,692,039                    6,285                    30,720                     1,991
                  24500 · DIP Lender Note Payable                                             -                       -                        -                          -                        -                         -
             Total Other Current Liabilities                                             8,915                 20,912                 3,706,795                    6,285                    30,720                     2,349
         Total Current Liabilities                                                       9,240                 21,676                 3,747,548                    6,610                    31,045                     3,073
         Long Term Liabilities
             25200 · Due to / (from) Funds/Holdco                                      104,776              1,051,645                35,705,358                 159,591                   119,665                 1,170,557
             25250 · Due to Noteholders                                                       -                       -                        -                          -                        -                         -
             25300 · Due to Unitholders                                                       -                       -                        -                          -                        -                         -
         Total Long Term Liabilities                                                   104,776              1,051,645                35,705,358                 159,591                   119,665                 1,170,557
   Total Liabilities                                                                   114,016              1,073,321                39,452,906                 166,201                   150,710                 1,173,630
   Equity
         30000 · Opening Balance Equity                                                       -                   (664)                 (14,756)                          -                        -                    (358)
         32000 · Retained Earnings                                                            -                       -                        -                          -                        -                         -
         Retained Earnings/(Losses): Post-Pet Prior Period
         Net Income/(Loss): Post Petition Current Period                                 (1,450)                 (2,674)                (37,218)                   (1,450)                    (1,875)                47,635
   Total Equity                                                                          (1,450)                 (3,338)                (51,974)                   (1,450)                    (1,875)                47,277
TOTAL LIABILITIES & EQUITY                                                             112,566              1,069,983                39,400,933                 164,751                    148,835                1,220,907




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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
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                                                                          P-057 Donnington        P-059 Doubleleaf         P-060 Drawspan            P-061 Eldredge          P-062 Elstar Invest       P-063 Emerald Lake
                                                               Debtor:       Invest LLC              Invest LLC               Invest LLC               Invest LLC                   LLC                    Invest LLC

                                                             Case No.:         17-12744               17-12755                17-12767                  17-12775                  17-12782                  17-12788




                                                                         Total P-057 Donnington P-059 Doubleleaf Invest P-060 Drawspan Invest      P-061 Eldredge Invest                               P-063 Emerald Lake
                                                                               Investments               LLC                     LLC                        LLC             P-062 Elstar Invest LLC        Invest LLC

ASSETS
   Current Assets
         Checking/Savings
             Total 10000 · Cash                                                               -                       -                       -                        -                           -                        -
         Total Checking/Savings                                                               -                       -                       -                        -                           -                        -
         Other Current Assets
             11500 · Vendor Deposits                                                          -                       -                       -                        -                           -                        -
             11510 · Property Manager Advance                                           18,973                        -                       -                        -                         -                          -
             14010 · Due From Shapiro                                                         -                       -                       -                        -                         -                          -
             14020 · Prepaid Expenses                                                         -                       -                       -                        -                         -                          -
             14025 · Professional Retainers                                                   -                       -                       -                        -                         -                          -
         Total Other Current Assets                                                     18,973                        -                       -                        -                         -                          -
   Total Current Assets                                                                 18,973                        -                       -                        -                         -                          -
   Fixed Assets
         15000 · Furniture and Equipment
             15110 · Office Equipment                                                         -                       -                       -                        -                         -                          -
         Total 15000 · Furniture and Equipment                                                -                       -                       -                        -                         -                          -
   Total Fixed Assets                                                                         -                       -                       -                        -                         -                          -
   Other Assets
         18000 · Property / Loan Investment                                          5,750,000              1,285,000              1,035,000                   5,625,000                 7,220,000               6,700,000
         18050 · Property proceeds/notepayoff                                         (610,000)                       -                       -                        -                           -                        -
         18100 · Pre-Pet Capitalized Improvement                                       796,787                629,559                904,712                   3,795,996                 1,446,625               1,938,531
         18200 · Post Pet Capitalized Improvemen
             18210 · Post-Petition Construction                                            750                        -              414,812                   1,007,449                 1,136,704                     3,150
             18230 · Post-Pet Property Taxes                                           119,856                   8,084                13,162                     67,557                     85,227                  82,532
             18240 · Post-Pet Insurance                                                   1,142                  1,293                      54                   24,678                       502                   21,797
             18250 · Post-Pet Interest
             18260 · Post-Pet Utilities Costs                                             1,099                       -                  2,283                     1,713                     1,690                          -
             18270 · Post-Pet Other Costs                                               10,578                   3,200                   5,675                     1,773                           -                   1,060
             18280 · Rental Property major improvements                                       -                       -                       -                        -                           -                        -
         Total 18200 · Post Pet Capitalized Improvemen                                 133,425                 12,577                435,985                   1,103,169                 1,224,123                 108,538
         18300 · Structured Settlements                                                       -                       -                       -                        -                           -                        -
   Total Other Assets                                                                6,070,212              1,927,136              2,375,697                 10,524,165                  9,890,748               8,747,069
TOTAL ASSETS                                                                         6,089,185              1,927,136              2,375,697                 10,524,165                  9,890,748               8,747,069

LIABILITIES & EQUITY
   Liabilities
         Current Liabilities
             Accounts Payable
                  20000 · Accounts Payable                                                 975                     650                     975                     2,838                    25,285                      650
             Total Accounts Payable                                                        975                     650                     975                     2,838                    25,285                      650
             Other Current Liabilities
                  20110 · Pre-Petition AP Scheduled                                         46                        -                    938                      798                       403                           -
                  20115 · Misc Current LIability/Payable
                  20120 · Tenant Deposit & Prepaid Rent                                 17,185                        -                       -                        -                           -                        -
                  24000 · Payroll Liabilities                                                 -                       -                       -                        -                           -                        -
                  24400 · Due (to)/from Group or affiliat                             (464,894)                13,751                522,392                   1,178,199                 1,220,602                 (49,507)
                  24500 · DIP Lender Note Payable                                             -                       -                       -                        -                           -                        -
             Total Other Current Liabilities                                          (447,662)                13,751                523,330                   1,178,998                 1,221,005                 (49,507)
         Total Current Liabilities                                                    (446,687)                14,401                524,305                   1,181,835                 1,246,290                 (48,857)
         Long Term Liabilities
             25200 · Due to / (from) Funds/Holdco                                    6,546,787              1,914,559              1,859,129                   9,299,154                 8,655,411               8,638,531
             25250 · Due to Noteholders                                                       -                       -                       -                        -                           -                        -
             25300 · Due to Unitholders                                                       -                       -                       -                        -                           -                        -
         Total Long Term Liabilities                                                 6,546,787              1,914,559              1,859,129                   9,299,154                 8,655,411               8,638,531
   Total Liabilities                                                                 6,100,100              1,928,960              2,383,434                 10,480,989                  9,901,701               8,589,674
   Equity
         30000 · Opening Balance Equity                                                    479                        -                   (938)                     (798)                     (403)                         -
         32000 · Retained Earnings                                                            -                       -                       -                        -                           -                        -
         Retained Earnings/(Losses): Post-Pet Prior Period                                2,746                                                                                                                     39,495
         Net Income/(Loss): Post Petition Current Period                               (14,139)                  (1,824)                 (6,799)                 43,975                    (10,550)                117,900
   Total Equity                                                                        (10,914)                  (1,824)                 (7,737)                 43,176                    (10,953)                157,395
TOTAL LIABILITIES & EQUITY                                                           6,089,185              1,927,136              2,375,697                 10,524,165                  9,890,748               8,747,069




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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
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                                                                           P-064 Fieldpoint         P-065 Franconia         P-066 Gateshead         P-067 Glenn Rich        P-068 Goose Rocks        P-069 Goosebrook
                                                               Debtor:        Invest LLC            Notch Inves LLC            Invest LLC              Invest LLC               Invest LLC               Invest LLC

                                                             Case No.:         17-12794                17-12797                17-12794                17-12602                 17-12611                 17-12617




                                                                         P-064 Fieldpoint Invest P-065 Franconia Notch P-066 Gateshead Invest       P-067 Glenn Rich        P-068 Goose Rocks        P-069 Goosebrook
                                                                                  LLC                  Inves LLC                LLC                    Invest LLC               Invest LLC               Invest LLC

ASSETS
   Current Assets
         Checking/Savings
             Total 10000 · Cash                                                                -                       -                       -                       -                        -                        -
         Total Checking/Savings                                                                -                       -                       -                       -                        -                        -
         Other Current Assets
             11500 · Vendor Deposits                                                           -                       -                       -                       -                        -                        -
             11510 · Property Manager Advance                                             6,663                        -               63,851                          -                        -                        -
             14010 · Due From Shapiro                                                          -                       -                       -                       -                        -                        -
             14020 · Prepaid Expenses                                                          -                       -                       -                       -                        -                        -
             14025 · Professional Retainers                                                    -                       -                       -                       -                        -                        -
         Total Other Current Assets                                                       6,663                        -               63,851                          -                        -                        -
   Total Current Assets                                                                   6,663                        -               63,851                          -                        -                        -
   Fixed Assets
         15000 · Furniture and Equipment
             15110 · Office Equipment                                                          -                       -                       -                       -                        -                        -
         Total 15000 · Furniture and Equipment                                                 -                       -                       -                       -                        -                        -
   Total Fixed Assets                                                                          -                       -                       -                       -                        -                        -
   Other Assets
         18000 · Property / Loan Investment                                           800,000                 100,000               2,000,000                  120,000               6,750,000                4,000,000
         18050 · Property proceeds/notepayoff                                         (884,029)                        -            (2,287,089)                        -                        -                        -
         18100 · Pre-Pet Capitalized Improvement                                        21,346                    9,397               183,613                   17,253               8,594,949                1,063,533
         18200 · Post Pet Capitalized Improvemen
             18210 · Post-Petition Construction                                         13,914                         -                       -                       -             1,714,945                1,269,629
             18230 · Post-Pet Property Taxes                                            16,433                    2,658                44,651                     2,641                 54,425                   25,032
             18240 · Post-Pet Insurance                                                 10,547                      273                23,905                       126                 14,687                   23,441
             18250 · Post-Pet Interest
             18260 · Post-Pet Utilities Costs                                               290                        -                  5,021                        -                     854                    1,265
             18270 · Post-Pet Other Costs                                                      -                  1,683                   1,859                   1,968                 19,380                         98
             18280 · Rental Property major improvements                                 21,499                         -               25,108                          -                        -                        -
         Total 18200 · Post Pet Capitalized Improvemen                                  62,683                    4,614               100,545                     4,735              1,804,290                1,319,465
         18300 · Structured Settlements                                                        -                       -                       -                       -                        -                        -
   Total Other Assets                                                                          -              114,011                     (2,931)              141,988              17,149,240                6,382,997
TOTAL ASSETS                                                                              6,663               114,011                  60,920                  141,988              17,149,240                6,382,997

LIABILITIES & EQUITY
   Liabilities
         Current Liabilities
             Accounts Payable
                  20000 · Accounts Payable                                                1,625                     325                17,094                       325                 29,605                      1,950
             Total Accounts Payable                                                       1,625                     325                17,094                       325                 29,605                      1,950
             Other Current Liabilities
                  20110 · Pre-Petition AP Scheduled                                       4,100                        -                  3,727                        -                   1,142                    2,526
                  20115 · Misc Current LIability/Payable
                  20120 · Tenant Deposit & Prepaid Rent                                   5,510                        -               18,451                          -                        -                        -
                  24000 · Payroll Liabilities                                                  -                       -                       -                       -                        -                        -
                  24400 · Due (to)/from Group or affiliat                             (752,246)                   5,788             (1,642,103)                   5,909              2,567,422                1,414,812
                  24500 · DIP Lender Note Payable                                              -                       -                       -                       -                        -                        -
             Total Other Current Liabilities                                          (742,637)                   5,788             (1,619,925)                   5,909              2,568,564                1,417,339
         Total Current Liabilities                                                    (741,012)                   6,113             (1,602,831)                   6,234              2,598,169                1,419,289
         Long Term Liabilities
             25200 · Due to / (from) Funds/Holdco                                     806,346                 109,397               2,183,613                  137,253              14,540,620                4,973,860
             25250 · Due to Noteholders                                                        -                       -                       -                       -                        -                        -
             25300 · Due to Unitholders                                                        -                       -                       -                       -                        -                        -
         Total Long Term Liabilities                                                  806,346                 109,397               2,183,613                  137,253              14,540,620                4,973,860
   Total Liabilities                                                                    65,334                115,510                 580,782                  143,487              17,138,789                6,393,149
   Equity
         30000 · Opening Balance Equity                                                   (4,002)                      -                  (4,125)                      -                   (1,142)                  (2,526)
         32000 · Retained Earnings                                                             -                       -                       -                       -                        -                        -
         Retained Earnings/(Losses): Post-Pet Prior Period                                7,143                                        16,969
         Net Income/(Loss): Post Petition Current Period                               (61,812)                   (1,499)            (532,706)                    (1,499)               11,593                      (7,625)
   Total Equity                                                                        (58,671)                   (1,499)            (519,862)                    (1,499)               10,450                  (10,151)
TOTAL LIABILITIES & EQUITY                                                                6,663               114,011                  60,920                  141,988              17,149,240                6,382,997




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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
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                                                                                                                                                                                                             P-075
                                                                       P-070 Graeme Park          P-071 Grand Midway       P-072 Gravenstein       P-073 Green Gables         P-074 Grenadier           Grumblethorpe
                                                               Debtor:     Invest LLC                 Invest LLC              Invest LLC               Invest LLC               Invest LLC                Invest LLC

                                                             Case No.:       17-12622                  17-12628                17-12632                17-12637                   17-12643                  17-12649




                                                                         P-070 Graeme Park        P-071 Grand Midway       P-072 Gravenstein       P-073 Green Gables       P-074 Grenadier Invest     P-075 Grumblethorpe
                                                                             Invest LLC               Invest LLC              Invest LLC               Invest LLC                    LLC                    Invest LLC

ASSETS
   Current Assets
         Checking/Savings
             Total 10000 · Cash                                                              -                         -                       -                        -                         -                         -
         Total Checking/Savings                                                              -                         -                       -                        -                         -                         -
         Other Current Assets
             11500 · Vendor Deposits                                                         -                         -                       -                        -                         -                         -
             11510 · Property Manager Advance                                                -                         -                       -                        -                         -                         -
             14010 · Due From Shapiro                                                        -                         -                       -                        -                         -                         -
             14020 · Prepaid Expenses                                                        -                         -                       -                        -                         -                         -
             14025 · Professional Retainers                                                  -                         -                       -                        -                         -                         -
         Total Other Current Assets                                                          -                         -                       -                        -                         -                         -
   Total Current Assets                                                                      -                         -                       -                        -                         -                         -
   Fixed Assets
         15000 · Furniture and Equipment
             15110 · Office Equipment                                                        -                         -                       -                        -                         -                         -
         Total 15000 · Furniture and Equipment                                               -                         -                       -                        -                         -                         -
   Total Fixed Assets                                                                        -                         -                       -                        -                         -                         -
   Other Assets
         18000 · Property / Loan Investment                                       9,500,000                36,000,000               4,750,000               10,250,000                    100,000                  120,000
         18050 · Property proceeds/notepayoff                                                -                         -                       -                        -                         -                         -
         18100 · Pre-Pet Capitalized Improvement                                    185,062                  615,069                 2,597,224                 274,761                       5,656                     5,565
         18200 · Post Pet Capitalized Improvemen
             18210 · Post-Petition Construction                                     325,085                 1,055,175                1,741,018                 753,158                            -                         -
             18230 · Post-Pet Property Taxes                                         55,114                  323,919                   27,344                   61,665                         733                     2,658
             18240 · Post-Pet Insurance                                              11,564                       502                          -                   259                         126                       273
             18250 · Post-Pet Interest
             18260 · Post-Pet Utilities Costs                                           3,579                          -                  748                     7,060                           -                         -
             18270 · Post-Pet Other Costs                                               1,520                     596                      49                     1,600                      1,743                     1,683
             18280 · Rental Property major improvements                                      -                         -                       -                        -                         -                         -
         Total 18200 · Post Pet Capitalized Improvemen                              396,861                 1,380,192                1,769,159                 823,742                       2,602                     4,614
         18300 · Structured Settlements                                                      -                         -                       -                        -                         -                         -
   Total Other Assets                                                            10,081,923                37,995,262                9,116,382              11,348,504                    108,258                  130,179
TOTAL ASSETS                                                                     10,081,923                37,995,262                9,116,382              11,348,504                    108,258                  130,179

LIABILITIES & EQUITY
   Liabilities
         Current Liabilities
             Accounts Payable
                  20000 · Accounts Payable                                              1,855                627,441                  231,650                  206,477                         325                       325
             Total Accounts Payable                                                     1,855                627,441                  231,650                  206,477                         325                       325
             Other Current Liabilities
                  20110 · Pre-Petition AP Scheduled                                     7,516                  45,000                     504                  101,305                            -                         -
                  20115 · Misc Current LIability/Payable
                  20120 · Tenant Deposit & Prepaid Rent                                      -                         -                       -                        -                         -                         -
                  24000 · Payroll Liabilities                                                -                         -                       -                        -                         -                         -
                  24400 · Due (to)/from Group or affiliat                           449,633                27,964,345                1,636,872                 761,672                       3,827                     5,888
                  24500 · DIP Lender Note Payable                                            -                         -                       -                        -                         -                         -
             Total Other Current Liabilities                                        457,149                28,009,345                1,637,377                 862,977                       3,827                     5,888
         Total Current Liabilities                                                  459,004                28,636,786                1,869,026               1,069,454                       4,152                     6,213
         Long Term Liabilities
             25200 · Due to / (from) Funds/Holdco                                 9,634,534                10,545,231                7,265,618              10,412,312                    105,656                  125,565
             25250 · Due to Noteholders                                                      -                         -                       -                        -                         -                         -
             25300 · Due to Unitholders                                                      -                         -                       -                        -                         -                         -
         Total Long Term Liabilities                                              9,634,534                10,545,231                7,265,618              10,412,312                    105,656                  125,565
   Total Liabilities                                                             10,093,538                39,182,017                9,134,644              11,481,766                    109,808                  131,778
   Equity
         30000 · Opening Balance Equity                                                 (7,516)               (45,000)                    (504)               (101,305)                           -                         -
         32000 · Retained Earnings                                                           -                         -                       -                        -                         -                         -
         Retained Earnings/(Losses): Post-Pet Prior Period
         Net Income/(Loss): Post Petition Current Period                                (4,099)            (1,141,756)                 (17,758)                (31,958)                      (1,550)                   (1,599)
   Total Equity                                                                     (11,615)               (1,186,756)                 (18,262)               (133,263)                      (1,550)                   (1,599)
TOTAL LIABILITIES & EQUITY                                                       10,081,923                37,995,262                9,116,382              11,348,504                    108,258                  130,179




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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
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                                                                         P-076 Hackmatack         P-077 Haffenburg          P-078 Haralson          P-080 Harringworth         P-081 Hawthorne        P-082 Hazelpoint
                                                               Debtor:      Invest LLC               Invest LLC               Invest LLC                Invest, LLC               Invest LLC             Invest LLC

                                                             Case No.:       17-12653                17-12659                  17-12663                 17-12669                   18-10291                17-12674




                                                                         P-076 Hackmatack         P-077 Haffenburg        P-078 Haralson Invest     P-080 Harringworth       P-081 Hawthorne Invest P-082 Hazelpoint Invest
                                                                             Invest LLC              Invest LLC                   LLC                   Invest, LLC                   LLC                    LLC

ASSETS
   Current Assets
         Checking/Savings
             Total 10000 · Cash                                                              -                       -                         -                         -                  47,393                         -
         Total Checking/Savings                                                              -                       -                         -                         -                  47,393                         -
         Other Current Assets
             11500 · Vendor Deposits                                                         -                       -                         -                         -                        -                        -
             11510 · Property Manager Advance                                                -                       -                         -                         -                        -                        -
             14010 · Due From Shapiro                                                        -                       -                         -                         -                        -                        -
             14020 · Prepaid Expenses                                                        -                       -                         -                         -                        -                        -
             14025 · Professional Retainers                                                  -                       -                         -                         -                        -                        -
         Total Other Current Assets                                                          -                       -                         -                         -                        -                        -
   Total Current Assets                                                                      -                       -                         -                         -                  47,393                         -
   Fixed Assets
         15000 · Furniture and Equipment
             15110 · Office Equipment                                                        -                       -                         -                         -                        -                        -
         Total 15000 · Furniture and Equipment                                               -                       -                         -                         -                        -                        -
   Total Fixed Assets                                                                        -                       -                         -                         -                        -                        -
   Other Assets
         18000 · Property / Loan Investment                                        575,000                           -                 160,000                           -               2,080,000                         -
         18050 · Property proceeds/notepayoff                                                -                       -                         -                         -                        -                        -
         18100 · Pre-Pet Capitalized Improvement                                    55,235                           -                    6,414                          -                    1,050                        -
         18200 · Post Pet Capitalized Improvemen
             18210 · Post-Petition Construction                                              -                       -                         -                         -                        -                        -
             18230 · Post-Pet Property Taxes                                            3,603                        -                    4,044                          -                  13,088                         -
             18240 · Post-Pet Insurance                                                      -                       -                      126                          -                    8,974                        -
             18250 · Post-Pet Interest
             18260 · Post-Pet Utilities Costs                                           2,174                        -                         -                         -                     522                         -
             18270 · Post-Pet Other Costs                                               4,251                     100                     1,783                      100                      6,831                      98
             18280 · Rental Property major improvements                                      -                       -                         -                         -                        -                        -
         Total 18200 · Post Pet Capitalized Improvemen                              10,028                        100                     5,954                      100                    29,416                       98
         18300 · Structured Settlements                                                      -                       -                         -                         -                        -                        -
   Total Other Assets                                                              640,263                        100                  172,368                       100                 2,110,466                       98
TOTAL ASSETS                                                                       640,263                        100                  172,368                       100                 2,157,859                       98

LIABILITIES & EQUITY
   Liabilities
         Current Liabilities
             Accounts Payable
                  20000 · Accounts Payable                                                536                     325                       325                      325                       699                      325
             Total Accounts Payable                                                       536                     325                       325                      325                       699                      325
             Other Current Liabilities
                  20110 · Pre-Petition AP Scheduled                                       763                        -                         -                         -                    1,050                        -
                  20115 · Misc Current LIability/Payable
                  20120 · Tenant Deposit & Prepaid Rent                                      -                       -                         -                         -                        -                        -
                  24000 · Payroll Liabilities                                                -                       -                         -                         -                        -                        -
                  24400 · Due (to)/from Group or affiliat                           12,506                        900                     7,079                    1,323                    40,634                    1,223
                  24500 · DIP Lender Note Payable                                            -                       -                         -                         -                        -                        -
             Total Other Current Liabilities                                        13,269                        900                     7,079                    1,323                    41,684                    1,223
         Total Current Liabilities                                                  13,805                      1,225                     7,404                    1,648                    42,383                    1,548
         Long Term Liabilities
             25200 · Due to / (from) Funds/Holdco                                  630,235                           -                 166,414                           -               2,081,050                         -
             25250 · Due to Noteholders                                                      -                       -                         -                         -                        -                        -
             25300 · Due to Unitholders                                                      -                       -                         -                         -                        -                        -
         Total Long Term Liabilities                                               630,235                           -                 166,414                           -               2,081,050                         -
   Total Liabilities                                                               644,040                      1,225                  173,818                     1,648                 2,123,433                    1,548
   Equity
         30000 · Opening Balance Equity                                                  (763)                       -                         -                         -                    2,128                        -
         32000 · Retained Earnings                                                           -                       -                         -                         -                        -                        -
         Retained Earnings/(Losses): Post-Pet Prior Period                                                                                                                                  12,307
         Net Income/(Loss): Post Petition Current Period                                (3,014)                 (1,125)                   (1,450)                  (1,548)                  19,991                    (1,450)
   Total Equity                                                                         (3,777)                 (1,125)                   (1,450)                  (1,548)                  34,427                    (1,450)
TOTAL LIABILITIES & EQUITY                                                         640,263                        100                  172,368                       100                 2,157,859                       98




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DIP Woodbridge Group of Companies, LLC
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                                                                          P-084 Heilbron              P-085 Hollyline         P-086 Hornbeam          P-087 Idared Invest       P-088 Imperial Aly       P-092 Lenni Heights
                                                               Debtor:   Manor Invest LLC              Owners LLC                Invest LLC                   LLC                  Invest LLC                Invest LLC

                                                             Case No.:        17-12681                   17-12688                17-12694                  17-12701                 17-12708                  17-12720




                                                                         P-084 Heilbron Manor      P-085 Hollyline Owners P-086 Hornbeam Invest       P-087 Idared Invest       P-088 Imperial Aly       P-092 Lenni Heights
                                                                              Invest LLC                    LLC                    LLC                        LLC                  Invest LLC                Invest LLC

ASSETS
   Current Assets
         Checking/Savings
             Total 10000 · Cash                                                               -                          -                       -                          -                        -                         -
         Total Checking/Savings                                                               -                          -                       -                          -                        -                         -
         Other Current Assets
             11500 · Vendor Deposits                                                          -                          -                       -                          -                        -                         -
             11510 · Property Manager Advance                                                 -                          -                       -                          -                        -                         -
             14010 · Due From Shapiro                                                         -                          -                       -                          -                        -                         -
             14020 · Prepaid Expenses                                                         -                          -                       -                          -                        -                         -
             14025 · Professional Retainers                                                   -                          -                       -                          -                        -                         -
         Total Other Current Assets                                                           -                          -                       -                          -                        -                         -
   Total Current Assets                                                                       -                          -                       -                          -                        -                         -
   Fixed Assets
         15000 · Furniture and Equipment
             15110 · Office Equipment                                                         -                          -                       -                          -                        -                         -
         Total 15000 · Furniture and Equipment                                                -                          -                       -                          -                        -                         -
   Total Fixed Assets                                                                         -                          -                       -                          -                        -                         -
   Other Assets
         18000 · Property / Loan Investment                                         6,300,000                  1,499,000              9,500,000                   118,500                 7,600,000                  165,000
         18050 · Property proceeds/notepayoff                                                 -                          -                       -                          -                        -               (178,040)
         18100 · Pre-Pet Capitalized Improvement                                      379,039                   540,914               1,939,734                       9,421                 300,354                      7,186
         18200 · Post Pet Capitalized Improvemen
             18210 · Post-Petition Construction                                       276,110                    18,231               1,042,699                             -               152,468                            -
             18230 · Post-Pet Property Taxes                                           37,819                    19,149                 36,044                        2,531                  50,261                      4,044
             18240 · Post-Pet Insurance                                                16,169                         625                     502                       126                          -                    126
             18250 · Post-Pet Interest
             18260 · Post-Pet Utilities Costs                                              815                          19                  1,624                           -                        -                         -
             18270 · Post-Pet Other Costs                                                6,575                      3,298                        -                    2,068                      525                     1,683
             18280 · Rental Property major improvements                                       -                          -                       -                          -                        -                         -
         Total 18200 · Post Pet Capitalized Improvemen                                337,487                    41,322               1,080,869                       4,725                 203,255                      5,854
         18300 · Structured Settlements                                                       -                          -                       -                          -                        -                         -
   Total Other Assets                                                               7,016,526                  2,081,236             12,520,603                   132,646                 8,103,609                            -
TOTAL ASSETS                                                                        7,016,526                  2,081,236             12,520,603                   132,646                 8,103,609                            -

LIABILITIES & EQUITY
   Liabilities
         Current Liabilities
             Accounts Payable
                  20000 · Accounts Payable                                             19,070                       1,550               14,960                          325                      975                      325
             Total Accounts Payable                                                    19,070                       1,550               14,960                          325                      975                      325
             Other Current Liabilities
                  20110 · Pre-Petition AP Scheduled                                      5,312                           -                    544                           -                  4,631                           -
                  20115 · Misc Current LIability/Payable
                  20120 · Tenant Deposit & Prepaid Rent                                       -                          -                       -                          -                        -                         -
                  24000 · Payroll Liabilities                                                 -                          -                       -                          -                        -                         -
                  24400 · Due (to)/from Group or affiliat                             333,489                    41,547               1,108,368                       5,850                 259,880                   (86,166)
                  24500 · DIP Lender Note Payable                                             -                          -                       -                          -                        -                         -
             Total Other Current Liabilities                                          338,801                    41,547               1,108,912                       5,850                 264,511                   (86,166)
         Total Current Liabilities                                                    357,870                    43,097               1,123,872                       6,175                 265,486                   (85,841)
         Long Term Liabilities
             25200 · Due to / (from) Funds/Holdco                                   6,668,168                  2,039,914             11,404,575                   127,921                 7,845,504                  172,186
             25250 · Due to Noteholders                                                       -                          -                       -                          -                        -                         -
             25300 · Due to Unitholders                                                       -                          -                       -                          -                        -                         -
         Total Long Term Liabilities                                                6,668,168                  2,039,914             11,404,575                   127,921                 7,845,504                  172,186
   Total Liabilities                                                                7,026,038                  2,083,011             12,528,447                   134,096                 8,110,990                   86,345
   Equity
         30000 · Opening Balance Equity                                                  (5,312)                         -                   (544)                          -                  (4,631)                         -
         32000 · Retained Earnings                                                            -                          -                       -                          -                        -                         -
         Retained Earnings/(Losses): Post-Pet Prior Period
         Net Income/(Loss): Post Petition Current Period                                 (4,200)                    (1,775)                 (7,300)                   (1,450)                  (2,750)                (86,345)
   Total Equity                                                                          (9,512)                    (1,775)                 (7,844)                   (1,450)                  (7,381)                (86,345)
TOTAL LIABILITIES & EQUITY                                                          7,016,526                  2,081,236             12,520,603                   132,646                 8,103,609                            -




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                                                                         P-093 Lilac Meadow        P-094 Lilac Valley       P-095 Lincolnshire         P-096 Lonetree          P-097 Longbourn        P-098 Mason Run
                                                               Debtor:       Invest LLC               Invest LLC                Invest LLC               Invest LLC               Invest LLC             Invest LLC

                                                             Case No.:        17-12728                 18-10292                 17-12733                  17-12740                17-12746               17-12751




                                                                         P-093 Lilac Meadow        P-094 Lilac Valley       P-095 Lincolnshire       P-096 Lonetree Invest     P-097 Longbourn        P-098 Mason Run
                                                                             Invest LLC               Invest LLC                Invest LLC                   LLC                  Invest LLC             Invest LLC

ASSETS
   Current Assets
         Checking/Savings
             Total 10000 · Cash                                                               -                         -                        -                        -                      -                       -
         Total Checking/Savings                                                               -                         -                        -                        -                      -                       -
         Other Current Assets
             11500 · Vendor Deposits                                                          -                         -                        -                        -                      -                       -
             11510 · Property Manager Advance                                                 -                         -                        -                        -                      -                       -
             14010 · Due From Shapiro                                                         -                         -                        -                        -                      -                       -
             14020 · Prepaid Expenses                                                         -                         -                        -                        -                      -                       -
             14025 · Professional Retainers                                                   -                         -                        -                        -                      -                       -
         Total Other Current Assets                                                           -                         -                        -                        -                      -                       -
   Total Current Assets                                                                       -                         -                        -                        -                      -                       -
   Fixed Assets
         15000 · Furniture and Equipment
             15110 · Office Equipment                                                         -                         -                        -                        -                      -                       -
         Total 15000 · Furniture and Equipment                                                -                         -                        -                        -                      -                       -
   Total Fixed Assets                                                                         -                         -                        -                        -                      -                       -
   Other Assets
         18000 · Property / Loan Investment                                        9,000,000                   555,000                3,100,000                   135,000              2,990,000               2,600,000
         18050 · Property proceeds/notepayoff                                                 -               (736,639)                          -                        -                      -                       -
         18100 · Pre-Pet Capitalized Improvement                                   1,835,373                   168,862                1,890,878                      9,931             2,322,285               1,348,961
         18200 · Post Pet Capitalized Improvemen
             18210 · Post-Petition Construction                                      946,214                            -                38,549                           -              683,468                 134,128
             18230 · Post-Pet Property Taxes                                          55,008                      6,896                  40,436                      3,351                37,502                  32,222
             18240 · Post-Pet Insurance                                                       -                   1,448                          -                     273                16,230                  10,421
             18250 · Post-Pet Interest
             18260 · Post-Pet Utilities Costs                                              934                     771                       680                          -                  1,664                  2,336
             18270 · Post-Pet Other Costs                                                     -                   3,662                          -                     100                40,907                  10,648
             18280 · Rental Property major improvements                                       -                         -                        -                        -                      -                       -
         Total 18200 · Post Pet Capitalized Improvemen                             1,002,156                    12,777                   79,665                      3,724               779,771                 189,755
         18300 · Structured Settlements                                                       -                         -                        -                        -                      -                       -
   Total Other Assets                                                             11,837,529                            -             5,070,543                   148,655              6,092,056               4,138,716
TOTAL ASSETS                                                                      11,837,529                            -             5,070,543                   148,655              6,092,056               4,138,716

LIABILITIES & EQUITY
   Liabilities
         Current Liabilities
             Accounts Payable
                  20000 · Accounts Payable                                           160,839                      2,494                      696                       325                15,790                    3,975
             Total Accounts Payable                                                  160,839                      2,494                      696                       325                15,790                    3,975
             Other Current Liabilities
                  20110 · Pre-Petition AP Scheduled                                        516                          -                36,269                           -                   249                 17,311
                  20115 · Misc Current LIability/Payable
                  20120 · Tenant Deposit & Prepaid Rent                                       -                         -                        -                        -                      -                       -
                  24000 · Payroll Liabilities                                                 -                         -                        -                        -                      -                       -
                  24400 · Due (to)/from Group or affiliat                          1,372,166                  (618,169)                  81,218                      4,849               943,513                 245,594
                  24500 · DIP Lender Note Payable                                             -                         -                        -                        -                      -                       -
             Total Other Current Liabilities                                       1,372,682                  (618,169)                 117,487                      4,849               943,762                 262,905
         Total Current Liabilities                                                 1,533,521                  (615,675)                 118,183                      5,174               959,552                 266,880
         Long Term Liabilities
             25200 · Due to / (from) Funds/Holdco                                 10,312,149                   723,862                4,990,878                   144,931              5,143,352               3,891,572
             25250 · Due to Noteholders                                                       -                         -                        -                        -                      -                       -
             25300 · Due to Unitholders                                                       -                         -                        -                        -                      -                       -
         Total Long Term Liabilities                                              10,312,149                   723,862                4,990,878                   144,931              5,143,352               3,891,572
   Total Liabilities                                                              11,845,670                   108,187                5,109,061                   150,105              6,102,904               4,158,452
   Equity
         30000 · Opening Balance Equity                                                   (516)                         -               (36,269)                          -                   (249)              (17,311)
         32000 · Retained Earnings                                                            -                         -                        -                        -                      -                       -
         Retained Earnings/(Losses): Post-Pet Prior Period
         Net Income/(Loss): Post Petition Current Period                                 (7,625)              (108,187)                    (2,249)                   (1,450)             (10,599)                   (2,425)
   Total Equity                                                                          (8,141)              (108,187)                 (38,518)                     (1,450)             (10,848)                (19,736)
TOTAL LIABILITIES & EQUITY                                                        11,837,529                            -             5,070,543                   148,655              6,092,056               4,138,716




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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
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                                                                         P-099 Massabesic        P-100 Melody Lane          P-101 Merrimack          P-102 Mineola Invest        P-103 Monadnock           P-104 Moravian
                                                               Debtor:      Invest LLC               Invest LLC               Valley Invest                  LLC                    Invest LLC               Invest LLC

                                                             Case No.:       18-10293                17-12757                   17-12665                   17-12673                 17-12682                  17-12690




                                                                         P-099 Massabesic        P-100 Melody Lane        P-101 Merrimack Valley      P-102 Mineola Invest       P-103 Monadnock         P-104 Moravian Invest
                                                                            Invest LLC               Invest LLC                   Invest                      LLC                   Invest LLC                   LLC

ASSETS
   Current Assets
         Checking/Savings
             Total 10000 · Cash                                                             -                        -                          -                            -                      -                         -
         Total Checking/Savings                                                             -                        -                          -                          -                        -                         -
         Other Current Assets
             11500 · Vendor Deposits                                                        -                        -                          -                          -                        -                         -
             11510 · Property Manager Advance                                               -                        -                          -                          -                        -                         -
             14010 · Due From Shapiro                                                       -                        -                          -                          -                        -                         -
             14020 · Prepaid Expenses                                                       -                        -                          -                          -                        -                         -
             14025 · Professional Retainers                                                 -                        -                          -                          -                        -                         -
         Total Other Current Assets                                                         -                        -                          -                          -                        -                         -
   Total Current Assets                                                                     -                        -                          -                          -                        -                         -
   Fixed Assets
         15000 · Furniture and Equipment
             15110 · Office Equipment                                                       -                        -                          -                          -                        -                         -
         Total 15000 · Furniture and Equipment                                              -                        -                          -                          -                        -                         -
   Total Fixed Assets                                                                       -                        -                          -                          -                        -                         -
   Other Assets
         18000 · Property / Loan Investment                                        765,000                  100,000                     120,000                    120,000                 160,000                   1,342,500
         18050 · Property proceeds/notepayoff                                      (867,761)                         -                          -                            -                      -                         -
         18100 · Pre-Pet Capitalized Improvement                                     94,212                  10,228                      20,824                       5,367                    9,976                   46,918
         18200 · Post Pet Capitalized Improvemen
             18210 · Post-Petition Construction                                          148                         -                          -                          -                        -                         -
             18230 · Post-Pet Property Taxes                                            2,145                   2,658                      2,751                      2,658                    3,351                     7,951
             18240 · Post-Pet Insurance                                                     -                     126                        126                        126                      273                     9,676
             18250 · Post-Pet Interest
             18260 · Post-Pet Utilities Costs                                            906                         -                          -                          -                        -                    1,894
             18270 · Post-Pet Other Costs                                               5,349                   1,683                      1,691                      1,683                    1,683                     3,258
             18280 · Rental Property major improvements                                     -                        -                          -                          -                        -                         -
         Total 18200 · Post Pet Capitalized Improvemen                                  8,549                   4,467                      4,568                      4,467                    5,307                   22,779
         18300 · Structured Settlements                                                     -                        -                          -                          -                        -                         -
   Total Other Assets                                                                       -               114,695                     145,392                    129,834                 175,283                   1,412,197
TOTAL ASSETS                                                                                -               114,695                     145,392                    129,834                 175,283                   1,412,197

LIABILITIES & EQUITY
   Liabilities
         Current Liabilities
             Accounts Payable
                  20000 · Accounts Payable                                               325                      325                        325                        325                      325                       788
             Total Accounts Payable                                                      325                      325                        325                        325                      325                       788
             Other Current Liabilities
                  20110 · Pre-Petition AP Scheduled                                      308                         -                          -                          -                        -                      380
                  20115 · Misc Current LIability/Payable
                  20120 · Tenant Deposit & Prepaid Rent                                     -                        -                          -                          -                        -                         -
                  24000 · Payroll Liabilities                                               -                        -                          -                          -                        -                         -
                  24400 · Due (to)/from Group or affiliat                          (730,962)                    5,692                      6,019                      5,741                    6,432                   24,149
                  24500 · DIP Lender Note Payable                                           -                        -                          -                          -                        -                         -
             Total Other Current Liabilities                                       (730,654)                    5,692                      6,019                      5,741                    6,432                   24,529
         Total Current Liabilities                                                 (730,329)                    6,017                      6,344                      6,066                    6,757                   25,316
         Long Term Liabilities
             25200 · Due to / (from) Funds/Holdco                                   859,212                 110,228                     140,824                    125,367                 169,976                   1,388,957
             25250 · Due to Noteholders                                                     -                        -                          -                          -                        -                         -
             25300 · Due to Unitholders                                                     -                        -                          -                          -                        -                         -
         Total Long Term Liabilities                                                859,212                 110,228                     140,824                    125,367                 169,976                   1,388,957
   Total Liabilities                                                                128,883                 116,245                     147,168                    131,433                 176,733                   1,414,273
   Equity
         30000 · Opening Balance Equity                                                  (308)                       -                          -                          -                        -                     (380)
         32000 · Retained Earnings                                                          -                        -                          -                            -                      -                         -
         Retained Earnings/(Losses): Post-Pet Prior Period
         Net Income/(Loss): Post Petition Current Period                           (128,575)                    (1,550)                    (1,776)                    (1,599)                  (1,450)                   (1,696)
   Total Equity                                                                    (128,883)                    (1,550)                    (1,776)                    (1,599)                  (1,450)                   (2,076)
TOTAL LIABILITIES & EQUITY                                                                  -               114,695                     145,392                    129,834                 175,283                   1,412,197




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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
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                                                                           P-105 Mountain             P-106 Mt. Holly         P-107 Mutsu Invest P-108 Newville Invest           P-109 Old Carbon         P-110 Old Maitland
                                                               Debtor:      Spring Invest               Invest LLC                   LLC                 LLC                        Invest LLC                Invest LLC

                                                             Case No.:         17-12698                  17-12707                 17-12719                  17-12734                 17-12743                 17-12752




                                                                         P-105 Mountain Spring      P-106 Mt. Holly Invest                             P-108 Newville Invest     P-109 Old Carbon         P-110 Old Maitland
                                                                                Invest                      LLC            P-107 Mutsu Invest LLC              LLC                  Invest LLC                Invest LLC

ASSETS
   Current Assets
         Checking/Savings
             Total 10000 · Cash                                                                -                         -                        -                         -                        -                         -
         Total Checking/Savings                                                                -                         -                        -                         -                        -                         -
         Other Current Assets
             11500 · Vendor Deposits                                                           -                         -                        -                         -                        -                         -
             11510 · Property Manager Advance                                                  -                         -                        -                         -                        -                         -
             14010 · Due From Shapiro                                                          -                         -                        -                         -                        -                         -
             14020 · Prepaid Expenses                                                          -                         -                        -                         -                        -                         -
             14025 · Professional Retainers                                                    -                         -                        -                         -                        -                         -
         Total Other Current Assets                                                            -                         -                        -                         -                        -                         -
   Total Current Assets                                                                        -                         -                        -                         -                        -                         -
   Fixed Assets
         15000 · Furniture and Equipment
             15110 · Office Equipment                                                          -                         -                        -                         -                        -                         -
         Total 15000 · Furniture and Equipment                                                 -                         -                        -                         -                        -                         -
   Total Fixed Assets                                                                          -                         -                        -                         -                        -                         -
   Other Assets
         18000 · Property / Loan Investment                                         3,600,000                    125,000                 140,000                    137,500                 110,000                 7,500,000
         18050 · Property proceeds/notepayoff                                                  -                         -                        -                         -                        -                         -
         18100 · Pre-Pet Capitalized Improvement                                      439,769                     16,550                  13,678                      11,558                    5,690                 723,571
         18200 · Post Pet Capitalized Improvemen
             18210 · Post-Petition Construction                                        20,210                            -                        -                         -                        -                236,265
             18230 · Post-Pet Property Taxes                                           54,422                       2,971                    2,658                     3,351                    2,658                  14,702
             18240 · Post-Pet Insurance                                                     126                       253                      126                          -                     126                  59,517
             18250 · Post-Pet Interest
             18260 · Post-Pet Utilities Costs                                                  -                      158                         -                         -                        -                   2,102
             18270 · Post-Pet Other Costs                                                 6,556                     1,414                    2,463                     2,090                    1,683                      400
             18280 · Rental Property major improvements                                        -                         -                        -                         -                        -                         -
         Total 18200 · Post Pet Capitalized Improvemen                                 81,314                       4,796                    5,247                     5,441                    4,467                 312,985
         18300 · Structured Settlements                                                        -                         -                        -                         -                        -                         -
   Total Other Assets                                                                4,121,083                   146,346                 158,925                    154,499                 120,157                 8,536,556
TOTAL ASSETS                                                                         4,121,083                   146,346                 158,925                    154,499                 120,157                 8,536,556

LIABILITIES & EQUITY
   Liabilities
         Current Liabilities
             Accounts Payable
                  20000 · Accounts Payable                                                  650                       325                      325                       732                      325                    1,250
             Total Accounts Payable                                                         650                       325                      325                       732                      325                    1,250
             Other Current Liabilities
                  20110 · Pre-Petition AP Scheduled                                         275                          -                        -                         -                        -                   1,108
                  20115 · Misc Current LIability/Payable
                  20120 · Tenant Deposit & Prepaid Rent                                        -                         -                        -                         -                        -                         -
                  24000 · Payroll Liabilities                                                  -                         -                        -                         -                        -                         -
                  24400 · Due (to)/from Group or affiliat                              83,863                       6,347                    6,372                     6,208                    5,641                 279,265
                  24500 · DIP Lender Note Payable                                              -                         -                        -                         -                        -                         -
             Total Other Current Liabilities                                           84,138                       6,347                    6,372                     6,208                    5,641                 280,373
         Total Current Liabilities                                                     84,788                       6,672                    6,697                     6,940                    5,966                 281,623
         Long Term Liabilities
             25200 · Due to / (from) Funds/Holdco                                    4,038,719                   141,550                 153,678                    149,058                 115,690                 8,223,571
             25250 · Due to Noteholders                                                        -                         -                        -                         -                        -                         -
             25300 · Due to Unitholders                                                        -                         -                        -                         -                        -                         -
         Total Long Term Liabilities                                                4,038,719                    141,550                 153,678                    149,058                 115,690                 8,223,571
   Total Liabilities                                                                 4,123,507                   148,222                 160,375                    155,998                 121,656                 8,505,194
   Equity
         30000 · Opening Balance Equity                                                    (275)                         -                        -                         -                        -                   (1,108)
         32000 · Retained Earnings                                                             -                         -                        -                         -                        -                         -
         Retained Earnings/(Losses): Post-Pet Prior Period
         Net Income/(Loss): Post Petition Current Period                                  (2,149)                   (1,876)                  (1,450)                   (1,499)                  (1,499)                32,470
   Total Equity                                                                           (2,424)                   (1,876)                  (1,450)                   (1,499)                  (1,499)                31,362
TOTAL LIABILITIES & EQUITY                                                           4,121,083                   146,346                 158,925                    154,499                 120,157                 8,536,556




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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
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                                                                           P-111 Owl Ridge          P-112 Papirovka         P-113 Pawtuckaway         P-114 Pemberley          P-115 Pemigewasset          P-116 Pennhurst
                                                               Debtor:        Invest LLC               Invest LLC               Invest LLC               Invest LLC                   Invest                  Invest LLC

                                                             Case No.:         17-12763                17-12774                 17-12783                  17-12790                  17-12800                   18-10296




                                                                         P-111 Owl Ridge Invest P-112 Papirovka Invest      P-113 Pawtuckaway       P-114 Pemberley Invest     P-115 Pemigewasset        P-116 Pennhurst Invest
                                                                                 LLC                     LLC                    Invest LLC                  LLC                       Invest                      LLC

ASSETS
   Current Assets
         Checking/Savings
             Total 10000 · Cash                                                                -                       -                        -                         -                         -                   98,821
         Total Checking/Savings                                                                -                       -                        -                         -                         -                   98,821
         Other Current Assets
             11500 · Vendor Deposits                                                           -                       -                        -                         -                         -                         -
             11510 · Property Manager Advance                                                  -                       -                        -                         -                         -                         -
             14010 · Due From Shapiro                                                          -                       -                        -                         -                         -                         -
             14020 · Prepaid Expenses                                                          -                       -                        -                         -                         -                         -
             14025 · Professional Retainers                                                    -                       -                        -                         -                         -                         -
         Total Other Current Assets                                                            -                       -                        -                         -                         -                         -
   Total Current Assets                                                                        -                       -                        -                         -                         -                   98,821
   Fixed Assets
         15000 · Furniture and Equipment
             15110 · Office Equipment                                                          -                       -                        -                         -                         -                         -
         Total 15000 · Furniture and Equipment                                                 -                       -                        -                         -                         -                         -
   Total Fixed Assets                                                                          -                       -                        -                         -                         -                         -
   Other Assets
         18000 · Property / Loan Investment                                             95,000                185,000               13,500,000                  1,660,000                 150,000                   19,525,000
         18050 · Property proceeds/notepayoff                                                  -                       -                        -                         -                         -              (19,615,874)
         18100 · Pre-Pet Capitalized Improvement                                        12,802                 11,156                3,705,710                  1,284,482                      9,839                       452
         18200 · Post Pet Capitalized Improvemen
             18210 · Post-Petition Construction                                                -                       -             1,687,045                     20,666                           -                         -
             18230 · Post-Pet Property Taxes                                              2,658                   4,044                 82,457                     20,948                      3,351                    82,094
             18240 · Post-Pet Insurance                                                     126                     126                         -                         -                      273                          -
             18250 · Post-Pet Interest
             18260 · Post-Pet Utilities Costs                                                  -                       -                    673                      1,083                          -                     8,328
             18270 · Post-Pet Other Costs                                                 1,713                   1,683                    1,390                     5,619                     1,683                          -
             18280 · Rental Property major improvements                                        -                       -                        -                         -                         -                         -
         Total 18200 · Post Pet Capitalized Improvemen                                    4,497                   5,854              1,771,564                     48,315                      5,307                    90,422
         18300 · Structured Settlements                                                        -                       -                        -                         -                         -                         -
   Total Other Assets                                                                  112,299                202,010               18,977,274                  2,992,797                 165,146                             -
TOTAL ASSETS                                                                           112,299                202,010               18,977,274                  2,992,797                 165,146                       98,821

LIABILITIES & EQUITY
   Liabilities
         Current Liabilities
             Accounts Payable
                  20000 · Accounts Payable                                                  325                     325                232,375                       7,275                       325                    10,087
             Total Accounts Payable                                                         325                     325                232,375                       7,275                       325                    10,087
             Other Current Liabilities
                  20110 · Pre-Petition AP Scheduled                                            -                       -                        -                    1,385                          -                      452
                  20115 · Misc Current LIability/Payable
                  20120 · Tenant Deposit & Prepaid Rent                                        -                       -                        -                         -                         -                         -
                  24000 · Payroll Liabilities                                                  -                       -                        -                         -                         -                         -
                  24400 · Due (to)/from Group or affiliat                                 5,722                   6,979              1,758,582                   (452,787)                     6,432               (21,017,390)
                  24500 · DIP Lender Note Payable                                              -                       -                        -                         -                         -                         -
             Total Other Current Liabilities                                              5,722                   6,979              1,758,582                   (451,402)                     6,432               (21,016,939)
         Total Current Liabilities                                                        6,047                   7,304              1,990,957                   (444,127)                     6,757               (21,006,851)
         Long Term Liabilities
             25200 · Due to / (from) Funds/Holdco                                      107,802                196,156               16,996,867                  2,944,482                 159,839                   19,525,452
             25250 · Due to Noteholders                                                        -                       -                        -                         -                         -                         -
             25300 · Due to Unitholders                                                        -                       -                        -                         -                         -                         -
         Total Long Term Liabilities                                                   107,802                196,156               16,996,867                  2,944,482                 159,839                   19,525,452
   Total Liabilities                                                                   113,849                203,460               18,987,824                  2,500,355                 166,596                   (1,481,399)
   Equity
         30000 · Opening Balance Equity                                                        -                       -                        -                    (1,385)                        -                   38,696
         32000 · Retained Earnings                                                             -                       -                        -                         -                         -
         Retained Earnings/(Losses): Post-Pet Prior Period                                                                                                                                                              90,663
         Net Income/(Loss): Post Petition Current Period                                  (1,550)                 (1,450)              (10,550)                   493,827                      (1,450)               1,450,862
   Total Equity                                                                           (1,550)                 (1,450)              (10,550)                   492,442                      (1,450)               1,580,221
TOTAL LIABILITIES & EQUITY                                                             112,299                202,010               18,977,274                  2,992,797                 165,146                       98,821




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                                                                         P-117 Pepperwood         P-118 Pinney Invest       P-119 Pinova Invest       P-120 Quarterpost        P-121 Red Woods           P-122 Ridgecrest
                                                               Debtor:       Invest LLC                  LLC                        LLC                  Invest LLC               Invest LLC                Invest LLC

                                                             Case No.:       17-12804                  17-12808                  17-12812                 17-12816                17-12824                   17-12821




                                                                         P-117 Pepperwood         P-118 Pinney Invest       P-119 Pinova Invest       P-120 Quarterpost        P-121 Red Woods         P-122 Ridgecrest Invest
                                                                             Invest LLC                  LLC                       LLC                   Invest LLC               Invest LLC                    LLC

ASSETS
   Current Assets
         Checking/Savings
             Total 10000 · Cash                                                              -                          -                         -                       -                       -                          -
         Total Checking/Savings                                                              -                          -                         -                       -                       -                          -
         Other Current Assets
             11500 · Vendor Deposits                                                         -                          -                         -                       -                       -                          -
             11510 · Property Manager Advance                                                -                          -                         -                       -                       -                          -
             14010 · Due From Shapiro                                                        -                          -                         -                       -                       -                          -
             14020 · Prepaid Expenses                                                        -                          -                         -                       -                       -                          -
             14025 · Professional Retainers                                                  -                          -                         -                       -                       -                          -
         Total Other Current Assets                                                          -                          -                         -                       -                       -                          -
   Total Current Assets                                                                      -                          -                         -                       -                       -                          -
   Fixed Assets
         15000 · Furniture and Equipment
             15110 · Office Equipment                                                        -                          -                         -                       -                       -                          -
         Total 15000 · Furniture and Equipment                                               -                          -                         -                       -                       -                          -
   Total Fixed Assets                                                                        -                          -                         -                       -                       -                          -
   Other Assets
         18000 · Property / Loan Investment                                        814,500                   1,800,000                  300,000                1,285,000                          -                  100,000
         18050 · Property proceeds/notepayoff                                    (1,011,126)                            -                         -            (5,227,012)                        -                          -
         18100 · Pre-Pet Capitalized Improvement                                   189,609                   1,390,506                   16,752                 3,921,766                215,457                      10,375
         18200 · Post Pet Capitalized Improvemen
             18210 · Post-Petition Construction                                              -                102,927                             -                     27                        -                          -
             18230 · Post-Pet Property Taxes                                            2,317                  22,777                       6,586                    7,134                81,445                        2,658
             18240 · Post-Pet Insurance                                                    28                     8,537                       126                    2,766                        -                       126
             18250 · Post-Pet Interest
             18260 · Post-Pet Utilities Costs                                           1,739                     2,106                           -                  3,195                        -                          -
             18270 · Post-Pet Other Costs                                               2,934                     4,506                     1,683                    7,126                     225                      1,683
             18280 · Rental Property major improvements                                      -                          -                         -                       -                       -                          -
         Total 18200 · Post Pet Capitalized Improvemen                                  7,017                 140,853                       8,396                 20,246                  81,670                        4,467
         18300 · Structured Settlements                                                      -                          -                         -                       -                       -                          -
   Total Other Assets                                                                        -               3,331,359                  325,148                           -              297,127                     114,842
TOTAL ASSETS                                                                                 -               3,331,359                  325,148                           -              297,127                     114,842

LIABILITIES & EQUITY
   Liabilities
         Current Liabilities
             Accounts Payable
                  20000 · Accounts Payable                                                650                       650                       325                    5,500                     650                        325
             Total Accounts Payable                                                       650                       650                       325                    5,500                     650                        325
             Other Current Liabilities
                  20110 · Pre-Petition AP Scheduled                                     2,148                     2,145                           -                  1,031                        -                          -
                  20115 · Misc Current LIability/Payable
                  20120 · Tenant Deposit & Prepaid Rent                                      -                          -                         -                       -                       -                          -
                  24000 · Payroll Liabilities                                                -                          -                         -                       -                       -                          -
                  24400 · Due (to)/from Group or affiliat                          (710,679)                  142,342                       9,521              (5,584,463)               300,399                        5,592
                  24500 · DIP Lender Note Payable                                            -                          -                         -                       -                       -                          -
             Total Other Current Liabilities                                       (708,531)                  144,486                       9,521              (5,583,432)               300,399                        5,592
         Total Current Liabilities                                                 (707,881)                  145,136                       9,846              (5,577,932)               301,049                        5,917
         Long Term Liabilities
             25200 · Due to / (from) Funds/Holdco                                 1,000,652                  3,190,467                  316,752                 5,206,766                         -                  110,375
             25250 · Due to Noteholders                                                      -                          -                         -                       -                       -                          -
             25300 · Due to Unitholders                                                      -                          -                         -                       -                       -                          -
         Total Long Term Liabilities                                              1,000,652                  3,190,467                  316,752                 5,206,766                         -                  110,375
   Total Liabilities                                                               292,771                   3,335,603                  326,598                  (371,166)               301,049                     116,292
   Equity
         30000 · Opening Balance Equity                                                 (2,148)                   (2,145)                         -                  (1,031)                      -                          -
         32000 · Retained Earnings                                                           -                          -                         -                       -                       -                          -
         Retained Earnings/(Losses): Post-Pet Prior Period
         Net Income/(Loss): Post Petition Current Period                           (290,623)                      (2,100)                   (1,450)              372,197                     (3,922)                    (1,450)
   Total Equity                                                                    (292,771)                      (4,245)                   (1,450)              371,166                     (3,922)                    (1,450)
TOTAL LIABILITIES & EQUITY                                                                   -               3,331,359                  325,148                           -              297,127                     114,842




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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
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                                                                         P-123 Riley Creek       P-124 Rising Sun        P-125 Sachs Bridge         P-126 Sagebrook        P-127 Seven Stars       P-128 Silk City Invest
                                                               Debtor:      Invest LLC              Invest LLC               Invest LLC                Invest LLC             Invest LLC                    LLC

                                                             Case No.:       17-12826               17-12828                 18-10297                   17-12830               17-12832                  17-12834




                                                                         P-123 Riley Creek       P-124 Rising Sun        P-125 Sachs Bridge       P-126 Sagebrook Invest   P-127 Seven Stars        P-128 Silk City Invest
                                                                            Invest LLC              Invest LLC               Invest LLC                    LLC                Invest LLC                     LLC

ASSETS
   Current Assets
         Checking/Savings
             Total 10000 · Cash                                                              -                       -                        -                        -                       -                         -
         Total Checking/Savings                                                              -                       -                        -                        -                       -                         -
         Other Current Assets
             11500 · Vendor Deposits                                                         -                       -                        -                        -                       -                         -
             11510 · Property Manager Advance                                                -                       -                        -                        -                       -                         -
             14010 · Due From Shapiro                                                        -                       -                        -                        -                       -                         -
             14020 · Prepaid Expenses                                                        -                       -                        -                        -                       -                         -
             14025 · Professional Retainers                                                  -                       -                        -                        -                       -                         -
         Total Other Current Assets                                                          -                       -                        -                        -                       -                         -
   Total Current Assets                                                                      -                       -                        -                        -                       -                         -
   Fixed Assets
         15000 · Furniture and Equipment
             15110 · Office Equipment                                                        -                       -                        -                        -                       -                         -
         Total 15000 · Furniture and Equipment                                               -                       -                        -                        -                       -                         -
   Total Fixed Assets                                                                        -                       -                        -                        -                       -                         -
   Other Assets
         18000 · Property / Loan Investment                                        7,760,000              3,000,000                3,000,000                  5,925,000               300,000                   2,950,000
         18050 · Property proceeds/notepayoff                                                -                       -              (522,321)                          -              (342,626)                          -
         18100 · Pre-Pet Capitalized Improvement                                   3,400,578                431,922                  173,856                  1,245,094                25,305                   1,295,429
         18200 · Post Pet Capitalized Improvemen
             18210 · Post-Petition Construction                                    1,702,326                 76,678                           -                  24,287                        -                1,987,817
             18230 · Post-Pet Property Taxes                                         91,661                  18,554                   50,750                     35,511                11,555                      34,042
             18240 · Post-Pet Insurance                                                 1,012                  2,189                     126                       6,648                   126                       7,678
             18250 · Post-Pet Interest
             18260 · Post-Pet Utilities Costs                                           3,603                       53                        -                      44                        -                     3,559
             18270 · Post-Pet Other Costs                                            13,823                  10,266                   45,529                       4,050                  6,450                    12,645
             18280 · Rental Property major improvements                                      -                       -                        -                        -                       -                         -
         Total 18200 · Post Pet Capitalized Improvemen                             1,812,425                107,741                   96,406                     70,540                18,131                   2,045,740
         18300 · Structured Settlements                                                      -                       -                        -                        -                       -                         -
   Total Other Assets                                                            12,973,003               3,539,663                2,747,940                  7,240,634                    810                  6,291,169
TOTAL ASSETS                                                                     12,973,003               3,539,663                2,747,940                  7,240,634                    810                  6,291,169

LIABILITIES & EQUITY
   Liabilities
         Current Liabilities
             Accounts Payable
                  20000 · Accounts Payable                                           73,483                      650                    1,450                      4,525                   650                    112,840
             Total Accounts Payable                                                  73,483                      650                    1,450                      4,525                   650                    112,840
             Other Current Liabilities
                  20110 · Pre-Petition AP Scheduled                                  29,542                  10,195                   16,888                     10,810                    780                        362
                  20115 · Misc Current LIability/Payable
                  20120 · Tenant Deposit & Prepaid Rent                                      -                       -                        -                        -                       -                         -
                  24000 · Payroll Liabilities                                                -                       -                        -                        -                       -                         -
                  24400 · Due (to)/from Group or affiliat                          1,773,630                164,710                 (661,595)                    78,737               (207,292)                 2,021,934
                  24500 · DIP Lender Note Payable                                            -                       -                        -                        -                       -                         -
             Total Other Current Liabilities                                       1,803,172                174,905                 (644,707)                    89,547               (206,512)                 2,022,296
         Total Current Liabilities                                                 1,876,655                175,555                 (643,257)                    94,072               (205,862)                 2,135,136
         Long Term Liabilities
             25200 · Due to / (from) Funds/Holdco                                11,136,440               3,376,777                3,173,856                  7,170,094               325,305                   4,173,085
             25250 · Due to Noteholders                                                      -                       -                        -                        -                       -                         -
             25300 · Due to Unitholders                                                      -                       -                        -                        -                       -                         -
         Total Long Term Liabilities                                             11,136,440               3,376,777                3,173,856                  7,170,094               325,305                   4,173,085
   Total Liabilities                                                             13,013,095               3,552,332                2,530,599                  7,264,166               119,443                   6,308,221
   Equity
         30000 · Opening Balance Equity                                              (29,542)               (10,195)                 (16,888)                   (10,810)                   (780)                      (362)
         32000 · Retained Earnings                                                           -                       -                        -                        -                       -                         -
         Retained Earnings/(Losses): Post-Pet Prior Period
         Net Income/(Loss): Post Petition Current Period                             (10,550)                  (2,474)               234,230                    (12,722)              (117,853)                    (16,690)
   Total Equity                                                                      (40,092)               (12,669)                 217,341                    (23,532)              (118,633)                    (17,052)
TOTAL LIABILITIES & EQUITY                                                       12,973,003               3,539,663                2,747,940                  7,240,634                    810                  6,291,169




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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of June 30, 218

                                                                         P-129 Silver Maple       P-138 Silverthorne         P-139 Springline         P-140 Springvale        P-141 Squaretop          P-142 Stayman
                                                               Debtor:      Invest LLC                Invest LLC                Invest LLC               Invest LLC              Invest LLC              Invest LLC

                                                             Case No.:       17-12836                 17-12582                   17-12585                18-10298                17-12589                 17-12594




                                                                         P-129 Silver Maple       P-138 Silverthorne       P-139 Springline Invest P-140 Springvale Invest P-141 Squaretop Invest    P-142 Stayman Invest
                                                                             Invest LLC               Invest LLC                    LLC                     LLC                     LLC                      LLC

ASSETS
   Current Assets
         Checking/Savings
             Total 10000 · Cash                                                               -                        -                         -                       -                      -                         -
         Total Checking/Savings                                                               -                        -                         -                       -                      -                         -
         Other Current Assets
             11500 · Vendor Deposits                                                          -                        -                         -                       -                      -                         -
             11510 · Property Manager Advance                                                 -                        -                         -                       -                      -                         -
             14010 · Due From Shapiro                                                         -                        -                         -                       -                      -                         -
             14020 · Prepaid Expenses                                                         -                        -                         -                       -                      -                         -
             14025 · Professional Retainers                                                   -                        -                         -                       -                      -                         -
         Total Other Current Assets                                                           -                        -                         -                       -                      -                         -
   Total Current Assets                                                                       -                        -                         -                       -                      -                         -
   Fixed Assets
         15000 · Furniture and Equipment
             15110 · Office Equipment                                                         -                        -                         -                       -                      -                         -
         Total 15000 · Furniture and Equipment                                                -                        -                         -                       -                      -                         -
   Total Fixed Assets                                                                         -                        -                         -                       -                      -                         -
   Other Assets
         18000 · Property / Loan Investment                                        6,500,000                1,150,000                  1,100,000               2,750,000               8,400,000                   90,000
         18050 · Property proceeds/notepayoff                                     (7,900,432)                          -                         -                       -                      -                         -
         18100 · Pre-Pet Capitalized Improvement                                   1,107,975                   24,237                     41,063                         -             9,706,501                     7,790
         18200 · Post Pet Capitalized Improvemen
             18210 · Post-Petition Construction                                      244,644                     1,500                      1,200                     750              3,467,583                          -
             18230 · Post-Pet Property Taxes                                          39,932                   15,783                     15,783                  22,302                  52,822                     2,658
             18240 · Post-Pet Insurance                                                 7,614                      126                        126                     126                 75,370                       126
             18250 · Post-Pet Interest
             18260 · Post-Pet Utilities Costs                                                 -                    213                        105                        -                  4,534                         -
             18270 · Post-Pet Other Costs                                                268                        82                         82                 35,381                     500                     1,683
             18280 · Rental Property major improvements                                       -                        -                         -                       -                      -                         -
         Total 18200 · Post Pet Capitalized Improvemen                               292,457                   17,704                     17,296                  58,559               3,600,808                     4,467
         18300 · Structured Settlements                                                       -                        -                         -                       -                      -                         -
   Total Other Assets                                                                         -             1,191,941                  1,158,359               2,808,559              21,707,309                  102,257
TOTAL ASSETS                                                                                  -             1,191,941                  1,158,359               2,808,559              21,707,309                  102,257

LIABILITIES & EQUITY
   Liabilities
         Current Liabilities
             Accounts Payable
                  20000 · Accounts Payable                                            15,500                     1,825                      1,525                     650                499,264                       325
             Total Accounts Payable                                                   15,500                     1,825                      1,525                     650                499,264                       325
             Other Current Liabilities
                  20110 · Pre-Petition AP Scheduled                                           -                     70                           -                       -                   709                          -
                  20115 · Misc Current LIability/Payable
                  20120 · Tenant Deposit & Prepaid Rent                                       -                        -                         -                       -                      -                         -
                  24000 · Payroll Liabilities                                                 -                        -                         -                       -                      -                         -
                  24400 · Due (to)/from Group or affiliat                         (7,814,094)                  18,134                     18,267                  66,152               3,148,437                     5,592
                  24500 · DIP Lender Note Payable                                             -                        -                         -                       -                      -                         -
             Total Other Current Liabilities                                      (7,814,094)                  18,204                     18,267                  66,152               3,149,145                     5,592
         Total Current Liabilities                                                (7,798,594)                  20,029                     19,792                  66,802               3,648,409                     5,917
         Long Term Liabilities
             25200 · Due to / (from) Funds/Holdco                                  7,605,598                1,174,237                  1,141,063               2,750,000              18,088,577                   97,790
             25250 · Due to Noteholders                                                       -                        -                         -                       -                      -                         -
             25300 · Due to Unitholders                                                       -                        -                         -                       -                      -                         -
         Total Long Term Liabilities                                               7,605,598                1,174,237                  1,141,063               2,750,000              18,088,577                   97,790
   Total Liabilities                                                                (192,996)               1,194,266                  1,160,855               2,816,802              21,736,986                  103,707
   Equity
         30000 · Opening Balance Equity                                                       -                     (70)                         -                       -                   (709)                        -
         32000 · Retained Earnings                                                            -                        -                         -                       -                      -                         -
         Retained Earnings/(Losses): Post-Pet Prior Period
         Net Income/(Loss): Post Petition Current Period                             192,996                     (2,255)                    (2,495)                 (8,243)              (28,968)                    (1,450)
   Total Equity                                                                      192,996                     (2,325)                    (2,495)                 (8,243)              (29,677)                    (1,450)
TOTAL LIABILITIES & EQUITY                                                                    -             1,191,941                  1,158,359               2,808,559              21,707,309                  102,257




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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
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                                                                           P-143 Steele Hill        P-144 Stepstone         P-145 Strawberry        P-146 Sturmer Pippin     P-147 Summerfree        P-150 Thornbury
                                                               Debtor:        Invest LLC               Invest LLC             Fields Invest              Invest LLC              Invest LLC          Farm Invest LLC

                                                             Case No.:         17-12598                17-12606                17-12613                   17-12629               17-12635                17-12651




                                                                         P-143 Steele Hill Invest P-144 Stepstone Invest    P-145 Strawberry         P-146 Sturmer Pippin    P-147 Summerfree       P-150 Thornbury Farm
                                                                                  LLC                      LLC                Fields Invest               Invest LLC             Invest LLC              Invest LLC

ASSETS
   Current Assets
         Checking/Savings
             Total 10000 · Cash                                                                -                       -                       -                        -                       -                        -
         Total Checking/Savings                                                                -                       -                       -                        -                       -                        -
         Other Current Assets
             11500 · Vendor Deposits                                                           -                       -                       -                        -                       -                        -
             11510 · Property Manager Advance                                                  -                       -                       -                        -                       -                        -
             14010 · Due From Shapiro                                                          -                       -                       -                        -                       -                        -
             14020 · Prepaid Expenses                                                          -                       -                       -                        -                       -                        -
             14025 · Professional Retainers                                                    -                       -                       -                        -                       -                        -
         Total Other Current Assets                                                            -                       -                       -                        -                       -                        -
   Total Current Assets                                                                        -                       -                       -                        -                       -                        -
   Fixed Assets
         15000 · Furniture and Equipment
             15110 · Office Equipment                                                          -                       -                       -                        -                       -                        -
         Total 15000 · Furniture and Equipment                                                 -                       -                       -                        -                       -                        -
   Total Fixed Assets                                                                          -                       -                       -                        -                       -                        -
   Other Assets
         18000 · Property / Loan Investment                                            125,000                 110,000                 122,500                 90,000,000             3,300,000                4,925,000
         18050 · Property proceeds/notepayoff                                         (144,388)                        -                       -                        -                       -                        -
         18100 · Pre-Pet Capitalized Improvement                                        15,808                    9,099                   7,505                 3,792,036             2,674,882                3,077,002
         18200 · Post Pet Capitalized Improvemen
             18210 · Post-Petition Construction                                                -                       -                       -                  169,480             1,890,209                  183,924
             18230 · Post-Pet Property Taxes                                              1,485                   2,658                        -                  538,049               22,240                    54,299
             18240 · Post-Pet Insurance                                                     126                     126                     126                         -                   1,508                     802
             18250 · Post-Pet Interest
             18260 · Post-Pet Utilities Costs                                                  -                       -                       -                   29,577                   3,816                        -
             18270 · Post-Pet Other Costs                                                 1,968                   1,683                   1,683                    46,389                   3,082                     500
             18280 · Rental Property major improvements                                        -                       -                       -                        -                       -                        -
         Total 18200 · Post Pet Capitalized Improvemen                                    3,580                   4,467                   1,809                   783,495             1,920,856                  239,525
         18300 · Structured Settlements                                                        -                       -                       -                        -                       -                        -
   Total Other Assets                                                                          -                123,566                131,814                 94,575,531             7,895,737                8,241,527
TOTAL ASSETS                                                                                   -                123,566                131,814                 94,575,531             7,895,737                8,241,527

LIABILITIES & EQUITY
   Liabilities
         Current Liabilities
             Accounts Payable
                  20000 · Accounts Payable                                                  650                     325                     325                    29,503              304,932                        975
             Total Accounts Payable                                                         650                     325                     325                    29,503              304,932                        975
             Other Current Liabilities
                  20110 · Pre-Petition AP Scheduled                                            -                       -                       -                   39,571               25,799                 1,112,938
                  20115 · Misc Current LIability/Payable
                  20120 · Tenant Deposit & Prepaid Rent                                        -                       -                       -                        -                       -                        -
                  24000 · Payroll Liabilities                                                  -                       -                       -                        -                       -                        -
                  24400 · Due (to)/from Group or affiliat                             (146,548)                   5,741                   2,934                   835,058             2,122,797                  282,940
                  24500 · DIP Lender Note Payable                                              -                       -                       -                        -                       -                        -
             Total Other Current Liabilities                                          (146,548)                   5,741                   2,934                   874,629             2,148,596                1,395,878
         Total Current Liabilities                                                    (145,898)                   6,066                   3,259                   904,132             2,453,528                1,396,853
         Long Term Liabilities
             25200 · Due to / (from) Funds/Holdco                                      140,808                  119,099                130,005                 93,727,064             5,486,541                7,961,061
             25250 · Due to Noteholders                                                        -                       -                       -                        -                       -                        -
             25300 · Due to Unitholders                                                        -                       -                       -                        -                       -                        -
         Total Long Term Liabilities                                                   140,808                  119,099                130,005                 93,727,064             5,486,541                7,961,061
   Total Liabilities                                                                      (5,090)               125,165                133,264                 94,631,196             7,940,069                9,357,914
   Equity
         30000 · Opening Balance Equity                                                        -                       -                       -                  (39,571)              (25,799)              (1,112,938)
         32000 · Retained Earnings                                                             -                       -                       -                        -                       -                        -
         Retained Earnings/(Losses): Post-Pet Prior Period
         Net Income/(Loss): Post Petition Current Period                                  5,090                   (1,599)                 (1,450)                 (16,094)              (18,532)                    (3,449)
   Total Equity                                                                           5,090                   (1,599)                 (1,450)                 (55,665)              (44,332)              (1,116,387)
TOTAL LIABILITIES & EQUITY                                                                     -                123,566                131,814                 94,575,531             7,895,737                8,241,527




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Balance Sheet by Property Company
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                                                                         P-152 Thunder Basin         P-155 Vallecito           P-156 Varga Invest       P-157 Wetterhorn         P-158 White Birch       P-159 White Dome
                                                               Debtor:        Invest LLC               Invest LLC                     LLC                  Invest LLC               Invest LLC               Invest LLC

                                                             Case No.:        17-12657                   17-12675                   17-12685                17-12693                 17-12702                17-12709




                                                                         P-152 Thunder Basin       P-155 Vallecito Invest                               P-157 Wetterhorn         P-158 White Birch       P-159 White Dome
                                                                              Invest LLC                   LLC                P-156 Varga Invest LLC       Invest LLC               Invest LLC              Invest LLC

ASSETS
   Current Assets
         Checking/Savings
             Total 10000 · Cash                                                               -                          -                          -                       -                        -                       -
         Total Checking/Savings                                                               -                          -                          -                       -                        -                       -
         Other Current Assets
             11500 · Vendor Deposits                                                          -                          -                          -                       -                        -                       -
             11510 · Property Manager Advance                                                 -                          -                          -                       -                        -                       -
             14010 · Due From Shapiro                                                         -                          -                         -                        -                        -                       -
             14020 · Prepaid Expenses                                                         -                          -                         -                        -                        -                       -
             14025 · Professional Retainers                                                   -                          -                         -                        -                        -                       -
         Total Other Current Assets                                                           -                          -                         -                        -                        -                       -
   Total Current Assets                                                                       -                          -                         -                        -                        -                       -
   Fixed Assets
         15000 · Furniture and Equipment
             15110 · Office Equipment                                                         -                          -                         -                        -                        -                       -
         Total 15000 · Furniture and Equipment                                                -                          -                         -                        -                        -                       -
   Total Fixed Assets                                                                         -                          -                         -                        -                        -                       -
   Other Assets
         18000 · Property / Loan Investment                                          200,000                     105,000                 13,549,000                 95,000                 3,100,000                750,000
         18050 · Property proceeds/notepayoff                                                 -                          -                          -                       -                        -                       -
         18100 · Pre-Pet Capitalized Improvement                                         9,851                    13,878                  6,889,210                 15,051                 2,350,831                 54,794
         18200 · Post Pet Capitalized Improvemen
             18210 · Post-Petition Construction                                               -                          -                1,680,992                         -              1,887,239                         -
             18230 · Post-Pet Property Taxes                                             4,044                      2,658                   165,224                    2,658                 35,867                  18,488
             18240 · Post-Pet Insurance                                                    126                        273                           -                    126                 25,873                       273
             18250 · Post-Pet Interest
             18260 · Post-Pet Utilities Costs                                                 -                          -                     1,236                        -                   406                          -
             18270 · Post-Pet Other Costs                                                1,683                      1,683                       598                    1,683                         -                  1,683
             18280 · Rental Property major improvements                                       -                          -                          -                       -                        -                       -
         Total 18200 · Post Pet Capitalized Improvemen                                   5,854                      4,614                 1,848,050                    4,467               1,949,385                 20,444
         18300 · Structured Settlements                                                       -                          -                         -                        -                        -                       -
   Total Other Assets                                                                215,705                     123,492                 22,286,260                114,518                 7,400,216                825,238
TOTAL ASSETS                                                                         215,705                     123,492                 22,286,260                114,518                 7,400,216                825,238

LIABILITIES & EQUITY
   Liabilities
         Current Liabilities
             Accounts Payable
                  20000 · Accounts Payable                                                 325                        325                   180,147                      325                187,675                       325
             Total Accounts Payable                                                        325                        325                   180,147                      325                187,675                       325
             Other Current Liabilities
                  20110 · Pre-Petition AP Scheduled                                           -                        70                       423                         -                    20                          -
                  20115 · Misc Current LIability/Payable
                  20120 · Tenant Deposit & Prepaid Rent                                       -                          -                          -                       -                        -                       -
                  24000 · Payroll Liabilities                                                 -                          -                          -                       -                        -                       -
                  24400 · Due (to)/from Group or affiliat                                7,028                      5,839                 2,346,196                    5,692               1,838,472                 21,569
                  24500 · DIP Lender Note Payable                                             -                          -                         -                        -                        -                       -
             Total Other Current Liabilities                                             7,028                      5,909                 2,346,619                    5,692               1,838,492                 21,569
         Total Current Liabilities                                                       7,353                      6,234                 2,526,766                    6,017               2,026,167                 21,894
         Long Term Liabilities
             25200 · Due to / (from) Funds/Holdco                                    209,851                     118,878                 19,770,467                110,051                 5,384,619                804,794
             25250 · Due to Noteholders                                                       -                          -                         -                        -                        -                       -
             25300 · Due to Unitholders                                                       -                          -                         -                        -                        -                       -
         Total Long Term Liabilities                                                 209,851                     118,878                 19,770,467                110,051                 5,384,619                804,794
   Total Liabilities                                                                 217,204                     125,112                 22,297,233                116,068                 7,410,786                826,688
   Equity
         30000 · Opening Balance Equity                                                       -                        (70)                     (423)                       -                    (20)                        -
         32000 · Retained Earnings                                                            -                          -                          -                       -                        -                       -
         Retained Earnings/(Losses): Post-Pet Prior Period
         Net Income/(Loss): Post Petition Current Period                                 (1,499)                    (1,550)                 (10,550)                   (1,550)               (10,550)                   (1,450)
   Total Equity                                                                          (1,499)                    (1,620)                 (10,973)                   (1,550)               (10,570)                   (1,450)
TOTAL LIABILITIES & EQUITY                                                           215,705                     123,492                 22,286,260                114,518                 7,400,216                825,238




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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
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                                                                           P-164 Wildernest         P-165 Willow Grove        P-166 Winding Road        P-167 Zestar Invest         P-187 695 Buggy          P-188 Deerfield Park
                                                               Debtor:        Invest LLC                Invest LLC                  Invest                     LLC                     Circle, LLC               Invest LLC

                                                             Case No.:         17-12723                  17-12732                  17-12739                  17-12792                   17-12714                  17-12714




                                                                         P-164 Wildernest Invest     P-165 Willow Grove       P-166 Winding Road        P-167 Zestar Invest       P-187 695 Buggy Circle     P-188 Deerfield Park
                                                                                  LLC                    Invest LLC                 Invest                     LLC                         LLC                   Invest LLC

ASSETS
   Current Assets
         Checking/Savings
             Total 10000 · Cash                                                                -                          -                        -                          -                         -                           -
         Total Checking/Savings                                                                -                          -                        -                          -                         -                           -
         Other Current Assets
             11500 · Vendor Deposits                                                           -                          -                        -                          -                         -                           -
             11510 · Property Manager Advance                                                  -                          -                        -                          -                         -                           -
             14010 · Due From Shapiro                                                          -                          -                        -                          -                         -                           -
             14020 · Prepaid Expenses                                                          -                          -                        -                          -                         -                           -
             14025 · Professional Retainers                                                    -                          -                        -                          -                         -                           -
         Total Other Current Assets                                                            -                          -                        -                          -                         -                           -
   Total Current Assets                                                                        -                          -                        -                          -                         -                           -
   Fixed Assets
         15000 · Furniture and Equipment
             15110 · Office Equipment                                                          -                          -                        -                          -                         -                           -
         Total 15000 · Furniture and Equipment                                                 -                          -                        -                          -                         -                           -
   Total Fixed Assets                                                                          -                          -                        -                          -                         -                           -
   Other Assets
         18000 · Property / Loan Investment                                            100,000                 9,820,000               14,550,000                  2,800,000                  1,375,000                 4,500,000
         18050 · Property proceeds/notepayoff                                                  -                          -                        -                          -              (1,676,920)               (6,694,877)
         18100 · Pre-Pet Capitalized Improvement                                      2,187,820                           -             5,479,972                  1,341,926                    301,159                 2,160,812
         18200 · Post Pet Capitalized Improvemen
             18210 · Post-Petition Construction                                           2,950                   48,423                3,054,149                  1,606,282                            -                    7,150
             18230 · Post-Pet Property Taxes                                              5,349                   58,970                   88,897                     44,480                            -                           -
             18240 · Post-Pet Insurance                                                        -                    6,981                  71,331                     13,631                         754                     (2,898)
             18250 · Post-Pet Interest
             18260 · Post-Pet Utilities Costs                                             1,785                     2,134                          -                      386                           7                           -
             18270 · Post-Pet Other Costs                                                 3,183                     1,250                       600                     3,182                           -                  29,813
             18280 · Rental Property major improvements                                        -                          -                        -                          -                         -                           -
         Total 18200 · Post Pet Capitalized Improvemen                                  13,267                   117,758                3,214,977                  1,667,961                         761                   34,065
         18300 · Structured Settlements                                                        -                          -                        -                          -                         -                           -
   Total Other Assets                                                                 2,301,087                9,937,758               23,244,949                  5,809,887                            -                           -
TOTAL ASSETS                                                                          2,301,087                9,937,758               23,244,949                  5,809,887                            -                           -

LIABILITIES & EQUITY
   Liabilities
         Current Liabilities
             Accounts Payable
                  20000 · Accounts Payable                                                  555                     1,373                 270,871                   130,042                          325                       325
             Total Accounts Payable                                                         555                     1,373                 270,871                   130,042                          325                       325
             Other Current Liabilities
                  20110 · Pre-Petition AP Scheduled                                       1,295                      378                      1,308                     1,686                           -                           -
                  20115 · Misc Current LIability/Payable
                  20120 · Tenant Deposit & Prepaid Rent                                        -                          -                        -                          -                         -                           -
                  24000 · Payroll Liabilities                                                  -                          -                        -                          -                         -                           -
                  24400 · Due (to)/from Group or affiliat                               15,306                   112,887                3,526,958                  2,051,367                 (1,661,122)               (8,188,610)
                  24500 · DIP Lender Note Payable                                              -                          -                        -                          -                         -                           -
             Total Other Current Liabilities                                            16,601                   113,266                3,528,266                  2,053,053                 (1,661,122)               (8,188,610)
         Total Current Liabilities                                                      17,156                   114,639                3,799,138                  2,183,095                 (1,660,797)               (8,188,285)
         Long Term Liabilities
             25200 · Due to / (from) Funds/Holdco                                     2,287,820                9,820,000               19,999,621                  3,639,028                  1,676,159                 6,660,812
             25250 · Due to Noteholders                                                        -                          -                        -                          -                         -                           -
             25300 · Due to Unitholders                                                        -                          -                        -                          -                         -                           -
         Total Long Term Liabilities                                                  2,287,820                9,820,000               19,999,621                  3,639,028                  1,676,159                 6,660,812
   Total Liabilities                                                                  2,304,976                9,934,639               23,798,759                  5,822,123                     15,362                (1,527,473)
   Equity
         30000 · Opening Balance Equity                                                   (1,295)                    (378)                    (1,308)                   (1,686)                  63,191                             -
         32000 · Retained Earnings                                                             -                          -                        -                          -                         -                           -
         Retained Earnings/(Losses): Post-Pet Prior Period                                                           750                                                                        (73,813)                1,535,293
         Net Income/(Loss): Post Petition Current Period                                  (2,595)                   2,747                (552,502)                   (10,550)                      (4,740)                   (7,820)
   Total Equity                                                                           (3,890)                   3,119                (553,810)                   (12,236)                   (15,362)                1,527,473
TOTAL LIABILITIES & EQUITY                                                            2,301,087                9,937,758               23,244,949                  5,809,887                            -                           -




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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of June 30, 218

                                                                         P-207 Frog Rock         P-048 Crossbeam            P-287 Kirkstead        Silverleaf Funding            Summit Cut             Topchord
                                                               Debtor:     Investments              Invest LLC              Inves Huron St.                LLC                Investments LLC        Investments LLC

                                                             Case No.:      17-12714                 17-12650                  18-10675                17-12837                  17-12640               17-12664




                                                                         P-207 Frog Rock         P-208 Crossbeam          P-287 Kirkstead Inves      Total Silverleaf         Total Summit Cut        Total Topchord
                                                                           Investments              Investments                 Huron St.             Funding LLC             Investments LLC        Investments LLC

ASSETS
   Current Assets
         Checking/Savings
             Total 10000 · Cash                                                             -                        -                        -                         (0)                      -                      -
         Total Checking/Savings                                                             -                        -                        -                         (0)                      -                      -
         Other Current Assets
             11500 · Vendor Deposits                                                        -                        -                        -                          -                       -                      -
             11510 · Property Manager Advance                                               -                        -                        -                          -                       -                 1,000
             14010 · Due From Shapiro                                              500,000                           -                        -                          -                       -                      -
             14020 · Prepaid Expenses                                                       -                        -                        -                          -                       -                      -
             14025 · Professional Retainers                                                 -                        -                        -                          -                       -                      -
         Total Other Current Assets                                                500,000                           -                        -                          -                       -                 1,000
   Total Current Assets                                                            500,000                           -                        -                         (0)                      -                 1,000
   Fixed Assets
         15000 · Furniture and Equipment
             15110 · Office Equipment                                                       -                        -                        -                          -                       -                      -
         Total 15000 · Furniture and Equipment                                              -                        -                        -                          -                       -                      -
   Total Fixed Assets                                                                       -                        -                        -                          -                       -                      -
   Other Assets
         18000 · Property / Loan Investment                                      7,125,000                           -                        -                 835,000               18,900,000              1,533,333
         18050 · Property proceeds/notepayoff                                    (7,125,000)                         -                        -                (160,174)                         -                      -
         18100 · Pre-Pet Capitalized Improvement                                            -                        -                        -                  15,215                1,468,218                172,281
         18200 · Post Pet Capitalized Improvemen
             18210 · Post-Petition Construction                                             -                   8,000                         -                  12,430                  561,402                   1,942
             18230 · Post-Pet Property Taxes                                                -                        -                        -                  13,226                  109,920                 31,926
             18240 · Post-Pet Insurance                                                     -                        -                        -                  57,543                   12,743                   4,559
             18250 · Post-Pet Interest
             18260 · Post-Pet Utilities Costs                                               -                        -                        -                    1,785                    2,828                    894
             18270 · Post-Pet Other Costs                                                   -                   1,800                         -                    7,906                         -                   615
             18280 · Rental Property major improvements                                     -                        -                        -                          -                       -                      -
         Total 18200 · Post Pet Capitalized Improvemen                                      -                   9,800                         -                  92,889                  686,893                 39,937
         18300 · Structured Settlements                                                     -                        -                        -                          -                       -                      -
   Total Other Assets                                                                       -                   9,800                         -                 782,930               21,055,111              1,745,551
TOTAL ASSETS                                                                       500,000                      9,800                         -                 782,930               21,055,111              1,746,551

LIABILITIES & EQUITY
   Liabilities
         Current Liabilities
             Accounts Payable
                  20000 · Accounts Payable                                               325                    8,325                      374                     1,053                  28,518                     650
             Total Accounts Payable                                                      325                    8,325                      374                     1,053                  28,518                     650
             Other Current Liabilities
                  20110 · Pre-Petition AP Scheduled                                         -                        -                        -                  10,157                   19,520                     880
                  20115 · Misc Current LIability/Payable
                  20120 · Tenant Deposit & Prepaid Rent                                     -                        -                        -                          -                       -                      -
                  24000 · Payroll Liabilities                                               -                        -                        -                          -                       -                      -
                  24400 · Due (to)/from Group or affiliat                        (6,855,607)                    3,074                  (650,346)                 84,874                  788,107                 40,218
                  24500 · DIP Lender Note Payable                                           -                        -                        -                          -                       -                      -
             Total Other Current Liabilities                                     (6,855,607)                    3,074                  (650,346)                 95,031                  807,627                 41,098
         Total Current Liabilities                                               (6,855,282)                11,399                     (649,972)                 96,084                  836,145                 41,748
         Long Term Liabilities
             25200 · Due to / (from) Funds/Holdco                                7,125,000                           -                        -                 835,000               20,249,036              1,705,614
             25250 · Due to Noteholders                                                     -                        -                        -                          -                       -                      -
             25300 · Due to Unitholders                                                     -                        -                        -                          -                       -                      -
         Total Long Term Liabilities                                             7,125,000                           -                        -                 835,000               20,249,036              1,705,614
   Total Liabilities                                                               269,718                  11,399                     (649,972)                931,084               21,085,181              1,747,362
   Equity
         30000 · Opening Balance Equity                                                5,036                         -                        -                  (10,157)                (19,520)                   (460)
         32000 · Retained Earnings                                                 226,694                           -                        -                          -                       -                      -
         Retained Earnings/(Losses): Post-Pet Prior Period                             (3,657)                                                                 (136,770)                                             942
         Net Income/(Loss): Post Petition Current Period                               2,209                    (1,599)                649,972                    (1,226)                (10,550)                  (1,294)
   Total Equity                                                                    230,282                      (1,599)                649,972                 (148,153)                 (30,070)                   (812)
TOTAL LIABILITIES & EQUITY                                                         500,000                      9,800                         -                 782,930               21,055,111              1,746,551




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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of June 30, 218

                                                                                                                   Whiteacre Funding
                                                               Debtor:   WCBL 1               WCBL 2                     LLC                  WMIF 1              WMIF 2                  WMIF 3

                                                             Case No.:   17-12754             17-12758                 17-12713              17-12768            17-12772                17-12776




                                                                                                                     Total Whiteacre
                                                                         WCBL 1               WCBL 2                  Funding LLC           Total WMIF 1        Total WMIF 2            Total WMIF 3

ASSETS
   Current Assets
         Checking/Savings
             Total 10000 · Cash                                                          -                    -                        -                    -                     -                      -
         Total Checking/Savings                                                          -                    -                        -                    -                     -                      -
         Other Current Assets
             11500 · Vendor Deposits                                                     -                    -                        -                    -                     -                      -
             11510 · Property Manager Advance                                            -                    -                        -                    -                     -                      -
             14010 · Due From Shapiro                                                    -                    -                        -                    -                     -                      -
             14020 · Prepaid Expenses                                                    -                    -                        -                    -                     -                      -
             14025 · Professional Retainers                                              -                    -                        -                    -                     -                      -
         Total Other Current Assets                                                      -                    -                        -                    -                     -                      -
   Total Current Assets                                                                  -                    -                        -                    -                     -                      -
   Fixed Assets
         15000 · Furniture and Equipment
             15110 · Office Equipment                                                    -                    -                        -                    -                     -                      -
         Total 15000 · Furniture and Equipment                                           -                    -                        -                    -                     -                      -
   Total Fixed Assets                                                                    -                    -                        -                    -                     -                      -
   Other Assets
         18000 · Property / Loan Investment                                              -                    -               3,895,000            2,091,500                      -              483,000
         18050 · Property proceeds/notepayoff                                            -                    -                        -            (710,896)                     -             (243,000)
         18100 · Pre-Pet Capitalized Improvement                                         -                    -                 33,258                      -                     -                      -
         18200 · Post Pet Capitalized Improvemen
             18210 · Post-Petition Construction                                          -                    -                   5,714                     -                     -                      -
             18230 · Post-Pet Property Taxes                                             -                    -                124,114                 36,563                     -                      -
             18240 · Post-Pet Insurance                                                  -                    -                116,990                 14,292                     -                      -
             18250 · Post-Pet Interest
             18260 · Post-Pet Utilities Costs                                            -                    -                 27,311                      -                     -                      -
             18270 · Post-Pet Other Costs                                                -                    -                 20,548                  6,661                  916                       -
             18280 · Rental Property major improvements                                  -                    -                        -                    -                     -                      -
         Total 18200 · Post Pet Capitalized Improvemen                                   -                    -                294,677                 57,516                  916                       -
         18300 · Structured Settlements                                                  -                    -                        -                    -                     -                      -
   Total Other Assets                                                                    -                    -               4,222,935            1,438,120                   916               240,000
TOTAL ASSETS                                                                             -                    -               4,222,935            1,438,120                   916               240,000

LIABILITIES & EQUITY
   Liabilities
         Current Liabilities
             Accounts Payable
                  20000 · Accounts Payable                                            325                  325                    2,713                 2,426                  325                     325
             Total Accounts Payable                                                   325                  325                    2,713                 2,426                  325                     325
             Other Current Liabilities
                  20110 · Pre-Petition AP Scheduled                                      -               6,249                    3,654                     -                     -                      -
                  20115 · Misc Current LIability/Payable
                  20120 · Tenant Deposit & Prepaid Rent                                  -                    -                        -                    -                     -                      -
                  24000 · Payroll Liabilities                                            -                    -                        -                    -                     -                      -
                  24400 · Due (to)/from Group or affiliat                             785                (5,124)               290,309              (696,057)                  253              (259,289)
                  24500 · DIP Lender Note Payable                                        -                    -                        -                    -                     -                      -
             Total Other Current Liabilities                                          785                1,125                 293,962              (696,057)                  253              (259,289)
         Total Current Liabilities                                                  1,110                1,450                 296,676              (693,632)                  578              (258,964)
         Long Term Liabilities
             25200 · Due to / (from) Funds/Holdco                              (701,857)                      -               3,895,000          (19,709,052)        (66,740,616)           (269,136,320)
             25250 · Due to Noteholders                                                  -                    -                        -          12,378,102          42,706,218             220,175,655
             25300 · Due to Unitholders                                        702,197                        -                        -           9,422,500          24,033,484              49,440,612
         Total Long Term Liabilities                                                  340                     -               3,895,000            2,091,550                   (914)             479,947
   Total Liabilities                                                                1,450                1,450                4,191,676            1,397,918                   (337)             220,983
   Equity
         30000 · Opening Balance Equity                                                  -                    -                   (3,654)                   -                     -                18,000
         32000 · Retained Earnings                                                       -                    -                    (335)                    -                     -                      -
         Retained Earnings/(Losses): Post-Pet Prior Period                                                                        6,708                                                             2,467
         Net Income/(Loss): Post Petition Current Period                            (1,450)              (1,450)                28,540                 40,202               1,253                   (1,450)
   Total Equity                                                                     (1,450)              (1,450)                31,259                 40,202               1,253                  19,017
TOTAL LIABILITIES & EQUITY                                                               -                    -               4,222,935            1,438,120                   916               240,000




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DIP Woodbridge Group of Companies, LLC
Balance Sheet by Property Company
As of June 30, 218


                                                               Debtor:     WMIF 3a               WMIF 4            TOTAL

                                                             Case No.:    17-12780              17-12784




                                                                         Total WMIF 3a         Total WMIF 4        TOTAL

ASSETS
   Current Assets
         Checking/Savings
             Total 10000 · Cash                                                            -                  -     37,662,374
         Total Checking/Savings                                                            -                  -     37,662,374
         Other Current Assets
             11500 · Vendor Deposits                                                       -                  -         23,046
             11510 · Property Manager Advance                                              -                  -        118,680
             14010 · Due From Shapiro                                                      -                  -        500,000
             14020 · Prepaid Expenses                                                      -                  -           7,500
             14025 · Professional Retainers                                                -                  -        254,801
         Total Other Current Assets                                                        -                  -        904,027
   Total Current Assets                                                                    -                  -     38,566,401
   Fixed Assets
         15000 · Furniture and Equipment
             15110 · Office Equipment                                                      -                  -           9,638
         Total 15000 · Furniture and Equipment                                             -                  -           9,638
   Total Fixed Assets                                                                      -                  -           9,638
   Other Assets
         18000 · Property / Loan Investment                                       970,000            580,000       605,845,838
         18050 · Property proceeds/notepayoff                                     (970,000)          (577,081)      (93,049,888)
         18100 · Pre-Pet Capitalized Improvement                                           -                  -    139,086,511
         18200 · Post Pet Capitalized Improvemen
             18210 · Post-Petition Construction                                            -                  -     42,353,921
             18230 · Post-Pet Property Taxes                                               -            9,103         4,769,132
             18240 · Post-Pet Insurance                                                    -            1,474          895,125
             18250 · Post-Pet Interest                                                                                 130,318
             18260 · Post-Pet Utilities Costs                                              -                  -        218,918
             18270 · Post-Pet Other Costs                                                  -                  -        788,863
             18280 · Rental Property major improvements                                    -                  -         46,607
         Total 18200 · Post Pet Capitalized Improvemen                                     -          10,577        49,202,884
         18300 · Structured Settlements                                                    -                  -           1,893
   Total Other Assets                                                                      -          13,496       701,087,238
TOTAL ASSETS                                                                               -          13,496       739,663,276

LIABILITIES & EQUITY
   Liabilities
         Current Liabilities
             Accounts Payable
                  20000 · Accounts Payable                                               325               325      18,357,956
             Total Accounts Payable                                                      325               325      18,357,956
             Other Current Liabilities
                  20110 · Pre-Petition AP Scheduled                                        -                  -     13,265,082
                  20115 · Misc Current LIability/Payable                                                               317,042
                  20120 · Tenant Deposit & Prepaid Rent                                    -                  -         65,013
                  24000 · Payroll Liabilities                                              -                  -         71,150
                  24400 · Due (to)/from Group or affiliat                         (942,513)          (696,086)                -
                  24500 · DIP Lender Note Payable                                          -                  -     59,510,477
             Total Other Current Liabilities                                      (942,513)          (696,086)      73,228,764
         Total Current Liabilities                                                (942,188)          (695,761)      91,586,719
         Long Term Liabilities
             25200 · Due to / (from) Funds/Holdco                             (334,011,266)      (310,702,543)                -
             25250 · Due to Noteholders                                       256,037,976         247,121,021      778,418,972
             25300 · Due to Unitholders                                        78,943,348          64,157,951      226,700,092
         Total Long Term Liabilities                                              970,058            576,429      1,005,119,064
   Total Liabilities                                                               27,870            (119,332)    1,096,705,783
   Equity
         30000 · Opening Balance Equity                                                    -         111,000       (308,345,396)
         32000 · Retained Earnings                                                         -                  0      (7,736,251)
         Retained Earnings/(Losses): Post-Pet Prior Period                         (26,745)            (1,573)       (4,086,246)
         Net Income/(Loss): Post Petition Current Period                             (1,125)          23,401        (36,874,615)
   Total Equity                                                                    (27,870)          132,828       (357,042,507)
TOTAL LIABILITIES & EQUITY                                                                 -          13,496       739,663,276




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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                Case No. 17-12560 (KJC)
(Jointly Administered)                                                                Reporting Period: 06/30/2018

Notes to the 06/30/2018 Balance Sheets

Note 1.   Each column in the financial statements represents the financial activities for one Debtor affiliate. For
          internal tracking purposes, each property or asset (loan) has been assigned a unique property number,
          shown as P-XXX. Debtor entities that have more then one property or asset attributed to them will not have
          a unique property identifier in the column heading, as there is more than one property or asset accounted
          for through that Debtor.

Note 2.   Cash shown on the balance sheet of any of the property companies represents the amount held by the
          property manager in joint accounts that they control.

Note 3.    The Debtors' representatives are conducting an exhaustive search and analysis to establish the existence
          and cost of the assets of the Debtor companies. When assets are discovered and ownership established,
          they are recorded at their purchase price or note face value to the "Properties/Loan Investment" account.
          Estimates are sometimes used.

Note 4.    Capitalized improvements are recorded based on cost and have been broken into pre and post filing. Pre-
          petition improvements were recorded based on pre-petition records of the Debtor and have generally not
          been verified. Current expenditures towards properties held for sale are recorded as post-petition capitalized
          improvements. All costs associated with performing or non-performing loans are capitalized.


Note 5.    A small part of the Debtor's business was to purchase annuities at a discount. Very little related
          documentation has been identified, though they are believed to exist. Research about the value and
          existence of structured settlements is ongoing.

Note 6.    Post-Petition Accounts Payable are generally paid within one to two weeks of entry into the payables
          system. Some invoices appear aged due to their having been submitted late or because their payment was
          delayed waiting for approval. Post Petition Accounts Payable are broken out between accrued professional
          fees and payables from operations on MOR-4. Pre-Petition payables were not historically recorded and
          have been tabulated based on invoices found. Such amounts are likely to change.


Note 7.    The Debtors' DIP loan had a drawn $59,510,476.62 balance as of June 30, 2018, which includes loan
          origination fees of $1.5M plus legal expenses deducted from the initial draw. During the month of June the
          Debtor paid off the last of short term loans it had been carrying, leaving the DIP loan as it's only remaining
          note payable.

Note 8.    The amounts recorded in the books for intercompany loans from fund entities prior to the filing have been
          ignored herein because they did not accurately reflect monies transferred, nor the amounts reflected on the
          face of the intercompany notes. Instead, the payable from each property company herein reflects the
          actual costs incurred to acquire, maintain, and service the properties or loans. A balancing entry has been
          recorded at Woodbridge Group to reflect the difference between amounts received by the consolidated
          business from note and unit investors, and amounts identified to date as having been spent on
          properties/loans. As additional costs are identified, this intercompany loan at the Group level is expected to
          decrease.

Note 9.   Equity: The Debtors' operations have been recorded and their balance sheets reconstructed in the post-
          petition period so that the balance in Opening Equity would represent the estimated difference between
          amounts borrowed or invested (by fund and unit holders) and the cost of assets acquired with lender or
          investor funds. In June 2018 the balances in Opening Equity and Property/Loan were increased to add to
          the balance sheet the value of REO properties that were sold during the month.




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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                   Case No. 17-12 17-12560 (KJC)
(Jointly Administered)                                                                                                      Reporting Period: 06/30/2018


                                                        STATUS OF POSTPETITION TAXES

All taxes paid, other than real property taxes, relate to the Woodbridge Group of Companies, LLC


                                                         Beginning         Amount                                                              Ending
                                                           Tax           Withheld or       Amount              Date            964.29            Tax
Federal                                                  Liability         Accrued          Paid              Paid*            or EFT          Liability
Withholding                                                None          $    43,300     $   43,300           various           EFT          $         -
FICA-Employee                                              None               12,789         12,789           various           EFT                    -
FICA-Employer                                              None               11,878         11,878           various           EFT                    -
Unemployment                                               None                    3               3          various           EFT                    -
Income                                                     None                    -             -              n/a              n/a                   -
Other                                                      None                    -             -              n/a              n/a                   -
  Total Federal Taxes                                                    $    67,969     $   67,969                                          $         -
State and Local
Withholding                                                 None         $     16,937    $       16,937         n/a              n/a         $          -
Sales                                                       None                    -                 -         n/a              n/a                    -
Excise                                                      None                    -                 -         n/a              n/a                    -
Unemployment                                                None                   34                34         n/a              n/a                    -
State Disability Insurance                                  None                  984               984         n/a              n/a                    -
Real Property Taxes - Property Level Entities               None               36,517            36,517         n/a              n/a                    -
Personal Property Taxes                                     None                    -                 -                                                 -
Other                                                       None                    -                 -         n/a              n/a                    -
  Total State and Local                                     None               54,473            54,473         n/a              n/a                    -
Total Taxes                                                              $    122,442    $      122,442                                      $          -




                                                 SUMMARY OF UNPAID POSTPETITION DEBTS


                                                                                             Number of Days Past Due
                                                           Current            0-30            31-60         61-90              Over 90      Total
Accounts Payable                                            4,289,668        1,174,138          77,247          (1,432)           (6,068) $ 5,533,553
Accrued Professional Fees                                   3,385,346        4,614,002         185,790      1,217,790          3,421,476 $ 12,824,403
            Total Post Petition Accounts Payable**          7,675,014        5,788,139         263,037      1,216,358          3,415,407 $ 18,357,956

DIP Lender Note Payable                                    59,510,477             -                -                   -                -    $ 59,510,477
Payable to Noteholders***                                       TBD              TBD              TBD                 TBD              TBD           TBD


Total Postpetition Debts                               $ 67,185,491      $ 5,788,139     $      263,037   $   1,216,358     $ 3,415,407      $ 77,868,432

* The Debtor uses a payroll company. The entire amount required for payroll and taxes is paid by EFT on the payroll pay date.
** Aged Accounts Payable are due to invoices being submitted late, being held for lack of approval to pay, or submitted late due to required court
*** Payables to Noteholders cannot be determined at this time due to lack of reliable data.




                                                                                                                                                  FORM MOR-4
                                                                                                                                                       (04/07)
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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                       Case No. 17-12560 (KJC)
(Jointly Administered)                                                                       Reporting Period: 06/30/2018


                           ACCOUNTS RECEIVABLE RECONCILIATION AND AGING*

 Woodbridge Group
 Accounts Receivable Reconciliation*                                                                         Amount
  Total Accounts Receivable at the beginning of the reporting period                                           n/a
    + Amounts billed during the period                                                                         n/a
    - Amounts collected during the period                                                                      n/a
    - Amounts assumed by buyer on sold properties                                                              n/a
  Total Accounts Receivable at the end of the reporting period                                             $       -

 Accounts Receivable Aging*                                                                                  Amount
  0 - 30 days old                                                                                              n/a
  31 - 60 days old                                                                                             n/a
  61 - 90 days old                                                                                             n/a
  91+ days old                                                                                                 n/a
  Total Accounts Receivable                                                                                $       -
  Amount considered uncollectible (Bad Debt)                                                                   n/a
  Accounts Receivable (Net)                                                                                    n/a
  Miscellaneous Receivables                                                                                $       -

 * Woodbridge Group does not have sales, customer billing, or traditional accounts receivable. Amounts owing from property
 tennants are tracked by independent property managers who keep their own books and manage the rental properties using
 their separate bank accounts.




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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                                    Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                                                                                    Reporting Period: 06/30/2018

                                                                                     DEBTOR QUESTIONNAIRE

                                                             1) Have any assets been       2) Have any funds been       3) Have all postpetition   4) Are workers                5) Has any bank account been opened
                                                             sold or transferred outside   disbursed from any           tax returns been timely    compensation, general         during the reporting period? If yes,
                                                             the normal course of          account other than a         filed? If no, provide an   liability and other           provide documentation identifying the
                                                             business this reporting       debtor in possession         explanation below.         necessary insurance           opened account(s). If an investment
                                                             period? If yes, provide an    account this reporting                                  coverages in effect? If no,   account has been opened provide the
                                                             explanation below.            period? If yes, provide an                              provide an explanation        required documentation pursuant to the
                                                                                           explanation below.                                      below. *                      Delaware Local Rule 4001-3.
  #                        Name of Entity           Case #
   1      Woodbridge Group of Companies, LLC      17-12560               No                            No                           Yes                      Note 1.                              No
   2      215 North 12th Street, LLC              17-12561               No                            No                           Yes                      Note 1.                              No
   3      Addison Park Investments, LLC           17-12563               No                            No                           Yes                      Note 1.                              No
   4      Anchorpoint Investments, LLC            17-12566               No                            No                           Yes                      Note 1.                              No
   5      Arborvitae Investments, LLC             17-12572               No                            No                           Yes                      Note 1.                              No
   6      Archivolt Investments, LLC              17-12574               No                            No                           Yes                      Note 1.                              No
   7      Arlington Ridge Investments, LLC        17-12576               No                            No                           Yes                      Note 1.                              No
   8      Arrowpoint Investments, LLC             17-12578               No                            No                           Yes                      Note 1.                              No
   9      Baleroy Investments, LLC                17-12580               No                            No                           Yes                      Note 1.                              No
  10      Basswood Holding, LLC                   17-12600               No                            No                           Yes                      Note 1.                              No
  11      Bay Village Investments, LLC            17-12604               No                            No                           Yes                      Note 1.                              No
  12      Bear Brook Investments, LLC             17-12610               No                            No                           Yes                      Note 1.                              No
  13      Beech Creek Investments, LLC            17-12616               No                            No                           Yes                      Note 1.                              No
  14      Bishop White Investments, LLC           17-12623               No                            No                           Yes                      Note 1.                              No
  15      Black Bass Investments, LLC             17-12641               No                            No                           Yes                      Note 1.                              No
  16      Black Locust Investments, LLC           17-12648               No                            No                           Yes                      Note 1.                              No
  17      Bluff Point Investments, LLC            17-12722               No                            No                           Yes                      Note 1.                              No
  18      Bowman Investments, LLC                 17-12753               No                            No                           Yes                      Note 1.                              No
  19      Bramley Investments, LLC                17-12769               No                            No                           Yes                      Note 1.                              No
  20      Brise Soleil Investments, LLC           17-12762               No                            No                           Yes                      Note 1.                              No
  21      Broadsands Investments, LLC             17-12777               No                            No                           Yes                      Note 1.                              No
  22      Brynderwen Investments, LLC             17-12793               No                            No                           Yes                      Note 1.                              No
  23      Cablestay Investments, LLC              17-12798               No                            No                           Yes                      Note 1.                              No
  24      Cannington Investments, LLC             17-12803               No                            No                           Yes                      Note 1.                              No
  25      Carbondale Doocy, LLC                   17-12805               No                            No                           Yes                      Note 1.                              No
  26      Carbondale Glen Lot A-5, LLC            17-12807               No                            No                           Yes                      Note 1.                              No
  27      Carbondale Glen Lot D-22, LLC           17-12809               No                            No                           Yes                      Note 1.                              No
  28      Carbondale Glen Lot E-24, LLC           17-12811               No                            No                           Yes                      Note 1.                              No
  29      Carbondale Glen Lot GV-13, LLC          17-12813               No                            No                           Yes                      Note 1.                              No
  30      Carbondale Glen Lot SD-14, LLC          17-12817               No                            No                           Yes                      Note 1.                              No
  31      Carbondale Glen Lot SD-23, LLC          17-12815               No                            No                           Yes                      Note 1.                              No
  32      Carbondale Glen Mesa Lot 19, LLC        17-12819               No                            No                           Yes                      Note 1.                              No
  33      Carbondale Glen River Mesa, LLC         17-12820               No                            No                           Yes                      Note 1.                              No
  34      Carbondale Glen Sundance Ponds, LLC     17-12822               No                            No                           Yes                      Note 1.                              No
  35      Carbondale Glen Sweetgrass Vista, LLC   17-12564               No                            No                           Yes                      Note 1.                              No
  36      Carbondale Spruce 101, LLC              17-12568               No                            No                           Yes                      Note 1.                              No
  37      Carbondale Sundance Lot 15, LLC         17-12569               No                            No                           Yes                      Note 1.                              No
  38      Carbondale Sundance Lot 16, LLC         17-12570               No                            No                           Yes                      Note 1.                              No



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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                                 Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                                                                                 Reporting Period: 06/30/2018

                                                                                  DEBTOR QUESTIONNAIRE

                                                          1) Have any assets been       2) Have any funds been       3) Have all postpetition   4) Are workers                5) Has any bank account been opened
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                                                          the normal course of          account other than a         filed? If no, provide an   liability and other           provide documentation identifying the
                                                          business this reporting       debtor in possession         explanation below.         necessary insurance           opened account(s). If an investment
                                                          period? If yes, provide an    account this reporting                                  coverages in effect? If no,   account has been opened provide the
                                                          explanation below.            period? If yes, provide an                              provide an explanation        required documentation pursuant to the
                                                                                        explanation below.                                      below. *                      Delaware Local Rule 4001-3.
  #                       Name of Entity         Case #
  39      Castle Pines Investments, LLC        17-12581               No                            No                           Yes                      Note 1.                              No
  40      Centershot Investments, LLC          17-12586               No                            No                           Yes                      Note 1.                              No
  41      Chaplin Investments, LLC             17-12592               No                            No                           Yes                      Note 1.                              No
  42      Chestnut Investments, LLC            17-12603               No                            No                           Yes                      Note 1.                              No
  43      Chestnut Ridge Investments, LLC      17-12614               No                            No                           Yes                      Note 1.                              No
  44      Clover Basin Investments, LLC        17-12621               No                            No                           Yes                      Note 1.                              No
  45      Coffee Creek Investments, LLC        17-12627               No                            No                           Yes                      Note 1.                              No
  46      Craven Investments, LLC              17-12636               No                            No                           Yes                      Note 1.                              No
  47      Crossbeam Investments, LLC           17-12650               No                            No                           Yes                      Note 1.                              No
  48      Crowfield Investments, LLC           17-12660               No                            No                           Yes                      Note 1.                              No
  49      Crystal Valley Holdings, LLC         17-12666               No                            No                           Yes                      Note 1.                              No
  50      Crystal Woods Investments, LLC       17-12676               No                            No                           Yes                      Note 1.                              No
  51      Cuco Settlement, LLC                 17-12679               No                            No                           Yes                      Note 1.                              No
  52      Daleville Investments, LLC           17-12687               No                            No                           Yes                      Note 1.                              No
  53      Derbyshire Investments, LLC          17-12696               No                            No                           Yes                      Note 1.                              No
  54      Diamond Cove Investments, LLC        17-12705               No                            No                           Yes                      Note 1.                              No
  55      Dixville Notch Investments, LLC      17-12716               No                            No                           Yes                      Note 1.                              No
  56      Dogwood Valley Investments, LLC      17-12727               No                            No                           Yes                      Note 1.                              No
  57      Dollis Brook Investments, LLC        17-12735               No                            No                           Yes                      Note 1.                              No
  58      Donnington Investments, LLC          17-12744               No                            No                           Yes                      Note 1.                              No
  59      Doubleleaf Investments, LLC          17-12755               No                            No                           Yes                      Note 1.                              No
  60      Drawspan Investments, LLC            17-12767               No                            No                           Yes                      Note 1.                              No
  61      Eldredge Investments, LLC            17-12775               No                            No                           Yes                      Note 1.                              No
  62      Elstar Investments, LLC              17-12782               No                            No                           Yes                      Note 1.                              No
  63      Emerald Lake Investments, LLC        17-12788               No                            No                           Yes                      Note 1.                              No
  64      Fieldpoint Investments, LLC          17-12794               No                            No                           Yes                      Note 1.                              No
  65      Franconia Notch Investments, LLC     17-12797               No                            No                           Yes                      Note 1.                              No
  66      Gateshead Investments, LLC           17-12597               No                            No                           Yes                      Note 1.                              No
  67      Glenn Rich Investments, LLC          17-12602               No                            No                           Yes                      Note 1.                              No
  68      Goose Rocks Investments, LLC         17-12611               No                            No                           Yes                      Note 1.                              No
  69      Goosebrook Investments, LLC          17-12617               No                            No                           Yes                      Note 1.                              No
  70      Graeme Park Investments, LLC         17-12622               No                            No                           Yes                      Note 1.                              No
  71      Grand Midway Investments, LLC        17-12628               No                            No                           Yes                      Note 1.                              No
  72      Gravenstein Investments, LLC         17-12632               No                            No                           Yes                      Note 1.                              No
  73      Green Gables Investments, LLC        17-12637               No                            No                           Yes                      Note 1.                              No
  74      Grenadier Investments, LLC           17-12643               No                            No                           Yes                      Note 1.                              No
  75      Grumblethorpe Investments, LLC       17-12649               No                            No                           Yes                      Note 1.                              No
  76      H11 Silk City Holding Company, LLC   17-12833               No                            No                           Yes                      Note 1.                              No



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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                                    Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                                                                                    Reporting Period: 06/30/2018

                                                                                     DEBTOR QUESTIONNAIRE

                                                             1) Have any assets been       2) Have any funds been       3) Have all postpetition   4) Are workers                5) Has any bank account been opened
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                                                             explanation below.            period? If yes, provide an                              provide an explanation        required documentation pursuant to the
                                                                                           explanation below.                                      below. *                      Delaware Local Rule 4001-3.
   #                    Name of Entity              Case #
  77    H12 White Birch Holding Company, LLC      17-12699               No                            No                           Yes                      Note 1.                              No
  78    H13 Bay Village Holding Company, LLC      17-12591               No                            No                           Yes                      Note 1.                              No
  79    H14 Dixville Notch Holding Company, LLC   17-12712               No                            No                           Yes                      Note 1.                              No
  80    H15 Bear Brook Holding Company, LLC       17-12607               No                            No                           Yes                      Note 1.                              No
  81    H16 Monadnock Holding Company, LLC        17-12678               No                            No                           Yes                      Note 1.                              No
  82    H17 Pemigewasset Holding Company, LLC     17-12799               No                            No                           Yes                      Note 1.                              No
  83    H19 Emerald Lake Holding Company, LLC     17-12785               No                            No                           Yes                      Note 1.                              No
  84    H2 Arlington Ridge Holding Company, LLC   17-12575               No                            No                           Yes                      Note 1.                              No
  85    H20 Bluff Point Holding Company, LLC      17-12715               No                            No                           Yes                      Note 1.                              No
  86    H21 Summerfree Holding Company, LLC       17-12631               No                            No                           Yes                      Note 1.                              No
  87    H22 Papirovka Holding Company, LLC        17-12770               No                            No                           Yes                      Note 1.                              No
  88    H23 Pinova Holding Company, LLC           17-12810               No                            No                           Yes                      Note 1.                              No
  89    H24 Stayman Holding Company, LLC          17-12590               No                            No                           Yes                      Note 1.                              No
  90    H25 Elstar Holding Company, LLC           17-12779               No                            No                           Yes                      Note 1.                              No
  91    H26 Gravenstein Holding Company, LLC      17-12630               No                            No                           Yes                      Note 1.                              No
  92    H27 Grenadier Holding Company, LLC        17-12642               No                            No                           Yes                      Note 1.                              No
  93    H28 Black Locust Holding Company, LLC     17-12647               No                            No                           Yes                      Note 1.                              No
  94    H29 Zestar Holding Company, LLC           17-12789               No                            No                           Yes                      Note 1.                              No
  95    H30 Silver Maple Holding Company, LLC     17-12835               No                            No                           Yes                      Note 1.                              No
  96    H31 Addison Park Holding Company, LLC     17-12562               No                            No                           Yes                      Note 1.                              No
  97    H32 Arborvitae Holding Company, LLC       17-12567               No                            No                           Yes                      Note 1.                              No
  98    H35 Hornbeam Holding Company, LLC         17-12691               No                            No                           Yes                      Note 1.                              No
  99    H36 Sturmer Pippin Holding Company, LLC   17-12625               No                            No                           Yes                      Note 1.                              No
  100   H37 Idared Holding Company, LLC           17-12697               No                            No                           Yes                      Note 1.                              No
  101   H38 Mutsu Holding Company, LLC            17-12711               No                            No                           Yes                      Note 1.                              No
  102   H39 Haralson Holding Company, LLC         17-12661               No                            No                           Yes                      Note 1.                              No
  103   H4 Pawtuckaway Holding Company, LLC       17-12778               No                            No                           Yes                      Note 1.                              No
  104   H40 Bramley Holding Company, LLC          17-12766               No                            No                           Yes                      Note 1.                              No
  105   H41 Grumblethorpe Holding Company, LLC    17-12646               No                            No                           Yes                      Note 1.                              No
  106   H43 Lenni Heights Holding Company, LLC    17-12717               No                            No                           Yes                      Note 1.                              No
  107   H44 Green Gables Holding Company, LLC     17-12634               No                            No                           Yes                      Note 1.                              No
  108   H46 Beech Creek Holding Company, LLC      17-12612               No                            No                           Yes                      Note 1.                              No
  109   H47 Summit Cut Holding Company, LLC       17-12638               No                            No                           Yes                      Note 1.                              No
  110   H49 Bowman Holding Company, LLC           17-12725               No                            No                           Yes                      Note 1.                              No
  111   H5 Chestnut Ridge Holding Company, LLC    17-12608               No                            No                           Yes                      Note 1.                              No
  112   H51 Old Carbon Holding Company, LLC       17-12738               No                            No                           Yes                      Note 1.                              No
  113   H52 Willow Grove Holding Company, LLC     17-12729               No                            No                           Yes                      Note 1.                              No
  114   H53 Black Bass Holding Company, LLC       17-12639               No                            No                           Yes                      Note 1.                              No



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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                                      Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                                                                                      Reporting Period: 06/30/2018

                                                                                       DEBTOR QUESTIONNAIRE

                                                               1) Have any assets been       2) Have any funds been       3) Have all postpetition   4) Are workers                5) Has any bank account been opened
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                                                               explanation below.            period? If yes, provide an                              provide an explanation        required documentation pursuant to the
                                                                                             explanation below.                                      below. *                      Delaware Local Rule 4001-3.
   #                    Name of Entity                Case #
  115   H54 Seven Stars Holding Company, LLC        17-12831               No                            No                           Yes                      Note 1.                              No
  116   H55 Old Maitland Holding Company, LLC       17-12747               No                            No                           Yes                      Note 1.                              No
  117   H56 Craven Holding Company, LLC             17-12633               No                            No                           Yes                      Note 1.                              No
  118   H58 Baleroy Holding Company, LLC            17-12579               No                            No                           Yes                      Note 1.                              No
  119   H59 Rising Sun Holding Company, LLC         17-12827               No                            No                           Yes                      Note 1.                              No
  120   H6 Lilac Meadow Holding Company, LLC        17-12724               No                            No                           Yes                      Note 1.                              No
  121   H60 Moravian Holding Company, LLC           17-12686               No                            No                           Yes                      Note 1.                              No
  122   H61 Grand Midway Holding Company, LLC       17-12626               No                            No                           Yes                      Note 1.                              No
  123   H65 Thornbury Farm Holding Company, LLC     17-12644               No                            No                           Yes                      Note 1.                              No
  124   H66 Heilbron Manor Holding Company, LLC     17-12677               No                            No                           Yes                      Note 1.                              No
  125   H68 Graeme Park Holding Company, LLC        17-12620               No                            No                           Yes                      Note 1.                              No
  126   H7 Dogwood Valley Holding Company, LLC      17-12721               No                            No                           Yes                      Note 1.                              No
  127   H70 Bishop White Holding Company, LLC       17-12619               No                            No                           Yes                      Note 1.                              No
  128   H74 Imperial Aly Holding Company, LLC       17-12704               No                            No                           Yes                      Note 1.                              No
  129   H76 Diamond Cove Holding Company, LLC       17-12700               No                            No                           Yes                      Note 1.                              No
  130   H8 Melody Lane Holding Company, LLC         17-12756               No                            No                           Yes                      Note 1.                              No
  131   H9 Strawberry Fields Holding Company, LLC   17-12609               No                            No                           Yes                      Note 1.                              No
  132   Hackmatack Investments, LLC                 17-12653               No                            No                           Yes                      Note 1.                              No
  133   Haffenburg Investments, LLC                 17-12659               No                            No                           Yes                      Note 1.                              No
  134   Haralson Investments, LLC                   17-12663               No                            No                           Yes                      Note 1.                              No
  135   Harringworth Investments, LLC               17-12669               No                            No                           Yes                      Note 1.                              No
  136   Hazelpoint Investments, LLC                 17-12674               No                            No                           Yes                      Note 1.                              No
  137   Heilbron Manor Investments, LLC             17-12681               No                            No                           Yes                      Note 1.                              No
  138   Hollyline Holdings, LLC                     17-12684               No                            No                           Yes                      Note 1.                              No
  139   Hollyline Owners, LLC                       17-12688               No                            No                           Yes                      Note 1.                              No
  140   Hornbeam Investments, LLC                   17-12694               No                            No                           Yes                      Note 1.                              No
  141   Idared Investments, LLC                     17-12701               No                            No                           Yes                      Note 1.                              No
  142   Imperial Aly Investments, LLC               17-12708               No                            No                           Yes                      Note 1.                              No
  143   Ironsides Investments, LLC                  17-12714               No                            No                           Yes                      Note 1.                              No
  144   Lenni Heights Investments, LLC              17-12720               No                            No                           Yes                      Note 1.                              No
  145   Lilac Meadow Investments, LLC               17-12728               No                            No                           Yes                      Note 1.                              No
  146   Lincolnshire Investments, LLC               17-12733               No                            No                           Yes                      Note 1.                              No
  147   Lonetree Investments, LLC                   17-12740               No                            No                           Yes                      Note 1.                              No
  148   Longbourn Investments, LLC                  17-12746               No                            No                           Yes                      Note 1.                              No
  149   M10 Gateshead Holding Company, LLC          17-12593               No                            No                           Yes                      Note 1.                              No
  150   M11 Anchorpoint Holding Company, LLC        17-12565               No                            No                           Yes                      Note 1.                              No
  151   M13 Cablestay Holding Company, LLC          17-12795               No                            No                           Yes                      Note 1.                              No
  152   M14 Crossbeam Holding Company, LLC          17-12645               No                            No                           Yes                      Note 1.                              No



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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                                     Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                                                                                     Reporting Period: 06/30/2018

                                                                                      DEBTOR QUESTIONNAIRE

                                                              1) Have any assets been       2) Have any funds been       3) Have all postpetition   4) Are workers                5) Has any bank account been opened
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                                                                                            explanation below.                                      below. *                      Delaware Local Rule 4001-3.
   #                   Name of Entity                Case #
  153   M15 Doubleleaf Holding Company, LLC        17-12749               No                            No                           Yes                      Note 1.                              No
  154   M17 Lincolnshire Holding Company, LLC      17-12730               No                            No                           Yes                      Note 1.                              No
  155   M19 Arrowpoint Holding Company, LLC        17-12577               No                            No                           Yes                      Note 1.                              No
  156   M22 Drawspan Holding Company, LLC          17-12764               No                            No                           Yes                      Note 1.                              No
  157   M24 Fieldpoint Holding Company, LLC        17-12791               No                            No                           Yes                      Note 1.                              No
  158   M25 Centershot Holding Company, LLC        17-12583               No                            No                           Yes                      Note 1.                              No
  159   M26 Archivolt Holding Company, LLC         17-12573               No                            No                           Yes                      Note 1.                              No
  160   M27 Brise Soleil Holding Company, LLC      17-12760               No                            No                           Yes                      Note 1.                              No
  161   M28 Broadsands Holding Company, LLC        17-12773               No                            No                           Yes                      Note 1.                              No
  162   M29 Brynderwen Holding Company, LLC        17-12781               No                            No                           Yes                      Note 1.                              No
  163   M31 Cannington Holding Company, LLC        17-12801               No                            No                           Yes                      Note 1.                              No
  164   M32 Dollis Brook Holding Company, LLC      17-12731               No                            No                           Yes                      Note 1.                              No
  165   M33 Harringworth Holding Company, LLC      17-12667               No                            No                           Yes                      Note 1.                              No
  166   M34 Quarterpost Holding Company, LLC       17-12814               No                            No                           Yes                      Note 1.                              No
  167   M36 Springline Holding Company, LLC        17-12584               No                            No                           Yes                      Note 1.                              No
  168   M37 Topchord Holding Company, LLC          17-12662               No                            No                           Yes                      Note 1.                              No
  169   M38 Pemberley Holding Company, LLC         17-12787               No                            No                           Yes                      Note 1.                              No
  170   M39 Derbyshire Holding Company, LLC        17-12692               No                            No                           Yes                      Note 1.                              No
  171   M40 Longbourn Holding Company, LLC         17-12742               No                            No                           Yes                      Note 1.                              No
  172   M41 Silverthorne Holding Company, LLC      17-12838               No                            No                           Yes                      Note 1.                              No
  173   M43 White Dome Holding Company, LLC        17-12706               No                            No                           Yes                      Note 1.                              No
  174   M44 Wildernest Holding Company, LLC        17-12718               No                            No                           Yes                      Note 1.                              No
  175   M45 Clover Basin Holding Company, LLC      17-12618               No                            No                           Yes                      Note 1.                              No
  176   M46 Owl Ridge Holding Company, LLC         17-12759               No                            No                           Yes                      Note 1.                              No
  177   M48 Vallecito Holding Company, LLC         17-12670               No                            No                           Yes                      Note 1.                              No
  178   M49 Squaretop Holding Company, LLC         17-12588               No                            No                           Yes                      Note 1.                              No
  179   M5 Stepstone Holding Company, LLC          17-12601               No                            No                           Yes                      Note 1.                              No
  180   M50 Wetterhorn Holding Company, LLC        17-12689               No                            No                           Yes                      Note 1.                              No
  181   M51 Coffee Creek Holding Company, LLC      17-12624               No                            No                           Yes                      Note 1.                              No
  182   M53 Castle Pines Holding Company, LLC      17-12571               No                            No                           Yes                      Note 1.                              No
  183   M54 Lonetree Holding Company, LLC          17-12737               No                            No                           Yes                      Note 1.                              No
  184   M56 Haffenburg Holding Company, LLC        17-12656               No                            No                           Yes                      Note 1.                              No
  185   M57 Ridgecrest Holding Company, LLC        17-12818               No                            No                           Yes                      Note 1.                              No
  186   M60 Thunder Basin Holding Company, LLC     17-12654               No                            No                           Yes                      Note 1.                              No
  187   M61 Mineola Holding Company, LLC           17-12668               No                            No                           Yes                      Note 1.                              No
  188   M62 Sagebrook Holding Company, LLC         17-12829               No                            No                           Yes                      Note 1.                              No
  189   M63 Crowfield Holding Company, LLC         17-12655               No                            No                           Yes                      Note 1.                              No
  190   M67 Mountain Spring Holding Company, LLC   17-12695               No                            No                           Yes                      Note 1.                              No



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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                                      Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                                                                                      Reporting Period: 06/30/2018

                                                                                       DEBTOR QUESTIONNAIRE

                                                               1) Have any assets been       2) Have any funds been       3) Have all postpetition   4) Are workers                5) Has any bank account been opened
                                                               sold or transferred outside   disbursed from any           tax returns been timely    compensation, general         during the reporting period? If yes,
                                                               the normal course of          account other than a         filed? If no, provide an   liability and other           provide documentation identifying the
                                                               business this reporting       debtor in possession         explanation below.         necessary insurance           opened account(s). If an investment
                                                               period? If yes, provide an    account this reporting                                  coverages in effect? If no,   account has been opened provide the
                                                               explanation below.            period? If yes, provide an                              provide an explanation        required documentation pursuant to the
                                                                                             explanation below.                                      below. *                      Delaware Local Rule 4001-3.
   #                    Name of Entity                Case #
  191   M68 Goosebrook Holding Company, LLC         17-12615               No                            No                           Yes                      Note 1.                              No
  192   M70 Pinney Holding Company, LLC             17-12806               No                            No                           Yes                      Note 1.                              No
  193   M71 Eldredge Holding Company, LLC           17-12771               No                            No                           Yes                      Note 1.                              No
  194   M72 Daleville Holding Company, LLC          17-12683               No                            No                           Yes                      Note 1.                              No
  195   M73 Mason Run Holding Company, LLC          17-12748               No                            No                           Yes                      Note 1.                              No
  196   M74 Varga Holding Company, LLC              17-12680               No                            No                           Yes                      Note 1.                              No
  197   M75 Riley Creek Holding Company, LLC        17-12825               No                            No                           Yes                      Note 1.                              No
  198   M76 Chaplin Holding Company, LLC            17-12587               No                            No                           Yes                      Note 1.                              No
  199   M79 Chestnut Holding Company, LLC           17-12595               No                            No                           Yes                      Note 1.                              No
  200   M80 Hazelpoint Holding Company, LLC         17-12672               No                            No                           Yes                      Note 1.                              No
  201   M83 Mt. Holly Holding Company, LLC          17-12703               No                            No                           Yes                      Note 1.                              No
  202   M85 Glenn Rich Holding Company, LLC         17-12599               No                            No                           Yes                      Note 1.                              No
  203   M86 Steele Hill Holding Company, LLC        17-12596               No                            No                           Yes                      Note 1.                              No
  204   M87 Hackmatack Hills Holding Company, LLC   17-12652               No                            No                           Yes                      Note 1.                              No
  205   M88 Franconia Notch Holding Company, LLC    17-12796               No                            No                           Yes                      Note 1.                              No
  206   M9 Donnington Holding Company, LLC          17-12741               No                            No                           Yes                      Note 1.                              No
  207   M90 Merrimack Valley Holding Company, LLC   17-12658               No                            No                           Yes                      Note 1.                              No
  208   M91 Newville Holding Company, LLC           17-12726               No                            No                           Yes                      Note 1.                              No
  209   M92 Crystal Woods Holding Company, LLC      17-12671               No                            No                           Yes                      Note 1.                              No
  210   M93 Goose Rocks Holding Company, LLC        17-12605               No                            No                           Yes                      Note 1.                              No
  211   M94 Winding Road Holding Company, LLC       17-12736               No                            No                           Yes                      Note 1.                              No
  212   M95 Pepperwood Holding Company, LLC         17-12802               No                            No                           Yes                      Note 1.                              No
  213   M97 Red Wood Holding Company, LLC           17-12823               No                            No                           Yes                      Note 1.                              No
  214   M99 Ironsides Holding Company, LLC          17-12710               No                            No                           Yes                      Note 1.                              No
  215   Mason Run Investments, LLC                  17-12751               No                            No                           Yes                      Note 1.                              No
  216   Melody Lane Investments, LLC                17-12757               No                            No                           Yes                      Note 1.                              No
  217   Merrimack Valley Investments, LLC           17-12665               No                            No                           Yes                      Note 1.                              No
  218   Mineola Investments, LLC                    17-12673               No                            No                           Yes                      Note 1.                              No
  219   Monadnock Investments, LLC                  17-12682               No                            No                           Yes                      Note 1.                              No
  220   Moravian Investments, LLC                   17-12690               No                            No                           Yes                      Note 1.                              No
  221   Mountain Spring Investments, LLC            17-12698               No                            No                           Yes                      Note 1.                              No
  222   Mt. Holly Investments, LLC                  17-12707               No                            No                           Yes                      Note 1.                              No
  223   Mutsu Investments, LLC                      17-12719               No                            No                           Yes                      Note 1.                              No
  224   Newville Investments, LLC                   17-12734               No                            No                           Yes                      Note 1.                              No
  225   Old Carbon Investments, LLC                 17-12743               No                            No                           Yes                      Note 1.                              No
  226   Old Maitland Investments, LLC               17-12752               No                            No                           Yes                      Note 1.                              No
  227   Owl Ridge Investments, LLC                  17-12763               No                            No                           Yes                      Note 1.                              No
  228   Papirovka Investments, LLC                  17-12774               No                            No                           Yes                      Note 1.                              No



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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                               Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                                                                               Reporting Period: 06/30/2018

                                                                                DEBTOR QUESTIONNAIRE

                                                        1) Have any assets been       2) Have any funds been       3) Have all postpetition   4) Are workers                5) Has any bank account been opened
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                                                        the normal course of          account other than a         filed? If no, provide an   liability and other           provide documentation identifying the
                                                        business this reporting       debtor in possession         explanation below.         necessary insurance           opened account(s). If an investment
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                                                        explanation below.            period? If yes, provide an                              provide an explanation        required documentation pursuant to the
                                                                                      explanation below.                                      below. *                      Delaware Local Rule 4001-3.
   #                     Name of Entity        Case #
  229   Pawtuckaway Investments, LLC         17-12783               No                            No                           Yes                      Note 1.                              No
  230   Pemberley Investments, LLC           17-12790               No                            No                           Yes                      Note 1.                              No
  231   Pemigewasset Investments, LLC        17-12800               No                            No                           Yes                      Note 1.                              No
  232   Pepperwood Investments, LLC          17-12804               No                            No                           Yes                      Note 1.                              No
  233   Pinney Investments, LLC              17-12808               No                            No                           Yes                      Note 1.                              No
  234   Pinova Investments, LLC              17-12812               No                            No                           Yes                      Note 1.                              No
  235   Quarterpost Investments, LLC         17-12816               No                            No                           Yes                      Note 1.                              No
  236   Red Woods Investments, LLC           17-12824               No                            No                           Yes                      Note 1.                              No
  237   Ridgecrest Investments, LLC          17-12821               No                            No                           Yes                      Note 1.                              No
  238   Riley Creek Investments, LLC         17-12826               No                            No                           Yes                      Note 1.                              No
  239   Rising Sun Investments, LLC          17-12828               No                            No                           Yes                      Note 1.                              No
  240   Sagebrook Investments, LLC           17-12830               No                            No                           Yes                      Note 1.                              No
  241   Seven Stars Investments, LLC         17-12832               No                            No                           Yes                      Note 1.                              No
  242   Silk City Investments, LLC           17-12834               No                            No                           Yes                      Note 1.                              No
  243   Silver Maple Investments, LLC        17-12836               No                            No                           Yes                      Note 1.                              No
  244   Silverleaf Funding, LLC              17-12837               No                            No                           Yes                      Note 1.                              No
  245   Silverthorne Investments, LLC        17-12582               No                            No                           Yes                      Note 1.                              No
  246   Springline Investments, LLC          17-12585               No                            No                           Yes                      Note 1.                              No
  247   Squaretop Investments, LLC           17-12589               No                            No                           Yes                      Note 1.                              No
  248   Stayman Investments, LLC             17-12594               No                            No                           Yes                      Note 1.                              No
  249   Steele Hill Investments, LLC         17-12598               No                            No                           Yes                      Note 1.                              No
  250   Stepstone Investments, LLC           17-12606               No                            No                           Yes                      Note 1.                              No
  251   Strawberry Fields Investments, LLC   17-12613               No                            No                           Yes                      Note 1.                              No
  252   Sturmer Pippin Investments, LLC      17-12629               No                            No                           Yes                      Note 1.                              No
  253   Summerfree Investments, LLC          17-12635               No                            No                           Yes                      Note 1.                              No
  254   Summit Cut Investments, LLC          17-12640               No                            No                           Yes                      Note 1.                              No
  255   Thornbury Farm Investments, LLC      17-12651               No                            No                           Yes                      Note 1.                              No
  256   Thunder Basin Investments, LLC       17-12657               No                            No                           Yes                      Note 1.                              No
  257   Topchord Investments, LLC            17-12664               No                            No                           Yes                      Note 1.                              No
  258   Vallecito Investments, LLC           17-12675               No                            No                           Yes                      Note 1.                              No
  259   Varga Investments, LLC               17-12685               No                            No                           Yes                      Note 1.                              No
  260   Wetterhorn Investments, LLC          17-12693               No                            No                           Yes                      Note 1.                              No
  261   White Birch Investments, LLC         17-12702               No                            No                           Yes                      Note 1.                              No
  262   White Dome Investments, LLC          17-12709               No                            No                           Yes                      Note 1.                              No
  263   Whiteacre Funding, LLC               17-12713               No                            No                           Yes                      Note 1.                              No
  264   Wildernest Investments, LLC          17-12723               No                            No                           Yes                      Note 1.                              No
  265   Willow Grove Investments, LLC        17-12732               No                            No                           Yes                      Note 1.                              No
  266   Winding Road Investments, LLC        17-12739               No                            No                           Yes                      Note 1.                              No



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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                                     Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                                                                                     Reporting Period: 06/30/2018

                                                                                      DEBTOR QUESTIONNAIRE

                                                              1) Have any assets been       2) Have any funds been       3) Have all postpetition   4) Are workers                5) Has any bank account been opened
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                                                                                            explanation below.                                      below. *                      Delaware Local Rule 4001-3.
   #                     Name of Entity              Case #
  267   WMF Management, LLC                        17-12745               No                            No                           Yes                      Note 1.                              No
  268   Woodbridge Capital Investments, LLC        17-12750               No                            No                           Yes                      Note 1.                              No
  269   Woodbridge Commercial Bridge Loan Fund 1, L17-12754               No                            No                           Yes                      Note 1.                              No
  270   Woodbridge Commercial Bridge Loan Fund 2, L17-12758               No                            No                           Yes                      Note 1.                              No
  271   Woodbridge Investments, LLC                17-12761               No                            No                           Yes                      Note 1.                              No
  272   Woodbridge Mezzanine Fund 1, LLC           17-12765               No                            No                           Yes                      Note 1.                              No
  273   Woodbridge Mortgage Investment Fund 1, LLC 17-12768               No                            No                           Yes                      Note 1.                              No
  274   Woodbridge Mortgage Investment Fund 2, LLC 17-12772               No                            No                           Yes                      Note 1.                              No
  275   Woodbridge Mortgage Investment Fund 3, LLC 17-12776               No                            No                           Yes                      Note 1.                              No
  276   Woodbridge Mortgage Investment Fund 3A, LL 17-12780               No                            No                           Yes                      Note 1.                              No
  277   Woodbridge Mortgage Investment Fund 4, LLC 17-12784               No                            No                           Yes                      Note 1.                              No
  278   Woodbridge Structured Funding, LLC         17-12786               No                            No                           Yes                      Note 1.                              No
  279   Zestar Investments, LLC                    17-12792               No                            No                           Yes                      Note 1.                              No
        SECOND ROUND FILERS: FILED 02/09/2018
  280   Carbondale Glen Lot L-2, LLC               18-10284               No                            No                           Yes                      Note 1.                              No
  281   Carbondale Peaks Lot L-1, LLC              18-10286               No                            No                           Yes                      Note 1.                              No
  282   H18 Massabesic Holding Company, LLC        18-10287               No                            No                           Yes                      Note 1.                              No
  283   H33 Hawthorn Holding Company, LLC          18-10288               No                            No                           Yes                      Note 1.                              No
  284   H50 Sachs Bridge Holding Company, LLC      18-10289               No                            No                           Yes                      Note 1.                              No
  285   H64 Pennhurst Holding Company, LLC         18-10290               No                            No                           Yes                      Note 1.                              No
  286   Hawthorn Investments, LLC                  18-10291               No                            No                           Yes                      Note 1.                              No
  287   Lilac Valley Investments, LLC              18-10292               No                            No                           Yes                      Note 1.                              No
  288   Massabesic Investments, LLC                18-10293               No                            No                           Yes                      Note 1.                              No
  289   M58 Springvale Holding Company, LLC        18-10294               No                            No                           Yes                      Note 1.                              No
  290   M96 Lilac Valley Holding Company, LLC      18-10295               No                            No                           Yes                      Note 1.                              No
  291   Pennhurst Investments, LLC                 18-10296               No                            No                           Yes                      Note 1.                              No
  292   Sachs Bridge Investments, LLC              18-10297               No                            No                           Yes                      Note 1.                              No
  293   Springvale Investments, LLC                18-10298               No                            No                           Yes                      Note 1.                              No
        THIRD ROUND FILERS: FILED 03/09/2018
  294   Bellflower Funding, LLC                    18-10507               No                            No                           Yes                      Note 1.                              No
  295   Wall 123, LLC                              18-10508               No                            No                           Yes                      Note 1.                              No
        FOURTH ROUND FILERS: FILED 03/23/2018
  296   695 Buggy Circle, LLC                      18-10670               No                            No                           Yes                      Note 1.                              No
  297   Buggy Circle Holdings, LLC                 18-10672               No                            No                           Yes                      Note 1.                              No
  298   Deerfield Park Investments, LLC            18-10673               No                            No                           Yes                      Note 1.                              No
  299   Kirkstead Investments, LLC                 18-10675               No                            No                           Yes                      Note 1.                              No
  300   M16 Kirkstead Holding Company, LLC         18-10676               No                            No                           Yes                      Note 1.                              No
  301   H10 Deerfield Park Holding Company, LLC    18-10674               No                            No                           Yes                      Note 1.                              No



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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                                              Case No. 17-12560 (KJC)
(Jointly Administered)                                                                                                                                                                              Reporting Period: 06/30/2018

                                                                                               DEBTOR QUESTIONNAIRE

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                                                                       explanation below.            period? If yes, provide an                              provide an explanation        required documentation pursuant to the
                                                                                                     explanation below.                                      below. *                      Delaware Local Rule 4001-3.
   #                     Name of Entity                     Case #
  302     Blazingstar Funding, LLC                        18-10671                  No                           No                           Yes                      Note 1.                              No
          FIFTH ROUND FILERS: FILED 03/27/2018
  303     Frog Rock Investments, LLC                      18-10733                  No                           No                           Yes                      Note 1.                              No
  304     M77 Frog Rock Holding Company, LLC              18-10734                  No                           No                           Yes                      Note 1.                              No
  305     Mount Washington Investments, LLC               18-10736                  No                           No                           Yes                      Note 1.                              No
  306     M89 Mount Washington Holding Company,           18-10735                  No                           No                           Yes                      Note 1.                              No
          LLC

        * The Debtor has the necessary and adequate workers comp insurance. The Debtor has liability and fire or builders risk insurance on all properties with structures. Properties with structures in California have
          earthquake insurance.




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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                                                             Case No. 17-12560 (KJC)
Debtors                                                                                                                                                                                                             Reporting Period: 06/30/2018
                                                                                            INSURANCE SCHEDULE
                                                                                                                                              Effective    Expiration                                                  Current         Coverage
          Name of Debtor / Insured                    Address               City    State    Zip       Term              Policy #               Date          Date                   Type of Insurance                Premium          Amount
Topchord Investments, LLC            831 Grand Ave                 Carbondale        CO     81601   1 year     O5XV366801                    8/27/2017     8/27/2018    Commercial                                  $      6,839   $     2,443,251
Gravenstein Investments, LLC         24055 Hidden Ridge Rd         Hidden Hills      CA     91302   1 year     HGB0129709                     9/1/2017      9/1/2018    Builders Risk                               $    28,080    $     8,000,000
Gravenstein Investments, LLC         24055 Hidden Ridge Rd         Hidden Hills      CA     91302   1 year     SSE84015-00                    9/1/2017      9/1/2018    Earthquake                                  $    13,194    $     8,000,000
Cannington Investments, LLC          1118 Tower Rd                 Beverly Hills     CA     90210   6 Months   HGB0129536                     3/3/2018      9/3/2018    CPL                                         $     7,664    $     2,700,000
Crowfield Investments, LLC           1241 Loma Vista Dr.           Beverly Hills     CA     90210   1 year     HGB0129885                     9/5/2017      9/5/2018    Builders Risk                               $    16,052    $     4,400,000
Silk City Investments, LLC           25210 Jim Bridger Rd          Hidden Hills      CA     91302   1 year     ER10799478                     9/5/2017      9/5/2018    Builders Risk                               $    19,302    $     6,500,000
Bay Village Investments, LLC         1432 Tanager Way              Los Angeles       CA     90069   1 year     ER10822049                    9/11/2017     9/11/2018    Builders Risk                               $    21,831    $     8,300,000
Dollis Brook Investments, LLC        38 Diamond A Ranch Road       Carbondale        CO     81623   1 year     O5XV392501                    9/15/2017     9/15/2018    Commercial                                  $      4,320   $       915,497
Chestnut Investments, LLC            10733 Stradella Court         Los Angeles       CA     90077   1 year     HGB0129713                    9/15/2017     9/15/2018    Build Renovation                            $    17,696    $     3,800,000
Diamond Cove Investments, LLC        1 Electra Court               Los Angeles       CA     90046   1 year     HGB0130053                    9/18/2017     9/18/2018    CPL                                         $    22,089    $     5,000,000
Sturmer Pippin Investments, LLC      141 S Carolwood Dr            Holmby Hills      CA     90024   1 year     HGB0130077                    9/26/2017     9/26/2018    CPL                                         $    52,942    $     7,200,000
Sturmer Pippin Investments, LLC      141 S Carolwood Dr            Holmby Hills      CA     90024   1 year     VSEQ311175                    9/26/2017     9/26/2018    Earthquake                                  $    22,846    $     7,500,000
Carbondale Glen Owners, LLC          115 Midland Loop              Carbondale        CO     81623   1 year     O5XT672001                    9/28/2017     9/28/2018    Commercial                                  $      2,481   $     1,429,891
Hornbeam Investments, LLC            1484 Carla Ridge              Beverly Hills     CA     90210   1 year     ER10874495                    9/26/2017     9/28/2018    Builders Risk                               $    20,900    $     8,500,000
Goose Rock Investments, LLC          9127 Thrasher Ave             Los Angeles       CA     90069   1 year     HGB0130308                   10/13/2017    10/13/2018    Builders Risk                               $    35,086    $     7,700,000
Willow Grove Investments, LLC        8124 W 3rdSt                  Los Angeles       CA     90048   1 year     60630-43-22                  10/21/2017    10/19/2018    Commercial                                  $     4,708    $     1,500,000
Elstar Investments, LLC              1520 Carla Ridge              Beverly Hills     CA     90210   1 year     ER10961177                   10/20/2017    10/20/2018    Builders Risk                               $    22,550    $     7,000,000
Chestnut Ridge Investments, LLC      10750 Chalon Rd               Los Angeles       CA     90077   1 year     HGB0130163                   10/21/2017    10/21/2018    Build Renovation                            $     7,942    $     1,700,000
Willow Grove Investments, LLC        8124 W 3rdSt                  Los Angeles       CA     90048   1 year     D4-7500103002-S-01           10/21/2017    10/21/2018    Earthquake                                  $     6,358    $     1,500,000
Carbondale Glen River Mesa, LLC      918 Brookie                   Carbondale        CO     81623   1 year     05-XQ8010-01                 10/22/2017    10/22/2018    Commercial                                  $      2,592   $     3,000,000
Summit Cut Investments, LLC          375 & 385 Trousdale Pl.       Beverly Hills     CA     90210   1 year     HGB0130533                    11/9/2017     11/9/2018    CPL                                         $     5,527    $     1,400,000
Pawtuckaway Investments, LLC         1471 Forest Knoll             Los Angeles       CA     90069   1 year     HGB0130645                   11/12/2017    11/12/2018    Builders Risk                               $    23,524    $     6,800,000
Pawtuckaway Investments, LLC         1471 Forest Knoll             Los Angeles       CA     90069   1 year     SSE84616-00                  11/12/2017    11/12/2018    Earthquake                                  $    14,742    $     6,900,000
Lilac Meadow Investments, LLC        9230 Robin Dr                 Los Angeles       CA     90069   1 year     HGB0130794                   11/13/2017    11/13/2018    Builders Risk (Step Up)                     $    24,881    $     7,500,000
Lilac Meadow Investments, LLC        9230 Robin Dr                 Los Angeles       CA     90069   1 year     PPL00004699-00               11/13/2017    11/13/2018    Personal liability                          $        505   $     7,500,000
Old Maitland Investments, LLC        150 White Horse Springs Ln    Aspen             CO     81611   1 year     3AA154025                    11/27/2017    11/27/2018    Liability                                   $      9,919   $    10,000,000
Zestar Investments, LLC              Pines Lot 27                  Snowmass          CO     81654   1 year     Pending                      11/29/2017    11/29/2018    Builders Risk                               $    13,631    $     4,300,000
Rising Sun Investments, LLC          1307 N Fairfax                West Hollywood    CA     90046   1 year     ATR/R/440000.01               12/5/2017     12/5/2018    CPL                                         $     1,609    $       252,000
Rising Sun Investments, LLC          1301 N Fairfax                West Hollywood    CA     90046   1 year     ATR/R/439999.01               12/5/2017     12/5/2018    CPL                                         $     2,006    $       348,000
Rising Sun Investments, LLC          7909 Fountain Ave             West Hollywood    CA     90046   1 year     ATR/R/440001.01               12/5/2017     12/5/2018    CPL                                         $     2,105    $       372,000
Whiteacre Funding, LLC               State Rt 390                  Canadensis        PA     18325   1 year     12PRM023852-02               12/10/2017    12/10/2018    Property and Liability                      $    20,653    $     4,330,462
Emerald Lake Investments LLC         4030 Longridge Ave            Sherman Oaks      CA     91423   1 year     VSEQ313954                     1/4/2018      1/4/2019    Earthquake                                  $    12,504    $     3,300,000
Mason Run Investments, LLC           1962 Stradella Rd             Los Angeles       CA     90077   6 months   HGB0128865                     7/6/2018      1/6/2019    Vacant Dwelling                             $     4,249    $     1,000,000
Summit Cut Investments, LLC          375 & 385 Trousdale Pl.       Beverly Hills     CA     90210   1 year     HGB0127095                    1/19/2018     1/18/2019    CPL                                         $     6,673    $     3,000,000
Carbondale Peaks Lot 1LLC            90 Primrose Ln                Carbondale        CO     81623   1 year     05-XQ4037-01                  2/15/2018     2/15/2019    CPL                                         $        300   $       200,000
Whiteacre Funding, LLC               709 S Alamo St                Refugio           TX     78377   1 year     18LAP752899                   2/22/2018     2/22/2019    Property and Liability (Blanket - in red)   $    11,378    $       450,000
Whiteacre Funding, LLC               277 Broughton Lane            Villanova         PA     19085   1 year     18LAP752899                   2/22/2018     2/22/2019    Property and Liability (Blanket - in red)   $    22,931    $     2,600,000
Silverleaf Funding, LLC              6502 S Marshfield Ave         Chicago            IL    60636   1 year     18LAP752899                   2/22/2018     2/22/2019    Property and Liability (Blanket - in red)   $      2,536   $       275,000
Silverleaf Funding, LLC              15635 Dobson Ave.             Dolton             IL    60419   1 year     18LAP752899                   2/22/2018     2/22/2019    Property and Liability (Blanket - in red)   $      1,220   $       125,000
Silverleaf Funding, LLC              603 Ridge Road                Homewood           IL    60430   1 year     18LAP752899                   2/22/2018     2/22/2019    Property and Liability (Blanket - in red)   $      4,115   $       275,000
Silverleaf Funding, LLC              6657 Wabash                   Chicago            IL    60637   1 year     18LAP752899                   2/22/2018     2/22/2019    Property and Liability (Blanket - in red)   $      1,264   $       130,000
Silverleaf Funding, LLC              7017 South Stewart            Chicago            IL    60621   1 year     18LAP752899                   2/22/2018     2/22/2019    Property and Liability (Blanket - in red)   $      1,878   $       200,000
Silverleaf Funding, LLC              1468 State Street             East St. Louis     IL    62205   1 year     18LAP752899                   2/22/2018     2/22/2019    Property and Liability (Blanket - in red)   $    14,964    $     1,000,000
Ironsides Investments, LLC           8607 Honoapilani Hwy          Lahaina            HI    96761   1 year     18LAP752899                   2/22/2018     2/22/2019    Property and Liability (Blanket - in red)   $        124   $     3,500,000
Bellflower Funding LLC               6287 Memorial Dr              Stone Mountain    GA     30083   1 year     0799/REO702 Asset #130619      3/8/2018     2/22/2019    Property And Liability                      $     5,180    $       600,000
Bellflower Funding LLC               50 W. 96th St                 New York          Ny     10025   1 year     0799/REO702 Asset # 124297     3/8/2018     2/22/2019    Property And Liability                      $        964   $       100,000
Bellflower Funding LLC               5 Ledyard ave                 Cazenovia         NY     13035   1 year     0799/REO702 Asset # 124297     3/8/2018     2/22/2019    Property And Liability                      $    10,244    $     1,200,000
Woodbridge Mtg Investments           1042 W 67th St                Cazenovia         NY     60621   1 year     18LAP752899                   2/22/2018     2/22/2019    Property And liability                      $     3,044    $       295,000
Woodbridge Mtg Investments           1621 W 67th St                Chicago            IL    60636   1 year     18LAP752899                   2/22/2018     2/22/2019    Property And Liability                      $     3,065    $       297,000
Woodbridge Mtg Investments           7719 Lowe Ave                 Chicago            IL    60620   1 year     18LAP752899                   2/22/2018     2/22/2019    Property and Liability                      $     3,055    $       296,000
Woodbridge Mtg Investments           6925 S Ada St                 Chicago            IL    60636   1 year     18LAP752899                   2/22/2018     2/22/2019    Property And liability                      $     3,065    $       297,000
Woodbridge Mtg Investments           6718 S Union                  Chicago            IL    60621   1 year     18LAP752899                   2/22/2018     2/22/2019    Propert And Liability                       $     2,064    $       200,000
Woodbridge Mtg Investments           7145 S Emerald Ave            Chicago            IL    60621   1 year     18LAP752899                   2/22/2018     2/22/2019    Property And Liability                      $     2,838    $       275,000
Woodbridge Mtg Investments           6050 Hermitage ave            Chicago            IL    60621   1 year     18LAP752899                   2/22/2018     2/22/2019    Property And Liability                      $     2,064    $       200,000
Woodbridge Mtg Investments           6410 S Honore St              Chicago            IL    60636   1 year     18LAP752899                   2/22/2018     2/22/2019    Property And Liability                      $     2,982    $       289,000
Woodbridge Mtg Investments           6600 S Marquette Rd           Chicago            IL    60637   1 year     18LAP752899                   2/22/2018     2/22/2019    Property And Liability                      $     2,219    $       215,000



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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                                                        Case No. 17-12560 (KJC)
Debtors                                                                                                                                                                                                        Reporting Period: 06/30/2018
                                                                                                            INSURANCE SCHEDULE
                                                                                                                                                    Effective   Expiration                                        Current         Coverage
       Name of Debtor / Insured                          Address                           City     State    Zip       Term             Policy #      Date         Date                    Type of Insurance     Premium          Amount
Woodbridge Mtg Investments              637 E 88th Pl                               Chicago           IL    60619   1 year    18LAP752899          2/22/2018    2/22/2019    Property And Liability            $     1,806    $       175,000
Woodbridge Mtg Investments              6228 S Artesian Ave                         Chicago           IL    60629   1 year    18LAP752899          2/22/2018    2/22/2019    Property And Liability            $     1,445    $       140,000
Woodbridge Mtg Investments              24637 S Wildwood Trail                      Crete             IL    60417   1 year    18LAP752899          2/22/2018    2/22/2019    Property And Liability            $     2,270    $       220,000
Woodbridge Mtg Investments              1604 A St NE                                Washington       DC     20002   1 year    18LAP752899          2/22/2018    2/22/2019    Property And Liability            $    10,320    $     1,000,000
Woodbridge Mtg Investments              4550 Warrensville Center                    Cleveland        OH     44128   1 year    18LAP752899          2/22/2018    2/22/2019    Property And Liability            $     3,870    $       250,000
Woodbridge Mtg Investments              802 N Wharton St                            El Campo         TX     77437   1 year    18LAP752899          2/22/2018    2/22/2019    Old Ma                            $     3,741    $       250,000
Woodbridge Mtg Investments              420 NW 5th St                               Evansville        IN    47708   1 year    18LAP752899          2/22/2018    2/22/2019    Property And Liability            $    52,374    $     3,500,000
Red Woods investments LLC               4494-4496 State Rte 42 N                    Kiamesha Lake    NY     12751   1 year    18LAP752899          3/20/2018    2/22/2019    Property And Liability            $    11,520    $     1,400,000
Grand Midway Investments, LLC           800 Stradella Rd                            Los Angeles      CA     90077   1 year    PH213188             2/24/2018    2/24/2019    CPL                               $        502   $     1,000,000
White Birch Investments, LLC            25211 Jim Bridger Rd                        Hidden Hills     CA     91302   1 year    HGB0128076           3/19/2018    3/19/2019    Builders Risk                     $    19,299    $     5,700,000
Bay Village Investment, LLC             1432 Tanager Way                            Los Angeles      CA     90069   1 year    PH213700             3/21/2018    3/21/2019    CPL                               $        502   $     1,000,000
Bluff Point Investments, LLC            9212 Nightingale Dr                         Los Angeles      CA     90069   1 year    HGB0127624           3/24/2018    3/24/2019    CPL                               $    10,079    $     2,200,000
Winding Road Investments, LLC           10721 Stradella Ct                          Los Angeles      CA     90077   1 year    HGB0127814           3/28/2018    3/28/2019    Builders Risk (Step Up)           $    71,031    $    13,000,000
Donnington Investments, LLC             300 Market St. #301                         Basalt           CO     81621   1 year    05XV578901           3/31/2018    3/31/2019    Commercial                        $      4,017   $     1,483,622
White Birch Investments, LLC            25211 Jim Bridger Rd                        Hidden Hills     CA     91302   1 year    VSEQ329528            4/2/2018     4/2/2019    Earthquake                        $     6,574    $     5,500,000
Moravian Investments, LLC               36 Primrose Ln                              Carbondale       CO     81623   1 year    SIPL35499            4/10/2018    4/10/2019    CPL                               $      7,293   $     1,300,000
Arborvitae Investments, LLC             43 Indian Paintbrush Aspen Glen
                                        Carbondale CO                           Carbondale           CO     81623 1 Year      AES105233601         4/16/2018    4/16/2019 Vacant Land Liability                $     7,957    $    1,000,000
Arrowpoint Investments, LLC             125 River Park Aspen Glen Carbondale CO
                                                                                    Carbondale       CO     81623 1 year      AES105233601         4/16/2018    4/16/2019 Vacant Land Liability                Blanket        $    1,000,000
Bear Brook Investments, LLC             TBD Spire Ridge Way - Lot H-10, Aspen
                                        Glen Filing No. 6 Aspen Glen Carbondale
                                        CO                                        Carbondale         CO     81623 1 Year      AES105233601         4/16/2018    4/16/2019 Vacant Land Liability                Blanket        $    1,000,000
Black Bass Investments, LLC             TBD Sweetgrass - Lot D-20, Aspen Glen
                                        Filing No. 1 Aspen Glen Carbondale CO     Carbondale         CO     81623 1 Year      AES105233601         4/16/2018    4/16/2019 Vacant Land Liability                Blanket        $    1,000,000
                                        TBD Brookie, Aspen Glen Carbondale CO
Black Locust Investments, LLC
                                        Lot RFM - 12                              Carbondale         CO     81623 1 Year      AES105233601         4/16/2018    4/16/2019 Vacant Land Liability                Blanket        $    1,000,000
Bowman Investments, LLC                 TBD Golden Bear - Lot 15, The Fairways at
                                        Aspen Glen Aspen Glen Carbondale CO
                                                                                    Carbondale       CO     81623 1 Year      AES105233601         4/16/2018    4/16/2019 Vacant Land Liability                Blanket        $    1,000,000
Bramley Investments, LLC                719-761 Perry Ridge Carbondale CO Lots
                                        9, 10, 11, 12 and 13 Block V RVR Phase 8
                                        (5 Lots)                                 Carbondale          CO     81623 1 Year      AES105233601         4/16/2018    4/16/2019 Vacant Land Liability                Blanket        $    1,000,000
Brise Soleil Investments, LLC           TBD East Diamond A Ranch Road Lot E-33
                                                                                    Carbondale       CO     81623 1 Year      AES105233601         4/16/2018    4/16/2019 Vacant Land Liability                Blanket        $    1,000,000
Brise Soleil Investments, LLC           TBD Midland Loop [Lots near house] Aspen
                                        Glen Carbondale CO Lot WP-4                 Carbondale       CO     81623 1 Year      AES105233601         4/16/2018    4/16/2019 Vacant Land Liability                Blanket        $    1,000,000
Broadsands Investments, LLC             TBD Sundance Trail - Lots SD-7, SD-13 and
                                        SD-24, Aspen Glen Filing 4 Aspen Glen
                                        Carbondale CO (3 Lots)                      Carbondale       CO     81623 1 Year      AES105233601         4/16/2018    4/16/2019 Vacant Land Liability                Blanket        $    1,000,000
Carbondale Glen Lot A-5, LLC            360 Rivers Bend Aspen Glen Carbondale
                                        CO                                          Carbondale       CO     81623 1 Year      AES105233601         4/16/2018    4/16/2019 Vacant Land Liability                Blanket        $    1,000,000
Carbondale Glen Lot E-24, LLC           225 Diamond A Ranch Road Aspen Glen
                                        Carbondale CO                               Carbondale       CO     81623 1 Year      AES105233601         4/16/2018    4/16/2019 Vacant Land Liability                Blanket        $    1,000,000
Carbondale Glen Lot GV-13, LLC          TBD Mariposa - Lot GV-13, Aspen Glen
                                        Filing 2 Aspen Glen Carbondale CO           Carbondale       CO     81623 1 Year      AES105233601         4/16/2018    4/16/2019 Vacant Land Liability                Blanket        $    1,000,000
Carbondale Glen Lot SD-14, LLC          TBD Sundance Trail - Lot SD-14, Aspen
                                        Glen Filing 4 Aspen Glen Carbondale CO      Carbondale       CO     81623 1 Year      AES105233601         4/16/2018    4/16/2019 Vacant Land Liability                Blanket        $    1,000,000
Carbondale Glen Lot SD-23, LLC          TBD Sundance Trail - Lot SD-23, Aspen
                                        Glen Filing 4 Aspen Glen Carbondale CO      Carbondale       CO     81623 1 Year      AES105233601         4/16/2018    4/16/2019 Vacant Land Liability                Blanket        $    1,000,000
Carbondale Glen Mesa Lot 19, LLC        TBD Golden Stone Drive Aspen Glen
                                        Carbondale CO                               Carbondale       CO     81623 1 Year      AES105233601         4/16/2018    4/16/2019 Vacant Land Liability                Blanket        $    1,000,000
Carbondale Glen Sundance Ponds, LLC     TBD Bald Eagle Way/Sundance Trail Aspen
                                        Glen Carbondale CO Lot SD-2, SD-3, SD-
                                        4, SD-5, SD-6, SD-20, SD-21 and SD-22 (8
                                        Lots)                                       Carbondale       CO     81623 1 Year      AES105233601         4/16/2018    4/16/2019 Vacant Land Liability                Blanket        $    1,000,000
Carbondale Glen Sweetgrass Vista, LLC   TBD Thunderstorm - Lot C-1, Roaring Fork
                                        Mesa at Aspen Glen Aspen Glen
                                        Carbondale CO                               Carbondale       CO     81623 1 Year      AES105233601         4/16/2018    4/16/2019 Vacant Land Liability                Blanket        $    1,000,000
Carbondale Sundance Lot 15, LLC         TBD Sundance Trail - Lot SD-15, Aspen
                                        Glen Filing 4 Aspen Glen Carbondale CO      Carbondale       CO     81623 1 Year      AES105233601         4/16/2018    4/16/2019 Vacant Land Liability                Blanket        $    1,000,000
Carbondale Sundance Lot 16, LLC         TBD Sundance Trail - Lot SD-16, Aspen
                                        Glen Filing 4 Aspen Glen Carbondale CO      Carbondale       CO     81623 1 Year      AES105233601         4/16/2018    4/16/2019 Vacant Land Liability                Blanket        $    1,000,000




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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                                            Case No. 17-12560 (KJC)
Debtors                                                                                                                                                                                            Reporting Period: 06/30/2018
                                                                                                         INSURANCE SCHEDULE
                                                                                                                                             Effective   Expiration                                  Current     Coverage
        Name of Debtor / Insured                     Address                           City        State Zip    Term             Policy #      Date        Date                Type of Insurance    Premium       Amount
Castle Pines Investments, LLC        34 Mariposa Aspen Glen Carbondale CO       Carbondale          CO 81623 1 Year     AES105233601        4/16/2018    4/16/2019 Vacant Land Liability           Blanket      $ 1,000,000
Chaplin Investments, LLC             TBD Golden Stone Drive - Lot 13, Roaring
                                     Fork Mesa at Aspen Glen Aspen Glen
                                     Carbondale CO                                                  CO   81623 1 Year   AES105233601        4/16/2018    4/16/2019 Vacant Land Liability           Blanket      $   1,000,000
Coffee Creek Investments, LLC        82 Fox Prowl Aspen Glen Carbondale CO      Carbondale          CO   81623 1 Year   AES105233601        4/16/2018    4/16/2019 Vacant Land Liability           Blanket      $   1,000,000
Crystal Woods Investments, LLC       16 Puma Aspen Glen Carbondale CO           Carbondale          CO   81623 1 Year   AES105233601        4/16/2018    4/16/2019 Vacant Land Liability           Blanket      $   1,000,000
Daleville Investments, LLC           39 Buffalo Lane Aspen Glen Carbondale
                                     CO                                         Carbondale          CO   81623 1 Year   AES105233601        4/16/2018    4/16/2019 Vacant Land Liability           Blanket      $   1,000,000
Dixville Notch Investments, LLC      177 W. Diamond A Ranch Road Aspen
                                     Glen Carbondale CO                         Carbondale          CO   81623 1 Year   AES105233601        4/16/2018    4/16/2019 Vacant Land Liability           Blanket      $   1,000,000
Dogwood Valley Investments, LLC      Lot WP3, Garfield CO                       Garfield            CO         1 Year   AES105233601        4/16/2018    4/16/2019 Vacant Land Liability           Blanket      $   1,000,000
Franconia Notch Investments, LLC     TBD Wader Lane, Lot 54, Roaring Fork
                                     Mesa Aspen Glen Carbondale CO              Carbondale          CO   81623 1 Year   AES105233601        4/16/2018    4/16/2019 Vacant Land Liability           Blanket      $   1,000,000
Glenn Rich Investments, LLC          4123 Crystal Bridge Drive Carbondale CO    Carbondale          CO   81623 1 Year                       4/16/2018    4/16/2019 Vacant Land Liability           Blanket      $   1,000,000
Grenadier Investments, LLC           TBD Sundance Trail, Lot SD-12, Aspen
                                     Glen Aspen Glen Carbondale CO              Carbondale          CO   81623 1 Year   AES105233601        4/16/2018    4/16/2019 Vacant Land Liability           Blanket      $   1,000,000
Grumblethorpe Investments, LLC       61 Wader Aspen Glen Carbondale CO          Carbondale          CO   81623 1 Year   AES105233601        4/16/2018    4/16/2019 Vacant Land Liability           Blanket      $   1,000,000
Haralson Investments, LLC            245 Midland Loop - Lot L20, Aspen Glen
                                     Filing No. 3 Aspen Glen Carbondale CO      Carbondale          CO   81623 1 Year   AES105233601        4/16/2018    4/16/2019 Vacant Land Liability           Blanket      $   1,000,000
Idared Investments, LLC              665 North Bridge Drive Carbondale CO       Carbondale          CO   81623 1 Year   AES105233601        4/16/2018    4/16/2019 Vacant Land Liability           Blanket      $   1,000,000
Lenni Heights Investments, LLC       302 Wildflower Aspen Glen Carbondale CO
                                                                                Carbondale          CO   81623 1 Year   AES105233601        4/16/2018    4/16/2019 Vacant Land Liability           Blanket      $   1,000,000
Lonetree Investments, LLC            TBD Wader, Lot 53, Roaring Fork Mesa
                                     Aspen Glen Carbondale CO               Carbondale              CO   81623 1 Year   AES105233601        4/16/2018    4/16/2019 Vacant Land Liability           Blanket      $   1,000,000
Melody Lane Investments, LLC         19 Sage Court Aspen Glen Carbondale CO
                                                                                Carbondale          CO   81623 1 Year   AES105233601        4/16/2018    4/16/2019 Vacant Land Liability           Blanket      $   1,000,000
Merrimack Valley Investments, LLC    1165 Heritage Drive Carbondale CO          Carbondale          CO   81623 1 Year   AES105233601        4/16/2018    4/16/2019 Vacant Land Liability           Blanket      $   1,000,000
Mineola Investments, LLC             67 Puma Aspen Glen Carbondale CO           Carbondale          CO   81623 1 Year   AES105233601        4/16/2018    4/16/2019 Vacant Land Liability           Blanket      $   1,000,000
Monadnock Investments, LLC           336 Golden Stone Aspen Glen Carbondale
                                     CO                                         Carbondale          CO   81623 1 Year   AES105233601        4/16/2018    4/16/2019 Vacant Land Liability           Blanket      $   1,000,000
Mountain Spring Investments, LLC     TBD Epply Drive OR Block: 11 Lot: R-79
                                     Epply Dr Aspen CO                          Aspen               CO         1 Year   AES105233601        4/16/2018    4/16/2019 Vacant Land Liability           Blanket      $   1,000,000
Mt. Holly Investments, LLC           153 Sopris Mesa Drive Carbondale CO        Carbondale          CO   81623 1 Year   AES105233601        4/16/2018    4/16/2019 Vacant Land Liability           Blanket      $   1,000,000
Mutsu Investments, LLC               TBD Golden Bear - Lot 5, The Fairways at
                                     Aspen Glen Aspen Glen Carbondale CO        Carbondale          CO   81623 1 Year   AES105233601        4/16/2018    4/16/2019 Vacant Land Liability           Blanket      $   1,000,000
Newville Investments, LLC            67 Alpen Glo Lane Aspen Glen Carbondale
                                     CO                                         Carbondale          CO   81623 1 Year   AES105233601        4/16/2018    4/16/2019 Vacant Land Liability           Blanket      $   1,000,000
Old Carbon Investments, LLC          43 Puma Aspen Glen Carbondale CO           Carbondale          CO   81623 1 Year   AES105233601        4/16/2018    4/16/2019 Vacant Land Liability           Blanket      $   1,000,000
Owl Ridge Investments, LLC           261 Golden Bear Aspen Glen Carbondale
                                     CO                                         Carbondale          CO   81623 1 Year   AES105233601        4/16/2018    4/16/2019 Vacant Land Liability           Blanket      $   1,000,000
Papirovka Investments, LLC           478 W. Diamond A Ranch Road Aspen
                                     Glen Carbondale CO                         Carbondale          CO   81623 1 Year   AES105233601        4/16/2018    4/16/2019 Vacant Land Liability           Blanket      $   1,000,000
Pemigewasset Investments, LLC        324 Golden Stone Aspen Glen Carbondale
                                     CO                                         Carbondale          CO   81623 1 Year   AES105233601        4/16/2018    4/16/2019 Vacant Land Liability           Blanket      $   1,000,000
Pinova Investments, LLC              0241 Rivers Bend Road Aspen Glen
                                     Carbondale CO                              Carbondale          CO   81623 1 Year   AES105233601        4/16/2018    4/16/2019 Vacant Land Liability           Blanket      $   1,000,000
Ridgecrest Investments, LLC          0057 W Diamond A Ranch Road Aspen
                                     Glen Carbondale CO                         Carbondale          CO   81623 1 Year   AES105233601        4/16/2018    4/16/2019 Vacant Land Liability           Blanket      $   1,000,000
Silverthorne Investments, LLC        345 Branding Lane Snowmass Village CO      Snowmass Village    CO   81615 1 Year   AES105233601        4/16/2018    4/16/2019 Vacant Land Liability           Blanket      $   1,000,000
Springline Investments, LLC          TBD Spur Ridge - Lot 26, Horse Ranch
                                     Snowmass Village CO                        Snowmass Vilage     CO   81615 1 Year   AES105233601        4/16/2018    4/16/2019 Vacant Land Liability           Blanket      $   1,000,000
Stayman Investments, LLC             TBD Horseshoe - Lot H14, Aspen Glen
                                     Filing No. 7 Aspen Glen Carbondale CO      Carbondale          CO   81623 1 Year   AES105233601        4/16/2018    4/16/2019 Vacant Land Liability           Blanket      $   1,000,000
Steele Hill Investments, LLC         171 Sopris Mesa Drive Carbondale CO        Carbondale          CO   81623 1 Year   AES105233601        4/16/2018    4/16/2019 Vacant Land Liability           Blanket      $   1,000,000
Stepstone Investments, LLC           505 East Diamond A Ranch Road Aspen
                                     Glen Carbondale CO                         Carbondale          CO   81623 1 Year   AES105233601        4/16/2018    4/16/2019 Vacant Land Liability           Blanket      $   1,000,000
Strawberry Fields Investments, LLC   TBD Sundance Trail Aspen Glen
                                     Carbondale CO Lot SD-19                    Carbondale          CO   81623 1 Year   AES105233601        4/16/2018    4/16/2019 Vacant Land Liability           Blanket      $   1,000,000
Thunder Basin Investments, LLC       167 Midland Loop - Lot L-19, Aspen Glen
                                     Filing 3 Aspen Glen Carbondale CO          Carbondale          CO   81623 1 Year   AES105233601        4/16/2018    4/16/2019 Vacant Land Liability           Blanket      $   1,000,000
Vallecito Investments, LLC           TBD Golden Stone - Lot 32, Roaring Fork
                                     Mesa at Aspen Glen Filing 2 Aspen Glen
                                     Carbondale CO                              Carbondale          CO   81623 1 Year   AES105233601        4/16/2018    4/16/2019 Vacant Land Liability           Blanket      $   1,000,000




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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                                                             Case No. 17-12560 (KJC)
Debtors                                                                                                                                                                                                             Reporting Period: 06/30/2018
                                                                                                               INSURANCE SCHEDULE
                                                                                                                                                         Effective    Expiration                                      Current         Coverage
       Name of Debtor / Insured                       Address                                City      State    Zip      Term                Policy #      Date         Date                    Type of Insurance    Premium          Amount
Wetterhorn Investments, LLC       TBD Vacant Land - Lot H-35, Aspen Glen
                                  Filing 6 Aspen Glen Carbondale CO                   Carbondale        CO     81623 1 Year        AES105233601         4/16/2018     4/16/2019 Vacant Land Liability               Blanket       $    1,000,000
White Dome Investments, LLC       0032 Fenwick Court Aspen Glen
                                  Carbondale CO                                       Carbondale        CO     81623 1 Year        AES105233601         4/16/2018     4/16/2019 Vacant Land Liability               Blanket       $    1,000,000
Carbondale Glen Lot L-2, LLC      39 Midland Loop Aspen Glen Carbondale,
                                  CO                                                  Carbondale        CO     81623 1 Year        AES105233601         4/16/2018     4/16/2019 Vacant Land Liability               Blanket       $    1,000,000
Sachs Bridge Investments, LLC     Multiple Lots River Valley Ranch - Lots 4, 5,
                                  6, 7, 16, 17, 19 and 20, Block AA, River
                                  Valley Ranch Phase 7, Lots 1, 2, 5, 6 and 8,
                                  Block EE, River Valley Ranch Phase 8, and
                                  Lots 3, 4, 5, 6, 15, 20, 23, 24, 25 and 26,
                                  Block Z, River Valley Ranch Phase 7 (23
                                  Lots)                                               Carbondale        CO     81623 1 Year        AES105233601         4/16/2018     4/16/2019 Vacant Land Liability               Blanket       $    1,000,000
Springvale Investments, LLC       Parcel A: Lots 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11,
                                  12, 13, 14 and 15, The Enclave at Bowles
                                  Gulch
                                  Carbondale, CO
                                  &
                                  TBD Perry Ridge, Carbondale - Parcel B:
                                  Lots 1, 2, 4, 5, 6, 7 and 8, Block V, River
                                  Valley Ranch Phase 8 (22 Lots)                      Carbondale        CO     81623   1 Year      AES105233601          4/16/2018    4/16/2019    Vacant Land Liability            Blanket       $ 1,000,000
Goosebrook Investments, LLC       2600 Hutton Dr                                      Beverly Hills     CA     90210   1 year      HGB0128081            4/20/2018    4/20/2019    Builders Risk                    $    14,790   $ 4,000,000
Hollyline Owners, LLC             3802 Hollyline Ave                                  Sherman oaks      CA     91423   1 year      PPL00000677-02       4/22/2018     4/22/2019    CPL                              $       625   $ 1,000,000
Bluff Point Investments, LLC      9212 Nightingale Dr                                 Los Angeles       CA     90069   1 year      VSEQ307049           4/25/2018     4/25/2019    Earthquake                       $     3,907   $ 2,300,000
Silk City Investments, LLC        25210 Jim Bridger Rd                                Hidden Hills      CA     91302   1 year      VSEQ330497           4/25/2018     4/25/2019    Earthquake                       $     7,678   $ 6,500,000
Crowfield Investments, LLC        1241 Loma Vista Dr.                                 Beverly Hills     CA     90210   1 year      VSEQ330492           4/27/2018     4/27/2019    Earthquake                       $     6,275   $ 4,200,000
Doubleleaf Investments, LLC       4030 Madelia Ave                                    Sherman Oaks      CA     91403   6 Months    ATR/R/35412706       4/27/2018     4/27/2019    CPL                              $     1,293   $     750,000
Sagebrook Investments, LLC        1258 Lago Vista Dr                                  Beverly Hills     CA     90210   1 year      ATR/R/376005.02      4/30/2018     4/30/2019    CPL                              $     4,589   $     945,000
Green Gables Investments, LLC     41 King Street                                      New York          NY     10014   18 Months   BMO 18 58 37 61 63   10/30/2017    4/30/2019    Builders Risk                    $    17,475   $ 5,000,000
Green Gables Investments, LLC     41 King Street                                      New York          NY     10014   18 Months   AR3462124            10/30/2017    4/30/2019    Liability                        $    42,007   Above
Green Gables Investments, LLC     41 King Street                                      New York          NY     10014   18 Months   103 GL 0020695       10/30/2017    4/30/2019    Liability                        $    59,481   Above
Summit Cut Investments, LLC       385 Trousdale Place                                 Beverly Hills     CA     90210   1 year      VSEQ330773            5/4/2018      5/4/2019    Earthquake                       $     3,362   $ 1,800,000
Diamond Cove Investments LLC      1 Electra Court                                     Los Angeles       CA     90046   1 year      VSEQ330775              5/4/2018     5/4/2019   Earthquake                       $     7,034   $ 5,000,000
Heilbron Manor Investments LLC    2492 Mandeville Cyn Rd                              Los Angeles       CA     90049   1 year      VSEQ330767             5/4/2018     5/4/2019    Earthquake                       $     4,965   $ 2,450,000
Sagebrook Investments, LLC        1258 Lago Vista Dr                                  Beverly Hills     CA     90210   1 year      VSEQ330795             5/4/2018     5/4/2019    Earthquake                       $     2,059   $     945,000
Rising Sun Investments, LLC       1301 N Fairfax                                      West Hollywood    CA     90046   1 year      VSEQ330781             5/4/2018     5/4/2019    Earthquake                       $       774   $     348,000
Rising Sun Investments, LLC       1307 N Fairfax                                      West Hollywood    CA     90046   1 year      VSEQ330782             5/4/2018     5/4/2019    Earthquake                       $       598   $     252,000
Rising Sun Investments, LLC       7909 Fountain Ave                                   West Hollywood    CA     90046   1 year      VSEQ330783             5/4/2018     5/4/2019    Earthquake                       $       817   $     372,000
Summit Cut Investments, LLC       375 Trousdale Place                                 Beverly Hills     CA     90210   1 year      VSEQ330772             5/4/2018     5/4/2019    Earthquake                       $     2,708   $ 1,423,574
Carbondale Spruce 101, LLC        201 Main St Unit 101                                Carbondale        CO     81623   1 year      05XV119201            5/8/2018      5/8/2019    Commercial                       $     4,898   $     596,319
Elstar Investments, LLC           1520 Carla Ridge                                    Beverly Hills     CA     90210   1 year      PH214846              5/12/2018    5/12/2019    Vacant Land Liability            $       502   $ 1,000,000
Thornbury Farm Investments, LLC   7870·7900 W Granito Dr                              Los Angeles       CA     90046   1 year      PH215061              5/22/2018    5/22/2019    CPL                              $       802   $ 1,000,000
Squaretop Investments, LLC        1966 Carla Ridge                                    Beverly Hills     CA     90210   1 year      HGB0128250            5/23/2018    5/23/2019    Builders Risk                    $    51,811   $ 15,000,000
Squaretop Investments, LLC        1966 Carla Ridge                                    Beverly Hills     CA     90210   1 year      SSE83170-00          5/23/2018     5/23/2019    Earthquake                       $    23,514   $ 15,000,000
Hornbeam Investments, LLC         1484 Carla Ridge                                    Beverly Hills     CA     90210   1 year      PH215085             5/24/2018     5/24/2019    Builders Risk                    $       502   $ 8,500,000
Bishop White Investments, LLC     805 Nimes PI                                        Los Angeles       CA     90077   1 year      PH215339              6/2/2018      6/2/2019    CPL                              $       502   $ 1,000,000
Chestnut Investments, LLC         10733 Stradella Court                               Los Angeles       CA     90077   1 year      SSE83346              6/2/2018      6/2/2019    Earthquake                       $    12,007   $ 3,850,000
Anchorpoint Investments, LLC      201 Main Units 102, 202, 203, 204, 303              Carbondale        CO     81623   1 year      O5XV192401            6/6/2018      6/6/2019    Commercial                       $     3,349   $     596,319
Cannington Investments, LLC       1118 Tower Rd                                       Beverly Hills     CA     90210   1 year      VSEQ317475            6/13/2018    6/13/2019    Earthquake                       $     7,693   $ 2,700,000
Goosebrook Investments LLC        2600 Hutton Dr                                      Beverly Hills     CA     90210   1 year      SSE85353              6/13/2018    6/13/2019    Earthquake                       $     8,651   $ 4,000,000
Longbourn Investments, LLC        9040 Alto Cedro Dr                                  Beverly Hills     CA     90210   1 year      HGB0128596            6/15/2018    6/15/2019    Vacant Dwelling                  $    11,200   $ 2,400,000
Longbourn Investments, LLC        9040 Alto Cedro Dr                                  Beverly Hills     CA     90210   1 year      SSE83373-00          6/15/2018     6/15/2019    Earthquake                       $     4,868   $ 2,400,000
Pinney Investments, LLC           15655 Woodvale Rd                                   Encino            CA     91436   1 year      HGB0128603           6/17/2018     6/17/2019    Vacant Dwelling                  $     5,612   $ 1,000,000
Pinney Investments, LLC           15655 Woodvale Rd                                   Encino            CA     91436   1 year      SSE83393             6/17/2018     6/17/2019    Earthquake                       $     2,762   $ 1,500,000
Heilbron Manor Investments, LLC   2492 Mandeville Cyn Rd                              Los Angeles       CA     90049   1 year      HGB0128866           6/19/2018     6/19/2019    CPL                              $    11,204   $ 2,500,000
Goose Rock Investments LLC        9127 Thrasher Ave                                   Los Angeles       CA     90069   1 year      SSE83467-00          6/21/2018     6/21/2019    Earthquake                       $    14,687   $ 7,800,000
Eldredge Investment, LLC          714 Oakhurst Or                                     Beverly Hills     CA     90210   1 year      SSE83472-00          6/22/2018     6/22/2019    Earthquake                       $    10,559   $ 2,900,000
Beech Creek Investments, LLC      59 Rivers Bend                                      Carbondale        CO     81623   1 year      CP 1632708           6/30/2018     6/30/2019    CPL                              $     7,786   $ 1,600,000
Eldredge Investments, LLC         714 Oakhurst Or                                     Beverly Hills     CA     90210   1 year      HGB0128952             7/6/2018     7/6/2019    Build Renovation                 $    14,119   $ 2,800,000




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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                                                                                                                                                 Case No. 17-12560 (KJC)
Debtors                                                                                                                                                                                                 Reporting Period: 06/30/2018
                                                                                                     INSURANCE SCHEDULE
                                                                                                                                               Effective   Expiration                                      Current         Coverage
         Name of Debtor / Insured                    Address                      City       State    Zip       Term               Policy #      Date         Date                  Type of Insurance     Premium          Amount
Mason Run Investments, LLC          1962 Stradella Rd                     Los Angeles         CA     90077   1 year      VSEQ308727            7/6/2018     7/6/2019    Earthquake                      $     2,239    $     1,000,000
Graeme Park Investments, LLC        1011 N Hillcrest Rd                   Beverly Hills       CA     90210   1 year      HGB0129154           7/10/2018    7/10/2019    CPL                             $     8,156    $     1,750,000
Graeme Park Investments, LLC        1011 N Hillcrest Rd                   Beverly Hills       CA     90210   1 year      VSEQ318595           7/10/2018    7/10/2019    Earthquake                      $     3,408    $     1,750,000
Fieldpoint lnvestments, LLC         809 Grand Ave                         Glenwood Springs    CO     81601   1 year      O5XV262601           7/11/2018    7/11/2019    Commercial                      $      7,111   $     2,443,251
Arlington Ridge Investment, LLC     1357 Laurel Way                       Beverly Hills       CA     90210   1 year      HGB0125163           7/12/2018    7/12/2019    Builders Risk                   $    37,196    $    11,000,000
Arlington Ridge Investments, LLC    1357 Laurel Way                       Beverly Hills       CA     90210   1 year      AB8156717            7/12/2018    7/12/2019    Earthquake                      $    22,767    $    11,100,000
Gateshead Investments, LLC          981 & 995 Cowen Dr                    Carbondale          CO     81623   1 year      O5XV279501            7/7/2018    7/17/2019    Commercial                      $    15,144    $     3,795,185
Addison Park Investments, LLC       642 St Cloud                          Bel-Air             CA     90077   1 year      HGB0129287           7/20/2018    7/20/2019    Builders Risk (Step Up)         $    49,514    $    13,000,000
Old Maitland Investments, LLC       150 White Horse Springs Ln            Aspen               CO     81611   18 months   2832 0001274273       01/22/18    7/22/2019    Building Renovations             $    51,331   $    10,000,000
Lincolnshire Investments, LLC       1312 Beverly Grove                    Beverly Hills       CA     90210   1 year      PH216650             7/27/2018    7/27/2019    CPl                             $        502   $     1,000,000
Imperial Aly Investments, LLC       633 Foothill Rd                       Beverly Hills       CA     90210   1 year      HGB0129405           7/31/2018    7/31/2019    CPL                             $     9,921    $     2,200,000
Imperial Aly Investments            633 Foothill Rd                       Beverly Hills       CA     90210   1 year      VSEQ319118           7/31/2018    7/31/2019    Earthquake                      $     6,213    $     2,200,000
Summerfree Investments, LLC         Pines Lot 4                           Snowmass            CO     81654   1 year      ER10644336            8/1/2018     8/1/2019    Builders Risk                   $      7,912   $     3,900,000
Varga Investments, LLC              638 Siena Way                         Los Angeles         CA     90077   1 year      HGB0129247            8/3/2018     8/3/2019    Builders Risk (Step Up)         $    55,709    $    16,000,000
Varga Investments, LLC              638 Siena Way                         Los Angeles         CA     90077   1 year      AB8156817             8/3/2018     8/3/2019    Earthquake (Step up Policy)     $    40,194    $    16,000,000
Brynderwen Investments LLC          14140 Ventura Blvd Ste. 203 and 302   Sherman Oaks        CA     91423   1 year      92C3A3549             8/7/2018     8/7/2019    Office Policy                   $     1,231    $     1,100,000
Hackmatack Investments, LLC         72 Golden Bear Dr                     Carbondale          CO     81623   1 Year      16070234-01          8/10/2018    8/10/2019    Commercial                      $      1,548   $       100,000
Drawspan Investments, LLC           3843 Hayvenhurst                      Encino              CA     91436   1 year      HGB0129249           8/14/2018    8/14/2019    CPL                             $     4,564    $       900,000
Drawspan Investments, LLC           3843 Hayvenhurst                      Encino              CA     91436   1 year      SSE83776-00          8/14/2018    8/14/2019    Earthquake                      $     2,303    $       925,000
Riley creek Investments, LLC        711 Walden Dr                         Beverly Hills       CA     90210   1 year      HGB0129452           8/24/2018    8/24/2019    Vacant Dwelling                 $    16,390    $     3,800,000
Riley creek Investments, LLC        711 Walden Dr                         Beverly Hills       CA     90210   1 year      LLD41379-00          8/24/2018    8/24/2019    Earthquake                      $    10,226    $     3,850,000
Whiteacre Funding LLC               1110 Midway Rd                        Menasha             WI     54952   1 year      CP 1635948A           9/1/2018     9/1/2019    Commercial                      $     8,170    $       850,000




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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                  Case No. 17-12560 (KJC)
(Jointly Administered)                                                      Reporting Period: 06/30/2018


                                     13 WEEK BUDGET




           Revised 13 Week Budget is included with this report. See accompanying
           schedule.




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WOODBRIDGE
PROJECTED 3 MONTH CASH FLOW
for the Period Ending September 30, 2018
                                                          13 WEEK
                                                           TOTAL                 Jul-18         Aug-18           Sep-18

# HOMES / LOTS SOLD                                                 31     (a)             8                3             20

REVENUES, NET
    DIP Collateral Property Sales, Net                          $4,717     (a)       $2,936             $0           $1,781
    Non-DIP Collateral Property Sales, Net                      43,954     (a)        2,044         41,910              -
    Adequate Protection (CA & CO)                               16,599     (a)        1,990            -             14,609
    Colorado Asset Sales, Net                                   14,273     (a)        3,250          1,058            9,965
    Riverdale                                                      366     (a)          (48)           (83)             497
    Other Revenues                                                 144     (b)           78             33               33
    Seller Carry / Other Liabilities                               -       (c)          -              -                -
    Retention for Warranty & Other                                (400)    (d)          (51)          (214)            (134)
         Subtotal before Reserves                               79,654               10,199         42,704           26,751
    Asset Sale Reserves - Adequate Protection                   (1,660)    (e)         (199)           -             (1,461)
    Asset Sale Reserves - Other Lien Noteholders                (7,483)    (e)         (728)        (4,297)          (2,457)
         Total Revenues, net of Reserves                        70,511                9,272         38,407           22,833

COSTS
    Investment Related Costs
        Construction - CA & NY                                  (21,180) (f)         (5,783)        (7,293)          (8,104)
        Construction - CO & Others                               (1,676) (g)           (510)          (583)            (583)
        Property Tax and Insurance                               (2,318) (h)           (197)          (118)          (2,003)
    Payroll, G & A, Maintenance, HOA & Other                     (3,310) (i)         (1,195)        (1,076)          (1,038)
    Contingency                                                  (1,424) (j)           (384)          (453)            (586)
        Total Costs, Excluding Funds Interest                   (29,907)             (8,069)        (9,523)         (12,315)

RESTRUCTURE COSTS                                               (17,404)             (6,149)        (7,709)          (3,546)

    NET CASH FLOW BEFORE FINANCING                              23,200               (4,946)        21,175            6,972

DIP FINANCING
     Interest & Fees                                             (1,788) (m)           (951)             (426)         (412)
     Proceeds & Repayments, Net                                 (11,872) (n)        (10,091)              -          (1,781)
              Net Financing                                     (13,661)            (11,042)             (426)       (2,193)

    NET CASH FLOW                                               $9,539             ($15,988)       $20,749           $4,779



CASH BALANCE
    Operating Cash
      Beginning Balance                                         23,343     (p)       23,343          7,355           28,104
      Applied / (Retained) Cash                                  9,539              (15,988)        20,749            4,779
        Ending Balance                                          32,882                7,355         28,104           32,882

    Sales Reserve
      Beginning Balance                                         14,137     (p)       14,137         15,065           19,361
      Asset Sale Reserves - Adequate Protection                  1,660                  199            -              1,461
      Asset Sale Reserves - Other Lien Noteholders               7,483                  728          4,297            2,457
        Ending Balance                                          23,280               15,065         19,361           23,280

PROJECTED CASH BALANCE                                                              $22,419        $47,465          $56,162

PROJECTED DIP LOAN BALANCE                                                          $49,419        $49,419          $47,638




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WOODBRIDGE GROUP OF COMPANIES, LLC et al.                                     Case No. 17-12560 (KJC)
(Jointly Administered)                                                         Reporting Period: 06/30/2018


                                     LENDER STATEMENTS

   Non-investor third party notes are as follows:

                                                                                   Balance
                                   Lender                                        06/30/2018
      Hankey Capital DIP Loan                                             $           59,510,477

      The DIP lender Hankey Capital provides a monthly invoice, the current invoice is included
      with this report.




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                                                                                                                                  ACCOUNT NO.
                                                                                                                                  STATEMENT CLOSING DATE                                   6/30/2018

                                                                                                                                  STATEMENT SUMMARY

                                                                                                                                       Past Due Amount                +                  $0.00
                                                                                                                                       Current Payment Amount         +            $518,314.75
                                                                                                                                       Trust/Escrow Payment           +                  $0.00
                                                                                                                                       Other Payments                 +                  $0.00
 BORROWER                                                                                                                              Deferred Charges               -                  $0.00
                                                                                                                                       Minimum Payment Due            =            $518,314.75
  WOODBRIDGE GROUP OF COMPANIES                                                                                                        Payment Due Date                               7/1/2018

   CA                                                                                                                                  Late Charge Due After 7/10/2018              $25,915.74
                                                                                                                                       Maximum Loan Amount                       $6,000,000.00
                                                                                                                                       Current Principal Balance                $59,510,476.62
                                                                                                                                       Reserve Balance                               $3,384.40
                                                                                                                                       Impound Balance                                   $0.00
   Check here for a change of mailing address or phone number(s). Please provide all corrections on the reverse side.
                                                                                                                                       Interest Rate                                  10.000%
                                                                                                                                       Average Daily Balance                    $63,261,354.23
                                                                                                                                       Project Address:
                                                                                                                                       642 N ST CLOUD
                                                                                                                                       LOS ANGELES CA 90077

                                                    PLEASE DETACH THE TOP PORTION OF THIS STATEMENT AND RETURN IT WITH YOUR PAYMENT

 Please advise us immediately of any discrepancies in the transactions or investment activity on your billing statement or if you contemplate changing your address. When making
 inquiries by telephone or in writing please give your account number. We urge you to keep this statement with your investment records.

                                                                                         ACCOUNT ACTIVITY
    Date              Reference                                          Description                                        Reserve             Charges            Credits            Balance

   6/1/2018                              Balance Forward                                                                                                                      $53,119,928.55
   6/1/2018       credit                 Interest credit from Jun 1, 2018 payment                                                                                   $3,384.39 $53,116,544.16
   6/4/2018       0518 INT               Payment Received - Thank You                                                          $3,384.40                          $511,783.20 $52,604,760.96
   6/7/2018       DRAW                   Funds Advanced                                                                                     $15,000,000.00                    $67,604,760.96
  6/26/2018       PAYDOWN                Principal PayDown                                                                                                      $8,101,053.13 $59,503,707.83
  6/30/2018                              Interest Charge                                                                                       $521,699.14                    $60,025,406.97
                                                                                                                               $3,384.40 $15,521,699.14         $8,616,220.72



                                                                                INTEREST CHARGE SUMMARY
        Balance Date                         Daily Balance                           Days                        Daily Periodic Rate            Interest Rate                Interest Charges
            6/1/2018                          $52,611,529.75                               6                             0.027083%                      9.750%                   $85,493.74
            6/7/2018                          $67,611,529.75                               7                             0.027083%                      9.750%                  $128,180.19
           6/14/2018                          $67,611,529.75                              12                             0.027778%                     10.000%                  $225,371.77
           6/26/2018                          $59,510,476.62                               5                             0.027778%                     10.000%                   $82,653.44
                                                                                          30                                                                                    $521,699.14

Note: Daily balances exclude finance charges, reserve balances, impound balances, late charges.




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